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    is in breach of or default under the terms of any Grizzly Material IP License where such breach or default has bad, or would reasonably be expected
    to have, individually or in the aggregate, a Material Adverse Effect on G1izzly. To the Knowledge of Grizzly, no other party to any Grizzly Material
    IP License is in breach of or in default under the terms of any Grizzly Material lP Licenses where such breach or default has bad, or would
    reasonably be expected to have, individually or in the aggregate, a Material Adverse Effect on Grizzly. Each Grizzly Material lP License is a valid
    and binding obligation of Grizzly or a Grizzly Subsidiruy, and is in full force and effect, except insofar as (i) such enforceability may be limited by
    applicable bankruptcy, insolvency, reorganization, moratorium or similar laws affecting creditors' rights generally, or by principles governing the
    availability of equitable remedies, (ii) the failure to be a valid and binding obligation or to be enforceable would not reasonably be expected to
    have, individually or in the aggregate, a Mate1ial Adverse Effect on Grizzly, (iii) such Grizzly Mate1ial IP License has previously expiJed in
    accordance with its terms, or (iv) such Grizzly Material lP License has been terminated in the ordinary course of business.

          Section 7.14 Material Contracts.

          (a) Section 7.14 of the Grizzly Disclosure Letter sets fo1th a list of all Grizzly Material Cont1acts in eJlect as of the date of this Agreement. For
    puiposes of this Agreement, the term "Grizzly Material Contracts" means any oftbe following Contracts (other than this Agreement, each other
    Transaction Agreement, the documents relating to the financing transactions contemplated by this Agreement, and other than any Grizzly Benefit
    Plan), whether entered into prior to or after the date hereof, to which G1izzly or any Grizzly Subsidia1y is a pa1ty:
              (i) any non-competition agreements or other Contract that materially limits or will mate1ially limit G1izzly or any of its Subsidia1ies from
          competing or engaging in any bu siness or geographic area;
                (ii) any Contract with respect to any partnerships or joint ventures involving the sharing of profits or losses that is material to Grizzly
          and its Subsidiaries, taken as a whole;
                (iii) any indenture, credit agreement or loan agreement pursuant to which Grizzly or any of its Subsidia1ies bas or will incur any
          indebtedness for bo1rnwed money in excess of$ I million, other than between or among any of Grizzly and any of its Subsidiru·ies;
                (iv) any Conl!act for the sale or acquisition (including by way of merger, purchase of equity or other business combination) of any
          operating business with respect to which Gl·izzly or any of its Subsidiaries still bas remaining material obligations; and
                (v) any Contract that provides for annual payments in excess of$ 10 million by or to Grizzly or any of its Subsidiaries.

          (b) Neither Grizzly nor any G1izzly Subsidiary is in mate1ial breach of or mate1ial default under the tenn s of any Grizzly Mate1ial Contract. To
    the Knowledge of Grizzly, no other pru1y to any Grizzly Material Contract is in material breach of or in material default under the tenns of any G1izzly
    Material Contract. Each Grizzly Material Contract is a valid and binding

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    obligation of G1izzly or any Grizzly Subsidiary which is a paity thereto and is in full force and effect, except insofar as (i) such enforceability may be
    limited by applicable bankrnptcy, insolvency, reorganization, moratorium or similar laws affecting creditors' rigbts generally, or by principles
    governing the availability of equitable remedies, (ii) the failure to be a valid and binding obligation or to be enforceable would not reasonably be
    expected to bave, individually or in tbe aggregate, a Mate1ial Adverse Effect on Grizzly, (iii) tbe Grizzly Material Contract bas previously expiJed in
    accordance with its tenns, or (iv) the Grizzly Material Contract has been terminated by Grizzly or its Subsidiaries in the ordina1y course of bu siness.

          Section 7.15 Grizzly Real Prooe1ty.

          (a) Section 7.15(a) oftbe Grizzly Disclosure Letter sets fo1th as of the date bereofa description of all Grizzly Owned Real Prope1ty. With
    respect to such Grizzly Owned Real Prope1ty, except as would not reasonably be expected to have, individually or in the aggregate, a Material
    Adverse Effect on Grizzly: (i) except for Permitted Encumbrances, neither Grizzly nor any of the Grizzly Subsidiaries has leased or otherwise granted
    to any Person the right to use or occupy such Grizzly Owned Real Property or any material po11ion thereof; and (ii) other than the right ofGtizzly
    pursuant to this Agreement, there are no outstanding options, rights of fast oiler or rights of first refusal to purchase such Grizzly Owned Real
    Property or any material portion tbereof or interest tberein.

            (b) Section 7.l 5(b) of the Grizzly Di sclosure Letter sets fo1th as oftbe date bereofthe address of all Grizzly Leased Real Prope1ty , and a true
    and complete list, in all material respects, as of the date hereof, of all Grizzly Leases for such prope1ties for eacb such Grizzly Leased Real Property,
    in any such case, where annual payments under the applicable Grizzly Lease exceed $500,000 per year. Gtizzly has made available to Burgundy a
    true and complete copy of each such Gri zzly Lease document as of the date bereof, and in the case of any sucb Lease tbat is an oral Lease, a
    written suuunaiy of the mate1ial terms of such Lease. Except as set fo11h on Section 7.15(b) of the Grizzly Disclosure Letter, to Grizzly's Knowledge,
    tbere are no material disputes witb respect to such Grizzly Lease. With respect to eacb sucb Lease, except as would not reasonably be expected to
    have, individually or in the aggregate, a Material Adverse Efiect on Grizzly: (i) none of Grizzly or the Grizzly Subsidiaries has subleased, licensed or
    otherwise granted any Person the right to use or occupy sucb Grizzly Leased Real Property or any material po1tion thereof; (ii) none ofGtizzly or
    the Grizzly Subsidiaries has collaterally assigned or granted any other security interest in such Grizzly Lease or any material interest therein ; and
    (iii) there are no Liens on the estate or interest created by such Grizzly Lease other tban Permitted Encumbrances.

           Section 7.16 Opinion of Grizzly Financial Advisor. Grizzly bas received tbe written opinion (or oral opinion to be confiJmed in writing) of
    Bai·clays Capital Inc. to the effect that, as of the date hereof, from a financial point of view, the Exchange Ratio is fair to Gtizzly. Gtizzly has received
    tbe written opinion (or oral opinion to be confinned in writi ng) ofHoulil1an Lokey Financial Advisors, lac. to the effect that, as of the date bereof,
    from a financial point of view, tbe Exchange Ratio is faiJ to Gtizzly.

          Section 7.17 Brokers or Finders. Otber tban any agent whose fees and expenses will be paid solely by G1izzly, and all obligations to wbich
    will be solely obligations ofG1izzly, no

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    agent, broker, investment banker, financial advisor or other similar Person is or will be entitled, by reason of any agreement, act or statement by
    G1izzly or any Grizzly Subsidiaries, diJectors, officers or employees, to any financial adviso1y , broker's, finder's or similar fee or conuni ssion, to
    reimbursement of expenses or to indemnification or contribution in connection with any of the transactions contemplated by this Agreement or
    each other Transaction Agreement.

          Section 7.18 Ce1tain Board Findin1is. ll1e Grizzly Board, at a meeting duly called and beld, (i) bas determined tbat tbi s Agreement and tbe
    transactions contemplated hereby, including the Merger, and the issuance of shares of Grizzly Common Stock pursuant to the Merger (and, to the
    extent applicable, the transactions contemplated by Schedule 8.3(e)), are advisable, fair to and in the best interests of Grizzly and the stockholders
    of Grizzly , (ii) bas approved tbis Agreement and tbe transactions contemplated bereby, including tbe Merger (and, to tbe extent applicable, tbe
    transactions contemplated by Schedule 8.3(e)), and (iii) has resolved to reconunend that the stockholders of Grizzly entitled to vote thereon vote in
    favor of tbe approval of tbe issuance of sbares of G rizzly Conunon Stock pursuant to tbe Merger at tbe (frizzly Stockholders Meeting (and, to tbe
    extent applicable, the transactions contemplated by Schedule 8.3(e)) (the "Grizzly Recommendation").

          Section 7.19 Vote Requi red. Tbe only vote oftbe stockbolders of Grizzly requiJed under any oftbe DGCL, tbe NYSE rules or the G1izzly
    Chatter for the transactions contemplated by this Agreement, including issuance of the Grizzly Common Stock issuable in the Merger, is, subject to
    tbe provisions of Schedule 8.3(e), the aflirmative vote of tbe holders of a majo1ity in interest of tbe stockholders of (frizzly present or by proxy and
    entitled to vote at the Grizzly Stockholders Meeting (sometimes referred to herein as tbe "Grizzly Stockholder Apnroval").

          Section 7.20 Spinco Common Stock. Grizzly does not own (di1·ectly or indirectly, beneficially or ofrecord) nor is it a pa1ty to any agreement,
    arrangement or understanding for the purpose of acquiring, holding, voting or disposing of, in each case, any shares of capital stock ofSpinco
    (otber tban as contemplated by thi s Agreement) or Burgundy. Assuming tbe accuracy of the representati ons set fo1tb in Section 6.20, the
    limitations on business combinations contained in Section 203 of the DGCL are inapplicable to the Merger and the other transactions contemplated
    hereby.

          Section 7.21 Human Health and Safety. Grizzly and the G1izzly Subsidia1ies are, and since January I, 2010, have been, in compliance with all
    applicable Laws relating to the protection of human health and safety (including workplace health and safety), except as would not reasonably be
    expected to have, individually or in the aggregate, a Material Adverse Effect on Grizzly.

           Section 7.22 Contemplated Spinco Financing. Pursuant to the Spinco Commitment Letter and the fee letters attached thereto (together, the
    "Spinco Related Letter"), the lenders pa1ty tbereto have conunitted, subject to tbe terms and conditions set fo1th therein, to lend the amounts set
    fo11h therein for the pmpose of financing the Special Below Basis Cash Distiibution (the "Spinco Financin1i"). The Spinco Conun.itment Letter and
    tbe Spinco Related Letter, a true and fully executed copy of each of which bave been provided to Burgundy, have not been amended or modified
    on or piior to tbe date oftbis Agreement, and as oftbe date of this Agreement the conunitments contained in the Spinco Conunitment Letter and
    the Spinco Related Letter

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    have not been withdrawn or rescinded in any respect. As of the date hereof, there are no side letters or Contracts to which Grizzly or Merger Sub is
    a party related to tbe funding oftbe Spinco Financing tbat could reasonabl y be expected to adversely affect tbe availability oftbe Spinco
    Financing. Grizzly or Merger Sub has fully paid any and all couunitment fees or other fees in connection with the Spinco Couunitment Letter and the
    Spinco Related Letter tbat are payable on o r prior to tbe date bereof, and as of tbe date bereof tbe Spinco Conuni tment Letter and tbe Spinco
    Related Letter are in full force and effect and are tbe legal, valid and bind ing enforceable obligations of Grizzly and Merger Sub, as tbe case may be,
    and, to the Knowledge of Grizzly and Merger Sub, each of the parties thereto. There are no conditions precedent or other contingencies related to
    the funding of the full amount of the Spinco Financing, other than as expressly set fo1th in the Spinco Couuuitment Letter. As of the date hereof,
    subject to tbe accuracy oftbe representations and wairnnties of Burgundy set fo1tb in Article V and A1ticle VI, no event bas occmTed, wbicb, witb
    or without notice, lapse of time or both, would or would reasonably be expected to constitute a default or breach on the part of Grizzly or Merger
    Sub or, to tbe Knowledge of Grizzly o r Merger Sub, any otber pa1ty thereto under tbe Spinco Commitment Letter o r Spinco Related Letter.

          Section 7.23 Grizzly Rights Agreement. As of the date of th is Agreement, there is no shareholder rights plan, "poison pill," anti-takeover plan
    or otber similar device in effect, to whicb Grizzly o r any of its Subsidiaries is a pa1ty or otherwise bound. Tbe transactions contemplated by tbi s
    Agreement are and , as of the Closing, will be exempt from any such shareholder rights plan, "poison pill,'" anti-takeover plan or other similar device
    adopted prior to the Closing to which Griuly or any of its S ubsidiaries is a pa1t y or otbenvise bou11d.

           Section 7.24 No Other Representations. Except for the representations and wa1ranties of Grizzly and Merger Sub expressly set forth in this
    Agreement or any otber Transaction Agreement, neither Grizzly nor any of its Subsidiaries nor any otber Person acting on behalf of Grizzly or any
    of its Subsidiaries makes any representation or wa1Tanty , express or implied. Without limiting the generality of the foregoing, Bmgundy and Spinco
    eacb acknowledge tbat no representations o r wan-anties are made witb respect to any projection s, forecasts, estimates or budgets witb respect to
    Grizzly and the Gtizzly Subsidiaries that may have been made available to Burgundy , Spinco or any of their Representatives.


                                                                        ARTlCLEVUl
                                                             COVENANTS AND AGREEMENTS

           Section 8.1 Conduct of Bus iness by Grizzly and Mer11er Sub Pendin11 the Mer11er. Following tbe date oftbis Agreement and prior to tbe
    earlier of the EJlective Time and the Termination Date, except (i) as required by Law, (ii) as may be consented to in writing by Bmgundy (which
    consent sball not be unreasonably withheld, conditioned or delayed), (iii) as expressly permitted or contemplated by tbis Agreement o r the otber
    T ransaction Agreements or (iv) as set forth in Section 8.1 of tbe Grizzly Disclosure Letter, G 1izzly covenants and agrees tbat eacb of Grizzly and tbe
    Grizzly Subsidiaries shall conduct its operations in accordance with its ordinruy comse of bu siness, consistent with past practice, and shall use
    conunercially reasonable effo1t s to conduct its operations in compliance witb all Laws applicable to it or to tbe conduct of its business and to
    maintain its present business organization, maintain rights and franchises, keep available

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    the services of its cunent ofiicers and key employees and maintain its relationships with key customers and key suppliers; provided, however, that
    no action by G 1izzly or any of the Grizzly Subsidia1ies with respect to matters specifically addressed by any other provi sions of thi s Section 8. 1
    shall be deemed a breach of this sentence unless such action would constitute a breach of such other provision. Following the date of this
    Agreement and prior to the earlier of the Effective Time and the Termination Date (and notwith standing the inunediately preceding sentence),
    except (i) as may be required by Law, (ii) as may be consented to in writing by Burgundy (which con sen t shall not be unreasonably withheld,
    conditioned or delayed), (iii) as may be expressly permitted or contemplated by this Agreement or the other Transaction Agreements, or (iv) as set
    fo1th in Section 8.1 of the Grizzly Disclosure Letter, Grizzly shall not, nor shall it pemut any of the G1izzly Subsidiaries to:

          (a) (i) declare or pay any dividends on or make other distributions in respect of any shares of its capital stock (whether in cash, securities or
    property), except for the declaration and payment of(A) regular qua1terly cash dividends not in excess of$0.08 per share of Grizzly Conunon Stock
    and (B) cash dividends or distributions paid on or with respect to a class of capital stock all of which shares of capital stock of the applicable
    corporation are owned directly or indirectly by Grizzly; (ii) split, combine or reclassi1y any of its capital stock or issue or authorize or propose the
    issuance of any other securities in respect of, in lieu of, or in substitution for, shares of its capital stock; or (iii) redeem, repurchase or otherwise
    acquire, or peruut any Grizzly Subsidiaiy to redeem, repurchase or otherwise acquire, any shares of its capital stock (including any securities
    convertible or excha11geable into such capital stock), except as required by the ten.us of the securities of Griu ly outstanding 011 the date hereof or
    any secw·ities of Grizzly issued aft.er the date hereof not in violation of this Agreement or as required by the te1ms of a Grizzly Benefit Plan or any
    awards thereunder outstanding on the date hereof or granted thereunder after the date hereof in accordance with this Agreement;

           (b) issue, deliver or sell, or authorize any shares of its capital stock of any class, any Grizzly Voting Debt or any secw·ities conve1tible into, or
    any rights, wairnnts or options to acquiJe, any such shares, Grizzly Voting Debt or conve1tible securities, other than (i) the issuance of shares of
    Grizzly Common Stock upon the exercise of stock options or the vesting of restricted stock units that are outstanding on the date hereof pursuant
    to the G 1izzly Benefit Plans; (ii) issuances by a wholly-owned Subsidiary of(frizzly of its capi tal stock to such Subsidiary's parent or another
    wholly-owned Subsidiary of Grizzly; and (iii) the granting of stock options or the granting of restricted stock wlits with respect to up to 500,000
    shares ofG1izzly Conunon Stock in the ordinaiy course of business, consistent with G1izzly's past practices;

          (c) amend the Grizzly Cha1ter;

           (d) acquire or agree to acquire by merger or consolidation, or by purchasing a substantial equity interest in or a substantial po1tion of the
    assets of, or by any other manner, any business or any corporation, pa1tnership, limited liabili ty entity , joint venture, association or other business
    orgailization or division thereof or otherwise acquire or agree to acquire any material assets (excluding the acquisition of assets used in the
    operations of the business of G rizzly and the Grizzly Subsidiaries in the ordinary course consistent with past practice, which assets do not
    consti tute a business unit, divi sion or all or substantially all of the assets of the tran sferor), in any such case, if such acqui sition would reasonably
    be expected to, individually or in the aggregate, prevent or materially delay satisfaction of any of the conditions to the Merger set fo1th in Article
    IX;

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             (e) except in the ordinary course of business, consistent with past practice or as set forth in Section 8. l (e) of the Grizzly Disclosure Letter,
    sell , lease, license or otherwise encumber or subject to any Lien or otherwise di spose of, or agree to sell , lease, license or otherwise encumber or
    subject to any Lien or otherwise dispose oJ~ any of its assets (including capital stock of the Grizzly Subsidiaries), except, in each case, sales, leases,
    licenses, encumbrances or other di sposition s or Liens involving inventory and obsolete equipment, in the ordinary course of business con sistent
    with past practice, or other di spositions of assets not in an amount exceeding $20 million in the aggregate;

          (J) incur any indebtedness or guarant.ee or otherwise become contingently liable for any indebtedness or issue or sell any debt secw·ities or
    wammts or rights to acqui1·e any debt securities of Grizzly or any of the Grizzly Subsidiaries or guarantee any debt securities of others or enter into
    any material Lease (whether such Lease is an operating or capital Lease) or enter into any interest rate hedge, other than Liabilities incun·ed (i)
    under the Grizzly Existing Revolving Credit Agreement in an amount not to exceed $300 million and (ii) in the ordinary course of business
    consistent with past practice and not exceeding $20 million in the aggregate;

           (g) (i) grant any material increases in the compen sation of any of its directors, officers or employees, except in the ordinary course of
    business consistent with past practice; (ii) pay or agree to pay to any director, officer or employee, whether past or present, any pension,
    retirement allowance or other employee benefit not required or contemplated by any of the existing benefit, severance, tcm\ination, pension or
    employment plans, contracts or anangements as in effect on the date hereof, except for the right to receive ce1tain reten tion and bonus payments
    that are related to the transactions contemplated by this Agreement that Grizzly may agree to pay and pay to select executives and other
    employees, which will in no event exceed $ 10 million in the aggregate; (iii) except in the ordina1y course of business consistent with past practice,
    enter into any new, or materially amend any existing, employment or severance or termination, contract with any director, officer or employee; (iv)
    accelerate the vesting of, or the lapsing ofrest:rictions with respect to, any stock options or other stock-based compensati on; or (v) become
    obligated under any new pension plan, welfare plan, multiemployer plan, employee benefit plan, severance plan, benefit arrangement or siJllilar plan
    or anangement that was not in eitistence on the date hereof, or amend any such plan or a1i-angement in eitistence on the date hereof if such
    amendment would have the effect of materially enhancing any benefits thereunder;

          (h) establish, adopt, enter into, terminate or amend any collective bargaining agreement, plan, nust, fund, policy or anangement with a labor
    union, labor organization or works council for the benefit of any cwrent or fonner directors, officers, employees or any of their beneficiaries,
    except, in each case, (i) as is necessary to comply with applicable Law or (ii) as would not result in a material increase in the cost of maintaining
    such collective bargaining agreement, plan, tiust, fund, policy or a1rangement;

           (i) authorize, reconunend, propose or announce an intention to adopt a plan of complete or partial liquidation or dissolution of Grizzly or any
    of the Grizzly Subsidiaries;

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            G) except as required by Law, make any material change in its methods of accounting in effect at the Interim Balance Sheet Date or change its
    fi scal year;

        (k) make, change or revoke any material Tax election or settle, compromi se or abandon any material Tax liability, other than in the ordinary
    comse of bu siness, consistent with past practice;

          (I) except in the ordinary course of business, consistent with past practice, settle or compromise any actions, suits, arbitrations or
    proceedings (including any employee grievances) or pay, discharge or sati sfy any material claims, liabilities or obligations (absolute, accrued,
    asse1ted or unasserted, contingent or otherwise), except (i) the payment, discharge or satisfacti on (which includes the payment of final and
    unappealable judgments) of any such claims, liabilities or obligations in accordance with their terms, ofliabilities reflected or reserved against in, or
    contemplated by, the most recent consolidated financial statements (or the notes thereto) ofG1izzly included in Giizzly's Annual Report on Form
    10-K forthe fiscal year ended December 31, 201 1 or (ii) settlement or compromise oflitigation if it does not involve a grant of injunctive relief
    against Grizzly or any of the G1izzly Subsidiaries and any amount paid by G1izzly or any Grizzly Subsidiary to the other pa1ty (including as
    reimbursement oflegal fees and expenses) does not exceed $5 million;

          (m) enter into any joint venture , paitnership or other similar business an-angement for the producti on of chlorine or caustic soda; or build or
    establish a plant for the production of chlorine or caustic soda;

          (n) enter into or amend any agreement or airnngement with any Affiliate ofG1izzly or any Grizzly Subsidiary, other than with wholly owned
    Grizzly Subsidia1ies, on tenns less favorable to Grizzly or such Grizzly Subsidiary, as the case may be, than could be reasonably expected to have
    been obtained with an unaffiliated thiJd pa1ty on an arm's-length basis;

           (o) except in the ordinary comse of business, or as required by Law, terminate or fail to use commercially reasonable efforts to renew any
    Grizzly Material Contract to which G1izzly or any of the Grizzly Subsidiaries is a pa1ty or modify, amend waive, release or assign any material rights
    or claims thereunder or enter into any Grizzly Material Contract not in the ordinary course of bu siness consistent with past practice; or

          (p) agree or conunit to do any of the foregoing actions.

           Section 8.2 Conduct of Business by Spinco and Bur11undy Pendin11 the Mer11er. Following the date of this Agreement and prior to the earlier
    of the Efiective Time and the Temlination Date, except (i) as required by Law, (ii) as may be consented to in w1iting by Grizzly (which consent shall
    not be unJeasonably withheld, conditioned or delayed), (iii) as may be expressly pennitted or contemplated by this Agreement or the other
    Transaction Agreements (including any schedules thereto) (including any restructurings or reorganizations necessary for the transactions
    contemplated hereby or thereby), or (iv) as set fo1th in Secti on 8.2 of the Burgundy Disclosure Letter, Burgundy and Spinco jointly and severally
    covenant and agree that each of the Eagle Entities will conduct the Eagle Business in accordance with its ordinaiy course of business, consistent
    with past practice, and shall use conunercially reasonable efforts to conduct its operations

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    in compliance with all Laws applicable to it or to the conduct of its business and to maintain its present business organization, maintain rights and
    franchises, keep available the services of its cmTent officers and key employees and maintain its relationships with key customers and key
    suppliers; provided, however, that no action by Burgundy, any of the Burgundy Subsidiaries, Spinco or any of the Spinco Subsidiaries with
    respect to matters specifically addressed by any other provisions of this Section 8.2 shall be deemed a breach of this sentence unless such action
    would constitute a breach of such other provision. Following the date of thi s Agreement and prior to the earlier of the E.Oective Time and the
    Termination Date (and notwithstanding the inunediately preceding sentence), except (i) as may be required by Law, (ii) as may be consented to in
    writing by G1izzly (which consent shall not, other than with respect to the matters in clauses (g) and (h) of this Section 8.2, as to which Grizzly may
    grant or withhold its consent in its sole discretion, be uru-easonably withheld , conditioned or delayed), (iii) as may be expressly pemlitted or
    contemplated by this Agreement or the other Transaction Agreements (including any schedules thereto) (including any restructurings or
    reorganizations necessary for the transactions contemplated hereby or thereby), or (iv) as set forth in Section 8.2 of the Burgundy Disclosure
    Letter, none of the Eagle Entities will, and Burgundy will cause all of the Eagle Entities not to:

          (a) (i) split, combine or reclassify any of the capital stock of any member of the Spinco Group or issue or authorize or propose the issuance of
    any other securities in respect of, in lieu of, or in substitution for, shares of the capital stock of any member of the Spinco Group; or (ii) redeem,
    repurchase or otherwise acquire, or pennit any Subsidiary to redeem, repurchase or otherwi se acquire , any shares of the capital stock (h1dudh1g
    any securities conve1tible or exchangeable into such capital stock) of any member of the Spinco Group, except as required by the tenns of the
    securities outstanding on the date hereof or any securities issued after the date hereof not in violation of thi s Agreement or as requiJed by any
    Spinco Benefit Plan or any awards thereunder outstanding on the date hereof or granted thereunder after the date hereof in accordance with this
    Agreement;

          (b) issue, deliver or sell, or authorize any shares of capital stock of any member of the Spinco Grnup of any class, any Spinco Voting Debt or
    any securi ties conve1tible into, or any rights, wa1rnnts or options to acqui1·e, any such shares, Spinco Voting Debt or conve1tible securities
    including additional options or other equity-based awards that could be conve11ed into any option to acquire Spinco Conunon Stock, other than
    issuances by a wholly owned Subsidiary ofSpinco of its capital stock to such Subsidiary's parent or another wholly owned Subsidiary ofSpinco;

          (c) amend the certificate of inco1poration or by laws (or other similar organizational documents) of any member of the Spinco Group, other
    than an amendment to the certificate of incorporation of Spinco to increase the nU111ber of authorized shares of Spinco Conunon Stock in
    connection with the Distribution;

          (d) acquire or agree to acquire by merger or consolidation, or by purchasing a substantial equity interest in or a substantial portion of the
    assets of, or by any other manner, any business or any corporation, pa1tnership, limited liability entity, joint venture, association or other business
    organization or division thereof, in each case, that would be a Spinco Asset pursuant to the Separation Agreement; or otherwise acquire or agree
    to acquiJe any material assets that would be a Spinco Asset pursuant to the Separation Agreement (excluding the acqui sition of assets

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    used in the operations of the business of Spinco and the Spinco Subsidiar ies in the ordinary cow-se consistent with past practice, which assets do
    not constitute a business unit, division or all or substan tially all of the assets of the tran sferor);

          (e) except in the ordinary course of business, consistent with past practice, sell, lease, license or otherwise encumber or subject to any Lien
    or otherwise dispose of, or agree to sell, lease, license or otherwise encumber or subject to any Lien or otherwise dispose of, any of its assets
    (including capi tal stock ofSpinco Subsidiaries), except, in each case, sales, leases, licenses, encumbrances or other di spositions or Liens involving
    inventory and obsolete equipment, in the ordina1y course of bu siness consistent with past practice, or other dispositions of assets not in an
    amount exceeding $2 million in the aggregate;

          (I) incur any indebtedness or guarantee or otherwise become contingently liable for any indebtedness or issue or sell any debt secw·ities or
    wan-ants or rights to acquire any debt securities of any member of the Spinco Group or guarantee any debt securities of others or enter into any
    material Lease (whether such Lease is an operating or capital Lease) or enter into any interest rate hedge, other than Liabilities that would not be
    included in the Spinco Liabilities or Liabilities incu1Ted in the ordinary course of business consistent with past practice, or other Liabilities not
    exceeding $500,000 in the aggregate;

           (g) (i) grant any material increases in the compensation ofany Spinco Employee, except in the ordinary course of business consistent with
    past practice; (ii) pay or agree to pay to any Spinco Employee, any pension, retirement allowance or other employee benefit not required or
    contemplated by any of the existing benefit, severance, termination, pension or employment plans, contracts or a1rnngements as in effect on the
    date hereoJ~ except for the right to receive the retention and bonu s payments for select Spinco Employees set fo11h in Article Vlll of the Employee
    Matters Agreement; (iii) except in the ordinary course of business consistent with past practice, enter into any new, or materially amend any
    existing, employment or severance or termination, contract with any Spinco Employee; or (iv) except in connection with an action that applies
    unifomuy to all sinularly situated employees of Bw-gundy and the Burgundy Subsidiaries and that is not exclusive to the Spinco Employees,
    become obligated with respect to any Spinco Employee under any new pension plan, welfare plan, multiemployer plan, employee benefit plan,
    severance plan, benefit arrangement or similar plan or aITangement that was not in existence on the date hereof, or amend any such plan or
    ammgement in existence on the date hereof if such amendment would have the effect of materially enhancing any benefits thereunder;

           (h) establish, adopt, enter into, terminate or amend any collective bargaining agreement, plan, trust, fund, policy or a1rnngement with a labor
    union, labor organization or works council for the benefit of any Spinco Employees or any of their beneficia1ies, except, in each case, (i) as
    contemplated by the Employee Matters Agreement; (ii) as is necessa1y to comply with applicable Law; (iii) as would not result in a material
    increase in the cost of maintaining such collective bargaining agreement, plan, trust, fund, policy or arrangement; (iv) in connection with an action
    that applies uniformly to all similarly situated employees of Burgundy and its Subsidiaries and that is not exclusive to the Spinco Employees; or (v)
    as set fo1th in Section 8.2(h) of the Bw-gundy Disclosure Letter;

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           (i) authorize, reconunend, propose or announce an intention to adopt a plan of complete or pa1tial liquidation or di ssolution of Spinco;

             G) except as required by Law, make any material change in its methods of accounting in efiect at the Interim Balance Sheet Date or change its
     fi scal year, to the extent it relates solely to the Eagle Business;

           (k) make, change or revoke any material Tax election in respect of the Eagle Business that would bind Spinco or a Spinco Subsidiary for
     periods following the Efiective Time or settle, compromise or abandon any material Tax liability for which Spinco or a Spinco Subsidia1y would be
     responsible under the Tax Matters Agreement, in each case other than in the ordinary course of business, consisten t with past practice;

            (I) except in the ordinary course of business, consistent with past practice, settle or compromise any actions, suits, arbitrations or
     proceedings (including any employee grievances) or pay, discharge or sati sfy any mateiial claims, liabilities or obligations (absolute, accrued,
     asserted or unasserted, contingent or otherwise), except (i) the payment, discharge or satisfaction (which includes the payment of final and
     unappealable judgments) of any such claims, liabilities or obligations in accordance with theiJ terms, of liabilities reflected or reserved against in, or
     contemplated by, the Spinco Financial Statements, or incu1Ted in the ordinary comse of business since the date of such financial statements), or
     (ii) settlement or c-0mpl'omise of litigation if it does not involve a grnnt of injunctive l'elie.f against the Eagle Entiti<.'s and the amount paid to the
     otber paities (including as reimbmsement of legal fees and expenses) in respect of all such settlements and compromises of litigation does not
     exceed $2,000,000 in the aggregate;

          (m) enter into or amend any agreement or airnngement tbat will be a Spinco Contract as of tbe Closing with any Affiliate of Burgundy or any
     Burgundy Subsidiary (other than Spinco or a Spinco Subsidiary);

           (n) except in tbe ordinary comse of business, or as requiJed by Law, terminate or fail to use conunercially reasonable efto1t s to renew any
     Spinco Material Contract, or any Contract that provides for annual payments in excess of $2 million by or to any member of the Spinco Group, or
     modify, amend, waive, release or assign any material rights or claims under any sucb Contract or any Spinco Material Contract, or enter into any
     Spinco Material Contract or any Contract that provides for annual payments in excess of $2 million by or to any member of the Spinco Group, in
     any such case, not in the ordinary course of business consistent with past practice;

            (o) issue to Cunent Spinco Employees any addi tional Bmgundy Options or Bmgundy PSU Awards tbat would be subject to Section 3.4 of
     th is Agreement, or modify or waive the terms of any outstanding Burgundy Options or Burgundy PSU Awards that are subject to Section 3.4 of
     this Agreement, or modify or waive tbe terms of any Burgundy Stock Plan as applied to any outstanding Burgundy Options or Burgundy PSU
     Awards that are subject to Section 3.4 of this Agreement;

           (p) fail to make an amount of capital expenditures for tbe Eagle Business set fo1th in Section 8.2(p) of the Burgundy Di sclosure Letter; or

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           (q) agree or commit to do any oftbe foregoing actions.

           Section 8.3 Tax Matters.

           (a) Certain Tax Effo1ts. Prior to the Effective Time, and from time to time, each of Bw·gundy, Spinco and Grizzly agrees to use its reasonable
     best effo1ts to (i) cause tbe Contribution and Distribution, taken together, to qualify as a " reorganization" witbin tbe meaning of Section 368(a)(J)
     (D) of the Code; (ii) cause the Merger to qualify as a "reorganization" within the meaning of Section 368(a) of the Code; and (iii) facilitate the
     issuance oftbe Private Letter Ruling (including tbe IRS D Reorganization Ruling and tbe IRS Debt Exchange Ruling), including by (x) in the case of
     Burgundy, modifying or terminating the Burgundy Couunitment Letter and (y) in the case of Grizzly, consenting to such changes to the Burgundy
     Conunitment Letter, in eacb case as may be reasonably necessa1y or appropriate to facilitate tbe issuance oftbe IRS Debt Exchange Ruling. In tbe
     event that, as a result of any modification or temlination efiected as a result of this Section 8.3, the Burgundy Commitm ent Letter no longer
     provides for the exchange of Spinco Exchange Debt in full satisfaction of the Burgundy Debt (the "Trigger Event"), G1izzly shall use its reasonable
     best efforts to aJTange and obtain a bridge facility from the lenders under tbe Burgundy Financing for tbe puipose of financing the Special Above
     Basis Debt/Cash Distribution as promptly as practicable following the occunence of the Trigger Event, including using reasonable best efio11s to
     enter into definiti ve agreements w itb respect thereto.

           (b) IRS Ruling.
                  (i) Burgundy has submilted to the IRS a request (the "Ruling Request") for the IRS D Reorganization Ruling, the IRS Debt Exchange
           Ruling and ce11ain related rulings. Burgundy in consultation with Grizzly, shall prepare and submit to tbe IRS supplemental materials relating
           thereto that Burgundy detemlines are necessary or appropriate to obtain the requested rulings from the IRS (each, an "IRS Submission"). As
           soon as reasonably practicable after the date of thi s Agreement, Burgundy sball submit one or more sucb IRS Submissions tbat include, but
           need not be liulited to, the modifications described in Schedule 8.3(b Xi) of this Agreement (the "Specified Submissions"). Burgundy shall
           provide Grizzly witb a reasonable opportunity to review and conunent on each material IRS Submission prior to tbe filing of such IRS
           Submission with the IRS and Burgundy shall, in good faith, consider any couunents provided by Grizzly on each such material IRS
           Submission; provided that Bw·gundy may redact from any lRS Submission any information ("Redactable Information") that (x) Bw·gundy, in
           its good faith judgment, considers to be confidential and not germane to G1izzly's or Spinco's obligations under this Agreement or any of the
           other T ransaction Agreements, and (y) is not a part of any other publicly available information, including any non-confidential filing. No IRS
           Submission (including, without linlitation, the Specified Subulissions) shall be filed with the IRS unless, prior to such filing, Grizzly shall have
           agreed (whicb agreement will not be withheld unreasonably, conditioned or delayed) as to the contents ofsucb IRS Submission, to the
           extent that such contents include statements or representations that G1izzly reasonably and in good faith detemlines will have a material
           effect on G 1izzly or any of its Affiliates (including Spinco or tbe Spinco Subsidiaries for pe1iods after the Effective Time) (it being agreed and
           understood that Grizzly bas consented to the statements and representations in the Ruling Request). Burgundy shall provide Grizzly with
           copies of eacb IRS Submission as filed with tbe I RS promptly following tbe filing tbereof, provided that Burgundy may redact any Redactable
           lnfo1mation from the IRS Subulission.

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                 (ii) Subject to Schedule 8.3(b)(ii), Burgundy shall use its reasonable best effo1ts to notify Grizzly and G1izzly's representatives of any
           substantive conununications with the IRS regarding any material issue arising with respect to the Ruling Request, including, without
           limitation, the Specified Submission, and to give G1izzly (orGiizzly's representatives) a reasonable oppo1tunity to pa1ticipate in any meetings
           or conferences with IRS personnel regarding such material issue, whether telephonically, in person or otherwise. Solely for the avoidance of
           doubt, nothing in thi s Section 8.3<b)(ii) shall provide grounds for Spinco or Grizzly to alter any obligation or limitation imposed upon it under
           this Agreement.

            (c) Distribution Tax Opinion. Each of Burgundy, Spinco and Grizzly agrees to use its reasonable best effo1ts to obtain the Distribution Tax
     Opinion. The Distribution Tax Opinion shall be based upon the Ruling Request, the IRS Submissions and the Private Letter Ruling (including the
     IRS D Reorganization Ruling and the IRS Debt Exchange Ruling) and customary representations and covenants, including those contained in
     ce1tificates of Burgundy, Spinco, Grizzly and others, reasonably satisfacto1y in fonn and substance to Burgundy Tax Counsel (such
     representation s and covenants, the "Distribution Tax Representations"). Each of Burgundy, Spinco and Grizzly shall deliver to Burgundy Tax
     Counsel for purposes of the Distribution Tax Opinion customary Distribution Tax Representations, reasonably satisfacto1y in fonn and substance
     to Burgundy Tax Counsel.

            (d) Merger Tax Opinions. Burgundy and Spinco, on the one hand, and Grizzly, on the other hand, shall cooperate with each other in
     obtaining, and shall use theiJ respective reasonable best efforts to obtain, a written opinion of Burgundy Tax Counsel, in the case of Burgundy
     and Spinco, and Jones Day, in the case of Grizzly ("Giizzly Tax Counsel"), in fonn and substance reasonably satisfactory to Burgundy and Grizzly ,
     respectively (each such opinion, a "Merger Tax Opinion"), dated as of the Effective Time, to the effect that, on the basis of facts, represen tations
     and assumptions set fo11h in such opinion, the Merger will be treated as a "reorganization" within the meaning of Section 368(a) of the Code. Each
     of Grizzly, Burgundy and Spinco shall deliver to Grizzly Tax Counsel and Burgundy Tax Counsel for pu1poses of the Merger Tax Opinions
     customary representations and covenants, including those contained in certificates of Grizzly, Burgundy, Spinco and others, reasonably
     satisfacto1y in fom1 and substance to Grizzly Tax Counsel and Burgundy Tax Counsel.

           (e) Canadian Tax Matters.
                (i) Each of Burgundy and Grizzly, together with Burgundy Tax Counsel, Grizzly Tax Counsel, and their other respective advisors as
           determined by each , shall consult with each other in good faith, and shall consult together with and seek a ruling (the "CRA Ruling
           Request") from the Canadian Revenue Agency ("CRA") substantially to the effect that the "Canadian Butterfly" transactions described in
           the Ruling Request (the "Canadian Butterfly Transaction") will qualify as a tax-free tran saction for Canadian income tax puiposes under the
           potential transaction structures contemplated by Burgundy and Grizzly and in accordance with Schedule 8.3(e).

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                 (ii) Bw·gundy shall (A) notify Grizzly and G1izzly's representatives of any substantive conununications with the C RA regarding the
          effect of the Merger on the intended tax-free treatment of the Canadian Butterfly Transaction for Canadian income tax pmposes, give Grizzly
          (or Grizzly's representatives) a reasonable oppo1tunity to pa1t icipate in any scheduled meetings or conferences with CRA personnel
          regarding the efiect of the Merger on the intended tax-free treatment of the Canadian Butterfly Transaction, whether telephonically, in person
          or otherwise, and use reasonable best effo1ts to schedule or re-schedule any meetings or conferences with the CRA personnel regarding the
          effect of the Merger on the intended tax-free treatment of the Canadian Butterfly Transaction; and (B) use its reasonable best efforts to
          notify Grizzly and Grizzly's representatives of any substantive communications with the CRA regarding any material issue arising with
          respect to the CRA Ruling Request and to give Grizzly (orGrizzly's representatives) a reasonable oppo1tunity to paiticipate in any meetings
          or conferences with CRA personnel regarding such material issue, whether telephonically, in person or otherwise. Solely for tbe avoidance of
          doubt, nothing in this Section 8.3fe)fiil shall provide grounds for Spinco or Grizzly to alter any obligation or limitation imposed upon it under
          tbi s Agreement.

           Section 8.4 Proxy Statement/ Prospectus.

           (n) J\s promptly ns rensonnbly prncticnble following the dote here~f, Grizzly, Burgundy nnd Spinco shnll prepnre, nnd Grizzly shnll file with
     the SEC, the Registration Statement, including the Proxy Statement/Prospectus with respect to the transactions contemplated by this Agreement,
     and Grizzly sball use its reasonable best effo1ts to bave such Proxy Statement/Prospectus cleared by tbe SEC under tbe Exchange Act and tbe
     Registration Statement declared eITective by the SEC under the Secur ities Act, as promptly as reasonably practicable after such filings or at such
     other time as Burgundy, Spinco and G1izzly may agree. The Regi stration Statement and tbe Proxy Statement/Prospectus will comply as to form in all
     material respects with the requirements of the Exchange Act and the Securities Act and the rules and regulations of the SEC thereunder.

           (b) As promptly as reasonably practicable following the date hereof(in the event Burgundy elects to complete the Distribution by way of an
     Exchange Oiler (followed by a Clean-Up Spin-Off)) or following the mailing of the Proxy Statement/Prospectu s (in the event Burgundy elects to
     complete the Distribution by way of a One-Step Spin-Oft), in eacb case if requiJed under tbe Securiti es Act and/or Exchange Act (or otherwise
     required by the SEC), Grizzly, Burgundy and Spinco shall prepare, and Spinco shall file with the SEC, the Spinco Registration Statement and Spinco
     shall use its reasonable best efiorts to have such Spinco Registration Statement declared efiective by the SEC under the Securities Act, as
     promptly as practicable after such filings or at sucb otber time as Burgundy, Spinco and Grizzly may agree. Tbe Spinco Registration Statement will
     comply as to form in all material respects with the requirements of the Securities Act and the rules and regulations of the SEC thereunder.

           (c) As promptly as practicable after the date on wbich tbe SEC sball clear (wbetber orally or in writing) tbe Proxy Statement/Prospectus and,
     ifrequired by the SEC as a condition to

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     the mailing of the Proxy Statement/Prospectus, the date on which the Regi stration Statement shall have been declared effective, Grizzly shall mail,
     or cause to be mailed, the Proxy Statement/Prospectu s to its stockholders.

           (d) lo the event Burgundy elects to complete the Di stribution by way of an Exchange Ofter (followed by a Clean-Up Spin-Off), as promptly
     as practicable afler tbe date tbe Spinco Registration Statement bas been declared effective, and to tbe extent sucb filings are required by applicable
     law, Grizzly, Burgundy and Spinco shall prepare and Burgundy will file with the SEC a Schedule TO (the "Schedule TO").

           (e) Grizzly shall, as promptly as practicable after receipt thereof, provide to Burgundy copies of any written conunents and advise Burgundy
     of any oral conunents with respect to the Proxy Statement/Prospectus and the Registration Statement received from the SEC. Burgundy shall, as
     promptly as practicable after receipt thereof, provide to G1izzly copies of any wri tten conunents and advise Grizzly of any oral conunents with
     respect to the Spinco Registration Statement received from the SEC.

           (I) Grizzly shall provide Burgundy wi th a reasonable opportunity to review and conunent on any amendment or supplement to the Proxy
     Statement/Prospectus or Registration Statement (which conunents shall be reasonably considered by Grizzly) prior to filing the same with the SEC,
     ~n<l with~   c.opy of~ll <nc.h filin&< m~tl" with thP. SF.r. CTri771y will ~tlvi<P. Rnr&nn<ly promptly ~ftP.r it 11'c.P.ivP.< notic.P. thP.rP.of, of thP. timP. w hP.n thP.
     Registration Statement has become effective or any supplement or amendment has been filed, of the issuance of any stop order, of the suspension
     of the qualification of the Grizzly Co11m1on Stock issuable in connection with the Merger for offering or sale in any juri sdiction, or of any request by
     the SEC for amendment of the Proxy Statement/Prospectus or the Registration Statement or conunents thereon and responses thereto or requests
     by the SEC for additional information.

           (g) Burgundy shall provide Grizzly with a reasonable opportunity to review and comment on any amendment or supplement to the Spinco
     Registration Statement or the Schedule TO (which comments shall be reasonabl y considered by Burgundy) prior to filing the same with the SEC,
     and with a copy of all such filings made with the SEC. Burgundy will advise Grizzly promptly after it receives notice thereof, of the time when the
     Spinco Registration Statement has become effective or any supplement or amendment has been filed, of the issuance of any stop order, of the
     suspension of the qualification of the Spinco Conunon Stock issuable in connection with the Di stribution for offering or sale in any ju1isdiction, or
     of any request by the SEC for amendment of the Spinco Regi stration Statement or the Schedule TO or conunents thereon and responses thereto or
     requests by the SEC for additional information.

           (h) If, at any time prior to the Effective Time, any event or ciJcumstance should occur that results in the Proxy Statemen t/Prospectus, the
     Registration Statement, the Spinco Registration Statement or the Schedule TO containing an untrue statement of a material fact or omitting to state
     any material fact required to be stated therein or necessary to make the statements therein, in light of the circumstances under which they are
     made, not misleading, or that otherwise should be described in an amendment or supplement to the Proxy Statement/Prospectus, the Registration
     Statement, the Spinco Registration Statement or the Schedule TO, Burgundy, Spinco and Grizzly shall promptly notify each other of the occuir ence
     of such event and then promptly prepare, file and clear with the SEC and mail, or cause to be mailed, to Grizzly's stockholders each such
     amendment or supplement.

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           (i) Burgundy and Spinco agree to promptly provide Grizzly with the information concerning Burgundy and Spinco and their respecti ve
     Afiiliates required to be included in the Proxy Statement/Prospectus and the Registration Statement. In furtherance of the foregoing, Burgundy
     and Spinco shall use all reasonable best effo1t s to, or shall use all reasonable best efforts to cause their respective representati ves to, furni sh
     promptly to G1izzly such additional financial and operating data and other infonnation, as to their and their respective Subsidiaries' bu sinesses as
     Grizzly may require in connection with the preparation of the Proxy Statement/Prospectus and the Registration Statement.

            (j)Grizzly agrees to promptly provide Burgundy and Spinco with the information concerning (frizzly and its Affiliates requi1·ed to be included
     in the Spinco Registration Statement and the Schedule TO. In fu1therance of the foregoing, (frizzly shall use all reasonable best effo11s to, or shall
     use all reasonable best effo1t s to cause its representatives to, furni sh promptly to Burgundy and Spinco such additional financial and operating
     data and other infonnation, as to it and its Subsidiaries' bu sinesses as Burgundy and Spinco may require in connection with the preparation of the
     Spinco Registration Statement and the Schedule TO.

           Section 8.5 S tockholders Meeting.

           (~)A< promptly~< pr~c.tic.~hlP.   follow in& thP. llMP. on whic.h thP. S F.<: <h~ ll dP.~r (whP.thP.r or~lly or in w1itinR) thP. Proxy StMP.mP.nt!Pro<pP.c.tn<
     and, if required by the SEC as a condition to the mailing of the Proxy Statement/Prospectus, the Registration Statement shall have been declared
     effective, Grizzly shall call a meeting of its stockl1olders (the "Grizzly Stockholders Meeting") to be held as promptly as practicable for the pu1pose
     of voting upon (i) the issuance of shares of Grizzly Conunon Stock pursuant to the Merger and (ii) related matters (including, to the extent
     applicable, the tran sactions contemplated by Schedule 8.3(e)). This Agreement shall be submitted to the stockholders of Grizzly at such meeting
     for the purpose of obtaining the approval by the stockholders of Grizzly of the issuance of shares of Grizzly Common Stock pursuant to the Merger
     (and, to the extent applicable, the transactions contemplated by Schedule 8.3(e)). Grizzly shall deliver, or cause to be delivered, to Grizzly's
     stockl1olders the Proxy Statement/Prospectus in definitive form in connection with the Grizzly Stockl1olders Meeting at the time and in the manner
     provided by the applicable provisions of the DGCL, the Exchange Act and the G1i zzly Chatter and (frizzly Bylaws and shall conduct the G1i zzly
     Stockholders Meeting and the solicitation of proxies in connection therewith in compliance with such statutes, the Grizzly Chaiter and Grizzly
     Bylaws.

            (b) Subject to the provisions of this Agreement, the Proxy Statement/Prospectus shall include the (frizzly Reconunendation and (frizzly shall
     use its reasonable best efforts to obtain the Grizzly Stockl1older Approval; provided, however, that if the Gli zzly Board effects a Change in
     Reconunendation, Grizzly may cease to use such effo1ts; provided, further, that in such event, Grizzly shall neve1theless call the Grizzly
     StockJ1olders Meeting for the pu1poses of voting on the matters set fo1th in Section 8.5(a) and submit such matters to the vote of the Grizzly
     Stockholders.

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           Section 8.6 Listing. As promptly as practica ble following the date hereof, Grizzly shall make application to the NYS E for the listing of the
     shares of Grizzly Common Stock to be issued pw-suant to the transactions contemplated by this Agreement and use all reasonable best effo11s to
     cause such shares to be Approved for Listing.

           Section 8.7 Reasonabl e Best Efforts.

            (a) Subject to the terms and conditions of thi s Agreement, each party will use its reasonable best effo1t s to take, o r cause to be taken, all
     actions and to do, or cause to be done, and to assist and cooperate with the o ther parties in doing or causing to be done, all things necessary ,
     proper o r advisable under this Agreement and applicable Laws to consummate the Merger and the other transactions contemplated by this
     Agreement as soon as practicable after the date hereof, including (i) preparing and filing as promptly as practicable all documentation to effect all
     necessaty applications, notices, petitions, filings and Tax ruling requests and to obtain as promptly as practicable all Grizzly Approvals and
     Burgundy Approval s and all other consents, waivers, licenses, o rders, registrations, approval s, permits, rulings, authorizations and clearances
     necessary or advisable to be obtained from any third patty and/or any Governmental Authority in order to consummate the Merger or any of the
     other tran sactions contemplated by this Agreement (collectively, the "Auurnvals"), (ii) taking all reasonable steps as may be necessary to obtain
     nil Approvnls (inc.luding G rizzly providing n gunrnntee ofSpinco's obligntions ns rensonnbly necessnry to obtnin s uch Approvnls) nnd (iii) toking
     reasonable effo1t s to share information protected from di sclosure under the attorney-client privilege, work product doctrine, joint defense privilege
     o r any o ther privilege pursuant to this Section 8.7 in a manner so as to preserve the applicable privilege. Notwithstanding anything to the contrary
     in this Section 8.7, materials provided to the other pru1y or its outside counsel may be redacted to remove references concerning valuation. In
     fu1therance and not in limitation of the foregoing, each party hereto agrees to make (i) an appropriate filing ofa Notification and Repo1t Fonn
     pursuant to the HSR Act with respect to the transactions contemplated hereby as promptly as practicable, and in any event within 20 Business
     Days after tbe date hereof, (ii) appropriate filings, if any are required, witb foreign regulatory authorities in accordance witb applicable competition,
     merger control, antitrust, investment or similar applicable Laws, including the Competition Act ("Foreign Competition Laws"), with respect to the
     transaction s contemplated hereby as promptly as practicable and (iii) all other necessary filings witb otber Governmental Authorities relating to tbe
     Merger, and , in each case, to supply as promptly as practicable any additional infonnation and docUU1entary material that may be requested
     pursuant to sucb applicable Laws or by sucb authorities and to use reasonable best effo1ts to cause tbe expiration o r termination oftbe applicable
     waiting periods under the HSR Act and tbe receipt oftbe Approval s under sucb other applicable Laws or from such authorities as soon as
     practicable. ln connection witb and without limiting the foregoing, each of Grizzly and Merger Sub, on the one band, and Burgundy and Spinco, on
     the other hand, shall, in connection with the efforts referenced in this Section 8.7 to obtain all Approvals, use its reasonable best eITorts to (i)
     cooperate in all respects with eacb otber in connection witb any filing o r submi ssion and in connection with any investigation o r other inquiry ,
     including any proceeding initiated by a private pru1y, (ii) promptly infom1 the other pru1y of any communication received by such party from, or
     given by such paity to, tbe Antitrust Divi sion of tbe Depaitment of .Justice (tbe " OOJ "), the Federal Trade Conm1ission (tbe "FTC") o r any otber
     Governmental Authority and of any material communication received or given in connection with any proceeding by a private patty , in each case
     regarding any of the tran saction s contemplated bereby (and in each

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     case, if any such communication is in writing, share a copy with the other party) and (iii) pemlit the other pruty to review in advance any
     conununication to be given by it to, and consult with each other in advance of any meeting or material telephone call with, the DOJ, the FTC or any
     such other Governmental Authority or, in connection with any proceeding by a private party, with any other Person, and to the extent permitted by
     the DOJ, the FTC or such other applicable Governmental Authority or other Person, give the other pa1ty the oppo11unity to attend and pa1ticipate
     in such meetings and conferences.

           (b) Without limiting this Section 8.7, but subject to the next sentence of thi s Section 8.7Cb), each of the pa1ti es agrees to take, or to cause to
     be taken, any and all steps and to make any and all undertakings necessary to avoid or eliminate each and eve1y impediment under any antitrust,
     merger control , competition or trade regulation Law that may be asse1ted by any Governmental Authority with respect to the Merger so as to
     enable the Closing to occur as soon as reasonably possible, including proposing, negotiating, conunitting to, and eITecting, by consent decree,
     hold separate order, or otherwise, the sale, divesti ture, licensing or disposi tion of such assets or businesses of Spinco (or the Spinco Subsidiaries)
     or Grizzly (or the Grizzly Subsidiru·ies), as applicable, or otherwise taking or comnlitting to take actions that linlit Spinco's or the Spinco
     Subsidiaries' or Griz:zly's or the G1izzly Subsidiaries', as applicable, freedom of action with respect to, or theiJ ability to retain, any of the
     businesses, product lines or assets ofSpinco (or the Spinco Subsidiaries) or Grizzly (or the Grizzly Subsidiaries), in each case, as may be required
     in ordu 10 avoid the en11·y of, or 10 elfoet the dissohnion oJ~ any injunction, 1empo1·ai·y resn·aining order, 01· othe!' order in any suit 01· p1·oeeeding,
     which would otherwise have the effect of preven ting the Closing; provided that the effectiveness of any such sale, divestiture, license or
     disposition or action or comulitment shall be contingent on consunuuation of the Merger. Notwithstanding the foregoing, the obligations of this
     Section 8.7Cb) (i) shall not apply to each of the pa1ties if compliance with this Section 8.71b) would result in, o r would reasonably be expected to
     result in, a Mate1ial Adverse Effect on the Eagle Business and (ii) for the avoidance of doubt, shall not require Burgundy to agree to any sale,
     divestiture, licensing or disposition of any assets or businesses, or restriction or change in the ownership, conduct or operations of any assets o r
     businesses, that are not included in the Eagle Business.

           Section 8.8 Accountin11 Matters.

           (a) In connection with the info1mation regarding the Eagle Business or the transactions contemplated by this Agreement provided by Spinco
     specifically for inclusion in, or incorporation by reference into, the Proxy Statement/Prospectus, the Registration Statement and the Spinco
     Registration Statemen t, to the extent that such letters are customarily delivered, Burgundy shall use all reasonable best effo1t s to cause to be
     delivered to Grizzly two letters ofDeloitte & Touche LLP, one dated the date on which each of the Registration Statement and the Spinco
     Registration Statement shall become effecti ve and the other dated the Closing Date, and addressed to Grizzly and Merger Sub, in form and
     substance reasonably satisfactory to Grizzly and customru·y in scope and substance for letters delivered by independent public accountants in
     connection with registration statements similar to the Registration Statement and the Spinco Registrati on Statement.

           (b) In connection with the info1mation regarding Grizzly or its Subsidiaries or the transactions contemplated by this Agreement provided by
     G1izzly specifically for inclusion in, or

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     inco1poration by reference into, the Proxy Statement/Prospectus, the Registration Statement and the Spinco Registration Statement, to the extent
     tbat sucb letters are customarily delivered, Grizzly sball use all reasonable best efforts to cause to be delivered to Spinco two letters of each of
     Deloitte & Toucl1e LLP and Ernst & Young LLP, one dated the date on which each of tbe Registration Statement and the Spinco Registration
     Statement shall become effective and the other dated the Closing Date, and addressed to Burgundy and Spinco, in fonn and substance reasonably
     satisfactory to Burgundy and cu stomary in scope and substance for letters delivered by independent public accountants in connection with
     registration statements similar to the Registration Statement and tbe Spinco Registration Statement.

           Section 8.9 Access to Infonnalion. Upon reasonable notice, (i) each of the Eagle Entities and Spinco, on the one hand, and (ii) Grizzly, on the
     other band, shall, subject to applicable Law, afford to tbe other and to its respective officers, employees, accountants, counsel and other
     authorized representatives, reasonable access dur ing normal business hours, throughout the period prior to the earlier of the Efiective Time or the
     Termination Date, to its and its Subsidiaries' officers, employees, accountants, consultan ts, representatives, plants, prope1ties, Contracts,
     conunitments, books, records (including Tax Retwns) and any repo11, schedule or other document filed or received by it pursuant to the
     requirements of the federal or state securities laws, and shall use all reasonable best efforts to cause its respective representatives to furni sh
     promptly to the other such additional financial and operating data and other iufonnation, including environmental infonnation, as to its and its
     Subsidiaries· respective businesses and prop<!rtics us the others or their respective duly imthorized represenmtivcs, as the case may be, may
     reasonably request; provided that nothing in thi s Agreement sball require any Person to permit any inspection or disclose any information to
     another Person that would cause a violation of any Contract, would cause a risk of a loss of privilege to the fast Person, that is competitively
     sensitive information or to permit another Person to pe1fonn any onsite procedure with respect to any of the fi rst Person's or its Subsidiaries'
     properties (provided that the Person that would otherwise be required to disclose infonnation to the other shall take any and all reasonable action
     necessary to permit such di sclosure without sucb loss of privilege or violation of agreement or Law). Notwithstanding any provision of thi s
     Agreement to the contrary, none of the patties shall be obligated to grant any access or make any disclosure in violation of applicable Laws or
     regulations, or if it would unreasonably inte1fere witb the conduct of such party's business or result in damage to prope1ty (otber than inunate1ial
     damage), without that party's written consent (which that pruty may grant or deny at its sole discretion), or grant any access to, or make any
     di sclosure of, any customer Contracts. The parties hereby agree tbat tbe provisions of tbe Confidentiality Agreement shall apply to all information
     and material fwni shed by any pa1ty or its representatives thereunder and hereunder. The Confidentiality Agreement shall sw·vive any tennination
     oftbis Agreement.

           Section 8.10 Acqui sition Proposals.

           (a) Grizzly will not, and will cause its Subsidia1ies not to, and will use its reasonable best elfo1ts to cause Grizzly's and its Subsidiru·ies'
     respective officers, directors, employees, agents and representatives (including any investment banker, attorney or accountant retained by it or
     any of its Subsidiaries, the "Representatives") not to, (i) initiate or solicit, or knowingly facilitate, assist or encourage, directly or indirectly, any
     inquiries with respect to, or the encouragement or making of, any Grizzly Acquisition Proposal, (ii) except as pemlitted below in Section 8.J()(b),

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     engage in negotiations or discussions with, fumish access to its properties, books and records or provide any infonnation or data to, or cooperate
     witb, any Person relating to a G1izzly Acqui sition Proposal, (iii) except as permitted below in Section 8. IO(d), approve, endorse or reconunend, or
     propose publicly to approve, endorse or recommend, any Grizzly Acquisition Proposal, (iv) execute or enter into any letter of intent, agreement in
     principle, merger agreement, acquisition agreement or other similar agreement relating to any Acquisition Proposal (other than an Acceptable
     Confidentiality Agreement entered into in accordance with Section 8.JQ{b)), (v) waive, tenninate, modify or fail to enforce any provision of any
     " standstill" obligation of any Person otber tban Burgundy, (vi) take any action to make tbe provi sions of any "fair price," "morato1ium," "control
     share acquisition," "business combination" or other similar anti-takeover statute or regulation (including any transaction under, or a third party
     becoming an "interested sbarebolder" under, Section 203 oftbe DGCL) inapplicable to any transactions contemplated by a Grizzly Acquisition
     Proposal (and , to the extent pe1mitted thereunder, Grizzly shall promptly take all steps necessary to temlinate any waiver that may have been
     heretofore granted, to any Person otber tban Bu rgundy or any of Burgundy's Affiliates, under any sucb provi sions), or (vii) resolve, propose or
     agree to do any of the foregoing. Grizzly shall iuunediately cease any solicitations, discussions or negotiations with any Person that has made or
     indicated an intention to make a Grizzly Acqui sition Proposal (except Burgundy, Spinco and tbeiJ respective Representatives). It is understood tbat
     any violation of the restriction s set fo1ih in thi s Section 8. IO(a) by any of the Grizzly Subsidiaries or any of Gli zzly's or the G1izzly Subsidiaries'
     Representatives shall be deemed to be a breach of this Section 8.JO(a) by Grizzly.

            (b) Notwithstanding anything to the contrary in this Agreement, at any tin1e prior to obtaining the Grizzly Stockholder Approval , in the event
     that Grizzly receives a bona JI.de written G1izzly Acquisition Proposal that did not result from a breach of Section 8.JO(al, Grizzly and the Grizzly
     Board may paiticipate in di scussions or negotiations (including, as a part thereof, making any counterproposal) witb , or furni sh, pursuant to an
     Acceptable Confidentiality Agreement, any infom1ation to (provided that all such infom1ation has previously been provided or made available to
     Burgundy or is provided or made available to Burgundy substantially concu1Tently witb tbe time it is so furnished) , any Person making sucb
     Grizzly Acquisition Proposal and its Representatives or potential sources of financing if the Grizzly Board detem1ines in good faith, alter
     consultation with outside legal counsel and a financial advisor, that sucb Gl·izzly Acqui sition Proposal could reasonably lead to the receipt of a
     Grizzly Superior Proposal. In addition, nothing herein shall restrict Grizzly from complying with its disclosure obligations with regard to any Grizzly
     Acqui sition Proposal under applicable Law; provided, however, tbat any acti on tbat would constitute a Change in Recommendation may only be
     made in compliance with Section 8.IO(d). For purposes of this Agreement, a "G1i zzly Superior Proposal" means any bona JI.de written ofler made by
     a third party to acquire, directly or indirectly, by merger, consolidation or other business combination or other similar acquisition transaction, for
     consideration consisting of cash and/or securities, at least a majority of the shares of the Grizzly Conunon Stock then outstanding or all or
     substantially all of the assets of Grizzly and tbe Gli zzly Subsidia1ies, witb respect to wbich the Gli zzly Board (after consultation with outside legal
     counsel and a financial advisor) has detennined in its good faith judgment that the consummation of the transactions contemplated by such
     w1itten offer (x) would be more favorable to G1izzly's stockholders tban the Merger, after taking into account all tbe terms and conditions of such
     proposal (including the financial aspects of such proposal, the fo1m of consideration, the likelibood, ability to finance, conditionality and tinling of
     con sununation of such proposal, any break-up fees, expense reimbursement

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     provisions and any other aspects of the transaction described in such proposal, including the identity of the Person or "group" (as defined in or
     under Section 13(d) oftbe Exchange Act) making sucb proposal) and tbis Agreement (including any cbanges to tbe term s oftbis Agreement
     proposed in writing by Burgundy to Grizzly in response to such proposal or otherwise), and (y) would be reasonably likely to be completed on the
     terms proposed on a timely basis, taking into account all financial , legal, regulatory and otber aspects ofsucb proposal; and an "Acceptable
     Confidentiality Agreement" means any customary confidentiality agreement that contains provisions that are no less restrictive to such Person,
     and no less favorable to G rizzly, than those contained in the Confidentiality Agreement.

            (c) Grizzly will promptly (and in any event witbin one Business Day after receipt) notify Burgundy oftbe receipt by Grizzly of any Grizzly
     Acqui sition Proposal, which notice shall include the identity of the Person(s) making sucb Grizzly Acquisition Proposal and copies of any wri tten
     materials evidencing such Grizzly Acquisition Proposal. Grizzly will keep Burgundy reasonably informed of the status and material terms and
     condi tion s of any such G1izzly Acquisition Proposal. Without limitation of tbe foregoing, Grizzly will promptly provide to Burgundy (and in any
     event within one Business Day) any mate1ial modifications to the tenns of any Grizzly Acquisition Proposal (including promptly fumishing copies
     of any written materials evidencing such material modifications) and will promptly notify Burgundy of any determination by the Grizzly Board that
     a Grizzly Acquisition Proposal constitutes a Grizzly Superior Proposal. Grizzly shall not, and shall cause Grizzly's Subsidiaries not to, enter into any
     Conn·act with any Person subsequent to the date of this Agreement, and neither Gri zzly nor any of its Subsidiaries is party to any Contract, in each
     case, that prohibits Grizzly from complying with its obligations under th is Section 8.10.

            (d) Except as expressly pennitted by thi s Section 8. 1Q{d), G1izzly and the Grizzly Board shall not (i) fail to include the G1izzly Reconunenclation
     in the Proxy Statement/Prospectus, (ii) withhold, withdraw, amend, change, qualify or modi1y in a manner adverse to Burgundy, or publicly
     propose to witbl1old, withdraw, amend, cbange, qualify or modify in a manner adverse to Burgundy, the Grizzly Reconunendation, (iii) approve,
     endorse, adopt or recommend to the stockholders of Grizzly any Grizzly Acquisition Proposal, or publicly propose to approve, adopt or recouunend
     to the stockholders of Grizzly any Grizzly Acquisition Proposal or (iv) enter into any agreement, letter of intent, or agreement in principle requiring
     Grizzly to abandon, terminate or fail to consununate tbe transactions contemplated hereby or breacb its obligations hereunder (any of(i), (ii), (iii)
     and (iv) above being refe1red to as a "Change in Recommendation"). Notwithstanding the foregoing, the Grizzly Board, at any time prior to
     obtaining the Grizzly Stockl1older Approval , subject to Section 8. IO(e), may effect a Change in Reconunendation contemplated by clauses (i), (ii) or
     (iii) of the definition tbereof, iftbe Grizzly Board bas received a bona fide wri tten Grizzly Acqui sition Proposal tbat it determines in good faitb (after
     consultation with outside legal counsel and a financial advisor) constitutes a Grizzly Superior Proposal, and the Grizzly Board has determined in
     good faitb (after consultation with outside legal counsel) tbat the failure to effect a C hange in Reconunendation would be reasonably likely to
     constitute a breach of its fiduciary duties under applicable Law.

          (e) Notwithstanding anything to the contrary contained in this Agreement, Grizzly and tbe Glizzly Board may not make a Change in
     Recouunendation otherwise permitted by Section 8.JO(dl unless (i) it notifies Burgundy in writing of its intention to take such action at least

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     five (5) Business Days prior to taking such action, identi1ying the Person(s) making such Grizzly Superior Proposal and providing copies of any
     written mateiials evidencing such Giizzly Superior Proposal, (ii) ifrequested by Burgundy, Grizzly and its Representatives shall have made
     themselves available to discu ss with Burgundy and its Representatives any proposed modifications to the tem1s and conditions of this Agreement
     and shall have negotiated in good faith with Burgundy during such notice period to enable Burgundy to propose changes to the terms of this
     Agreement intended to cause such Gl·izzly Supe1ior Proposal to no longer constitute a Grizzly Superior Proposal , (iii) the Glizzly Board shall have
     con sidered in good faith (after con sultation wi th outside legal counsel and a financial advisor) any changes to thi s Agreement proposed in writing
     by Burgundy and determined that the Grizzly Superior Proposal would continue to constitute a Grizzly Supe1ior Proposal if such changes were to
     be given effect, and (iv) in the event of any change to any of the financial tenn s (including the fonn or amount of consideration) or any material
     tenns of such Grizzly Superior Proposal, Grizzly shall, in each case, have delivered to Burgundy an additional notice and copies of the relevant
     proposed transaction agreement and other material documents and a new tl11"ee (3) Business Day notice period shall conunence upon such
     delivery, during which time subsections (ii), (iii) and (iv) above shall apply; provided, that if any Grizzly Superior Proposal is received less than five
     (5) Business Days prior to the Grizzly Stockl1olders Meeting, or changes to the terms of a Grizzly Supe1ior Proposal are proposed less than tl11"ee (3)
     Business Days prior to the Grizzly Stockholders Meeting, then the, as applicable, five (5) Business Day or three (3) Business Day period
     contemplated above shall be shortened such that it will expiJe as of the close of business on the day preceding the Grizzly Stockholders Meeting,
     unless the Grizzly Srockholders Meering is postponed.

           (I) Nothing contained in this Section 8. 10
                                                     . shall prohibit Grizzly from (i) taking and di sclosing to its stockl1olders a position contemplated by
     Rule 14d-9 or Rule 14e-2(a) promulgated under the Exchange Act or (ii) making any disclosure to its stockholders if the Grizzly Board dete1mines in
     good faith (after consultation with its outside legal counsel) that failure to do so would be inconsistent with applicable Law, it being understood,
     however, that nothing in thi s Section 8. IOCQ shall be deemed to permit the Giizzly Board to make a Change in Reconunendation except to the extent
     pemlitted by Section 8.JO(dl.

           Section 8.11 Financing.

           (a) Glizzly shall not agree to any amendment or modification to be made to, or any waiver of any provi sion or remedy under, the Spinco
     Conunitment Letter and the Spinco Related Letter without the prior w1itten consen t of Burgundy (and, to the extent Section 8.3 is applicable, such
     consent is subject to Burgundy's obligations in Section 8.3), if such amendments, modifications or waivers would reasonably be expected to (i)
     reduce the aggregate amount of the Spinco Financing below the Below Basis Amount, (ii) impose new or additional conditions to the receipt of the
     Spinco Financing that would reasonably be expected to (A) expand in any material respect the conditions precedent or contingencies to the
     funding at Closing, (B) prevent or materially delay the consummation of the transactions contemplated by this Agreement and the other
     Transaction Agreements, or (C) materially adversely impact the ability of Grizzly to enforce its rights against the other paities to the Spinco
     Commitment Letter (provided that for the avoidance of doubt, Grizzly may, without the consent of Burgundy, replace or amend the Spinco
     Conunitment Letter and the Spinco Related Letter to add lenders, lead a!l'angers, bookrunners, syndication agents or similar en tities, ifthe addi tion
     of such additional pa11ies, individually or in the aggregate,

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     would not reasonably be expected to prevent or materially delay or impair the availability of financing under the Spinco Commitment Letter and the
     Spinco Related Letter, obtaining from the IRS the Private Letter Ruling (including the IRS D Reorganization Ruling and the IRS Debt Exchange
     Ruling) or the consummation of the transactions contemplated by this Agreement and the other Transaction Agreements) or (iii) prevent or
     mate1ially delay obtaining from the IRS the Private Letter Ruling (including tbe IRS D Reorganization Ruling and the IRS Debt Exchange Ruling).
     Grizzly and Merger Sub shall each use its reasonable best effo1ts to take, or cause to be taken, all actions and to do, or cause to be done, all things
     necessa1y, proper or advisable to arrange and obtain the Spinco Financing on the terms and conditions described in or contemplated by the
     Spinco Conunitment Letter and the Spinco Related Letter, including using reasonable best effo11s to ( 1) maintain in effect the Spinco Couunitment
     Letter and the Spinco Related Letter, (2) satisfy on a timely basis (taking into account the expected timing of the Marketing Period) all conditions
     and covenants applicable to Grizzly in the Spinco Couuuitment Letter and the Spinco Related Letter and otherwise comply with its obligations
     thereunder, (3) enter into definitive agreements substantially concun-ently with the Closing with respect thereto (the "Spinco Debt Financin1i
     Agreements") on the terms and conditions contemplated by the Spinco Couunitment Letter and the Spinco Related Letter (or terms and conditions
     (including the flex provisions) no less favorable to Grizzly and Spinco (in the reasonable discretion of Grizzly) than the terms and conditions in the
     Spinco Commitment Letter and the Spinco Related Letter), ( 4) in the event that all conditions in the Spinco Commitment Letter and the Spinco
     Related Letter have been satisfied, consununate the Spinco Financing at or prior to Closing, (5) enforce its rigbts under the Spinco Conunitment
     Lener and the Spinco Related Lener and (6) in the event that all conditions in the Spinco Commitment Lener and the Spinco Related Lerter have
     been satisfied, cause the lenders providing the Spinco Financing to fund the Spinco Financing. Grizzly shall (x) furnish to Burgundy complete,
     co1Tect and executed copies of the Spinco Debt Financing Agreements, (y) give Burgundy prompt notice ofany material breach by any party of
     the Spinco Conunitment Letter or the Spinco Related Letter or the Spinco Debt Financing Agreements of which Grizzly becomes aware or any
     termination thereof and (z) upon Burgundy's request, otherwise keep Burgundy reasonably infonned of the status ofGrizzly's effo1ts to aii-ange
     the Spinco Financing (or any replacement thereof) and the other financing transactions contemplated by th is Agreement (or any replacement
     thereol). If any po1tion of the Spinco Financing becomes unavailable on the terms and conditions contemplated in the Spinco Commitment Letter
     and the Spinco Related Letter (including the Jlex provisions) from sources contemplated in the Spinco Conun.itment Letter and the Spinco Related
     Letter, Grizzly and Spinco shall use their reasonable best efforts to ammge and obtain alternative debt financing from alternative debt sources for
     the same purposes as the purposes of the Spinco Financing in an amount not less than the Below Basis Amount upon terms and conditions not
     less favorable, taken as a whole, to Grizzly and Spinco (in the reasonable discretion of Grizzly) than those in the Spinco Commitment Letter and the
     Spinco Related Letter as promptly as practicable following the occun·ence of such event, including using reasonable best eJTo11s to enter into
     definitive agreements with respect thereto. Fmther, Grizzly may, with the prior written consent of Burgundy (which con sen t shall not be
     unJeasonably withheld , conditioned or delayed), if it so detennines in its discretion, a1range for altemative financing for the Spinco Financing from
     a third paity or paities (and, in such instance, references herein to the "Spinco Conunitment Letter" shall mean and include the written conunitment
     of such thit·d party or parties in respect thereol), if such alternative financing does not (i) reduce the aggregate amount of the Spinco Financing
     below the Below Basis Amount,

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     (ii) impose new or additional conditions to the receipt of the Spinco Financing that would reasonably be expected to (A) expand in any material
     respect the conditions precedent or contingencies to the funding at Closing, (B) prevent or materially delay the consummation of the transactions
     contemplated by this Agreement and the other Transaction Agreements, or (C) materially adversely inlpact the ability of Grizzly to enforce its
     rights against the other parties thereto, or (iii) prevent or mate1ially delay obtaining from the IRS the Pri vate Letter Ruling (including the IRS D
     Reorganization Ruling and the IRS Debt Exchange Ruling). As used herein, references to the "Spinco Financing" shall mean and include, if
     applicable, alternative financing arranged in accordance with the preceding sentence. Notwithstanding anything to the contrary, Spinco and
     Grizzly shall not and shall not permit theiJ respecti ve Affiliates to repay all or any part of the Spinco Financing, other than in accordance with
     Schedule 8.1l(a).

            (b) Burgundy shall not agree to any amendment or modification to be made to, or any waiver of any provision or remedy under, the
     Burgundy Conunitment Letter or the Burgundy Related Letter without the prior written consent of Grizzly (and, to the extent Section 8.3 is
     applicable, such consent is subject to G1izzly's obligations in Section 8.3), if such amendments, modifications or waivers would reasonably be
     expected to (i) reduce the aggregate amount of the Burgundy Financing below the Above Basis Amount, (ii) impose new or additional condi tions
     to the receipt of the Burgundy Financing that would reasonably be expected to (A) expand in any material respect the conditions precedent or
     contingencies to the funding at Closing, (B) prevent or nmtcrially delay the consununation of the transactions contemplated by this Agreement
     and the other Transaction Agreements, (C) materially adversely impact the ability of Burgundy to enforce its rights against the other parties to the
     Burgundy Conunitment Letter and Burgundy Related Letter or (D) affect in any manner the terms of the Spinco Exchange Debt. Burgundy, Spinco
     and Grizzly shall use their respective reasonable best effo11s to take, or cause to be taken, all actions and to do, or cause to be done, all things
     necessary, proper or advisable to airnnge and obtain the Burgundy Financing on the terms and conditions described in or contemplated by the
     Burgundy Conunitment Letter and Burgundy Related Letter, including using reasonable best eITorts to ( I) maintain in eITect the Burgundy
     Conunitment Letter and the Burgundy Related Letter, (2) satisfy on a timely basi s (taking into account the expected timing of the Marketing Period)
     all conditions and covenants applicable to Burgundy, Spinco and Grizzly in the Burgundy Conunitment Letter and Burgundy Related Letter and
     otherwise comply with its obligations thereunder, (3) enter into definitive agreements with respect thereto (the "Burgundy Debt Financing
     Ai:reements") on the terms and condi tions contemplated by the Burgundy Conunitment Letter and Burgundy Related Letter (or tenn s and
     conditions no less favorable to Burgundy, Spinco and Grizzly (in the reasonable discretion of Burgundy and Grizzly, respectively) than the terms
     and conditions in the Burgundy Conunitment Letter and Burgundy Related Letter), (4) in the case of Burgundy, enforce its rights under the
     Burgundy Conunitment Letter, and (5) in the event that all conditions in the Burgundy Conunitment Letter and the definitive documentation with
     respect thereto have been satisfied, cause the lenders providing the Burgundy Financing to fund the Burgundy Debt and, on the Closing Date,
     accept Spinco Exchange Debt in full satisfaction thereof. Notwithstanding the foregoing, (i) Burgundy shall have the primary responsibility, which
     will be exercised in consultation with Grizzly, with respect to the negotiation of the definitive documentation with respect to the Burgundy Debt in
     accordance with the Burgundy Commitment Letter and (ii) Grizzly shall have the sole responsibility and sole discretion with respect to the
     negotiation of the definitive documentation with respect to the Spinco Exchange Debt in accordance with the Burgundy Conunitment Letter (it
     being understood that the Spinco

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     Exchange Debt may have an interest rate up to the Total Cap if required by the lenders under the Burgundy Conunitment Letter). Grizzly and
     Burgundy shall (x) furnish to the other complete, conect and executed copies of the applicable Burgundy Debt Financing Agreements negotiated
     by them, (y) give the other prompt notice of any material breach by any party of the Burgundy Conuuitment Letter or the Burgundy Related Letter
     or any of the Burgundy Debt Financing Agreements of which either shall become aware or any tennination thereof and (z) upon request, otherwise
     keep the other reasonably informed of the status of theiJ respective effo11s to affange the Burgundy Financing (or any replacement thereof) ,
     including both the Burgundy Debt and the Spinco Exchange Debt. ff any portion of the Burgundy Financing becomes unavailable on the tenns
     and conditions contemplated in the Burgundy Commitment Letter o r Burgundy Related Letter (including the flex provi sion s) or from sources
     contemplated in the Burgundy Conuuitment Letter, Grizzly and Burgundy shall use their reasonable best efforts to affange and obtain alternative
     debt financing from alternative debt sources for the same purposes as the purposes of the Burgundy Financing in an anlount not less than the
     Above Basis Amount upon terms and conditions not less favorable, taken as a whole, to (frizzly and Burgundy (each in their respective reasonable
     discretion) than those in the Burgundy Conunitment Letter and Burgundy Related Letter as promptly as practicable following the occunence of
     such event, including using reasonable best effo1ts to enter in to defin itive agreements wi th respect thereto.

            (c) For purposes of this Agreement, "Marketing Per iod" shall mean the first period of twenty (20) consecutive Business Days (or filleen (15)
     consecutive Business Days if coaunenccd on or after January 2, 2013) throughout which (1) Grizzly shall have previously received from Spinco all
     of the Required Financial Information and during which period such information shall remain compliant in all material respects at all times with the
     applicable provi sions of Regulation S-X and S-K under the Securities Act and (H) the conditions set forth in Section 9. 1 shall be satisfied o r
     waived (other than those conditions that by their nature can only be satisfied at the Closing Date) and nothing has occuned and no condition
     exists that would cause any of the conditions set fo1th in Section 9.2 (other than those conditions that by their nature can only be satisfied at the
     Closing Date and other than the condition in Section 9.2(0) to fail to be satisfied, assuming that the Closing Date were to be scheduled for any time
     during such twen ty (20) consecutive Business Day period; provided that (i) for purposes of determining the Marketing Period, November 23, 2012
     shall be deemed not to be a Business Day and (ii) the entirety of such Marketing Period must occur prior to December 19, 2012, or at1:er Janua1y 2,
     2013; provided that in the case of this clause (ii) the Marketing Period must be complete prior to Februa1y 14, 20 13 or otherwise not commence until
     the audited financial statements of both Grizzly and Spinco for the fiscal year ended December 31 , 2012 are available; provided, fu1ther, that the
     Marketing Pe1iod will not be deemed to have conuuenced if prior to the completion of the Marketing Period, (x) Spinco's auditors shall have
     withdrawn their audit opinion contained in the Required Financial Information in which case the Marketing Period shall not be deemed to
     conunence unless and until a new unqualified audit opinion is issued with respect thereto by Spinco's auditors o r another independent public
     accounting firm reasonably acceptable to (frizzly, (y) the financial statements included in the Required Financial lnfonnation that is available to
     Grizzly on the first day of the Marketing Period would not be sufficiently cmTent on any day during such period to satisfy the requirements of Rule
     3-12 of Regulation S-X to permit a registration statement using such financial statements to be declared efiective by the SEC on the last day of
     such period, or not sufficient for the underwriters or in itial purchasers to receive a customary comfo1t letter, including customary "negative
     assurance" comfo1t, in which case the Marketing Period shall not

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     be deemed to conunence until the receipt by Grizzly of updated Required Financial Infonnation that would be required under Rule 3-12 of
     Regulation S-X to permit a registration statement using sucb financial statements to be declared effecti ve by the SEC on the last day of sucb new
     twenty (20) consecutive Business Day period, or (z) Burgundy or Spinco issues a public statement indicating its intent to restate any historical
     financial statements ofSpinco o r that any such restatement is under consideration or may be a possibility , in which case the Marketing Period
     shall not be deemed to conunence unless and until such restatement bas been completed and the relevant SEC Repo1t or SEC Repo1ts have been
     amended or Burgundy has announced that it has concluded that no restatement shall be required in accordance with GAAP; provided, fu1ther,
     tbat the Marketing Period shall end on any earlier date that is the date on wbicb the Spinco Financing is funded .

            (d) Prior to the Closing, each of Burgundy and Spinco shall and shall cause its Subsidiaries (including Spinco in the case of Burgundy) to,
     and sball use its reasonable best effo1ts to cause its respective Representati ves to, provide to (frizzly all cooperation reasonably requested by
     Grizzly that is necessary in connection with the Spinco Financing and the Spinco Exchange Debt, and any other financing by Grizzly that is
     permitted or consented to under this Agreement (a " Pennitted G1izzly Financing"), including (i) fumisbing Grizzly and its financing sources tbe
     unaudited consolidated balance sheet of Spinco and its Subsidiaries and the related consolidated statements of income, shareholders' equity and
     cash flows as of the end of any quaiterly period that ends between tbe execution of this Agreement and tbe forty-fifth (45th) day prior to the
     Closing Dure, and all Spinco infonnation, financial statements and financial data of a type and fonn customarily included in private placcmcl'lts
     pursuant to Rule J44A under the Securities Act for financings similar to the Spinco Exchange Debt and subject to exceptions cu stomary for such
     financings and including audited financial statements for each oftbe tbree most recent fiscal years ending more tban ninety (90) days prior to the
     Closing Date (the infonnation required to be delivered pursuant to this clause (i) being refoned to as the "Required Financial Info1mation"), (ii)
     paiticipating in a reasonable number of meetings (including customary one-on-one meetings witb the pa1ties acting as lead mi-augers o r agents for,
     and prospective lenders and purchasers of, the Spinco Financing, the Spinco Exchange Debt and any Permitted Grizzly Financing, and senior
     management and Representatives, witb appropriate seniority and expe1tise, of Spinco), presentations, road shows, due diligence sessions, drafting
     sessions and sessions with rating agencies, and obtaining comfo1t letters from the independent auditors, in connection with the Spinco Financing
     and the Spinco Exchange Debt and any Permitted G rizzly Financing, (iii) assisting with the preparation of customary material s for rating agency
     presentations, bank information memoranda, offering documents, private placement memoranda and similar documents required in connection with
     the Spinco Financing and the Spinco Exchange Debt and any Permitted Grizzly Financing (including requesting any consents of accountants for
     use of their reports in any materials relating to the Spinco Exchange Debt and the delivery of one or more customary representation letters), (iv)
     causing the taking of corporate actions by Spinco and its Subsidiaries reasonably necessary to permit tbe completion of the Spinco Financing and
     the issuance of the Spinco Exchange Debt to Burgundy to be applied in satisfaction of the Burgundy Debt, (v) facilitating the execution and
     delivery at tbe Closing of definitive documents related to tbe Spinco Financing and the Spinco Exchange Debt on the tenns contemplated by tbe
     Spinco Conunitment Letter, the Spinco Related Letter, the Burgundy Conunitment Letter and the Burgundy Related Letter, (vi) cooperating with
     con sultants o r otbers engaged to unde1take field examinations and apprai sals, including furnishing information to sucb persons in respect of

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     accounts receivable, inventory and other applicable assets, (vii) providing to the financing sources at least five (5) days pri or to the Closing all
     documentation and other information requi red by bank regulatory authorities with respect to Spinco under applicable "know your customer" and
     anti-money laundering rules and regulations, including the PATRIOT Act, that has been reasonably requested by such sources at least ten ( 10)
     days in advance of the C losing, and (viii) cooperating in procuring, prior to the date that is twenty (20) consecutive calendar days prior to the
     Closing Date, co1porate and facilities ratings for the Spinco Financing and the Spinco Exchange Debt; provided, however, that nothing herein shall
     require such cooperation to the extent it would interfere umeasonably with the bu siness or operations of Bw-gundy or Spinco or their Subsidiaries.
     None of Burgundy or Spinco or any of their Subsidiaries shall be requiJed to take any action that would subject it to actual o r potential liability , to
     bear any cost or expense or to pay any commitment or other similar fee or make any other payment or incw- any other liability or provide or agree to
     provide any indemnity in connection with the Spinco Financing or any of the foregoing, unless, in the case ofSpinco, such action is contingent
     upon the Closing. If the Closing does not occur , Grizzly shall indemnify and hold hamuess Burgundy, Spinco, their respective Subsidiar ies and
     theiJ respective Representati ves from and against any and all liabilities, losses, damages, claims, costs, expenses, interest, awards, judgments and
     penalties suffered o r incmTed by them in connection with any action, claim, arbitration, litigation o r suit brought by a third party related to the
     arrangement of the Spinco Financing, the Burgundy Debt and the Spinco Exchange Debt (including any action taken in accordance with this
     Section 8. 1 l(d)) and any information utili zed in connection therewith (other than hi storical information relating to Spinco or its Subsidiaries or
     other infonnation fumished by or on behalf of Spinco or its Subsidiaries). Spinco hereby consents to the reasonable use of Spinco's and its
     Subsidiaries' logos in connection with the Spinco Financing and the Spinco Exchange Debt, provided that such logos are used in a manner that is
     not intended to hann o r disparage Spinco o r any of its Subsidiaries or the reputation or goodwill of Spinco or any of its Subsidiaries. Grizzly agrees
     to provide reasonabl e cooperation and provide information reasonably required by the debt financing sources in connection with all syndication
     eJfo1ts related to the Exchange Loans.

           (e) Grizzly shall be responsible for all out-of-pocket costs , thiJd pa1ty fees and expenses related to the Spinco Financing and the Burgundy
     Financing (including all fees under the Spinco Related Letter and the Burgundy Related Letter and all indemnity claims under any of them), and all
     underwriting, sale, di stribution, placement or other fees, and indemnity claims, in connection with the di stribution of Spinco Exchange Debt,
     whether prior to o r subsequent to Closing; provided, that each pa1ty shall be solely responsible for the fees and expenses of its respective counsel
     and other consultants in connection therewith.

           (I) The pa1ties hereto acknowledge that the Burgundy Conunitment Letter contemplates, and Burgundy desires to enter into, a1Tangements
     providing for the exchange by Burgundy of Spinco Exchange Debt distributed to Bw-gundy as part of the Special Distribution pursuant to the
     Separation Agreement in full satisfaction of debt obligations of Burgundy bonowed pursuant to definitive docUlllentation contemplated by the
     Burgundy Conunitment Letter (the " Buri:undy Debt") (such exchange, the " Debt Exchani:e"), which Burgundy Debt shall provide net proceeds
     equal to the Above Basis Amount. Spinco shall issue Spinco Exchange Debt to Burgundy iuunediately prior to the Effective Time with an interest
     rate up to the Total Cap if necessary to effectuate the Debt Exchange. Each of the parties agrees to use its reasonable best effo1t s to cause the
     Debt Exchange to be consuuunated with the holders of the Bw-gundy Debt (the "Burgundy Lenders"). Without limitation of the foregoing (and in
     furtherance, not in limitation, of the covenants set fo1th in Section 8. 1ICb)):
                 (i) Subject to the second sentence of this Section 8. 11(!), Grizzly shall , in consultation with Burgundy, negotiate the tenns and
           conditions of the Spinco Exchange Debt with the Bw-gundy Lenders and shall keep Bw-gundy reasonably informed of all mate1ial
           developments. Grizzly shall, in consultation with Burgundy, detennine the final fonn of the Spinco Exchange Debt and related agreements
           (including registration rights arrangements and indenture). Bw-gundy shall , in consultation with Grizzly, determine the aiTangements relating
           to the Debt Exchange; provided that Burgundy shall keep Grizzly reasonably informed regarding such a1rnngements. Spinco shall issue the
           Spinco Exchange Debt to Burgundy on the terms negotiated by Glizzly inunediately prior to the Effective Time, and Grizzly shall accept and
           execute applicable documentation, if any, relating to the issuance of the Spinco Secw-ities by Spinco and the transfer of the Spinco Exchange
           Debt by Burgundy in satisfaction of the Burgundy Debt.

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               (ii) Each of Burgundy, Spinco and Grizzly shall cooperate in connection with the preparation of all documents and the making of all
        filings required in connection with the issuance of the Spinco Exchange Debt and the Debt Exchange and shall use all commercially
        reasonable effo1t s to take, or cause to be taken, all actions and to do, or cause to be done, all other things necessary, proper or advi sable to
        consununate the issuance of the Spinco Exchange Debt and the Debt Exchange.
               (iii) Grizzly shall, and shall use commercially reasonable efforts to cause its employees, accountants, counsel and other representatives
        to take the following actions by the date of the Debt Exchange: (A) participate in meetings, drafting sessions, due diligence sessions,
        management presentation sessions , "road shows'" and sessions with ratings agencies in connection with the marketing of the Spinco
        Exchange Debt and the Debt Exchange, (B) prepare offering memoranda, pri vate placement memoranda, prospectuses and similar documents
        (including all applicable pro forma and other financial infonnation) reasonably required to consummate the issuance of the Spinco Exchange
        Debt and the Debt Exchange, (C) assist in the preparation of and execute and/or deliver, customary underwriting placement, credit, purchase,
        indemnification, registration rights and other definitive financing agreements and execute and deliver in a timely manner such other
        certificates and documents, including solvency certificates, comfo1t letters, con sen ts, pledge and security documents and perfection
        certificates, as may be reasonably required in connection with the foregoing, and (D) take all other actions reasonably necessary in
        connection with the issuance of the Spinco Exchange Debt and the Debt Exchange.
              (iv) Burgundy and Spinco shall, and shall use conunercially reasonable effo1ts to cause its employees, accountants, counsel and other
        representatives to provide to Grizzly all cooperation reasonably requested by G1izzly that is necessary in connection with Grizzly's
        obligations pw-suant to Section 8.1 J(fl(iii), including taking the following actions by the date of the Debt Exchange: (A) providing Grizzly
        with the Required Financial lnfonnation and (B) taking all other actions reasonably necessary in connection with the issuance of the Spinco
        Exchange Debt and the Debt Exchange.

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                 (v) If despite the parties' use of reasonable best effo1t s in accordance with thi s Section 8.l ICO, (A) the Debt Exchange does not occur
          (including in the event that the Burgundy Couunitment Letter is modified in accordance with Section 8.3), and (B) the conditions set forth in
          Aiticle JX (other than those that would be satisfied at the Closing Date and other than the condition in Section 9.?(0) shall have been
          satisfied (or, to the extent pe1missible by law, waived by Burgundy), then either, as Burgundy shall elect, at its sole discretion, Burgundy
          shall (1) waive the condition in Section 9.2Cf) and require Spinco to issue to Burgundy Spinco Securities with an interest rate equal to the
          Total Cap in satisfaction of the Special Above Basis Debt/Cash Distribution, or (2) (I) waive the condition in Section 9.2(f), (II) ifthe
          conunitment for a b1idge facility to Spinco is then in effect, require Spinco to boll"ow au amount no less than the Above Basis Amount under
          such bridge facility on the terms set forth in such couunitment and (Ill) require Spinco to distribute to Burgundy an amount in cash equal to
          the Above Basis Amount in satisfaction of the Special Above Basis Debt/Cash Di stribution. To the extent that Spinco issues to Burgundy
          Spinco Securities in satisfaction of the Special Above Basis Debt/Cash Distribution in accordance with clause (I) of the foregoing, Grizzly
          and Spinco shall following the Closing reasonably cooperate with Burgundy in connection with the preparation of all documents and the
          making of all filings required in connection with a subsequent sale of the Spinco Secur ities, including taking all such actions as are required
          of Grizzly pursuant to clauses (ii) and (iii) of this Section 8. 1ICO with respect to the Spinco Exchange Debt.

           (g) In tlic event tliut tlic Below Busis Amount is incrc1mal or decreused from $225,000,000 pursuunt to tlic Sepurulion Agreement, cucli purty
     will use its reasonable best efforts to take, or cause to be taken, all actions and to do, or cause to be done, and to assist and cooperate with the
     other parties in doing or causing to be done, all things necessary, proper or advisable, pursuant to the Burgundy Commitment Letter and the
     Spinco Commitment Letter and all other financing arrangements contemplated hereby to take into account such increase in the Below Basis
     Amount.

            Section 8.12 Public Announcements. Burgundy and Grizzly shall consult with each other and shall mutually agree upon any press release or
     public announcement relating to the transactions contemplated by thi s Agreement and neither of them shall issue any such press release or make
     any such public announcement prior to such consultation and agreement, except as may be required by applicable Law or by obligations pursuant
     to any li sting agreement with any national securities exchange or automated inter-dealer quotation system, in which case the pa1ty proposing to
     issue such press release or make such public announcement shall use all reasonable best efiorts to consult in good faith with the other pa11y
     before issuing any such press release or making any such public announcement; nrovided that, subject to Section 8.1 OCel, Grizzly will not be
     requi red to obtain the prior agreement of or con sult with Burgundy in connection with any such press release or public announcement in
     connection with the Grizzly Board effecting a Change in Recommendation.

            Section 8.13 Defense of Liti~ation. Each of Burgundy, Spinco and G rizzly shall use all reasonable best effo1ts to defend against all actions,
     suits or proceedings in which such pa11y is named as a defendant that challenge or otherwise seek to enjoin, restrain or prohibit the transactions
     contemplated by this Agreement or seek damages with respect to such tran saction s. None

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     of Burgundy, Spinco or Grizzly shall settle any sucb action, suit or proceeding or fail to pe1fect on a timely basis any right to appeal any judgment
     rendered or order entered against such party therein without having previously consulted with the other parties. Each of Burgundy, Spinco and
     G rizzly sball use all reasonable best efforts to cause each of its Affiliates, directors and officers to use all reasonable best efforts to defend any
     such action, suit or proceeding in which such Affiliate, director or officer is named as a defendant and which seeks any such relief to comply with
     this Section 8.13 to the same extent as if sucb Person was a patty.

            Section 8.1 4 Advice of Changes. Burgundy and Grizzly shall as promptly as reasonably practicable after becoming aware thereof advise tbe
     other of (a) any representation or warranty made by it contained in this Agreement becoming untrue or inaccurate in any material respect, or (b) the
     failure by it to comply with or satisfy in any material respect any covenant, condition or agreement that could be complied with or satisfied by it at
     such time under this Agreement, or which bas resulted, or which, insofar as can reasonably be foreseen, would result, in any of the conditions that
     could be satisfied at such tiJlle set fo11h in Article IX not being satisfied; provided, however, that no such notification shall aITect the
     representations, wa1rnnties, covenants or agreements oftbe parties or tbe condi tions to the obligations oftbe pa1ties under tbi s Agreement. The
     failure to comply with the covenants, conditions or agreements contained in th is Section 8.14 shall not be taken into account when detennining
     whether tbe conditions set fo1tb in Section 9.2(a) or Section 9.3(a) bave been satisfied.

           Section 8.15 Section 16 Matters. Prior to the Efiective Time, Grizzly and Spinco shall take all such steps as may be required to cause any
     dispositions of Spinco Conunon Stock (including derivative securities with respect to Spinco Conunon Stock) or acquisitions of Grizzly Conunon
     Stock (including derivative secw·ities with respect to G1izzly Couunon Stock) resulting from the transactions contemplated by this Agreement by
     each individual who is subject to the repo1t ing requiJements of Section J6(a) of the Exchange Act with respect to Grizzly or Spinco to be exempt
     under Rule J6b-3 promulgated under the Exchange Act, such steps to be taken in accordance with applicable SEC mies and regulations and
     inte1pretations of the SEC staff.

            Section 8.16 Control of Other Pruty's Business. Nothing contained in th is Agreement shall give Burgundy or Spinco, du·ectly or indirectly,
     tbe rigbt to control or direct Grizzly's operations prior to the Effective Time. Nothing contained in tbi s Agreement sball give Grizzly, diJectly or
     indirectly, the right to control or direct the operations of the Eagle Business, or the bu siness of Spinco and the Spinco Subsidiaries prior to the
     Effective Tin1e. Prior to the Effective Tin1e, each of Burgundy, Spinco and Grizzly shall exercise, consistent with the terms and conditions of this
     Agreement, complete control and supervision over its respective operations.

           Section 8.17 Spin co Share Issuance. Prior to the Effective Time, Spinco will authorize the issuance of a nwnber of shares of Spinco Couunon
     Stock sucb that tbe total number of shares ofSpinco Common Stock outstanding inunediately prior to tbe Effective Time will equal the number of
     sbares of Burgundy Conunon Stock outstanding inm1ediately prior to the Effective Time.

           Section 8.18 Takeover Statutes. If any "fair price," "moratorium," "control share acquisition" or other form ofantitakeover statute or
     regulation shall become applicable to the transactions contemplated hereby, Grizzly and Merger Sub and their respective Boru·ds of

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     DiJectors shall use all reasonable effo1ts to gran t such approval s and take such actions as are reasonably necessary so that the transactions
     contemplated hereby may be consull1111ated as promptly as practicable on the terms contemplated hereby and otherwise act to eliminate or minimize
     the effects of such statute or regulation on the transactions contemplated hereby.

           Section 8.19 Financials.

           (a) As soon as reasonably practicable after the date of this Agreement, but in no event later than the date that is one hundred twenty (120)
     days after the date of thi s Agreement, Burgundy will provide Grizzly with the audited combined financial statements of the Eagle Business,
     including the combined balance sheets of the Eagle Business as of December 31, 2010 and December 31, 2011 , and the combined statements of
     income, equity and cash flows of the Eagle Business for the fi scal years ended December 3 1, 2009, December 31, 2010 and December 3 l , 2011
     (collectively, the "Audited Financial Statements").

           (b) Burgundy will prepare and furni sh to G 1izzly, as promptly as practicable after the end of the applicable fi scal period, copies of the
     combined financial statements of the Eagle Business as of and for any subsequent fiscal periods for which financial statements are required to be
     included in the docwnents refe1Ted to in Se.ction.8.4. prepared in accordance with GAAP consistentl y applied, subject in the case of unaudi ted
     financial statements to normal year-end adjustments and the absence of footnotes.

           (c) Burgundy will prepare and furnish to Grizzly, as promptly as practicable after the end of each calendar month the unaudited income
     statement, balance sheet and financial summary for the Eagle Business for such month, prepared in accordance with the income statement, balance
     sheet and financial sununary attached as Schedule 8.J 9(c) of the Burgundy Di sclosure Letter.

           Section 8.20 Grizzlv Stock Option Exercise Prohibition. On or prior to the date that is tlu·ee (3) Business Days prior to the Closing Date, Grizzly
     shall prohibit the holders of options to purchase Grizzly Conunon Stock pursuant to tbe Grizzly Stock Plan from exerci sing such options until after
     the Closing and shall instruct G1izzly's transfer and other agent to prohibit the holders of options to purchase Grizzly Conunon Stock purs uant to
     the Gli zzly Stock Plan from exercising such options until after tbe Closing.

            Section 8.21 Agreement With Respect to Release of Burgundy Guarantees. To the extent required to obtain a Guarantee Release (as defined
     in the Separation Agreement) of any member of the Burgundy Group as contemplated by Section 2.10 of the Separation Agreement, Grizzly will use
     its reasonable best efforts to execute a guarantee agreement in the form of the existing agreement or guarantee or such other form as is agreed to
     by the relevant patties to such agreement or guarantee.

             Section 8.22 Agreement With Respect to Other Transacti on Agreements. Grizzly acknowledges and agrees that, notwithstanding anything in
     th is or any other Transaction Agreement to the contrary, the provisions of the Separation Agreement and any other Transaction Agreements
     affecting Gli zzly, including for the avoidance of doubt Sections 5.7 and 7.8 of the Separation Agreement, shall be binding upon Grizzly, and Grizzly
     shall be subject to the

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     obligations and restrictions imposed by those provi sions, as if(frizzly were a party thereto. Burgundy acknowledges and agrees that,
     notwithstanding anything in this or any other Transaction Agreement to the contrary, the provisions of any of the Transaction Agreements
     affecting Burgundy shall be binding upon Burgundy, and Burgundy shall be subject to the obligations and restrictions imposed by those
     provisions, as if Burgundy were a party thereto.

           Section 8.23 Dividend Policy. Grizzly intends to continue to pay quaiterly dividends from and afler the Closing at no less than the current
     rate of$0.32 per share of Grizzly Common Stock per annum, it being understood that the payment of dividends shall be subject to declaration by,
     and solely within the discretion of, the Grizzly Board.

           Section 8.24 Covenant Not to Compete.

            (a) In fw1herance of the Merger and the transactions contemplated hereby , Burgundy covenants and agrees that, for a period beginning on
     the Effective Date and ending on the second (2 00) anniversary of the Effective Time, neither Burgundy nor any of its Subsidiaries shall , without the
     prior written consent oflliizzly , engage, directly or indirectly, in the Eagle Business as conducted as of the Effective Date (the "Grizzly RestJ.icted
     Rus in.e.ss") anywhere throughout the world. Notwithstanding anything to the contrary in the foregoing:
                  (i) nothing in thi s Section 8.24(a) shall prohibit Burgundy or its Subsidiari es from engaging in the businesses conducted by Burgundy
           or its Subsidiaries (excluding the Eagle Business) on the Efiective Date;
                 (ii) nothing set forth in this Section 8.24Cal shall prohibit Burgundy or its Subsidiar ies from owning not in excess of 5% in the aggregate
           of any class of capital stock or other equity interest of any Person engaged in the Grizzly Restricted Business;
                 (iii) in the event that Burgundy completes a business combination transaction with a Person, which t1.·ansaction resul ts in the holders
           of the voting secw·ities of Burgundy outstanding inuuediately prior to the conswumation of such transaction owning less than 50% of the
           voting power of the voting securities of Burgundy or the surviving entity in the transaction or any parent thereof (any such entity, an
           "Acguiror") outstanding inunediately afler the consununation of such transaction, such Acquiror or any of its Subsidiaries or Affiliates (but
           not Burgundy or any of its Subsidia1ies) may engage in any lliizzly Restricted Business;
                 (iv) Burgundy may acquire interests in or secur ities of any Person as an investment by their pension funds or funds of any other
           benefit plan of Burgundy whether or not such Person is engaged in any Grizzly Restricted Business;
                 (v) Burgundy may acquire interests in or securities of any Person that derived 20% or less of its total revenues in its most recent fiscal
           year from activities that constitute Grizzly Rest1.·icted Businesses; provided that such Person may not use the Burgundy name in connection
           with the activities that constitute lliizzly RestJ.·icted Businesses; and
                 (vi) Burgundy may perfonn their obligations under this Agreement and the Transaction Agreements.

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     The parties hereto acknowledge and agree that nothing herein shall be deemed to requi re Burgundy to give notice to or obtain the consent of the
     Grizzly in order to engage in any activity or transaction of the types described in Section 8.24{a)(i) through Section 8.24(a)(vi) and that, in the event
     the TC! Interests are not t:ransfe1Ted to Spinco at the Closing, nothing in this Section 8.24Ca) shall prevent or limit in any way Burgundy's ability to
     hold the TCI Interests and to take any actions in connection with its ownership of the TCI Interests for so long as the TCI Interests are not
     transferred to Spinco.

           (b) Burgundy acknowledges and agrees that the covenants included in thi s Section 8.24 are, taken as a whole, reasonable in their geographic
     and temporal coverage and Burgundy shall not raise any issue of geographic or temporal reasonableness in any proceeding to enforce such
     covenant; provided, however, that ifthe provisions of thi s Section 8.24 should ever be deemed to exceed the time or geographic limitati ons or any
     other limitations permitted by applicable Law in any jurisdiction, then such provisions shall be deemed reformed in such jw·isdiction to the
     minimum extent required by applicable Law to cure such problem. Bmgundy acknowledges and agrees that in the event of a breach by Burgundy
     of the provisions of th is Section 8.24, monetary damages shall not constitute a sufficient remedy. Consequently, in the event of any such breach,
     the Grizzly may, in addition to any other rights and remedies existing in its favor, apply to any cow1 of law or equity of competent jurisdiction for
     specific performance and/or preliminary and final injunctive relief or other relief in order to enforce or prevent any violation of the provisions
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           Section 8.25 Non-Solicitation of Employees.

            (a) Burgundy and G rizzly each agree that, for a pe1iod of two (2) years from and after the C losing Date, they shall not, and they shall cause
     their respective Subsidiaries not to, without the prior written consent of the other party, directly or indirectly, solicit to hire or hire (or cause or seek
     to cause to leave the employ of the other pa1ty or the other party's Subsidiary), or enter into a consulting agreement with, any employee or
     category of employee of the other party or the other paity's Subsidiaries listed in Schedule 8.25.

            (b) The restriction s set fo1th in Section 8.25(a) shall not apply to (i) general solicitations (such as adve1tisements) for employment placed by
     a party or any pa1ty's Subsidiary and not specifically targeted at the other paity 's employees (or the employees ofa Subsidiary of the other pa1ty)
     or (ii) responding to or hiring any employee of the other pat1Y (or of the other patty's Subsidiary) who contacts a patty without any prior
     solicitation (other than as pe1m.itted by clause (i) above).

           Section 8.26 Ce1t ain Transaction A~reements. Between the date of thi s Agreement and the Business Transfer Time, Grizzly, Burgundy and
     Spinco shall negotiate in good faith to agree upon definitive agreements reflecting the fo1ms of Transition Services Agreement; the Shared
     Facilities, Services and Supply Agreement; the Electric Generation , Di stribution and Transmission Facili ties Lease; Shared Facilities Agreement -
     Monrneville; and the Servitude Agreement attached as Exhibits B, D, C, Land E, respectively, to the Separation Agreement. The parties
     acknowledge that the current forms have been pa1tially negotiated between the pa1ties but the terms of the forms including the pricing and the
     scope of services provided therein remain subject to fw1her review and revision alter Grizzly is provided appropriate access to personnel and

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     information not available prior to the date hereof. The pa1ti es intend that the agreements shall allow the paities to operate in the o rdinary course
     after the Business Transfer Time and facilitate the transition of the Eagle Business to Grizzly and the separation of the Eagle Business from
     Burgundy. The pa1ties agree that all pricing for the services provided under such agreements shall be consistent with the economics in the
     financials of the Eagle Business provided by Burgundy to Grizzly prior to the date of this Agreement.


                                                                          ARTICLElX

                                                               CONDITIONS TO THE MERGER

           Section 9.1 Conditions to the Obligations ofSpinco Burgundy Grizzly and Merger Sub to Effect the Merger. The respective obligations of
     each pa11y to consummate the Merger shall be subject to the ful1illment (or, to the extent permitted by applicable Law, written waiver by Burgundy
     and Grizzly) at or prior to the Effective Time of the following conditions:

          (a) The Spinco Reorganization and the Distribution shall have been consummated in accordance with the Separation Agreement, the IRS D
     Reorganization Ruling, the IRS Oebt exchange Ruling, and tbe Oisniburion Tax Opinion.

          (b) Any applicable waiting period under the HSR Act shall have expired or been terminated, and, ifrequired, Competition Act Approval shall
     have been obtained.

           (c) The Registration Statement and the Spinco Registration Statement, to the extent required, shall have become effective in accordance with
     the Securi ties Act and shall not be the subject of any stop order or proceedings seeking a stop order; all necessary permits and authorization s
     under state securities or "blue sky'" laws, the Secw·ities Act and the Exchange Act relating to the issuance and trading of shares of Grizzly
     Common Stock to be issued pursuant to the Merger shall have been obtained and shall be in effect; and such shares ofG1izzly Conunon Stock and
     such other shares required to be reserved for issuance pursuant to the Merger shall have been Approved for Listing.

         (d) Tue Grizzly Stockholder Approval shall have been obtained, in accordance with applicable Law and the rules and regulations of the
     NYSE.

           (e) No court of competent jurisdiction or other Governmental Authority shall have enacted any Law or issued any Order, or taken any other
     action , that is still in effect restraining, enjoining or prohi biting the Spinco Reorganization , the Distribution o r the Merger.

           Section 9.2 Additional Conditions to the Obligations of Burgundy and Spinco. The obligation of Burgundy and Spinco to consummate the
     Merger shall be subject to the fulfillment (or, to the extent permitted by applicable Law , waiver by Burgundy) at o r prior to the Eftective Time of the
     following additional conditions:

          (a) Grizzly shall have pe1fonned in all material respects all obligations and complied in all material respects with all covenants required by this
     Agreement to be perfo1med or complied with by it prior to the Effective Time.

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            (b) Each of the representations and warranties of Grizzly (i) set forth in Section 7.2(a) and Section 7.3(a) shall be true and co11"ect in all material
     respects as of the Closing Date as though made as of the Closing Date and (ii) otherwise set forth in Article VII (other than Section 7.2(a) and
     Section 7.3(a)) shall be true and co1Tect as of the Closing Date as though made as of the Closing Date, except for representations and wammties
     that speak as of an earlier date or pe1iod which shall be true and correct as of such date or period, in each case without giving effect to any
     materiality qualifiers set f01th therein, except in the case of this clause (ii) for such failures to be true and co1Tect as do not have or would not
     reasonably be expected to have, individually or in the aggregate, a Material Adverse Eftect on Grizzly.

            (c) Grizzly shall have delivered to Burgundy a certificate, dated as of the Effective Time, of a senior officer of Grizzly ce1tifying the
     satisfaction by Grizzly of the conditions set forth in subsection (a) and (b) of thi s Section 9.2.

           (d) Burgundy and Spinco shall have received the Merger Tax Opinion from Burgundy Tax Counsel, dated the Closing Date.

           (e) Burgundy and Spinco shall have received the IRS D Reorganization Ruling and the IRS Debt Exchange Ruling, each in fo1m and
     substance reasonably satisfacto1y to Burgundy and Spinco, and such rulings shall continue to be valid and in full force and effect (and, for the
     avoidance of doubt, such rulings shall not have been invalidated, modified or otherwise affected by any change in any Law on or after the date
     such rulings were issued by the IRS).

         (I) The Debt Exchange shall have been consunmiated inunediately before the Dishibution in full sati sfaction of the Burgundy Debt in an
     amount equal to the Above Basis Amount.

           Section 9.3 Additional Conditions to the Obligations of Grizzly and Merner Sub. The obligation of Grizzly and Merger Sub to consununate
     the Merger shall be subject to the fulfillment (or, to the extent permitted by applicable Law waiver by Grizzly) at or priorto the Effective Time of the
     following additional conditions:

            (a) Spinco and Burgundy shall have pe1fonned in all material respects and complied in all mate1ial respects with all covenants required by
     thi s Agreement to be pe1fonned or complied with at or prior to the Effective Time.

            (b) Each of the representations and warranties of Burgundy and Spinco (i) set fo11h in Section 5.2(a), Section 6.2(a) and Section 6.3(a) shall
     be ti·ue and co1Tect in all material respects as of the Closing Date as if made on the Closing Date and (ii) otherwise set fo1th in Aiticle V and A1ticle
     YI. (other than Section 5.2(a), Section 6.?(a), and Section 6.3(a)) shall be true and co1Tect as of the Closing Date as though made as of the Closing
     Date, except for representations and warranties that speak as of an earlier date or period which shall be true and correct as of such date or period,
     in each case without giving effect to any materiality qualifiers set fo1th therein, except in the case of this clause (ii) for such failures to be ti·ue and
     co1Tect as do not have or would not reasonably be expected to have, individually or in the aggregate, a Material Adverse EJlect on Spinco.

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          (c) Burgundy and Spinco shall have delivered to G1izzly a ce11i1icate, dated as of the Effective Time, of a senior ollicer of each of Burgundy
     and Spinco ce1tifying the sati sfaction of the conditions set forth in subsections (a) and (b) of this Section 9.3.

           (d) Grizzly shall have received the Merger Tax Opinion from Grizzly Tax Counsel, dated the Closing Date.

           (e) Spinco and Burgundy (or a Subsidiaiy thereof) shall have entered into the applicable Transaction Agreements, and to the extent
     applicable, performed the covenants to be pe1fonned prior to the Effective Time in all material respects, and each such agreement shall be in full
     force and eITect.

            (I) Income Before Income Taxes of the Eagle Business for the fiscal years 20 I 0 and 2011 as reported in the Audited Financial Statements
     delivered pursuant to Section 8. 19 shall not be less than the Income Before Income Taxes target amounts for each of such fiscal years as repo11ed
     in the unaudited financial statemen ts of the Eagle Business and indicated in Section 9.3(1) of the Burgundy Di sclosure Letter.


                                                                           ARTICLEX
                                                       TERMINATION, AMENDMENT AND WAIVERS

           Section JO.I Tennination. Notwithstanding anything contained in this Agreement to the contrary, this Agreement may be terminated and the
     transactions contemplated hereby may be abandoned prior to the Effective Time, whether before or afler Grizzly Stockholder Approval:

           (a) by the mutual written consent of Burgundy and Grizzly;

           (b) by either Burgundy or Grizzly, if the Efiective Time shall not have occurred on or before May 18, 2013 (the "Tennination Date"); provided,
     however, that the right to terminate this Agreement under thi s Section 10. l(b) shall not be available to any pa1ty whose failure to fulfill any
     obligation under this Agreement (including such pa1ty 's obligations set fo1th in Section 8.3, Section 8.7 or Section 8.1 1) or the Sepai·ation
     Agreement has been the cause of, or has resulted in, the failure of the Effective Time to occur on or before the Tennination Date;

            (c) by either Burgundy or Grizzly, if any Governmental Authority shall have issued an o rder, decree or mling or taken any other action
     pennanently restraining, enjoining or otherwise prohibiting the transactions contemplated by this Agreement, and such order, decree, ruling or
     other action shall have become final and nonappealable; provided, however, that the right to terminate this Agreement under this Section 1. 0. l(c)
     shall not be available to any pai1y whose failure to comply with Section 8.7 has been the cause of, or has resulted in, such action or inaction;

            (d) by Grizzly, if either Burgundy o r Spinco shall have breached or failed to pe1form in any material respect any of its respective
     representations, wai-ranties, covenants or other agreements contained in this Agreement, which breach or failure to perform (i) would result in a
     failure of a condition set fo1th in Section 9. 1 o r Section 9.3 and (ii) cannot be cured by the Termination Date; provided that Grizzly shall have given
     Burgundy w1itten notice, delivered at least

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     thirty (30) days (or such lesser time remaining prior to the Termination Date) prior to such tennination, stating Grizzly's intention to terulinate this
     Agreement pursuant to this Section 10. l(d) and the basis for such termination;

             (e) by Bw-gundy, if Grizzly shall have breached or failed to perforu1 in any material respect any of its representations, waiTanties, covenants
     or other agreements contained in this Agreement, which breach or failure to pe1fon11 (i) would result in a failure of a condition set fo1th in Section
     2,.1 or Section 9.2 and (ii) cannot be cured by the Termination Date; provided that Burgundy shall have given Grizzly written notice, delivered at
     least thirty (30) days (or such lesser time remaining p1ior to the Terulination Date) prior to such te1mination, stating Burgundy's intention to
     teru1inate the Agreement pursuant to this Section JO. He) and the basis for such te1mination;

           (I) by Bw-gundy or Grizzly i1~ at the Grizzly Stockholders Meeting (including any adjoumment, continuation or postponement thereof), the
     Grizzly StockJ1older Approval sball not be obtained;

           (g) by Burgundy, if the Grizzly Board shall have efiected a Change in Recommendation; or

           (h) by Grizzly, if Burgundy shall not bave delivered the Audi ted Financial Statements by the date tbat is one hundred twenty (120) days after
     the date of this Agreement or, if upon delivery of the Audited Financial Statements, the condition in Section 9.3(1) is not met.

            Section I 0.2 Effect ofTennination. ln tbe event of tennination of tbi s Agreement pursuant to Section I0. 1, tbi s Agreement shall terminate
     (except for the Confidentiality Agreement refeiTed to in Section I I.I , the provisions of this Section I 0.2, Section I 0.3 and Ai1icle XI), without any
     liability on tbe pa1t of any Person other tban Burgundy and Grizzly to tbe extent set fortb in Section 1. 0.3; provided tbat nothing in tbis Agreement
     shall relieve any pa11y ofliability for fraud or willful breach of this Agreement or the Separation Agreement prior to such te1mination.

           Section I 0.3 Tennination Fee Payable in Certain Ci rcumstances.

          (a) Grizzly shall pay to Bw-gundy or its designee the Grizzly Terulination Fee, by wire transfer of immediately available funds to an account or
     accounts designated in writing by Burgundy, as follows:
                 (i) (A) In the event that, alter the date hereof, a Grizzly Acquisition Proposal shall have been made to Grizzly, or directly to the
           stockl1olders of Grizzly generally, or a Grizzly Acquisition Proposal sball bave otherwise become publicly known or any Person shall bave
           publicly announced an intention (whether or not conditional) to make a Grizzly Acquisition Proposal, and (B) therealler this Agreement is
           tenninated ( I) by eitber pa1ty pursuant to Section 10. l(b), (2) by Burgundy pursuant to Section 1. 0. l(e) due to breach by Grizzly of its
           covenants under this Agreement, or (3) by either pa1ty pursuant to Section 10.ICJ) (and, in the case of this clause (3) only, such G1izzly
           Acqui sition Proposal or such announcement of an intention to make a (frizzly Acquisition Proposal is publicly known and sball not have
           been irrevocably withdrawn at least five (5) days prior to the

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          Grizzly Stockholders Meeting), and (C) within twelve (12) months afler such tennination of this Agreement, any Grizzly Acquisition shall
          bave been consummated or any definitive agreement witb respect to any G rizzly Acquisition sball have been entered into (tbe earlier of entry
          into such agreement or the consununation thereof, the "Grizzly Tennination Fee Date"), then, in any such case, Grizzly shall pay Burgundy a
          fee in the amount of $24,500,000 (the "G1i zzly Tennination Fee") (less any amounts paid by G rizzly to Burgundy pursuant to Section I 0.3(a)
          iliil) within two (2) Business Days of the Grizzly Tennination Fee Date; provided that solely for purposes of this Section I0.3(a)(i), the tenn
          "G1i zzly Acqui sition Proposal" shall have tbe meaning ascribed thereto in Alticle I, except that all references in such defini tion to 25% shall
          be changed to 50%;
                (ii) in the event that this Agreement is terminated by Burgundy pursuant to Section IO.Hg), Grizzly shall promptly, and in any event not
           more than two (2) Business Days following sucb termination, pay Burgundy tbe Grizzly Tennination Fee by wiJe transfer of same day funds;
                   (iii) in the event that this Agreement is tenninated by either Grizzly or Burgundy pursuant to Section I 0. 1<O, G1izzly shall pay Burgundy
          all out-oJ:pocket fees and expenses actually and reasonably incuned by Burgundy, Spinco and their respective Afiiliates in connection with
          the tran sactions con templated by thi s Agreement (the "Buri:undy Expen ses"), up to a maitimum of tbe Burgundy Expense Limitation. In the
          event of a tennination by Grizzly pursuant to Section 10.I(J), Grizzly shall pay the Burgundy Expenses concunently with any such tem1ination
          ::un.l, iu the ca~e ofa Le1Lniua1iou hy Bu1guudy µu1~uau1 LO SecLioa 10. 1(!), G1i·" ly ~hall µay Lhe Bu1gum.ly Exµeu~e~ uo Ltno1e thau Lwo (2)
          Business Days following any such temlination, in each case by wire transfer of same day funds. The payment of the Burgundy Expenses
          pursuant to this Section 10.3(a)(iii) shall not relieve Grizzly of any subsequent obl igation to pay tbe G rizzly Tenn ination Fee pursuant to
          Section I OJ(a)(i), less the amount paid pursuant to this Section I OJ(a)(iiil; and
                  (iv) in the event that this Agreement is tenninated by Grizzly pursuant to Section 10.101), Burgundy shall pay Grizzly all out-oJ:pocket
           fees and expenses actually and reasonably incurred by Grizzly and its Affiliates in connection with the transactions contemplated by this
           Agreement ("G1izzly Expenses"), up to a max.imum of the Grizzly Expense Limitation, not more tban two (2) Business Days following any such
           teru1ination, by wire transfer of same day funds.

           (b) Tbe parties acknowledge and agree that in no event sball (frizzly be required to pay more than one Grizzly Tennination Fee or to pay the
     Burgundy Expenses if it bas paid the Grizzly Tennination Fee. Notwithstanding anything in this Agreement to the contrary, upon payment oftbe
     Grizzly Tem1ination Fee in accordance with Section 10.3Ca), G1izzly shall have no further liability to Burgundy or Spinco or their respective
     stockholders with respect to thi s Agreement or the transactions contemplated hereby (other than the obl igation to pay any amount payable
     pursuant to Section I 0.3Ccl.

          (c) ln the event tbat Grizzly sball fail to pay when due the Grizzly Tennination Fee or the Burgundy Expen ses requiJed to be paid by it
     pursuant to this Section 10.3, or Burgundy shall

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     fail to pay when due the Grizzly Expenses pursuant to Section !OJ(a)(iv), such Grizzly Termination Fee or Burgundy Expenses, or Grizzly Expenses,
     as the case may be, shall accrue interest for the period conm1encing on the date such G1izzly Termination Fee or Burgundy Expenses, o r Grizzly
     Expenses, became past due, at a rate equal to the sum of (x) the pr.inle lending rate prevailing during such period as published in The Wall Street
     Journal plus (y) 5%, calculated on a daily basis until the date of actual payment. ln addition, if either party shall fail to pay the Grizzly Termination
     Fee or Burgundy Expenses, or Grizzly Expenses, as the case may be, when due, such defaulting party shall al so pay to the other paity all of the
     other pa1ty's costs and expenses (including reasonabl e attorneys' fees), as applicable, in connection with effo1ts to collect such amounts.

            Section 10.4 Amendment. This Agreement may be amended by Burgundy, Spinco, Grizzly and Merger Sub at any time before o r after
     adoption of this Agreement by the stockholders of Grizzly; provided, however, that after such adoption, no amendment shall be made that by Law
     or in accordance with the rules of any relevant stock exchange or automated inter-dealer quotation system requires further approval by such
     stockbolders without such fu1ther approval. This Agreement may not be amended except by an instrument in writing signed by Burgundy, Spinco,
     Grizzly and Merger Sub.

             Section 10.5 Waivers. At any time prior to the Effective Time, Burgundy, Spinco, Grizzly and Merger Sub may, to the extent legally allowed,
     (i) ext.encl lho limo for lhe porfonnanco of any of lho ohligations or acts of the o lhor pa1t ies ; (ii) waive any inaccuracies in lhe re prnsentations ancl
     wan-anties of any of the other pa1ties contained herein o r in any document delivered pursuant to thi s Agreement; and (iii) waive compliance with
     any of the agreements or conditions of any of the other parties contained herein; provided, however, that no failure or delay by Burgundy, Spinco,
     Grizzly or Merger Sub in exerci sing any right hereunder shall operate as a waiver thereof nor shall any single o r pa1tial exerci se thereof preclude
     any other or further exercise thereof or the exercise of any other right hereunder. Any agreement on the pait of Burgundy, Spinco, G1izzly or
     Merger Sub to any such extension o r waiver shall be valid only if set forth in an instrument in writing signed on behalf of such party.


                                                                            ARTICLE XI

                                                                        MISCELLANEOUS

           Section I I.I Non-Survival of Representations. WaiTanties and Agreements. The covenants and agreements that by their terms are to be
     pe1fonned following the Closing pursuant to the Separation Agreement o r thi s Agreement shall survive the Effective Time in accordance with their
     terms and all other covenants and agreements herein and therein shall terminate and shall not survive the Closing. None of the representations or
     wan-anties in this Agreement or in any certificate or instrument delivered pursuant to this Agreement or any other covenant or agreement set fo11h
     herein shall su1vive the Effective Time. The Con fidentiality Agreement shall survive the execution and delivery of this Agreement and any
     termination of this Agreement, and the provisions of the Confidentiality Agreement shall apply to all information and material furnished by any
     pa1ty or its representatives thereunder or hereunder.

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           Section 11.2 Expenses. Except as otherwise specifically provided herein, including as provided in Section 8.11 or Section 10.3, whether or not
     the Merger is consununated, all Expenses (as defined below) incu1Ted in connection with this Agreement and the transactions contemplated
     hereby shall be paid by the party incmTing such Expenses, except (i) Expenses (other than foes and expenses of counsel, accountants, investment
     bankers, experts and consultants to a pa1ty hereto, which shall be borne by such pa1ty) incuITed in connection with the filing, printing and mailing
     of the Spinco Registration Statement (if required), the Registration Statement and the Proxy Statement/Prospectus, and (ii) filing fees paid to
     Governmental Authorities with respect to the transactions contemplated hereby pursuant to the HSR Act and appropriate filings, if any are
     required, with foreign regulatory authorities in accordance with Foreign Competition Laws, including the Competition Act, each of which shall be
     shared equally by (frizzly and Burgundy. ln addition, any fees and expenses incmTed in connection with seeking third party Consents or in
     connection with Section 2.7 of the Separation Agreement, shall be paid as set fo11h in the Separation Agreement. As used in th is Agreement,
     " Expenses" means all out-of-pocket expenses (including applicable filing and registration fees and all fees and expenses of counsel, accountants,
     investment bankers, expe1ts and consultants to a party hereto and its aililiates) incuned by a pa11y or on its behalf in connection with or related to
     the authorization, preparation, negotiation , execution and pe1formance of this Agreement and the transactions contemplated bereby, including the
     preparation, printing, filing and mailing of the Spinco Registration Statement (if required), the Registration Statement and the Proxy
     Statement/Prospectus and tbe solicitation of stockholder approval and all otber matters related to tbe transactions contemplated hereby.

            Section 11.3 Notices. All notices, requests, pemlissions, waivers and other conununications under th is Agreement will be in w1iting and will
     be deemed to bave been duly given (a) five (5) Business Days following sending by registered or ce1tified mail, postage prepaid, (b) when sent, if
     sent by facsinlile, provided that the facsinlile transnlission is promptly conlinned by telephone, (c) when delivered, if delivered personally to the
     intended recipient, and (d) one Business Day following sending by overnight delivery via a national courier service and, in each case, addressed
     to a pa1ty at the following address for such pru1y:
                        lfto Spinco or Burgundy, to:
                        PPG lndustries, lnc.
                        One PPG Place
                        Pittsburgh, Pennsylvania 15272
                        Fax:            (412) 434-2490
                        Attention:      General Counsel
                        witb a copy (which sball not consti tute notice) to
                        Wacbtell, Lipton, Rosen & Katz
                        51 West 52nd Street
                        New York, NY 10019
                        Fax:            (212) 403-2000
                        Attention:      Steven A. Rosenblum

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                        U-to Grizzly or Merger Sub, to:
                        Georgia GulfC01poration
                        115 Perimeter Center Place, Suite 460
                        Atlanta, Georgia 30346
                        Fax:            (770) 390-9673
                        Attention:      Chief Executive Officer
                        with a copy (which shall not constitute notice) to
                        Jones Day
                        1420 Peachtree Street, N.E.
                        Suite 800
                        Atlanta, GA 30309-3053
                        Attention: John F. 7.amer
                        Facsimile: (404) 581-8330

     or to such other address( es) as will be furnished in writing by any such party to the other party in accordance with the provisions of this Section
     m.
            Section 11.4 lntemretation. (a) When a reference is made in this Agreement to an Article or Section, such reference shall be to an Article or
     Section of this Agreement unless otherwise indicated. The table of contents to this Agreement is for reference purposes only and shall not affect
     in any way the meaning or inte1pretation of this Agreement. The descriptive headings herein are inse1ted for convenience of reference only and are
     not intended to be a substantive part of or to affect the meaning or int.e1pretation of this Agreement. Whenever the words "include," "includes" or
     "including" are used in thi s Agreement, they shall be deemed to be followed by the words "without limitation." The words " hereof," "hereby,"
     "herein" and "hereunder" and words of similar impo1t when used in thi s Agreement shall refer to this Agreement as a whole and not to any
     particular provision of this Agreement. All tefll1s defined in this Agreement shall have the defined meanings when used in any ce11ificate or other
     document made or delivered pursuant thereto unless otherwise defined therein. The definitions contained in this Agreement are applicable to the
     singular as well as the plural fom1s of such terms and to the masculine as well as to the feminine and neuter genders of such term. Any agreement,
     instrument or statute defined or refen-ed to herein or in any agreement or instrument that is refe1Ted to herein means such agreement, instrument or
     statute as from time to time amended, modified or supplemented, including (in the case of agreements or instruments) by waiver or consent and (in
     the case of statutes) by succession of comparable successor statutes, including all attaclunents thereto and instruments inco1porated therein.
     References to a Person are also to its penn.itted successors and assigns. References to a date or time shall be deemed to be such date or time in
     New York City, unless otherwise specified. References to dollar amounts are to U.S. dollars, unless otherwise specified. Each of the pruties has
     pa1ticipated in the drafting and negotiation of this Agreement. If an ambiguity or question of intent or inte1pretation arises, this Agreement must
     be construed as if it is drafted by all the parties and no presumption or burden of proof shall arise favoring or disfavoring any pru1y by virtue of
     authorship of any of the provisions of this Agreement. For avoidance of doubt, "consistent with past practice" when used with respect to Spinco
     or any of its Subsidiaries means the past practice of Burgundy with respect to the Eagle Business. Except as

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     otherwise expressly provided elsewhere in this Agreement, the Separation Agreement, or any other Transaction Agreement, any provision herein
     which contemplates the agreement, approval or con sen t of, or exercise of any right of, a pa1ty, such party may give or withhold such agreement,
     approval or consent, or exercise such right, in its sole and absolute discretion.

           (b) Any matter disclosed in any pa1ticular Section or Subsection of the Bw-gundy Disclosure Letter, the Burgundy Disclosw-e Letter or the
     Grizzly Di sclosure Letter shall be deemed to have been disclosed in any other Section o r Subsection of this Agreement, with respect to which such
     matter is relevant so long as the applicability of such matter to such Section or Subsection is reasonably apparent on its face.

           Section I 1.5 Severability. If any provision of this Agreement, or the application of any provi sion to any Person or circumstance, shall be
     declared judicially to be invalid, unenforceable or void, such decision shall not have the efiect of invalidating or voiding the remainder of this
     Agreement, it being the in tent and agreement of the parties hereto that thi s Agreement shall be deemed amended by modifying such provision to
     the extent necessa1y to render it valid, legal and enforceable while preserving its intent or, if such modification is not possible, by substituting
     therefor another provision that is legal and enforceabl e and that achieves the same obj ecti ve.

          Section I 1.6 Assj<>omeot· Bjodjn11 Effect. Neither this Agreement nor any of the rights, benefits o r obligations hereunder may be assigned
     by any of the pa1ties hereto (whether by operation of law o r otherwise) without the pri or wri tten consent of all of the other paities. Subject to the
     preceding sentence, this Agreement will be binding upon, inure to the benefit of and be enforceable by the patties hereto and their respective
     successors and permitted assigns.

           Section I 1.7 No Third Party Beneficiaries. Nothing in this Agreement, express or implied, is intended to or shall confor upon any Person
     (other than Burgundy, Spinco and G rizzly and theiJ respective successors and permitted assigns) any legal or equitable right, benefit or remedy of
     any nature whatsoever under o r by reason of th is Agreement, and no Person (other than as so specified) shall be deemed a thiJd pru1y beneficiary
     under or by reason of thi s Agreement. Notw ithstanding the foregoing, each financing source under the Spinco Conunitment Letter and Related
     Letters shall be an express third party beneficiary of and shall be entitled to rely upon Section I I.I 0, Section 11.12 and Section 11.14 hereof, and
     each such financing source and its successors and assigns may enforce such provisions.

           Section I 1.8 Limited Liability. Notwithstanding any other provision of thi s Agreement, no stockholder, diJector, officer, Affiliate, agent o r
     representative of any of the patties hereto, in its capacity as such, shall have any liability in respect of or relating to the covenants, obligations,
     representations o r wan-anties of such paity under thi s Agreement o r in respect of any ce1tificate delivered with respect hereto or thereto and, to
     the fullest extent legally permissible, each of the pa1t ies hereto, for itself and its stockholders, diJectors, officers and Affiliates, waives and agrees
     not to seek to asse1t o r enforce any such liability that any such Person otherwise might have pw-suant to applicable Law.

           Section I 1.9 Entire Agreement. This Agreement (together with the other Transaction Agreements, the Confidentiality Agreement, the
     exhibits and the Disclosure Letters and the other documents delivered pursuant hereto) constitutes the entire agreement of all the pa11ies hereto

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     and supersedes all prior and contemporaneous agreements and understandings, both written and oral, between the pa1ties, or any of them, with
     respect to the subject matter hereof. All exhibits attached to this Agreement and the Di sclosure Letters are expressly made a pa1t of, and
     inco1porated by reference into, this Agreement.

          Section I I .I 0 Goveming Law. TI1is Agreement shall be governed by, and constmed in accordance with, the laws of the State of De laware
     without giving effect to the conflicts of law principles thereof.

            Section I LI I Coun temarts. This Agreement may be executed in multiple counte1pa1ts (any one of which need not contain the signatures of
     more than one pa1ty), each of which will be deemed to be an 01iginal but all of which taken together will constitute one and the same agreement.
     This Agreement, and any amendments hereto, to the extent signed and delivered by means of a facsimile machine or other electronic transmission,
     will be treated in all manner and respects as an original agreement and will be considered to have the same binding legal effects as if it were the
     original signed version thereof delivered in person. At the request of a party, the other party will re-execute 01iginal forms thereof and deliver them
     to the requesting pa1ty. No party will raise the use of a facsimile machine or other electronic mean s to deliver a signature or the fact that any
     signature was transmitted o r conuuunicated through the use of facsimile machine or other electronic means as a defense to the fonuation of a
     Contract and each such paity forever waives any such defense.

           Section 11.12 Jur isdiction: Consent to Jurisdiction.

            (a) Exclus ive Juii sdiction. Each of the paities iJTevocably agrees that any claim , di spute o r controversy (of any and every kind or type,
     whether based on contract, tort, statute, regulation or otherwise, and whether based on state, federal, foreign or any other law), arising out of,
     relating to o r in connection with thi s Agreement, o r any of the transactions contemplated hereby, and including di sputes relating to the existence,
     validity, breach o r tenuination of this Agreement (any such claim being a "Covered Claim"), may be brought and detemlined in any federal or state
     court located in the State of Delaware, and each of the parties hereto hereby iJTevocably submits in respect of Covered Claims for itself and in
     respect to its property, generally and unconditionally, to the exclusive jur isdiction of the aforesaid comts and agrees that it may be served with
     such legal process at the address and in the manner set fo1th in Section 1     . .3. Each of the pa1ties hereto hereby iJTevocably waives, and agrees not
                                                                                   .1
     to assert, by way of motion, as a defonse, counterclaim or otherwise, in any action or proceeding in respect of Covered Claims (i) any claim that it is
     not personally subject to the jurisdiction of the above-named courts for any reason other than the failure to lawfully serve process, (ii) that it or its
     property is exempt or inuuune from jur isdiction of any such cout1 or from any legal process commenced in such comts (whether tlu-ough service of
     notice, attaclun ent prior to judgment, attaclunent in aid of execution ofjudgment, execution of judgment o r othe1wise) and (iii ) to the fullest extent
     permitted by applicable Laws, that (A) the suit, action or proceeding in any such comt is brought in an inconvenient forum, (B) the venue of such
     suit, action o r proceeding is improper and (C) thi s Agreement, o r the subject matter hereof, may not be enforced in or by such couits. The pa1ties
     hereby fm1her agree that New York state or United States Federal courts sitting in the borough of Manhattan, City of New York shall have
     exclusive jurisdiction over any action brought against any financing source under the Spinco Commitment Letter and the Spinco Related Letter in
     connection with the transactions contemplated under th is Agreement.

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           (b) Waiver of Jury Trial. EACH PARTY ACKNOWLEDGES AND AGREES THAT ANY CONTROVERSY WHICH MAY ARISE UNDER
     nns AGREEMENTIS LIKELY TO INVOLVE COMPLICATED AND DIFFICULT ISSUES, AND THEREFORE EACH SUCH PARTY HEREBY
     IRREYOCABL Y AND UNCONDJTIONALLY WAIVES ANY RIGHT SUCH PARTY MAY HAVE TO A TRIAL BY WRY IN RESPECT OF ANY
     LITIGATION DIRECTLy OR INDIRECT1. y ARISING OUT OF OR RELATING TO nns AGREEMENT, THE ANCILLARY AGREEMENTS OR THE
     TRANSACTIONS CONfEMPLATED BY nns AGREEMENT AND THE ANCILLARY AGREEMENTS. EACH p ARTY CERTIFIES AND
     ACKNOWLEDGES THAT (i) NO REPRESENTATIYE, AGENT OR ATTORNEY OF ANY OTHER PARTY HAS REPRESENTED, EXPRESSLY OR
     OTHERWISE, THAT SUCH OTHER PARTY WOULD NOT, IN ll!E EVENT OF ANY LITIGATION, SEEK TO ENFORCE THE FOREGOING
     WAIYER, (ii) EACH PARTY UNDERSTANDS AND HAS CONSIDERED THE IMPLICATIONS OF THIS WAIYER, (iii) EACH PARTY MAKES
     THIS WAIVER YOLUNTARILY, AND (iv) EACH PARTY HAS BEEN INDUCED TO ENTER INTO THIS AGREEMENT, BY, AMONG OTHER
     THINGS, THE MUTUAL WAIVERS AND CERTIFICATIONS IN THIS SECTION 11.12 Oil.

           Section 11.13 Specific Pe1fonnance. In the event of any actual or tlueatened default in, or breacb of, any of the terms, condi tions and
     provisions of this Agreement or any other Transaction Agreement, the party who is, or is to be, thereby aggrieved will have the right to specific
     pe1formance of tbe transactions contemplated by tbi s Agreement or sucb Transaction Agreement and injunctive or other equitable relief in respect
     of its rights under this Agreement or such Transaction Agreement, in addition to any and all other rights and remedies at law or in equity. Tue
     parties agree that the remedies at law for any breach or threatened breach, including monetary damages, are inadequate compensation for any loss
     and tbat any defense in any action for specific performance that a remedy at law would be adequate is waived. Any requirements for the securing
     or posting of any bond with such remedy are waived by each of the parties to this Agreement.

           Section 11.14 Ce1tain Lender A1ireements. Burgundy agrees, on behalf of itself and its Affiliates, stockholders and Representatives
     (collectively, the "Burgundy Related Pa11ies"), that the financing sources under the Spinco CoU1111it111ent Letter and Spinco Related Letter and their
     Affiliates, stockbolders and Representatives and eacb oftbei r successors and assigns (i) sball be subject to no liability or claims by the Burgundy
     Related Pait ies arising out of or relating to this Agreement, tbe Spinco Financing or tbe transactions contemplated bereby (except witb respect to
     tbe enforcement of the Burgundy Conunitment Letter) or in connection witb tbe Spinco Financing, or the pe1formance of services by such
     financing sources or their Affiliates or Representatives witb respect to tbe foregoing and (ii) are express third pai1y beneficiaries of Ibis Section
     11.14 (whicb may not be cbanged as to any financing sources without its prior written consent).

                                                                  [Signalure Page Follows}

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     JN WITN ESS WH EREOF, the parties hereto have executed this Agreement as of the date first above written.

                                                                                                                               PPG INDUSTRIES, INC.

                                                                                          By: ~~~~~~~~~~~-/s_!_
                                                                                                              C_h_
                                                                                                                 ar_le_s_E_._B_u_
                                                                                                                                n~ch
                                                                                                                              Name: Charles E. Bunch
                                                                                                           Title: Chainnan and Chief Executive Officer

                                                                                                                                  EAGLE SPINCO INC.

                                                                                          By: ~~~~~~~~~~~~/_            s/_C_h_a_
                                                                                                                                rl_e_
                                                                                                                                    s_E_
                                                                                                                                       ._B_
                                                                                                                                          u_nc
                                                                                                                                             ~ h
                                                                                                                   Name: Charles E. Bunch
                                                                                                   Title: Chainnan of the Board of Di1·ectors

                                                                                                                    GEORGIA GULF CORPORATION

                                                                                          By: ~~~~~~~~~~~~-'-'             '~;;....:..
                                                                                                                                  P~  au~l~D~.~C
                                                                                                                                               ~a~n~·ic-=o
                                                                                                                        Name: Paul D. Canico
                                                                                                  Title: President and Chief Executive OJlicer

                                                                                                                  GRIZZLY ACQUISITION SUB, INC.

                                                                                          By: ~~~~~~~~~~~~-'-''~;;...;..P~au~l~D~.~C~a~n~·ic-=o
                                                                                                            Name: Paul D. Canico
                                                                                                                   Title: President

                                                       [Signature Page to the Merger Agreement]




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                           EXHIBIT FF




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                                    2125                                  Exhibit 99.2
                                                                                    M erg ero fP P G C o m m o d ity C h em icalsB u sin esw ith G eo rg iaG u lfC o rp o ratio n C h arlesE .B u n ch
                                                                                    C h airm an an d C E O P P G In d u strie,In c.P au lC arico P resid en tan d C E O G eo rg iaG u lfC o rp o ratio n Ju ly

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                                    2126                                       F o rw ard -L o o k in g S taem en tsF O R WA R D L O O K IN G S T A T E M E N T S T h isp resn taio n

                                                                               co n tain scertain staem en tsab o u tP P G In d u strie,In c.,P P G ’sco m m o d ity ch em icalsb u sin esan d G eo rg iaG u lf
                                                                               C o rp o ratio n th atre“fo rw ard -lo o k in g staem en ts”w ith in th em ean in g o fth eU .S .P riv ateS ecu ritesL itg atio n R efo rm A cto f

                                                                               1 9 9 5 .T h esm atersin v o lv erisk san d u n certain tiesad iscu sed in P P G ’san d G eo rg iaG u lf’sp erio d icrep o rtso n F o rm
                                                                               1 0 -K an d F o rm 1 0 -Q ,an d th eircu ren trep o rtso n F o rm 8 -K ,filed fro m tim eto tim ew ith th eS ecu ritesan d

                                                                               E x ch an g eC o m m iso n (“S E C ”).T h efo rw ard -lo o k in g staem en tsco n tain ed in th isp resn taio n m ay in clu d e
                                                                               staem en tsab o u th ex p ectd efctso n P P G ,P P G ’sco m m o d ity ch em icalsb u sin esan d G eo rg iaG u lfo fth ep ro p o sed

                                                                               sep artio n o fP P G ’sco m m o d ity ch em icalsb u sin esan d m erg ero fP P G ’sco m m o d ity ch em icalsb u sin esw ith G eo rg ia
                                                                               G u lfo rasu b sid iary o fG eo rg iaG u lf(th e“T ran sactio n ”),th ean ticp ated tim in g an d b en efitso fth eT ran sactio n ,an d P P G ’san d

                                                                               G eo rg iaG u lf’san ticp ated fin an cialresu lts,an d also in clu d ealo th erstam en tsin th isp resn taio n th atren o th isto ricalfts.With o u tlim itao n ,an y
                                                                               staem en tsp recd ed o rfo lo w ed b y o rth atin clu d eth ew o rd s“targ ets”,“p lan s”,“b eliv es”,“x p ects”,“in ten d s”,“w il”,“k ely ”,“m ay ”,“an ticp ates”,“im ates”,“p ro jects”,

                                                                               “sh o u ld ”,“w o u ld ”,“co u ld ”,“p o sito n ed ”,“straeg y ”,“fu tu re”o rw o rd s,p h raseo rtem so fsim ilarsu b stan ceo rth en eg ativ eth ero f,are

                                                                               fo rw ard -lo o k in g staem en ts.T h estam en tsareb ased o n th ecu ren tex p ectaio n so fth em an ag em en to fP P G an d G eo rg ia
                                                                               G u lf(asth ecasm ay b e)an d aresu b jecto u n certain ty an d to ch an g esin ciru m stan ces,an d in v o lv erisk san d u n certain tiesh atco u ld cau se

                                                                               actu alresu ltso d iferm aterily fro m th o sex p resd o rim p lied in su ch fo rw ard -lo o k in g staem en ts.In ad d ito n ,th estam en tsareb ased o n a
                                                                               n u m b ero fasu m p tio n sth atresu b jecto ch an g e.S u ch risk s,u n certain tiesan d asu m p tio n sin clu d e:th esatifco n o fth e
                                                                               co n d ito n sto th eT ran sactio n an d o th erisk srelatd to th eco m p letio n o fth eT ran sactio n an d actio n srelatd th erto ;P P G ’san d
                                                                               G eo rg iaG u lf’sab ilty to co m p leth eT ran sactio n o n th ean ticp ated term san d sch ed u le,in clu d in g th eab ilty to o b tain

                                                                               sh areh o ld eran d reg u lato ry ap p ro v alsn d th ean ticp ated tax tream en to fth eT ran sactio n an d relatd tran sactio n s;rik srelatin g to an y
                                                                               u n fo resn liab iltes,fu tu recap italex p en d itu res,v en u es,x p en se,arn in g s,y n erg ies,co n o m icp erfo rm an ce,in d eb ted n es,fin an cial

                                                                               co n d ito n ,lo sean d fu tu rep ro sp ects;b u sin esan d m an ag em en tsraeg iesan d th ex p an sio n an d g ro w th o fG eo rg ia
                                                                               G u lf’so p eratio n s;G eo rg iaG u lf’sab ilty to in teg rateP P G ’sco m m o d ity ch em icalsb u sin esu cesfu ly afterh eclo sin g o fth e
                                                                               T ran sactio n an d to ach iev ean ticp ated sy n erg ies;an d th erisk th atd isru p tio n sfro m th eT ran sactio n w ilh arm P P G ’so rG eo rg ia
                                                                               G u lf’sb u sin es.H o w ev er,itsn o tp o sib leto p red icto rid en tify alsu ch facto rs.C o n seq u en tly ,w h ileth elisto facto rsp resn ted h eris

                                                                               co n sid erd rep resn taiv e,n o su ch listh o u ld b eco n sid erd to b eaco m p letsam en to falp o ten tialrsk san d u n certain ties.U n listed facto rs
                                                                               m ay p resn tsig n ifcan tad d ito n alo b stacleo th eralizto n o fo rw ard -lo o k in g staem en ts.F o rw ard -lo o k in g staem en ts

                                                                               in clu d ed h erin arem ad easo fth ed ateh ero f,an d n eith erP P G n o rG eo rg iaG u lfu n d ertak esan y o b lig atio n to u p d ate
                                                                               p u b licy su ch staem en tso reflctsu b seq u en tev en tso rciu m stan ces.A D D IT IO N A L IN F O R M A T IO N T h is
                                                                               co m m u n icato n d o esn o tco n stiu tean o ferto b u y ,o rso lictao n o fan o ferto sel,an y secu riteso fG eo rg iaG u lf,P P G ’s
                                                                               co m m o d ity ch em icalsb u sin eso rP P G .In co n n ectio n w ith th eT ran sactio n ,G eo rg iaG u lfw ilfew ith th eS E C a

                                                                               reg istrao n staem en to n F o rm S -4 th atw iln clu d eap ro x y staem en tan d p ro sp ectu so fG eo rg iaG u lfreatin g to th e
                                                                               T ran sactio n .IN V E S T O R S A N D S E C U R IT Y H O L D E R S A R E U R G E D T O

                                                                               R E A D T H E R E G IS T R A T IO N S T A T E M E N T A N D P R O X Y
                                                                               S T A T E M E N T /P R O S P E C T U S ,A N D A N Y O T H E R R E L E V A N T
                                                                               D O C U M E N T S ,WH E N T H E Y B E C O M E A V A IL A B L E ,B E C A U S E T H E Y

                                                                               WIL L C O N T A IN IM P O R T A N T IN F O R M A T IO N A B O U T G E O R G IA G U L F ,
                                                                               P P G ’S C O M M O D IT Y C H E M IC A L S B U S IN E S S A N D T H E

                                                                               T R A N S A C T IO N .In v esto rsan d secu rity h o ld ersw ilb eab leto o b tain th esm aterils(w h en th ey arev ailb le)an d o th er
                                                                               d o cu m en tsfiled w ith th eS E C freo fch arg eath eS E C ’sw eb site,w w w .secg o v .In ad d ito n ,co p ieso fth erg istrao n staem en t

                                                                               an d p ro x y staem en t/p ro sp ectu s(w h en th ey b eco m eav ailb le)m ay b eo b tain ed freo fch arg eb y acesin g G eo rg iaG u lf’s
                                                                               w eb siteaw w w .g g c.o m b y clik in g o n th e“In v esto rs”lin k an d th en clik in g o n th e“S E C F iln g s”lin k ,o r
                                                                               u p o n w riten req u esto G eo rg iaG u lf,G eo rg iaG u lfC o rp o ratio n ,1 1 5 P erim etrC en terP lace,S u ite4 6 0 ,A tlan ta,
                                                                               G eo rg ia3 0 3 4 6 ,A ten tio n :In v esto rR elatio n s,o rfo m P P G u p o n w riten req u esto P P G ,P P G In d u strie,

                                                                               In c.,O n eP P G P lace,P itsb u rg h ,P en n sy lv an ia1 5 2 7 2 ,A ten tio n :In v esto rR elatio n s.S h areh o ld ersm ay also read
                                                                               an d co p y an y rep o rts,aem en tsan d o th erin fo rm atio n filed b y G eo rg iaG u lfo rP P G w ith th eS E C ,ath eS E C

                                                                               p u b licrefn cero o m at1 0 0 F S tre,N .E .,Wash in g to n D .C .2 0 5 4 9 .P leascth eS E C at1 -8 0 0 -S E C -
                                                                               0 3 3 0 o rv isth eS E C ’sw eb sitefo rfu rth erin fo rm atio n o n itsp u b licrefn cero o m .P A R T IC IP A N T S IN
                                                                               T H E S O L IC IT A T IO N G eo rg iaG u lf,P P G ,an d certain o fth eirsp ectiv ed irecto rs,ex ecu tiv eo ficersan d o th erm em b erso f
                                                                               m an ag em en tan d em p lo y esm ay b ed em ed to b ep articp an tsin th eso lictao n o fp ro x iesfro m sh areh o ld ersin resp ecto fth e

                                                                               T ran sactio n u n d erth eru leso fth eS E C .In fo rm atio n reg ard in g G eo rg iaG u lf’sd irecto rsan d ex ecu tiv eo ficersav ailb lein its
                                                                               2 0 1 1 A n n u alR ep o rto n F o rm 1 0 -K filed w ith th eS E C o n F eb ru ary 2 4 ,2 0 1 2 ,an d in its

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                                                                               h o ld in g so ro th erw ise,w ilb eco n tain ed in th erg istrao n staem en tan d p ro x y staem en t/p ro sp ectu san d o th erlv an tm aterilso
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                                                                               an n u alrev en u eso fap p ro x im ately $ 5 b ilo n N ew ly m erg ed co m p an y w ilh av esu b stan tialco sty n erg iesan d g reatscl
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                                                                               stro n g cap italsru ctu rean d cash flo w to su p p o rtg ro w th an d retu rn o fcap italo sh areh o ld ersS ig n ifcan tS h areh o ld erV alu e

                                                                               C reatio n O p p o rtu n ity fo rB o th C o m p an iesA n o th ersig n ifcan tsep in P P G ’stran sfo rm atio n to am o refo cu sed
                                                                               C o atin g s& S p ecialty P ro d u ctso m p an y C o m b in atio n o fP P G C o m m o d ity C h em icalsB u sin es

                                                                               w ith G eo rg iaG u lf1 2 3 4 5




                                                                   PPG000810

                                      A-730
Case 5:18-cv-00114-GMG-RWT Document 171-3 Filed 09/29/20 Page 50 of 220 PageID #:
                                    2129                                       S to ck -fo r-sto ck ex ch an g eu sin g R ev ersM o risT ru stru ctu reP P G b u sin esw ilb ed istrb u ted to P P G sh areh o ld ers

                                                                               th ro u g h atx -fresp artio n ;th en im m ed iately m erg ed w ith G eo rg iaG u lfo ran ew su b sid iary o fG eo rg iaG u lfT o tal

                                                                               co n sid eratio n o f$ 2 .1 b ilo n ,in clu d in g cash to P P G ,isu an ceo fap p ro x im ately 3 5 .2 m ilo n G eo rg iaG u lf
                                                                               sh aresto P P G sh areh o ld ers,an d th easu m p tio n o fd eb tan d m in o rity in tersb y th en ew ly m erg ed co m p an y
                                                                               T h en ew ly m erg ed co m p an y asu m escrtain p en sio n aset/lib iltesan d o th erlatd liab iltesP P G ’sC o m m o d ity C h em icalsto
                                                                               M erg ew ith G eo rg iaG u lfT ran sactio n o v erv iew O w n ersh ip (T h eN ew ly M erg ed C o m p an y )5

                                                                               A p p ro x im ately 5 0 .5 % P P G sh areh o ld ersA p p ro x im ately 4 9 .5 % G eo rg iaG u lfsh areh o ld ers~ 7 0
                                                                               m ilo n sh areso u tsan d in g G o v ern an ce(T h eN ew ly M erg ed C o m p an y )G eo rg iaG u lf’sC E O an d

                                                                               co m b in ed ex ecu tiv etam to lead co m p an y G eo rg iaG u lf’sB o ard o fD irecto rsp lu sth read d ito n ald irecto rsd esig n ated b y
                                                                               P P G S tru ctu rean d C o n sid eratio n F in an cialB en efits(T h eN ew ly M erg ed C o m p an y )E x p ect$ 1 1 5
                                                                               m ilo n in an n u alco sty n erg iesw ith fu lreaizto n in first2 y earsA cretiv eto th eco m p an y ’searn in g san d frecash flo w in 2 0 1 3
                                                                               S tro n g cap italsru ctu rean d cash flo w sw ith en h an ced fin an cialfex ib ilty C o n d ito n san d E x p ectd C lo sin g G eo rg ia

                                                                               G u lfsh areh o ld erv o teC u sto m ary clo sin g co n d ito n s,relv an tax ru lin g san d reg u lato ry au th o rity ap p ro v als
                                                                               E x p ectd clo sin g in late2 0 1 2 o realy 2 0 1 3




                                                                   PPG000811

                                      A-731
Case 5:18-cv-00114-GMG-RWT Document 171-3 Filed 09/29/20 Page 51 of 220 PageID #:
                                    2130                                       A n o th ersig n ifcan tsep in P P G ’stran sfo rm atio n to am o refo cu sed co atin g san d sp ecialty p ro d u ctso m p an y R ev ers

                                                                               M o risT ru stp ro v id estax -eficn tsru ctu reto cap tu refu lv alu eo fco m m o d ity ch em icalsb u sin esfo rP P G sh areh o ld ers:

                                                                               A p p ro x im ately 5 0 .5 % o w n ersh ip o fT h eN ew ly M erg ed C o m p an y $ 9 0 0 m ilo n in cash
                                                                               p ro ced sB en efitsro m co sty n erg iesn o tav ailb leto P P G alo n eA d d ito n alfin an cialo n sid eratio n s:T h eN ew ly M erg ed
                                                                               C o m p an y ’sau m p tio n o fd eb tan d m in o rity in tersan d relatd en v iro n m en talib iltesT h eN ew ly M erg ed
                                                                               C o m p an y ’sau m p tio n o frelatd p en sio n asetn d liab iltesan d o th erp o st-reim en tb en efit(O P E B )co st6 S ig n ifcan t

                                                                               P P G S h areh o ld erV alu eC reatio n




                                                                   PPG000812

                                      A-732
Case 5:18-cv-00114-GMG-RWT Document 171-3 Filed 09/29/20 Page 52 of 220 PageID #:
                                    2131                                       P P G ’sT ran sfo rm atio n C o n tin u esS alesin U S D C o atin g s& S p ecialty M aterils= $ 5 B C o atin g s& S p ecialty M aterils=

                                                                               $ 1 2 B T ran sactio n F u rth ersP P G ’sP o rtfo lio T ran sfo rm atio n 7




                                                                   PPG000813

                                      A-733
Case 5:18-cv-00114-GMG-RWT Document 171-3 Filed 09/29/20 Page 53 of 220 PageID #:
                                    2132                                       C o n sid eratio n fo rP P G C o m m o d ity C h em icalsB u sin es8 Im m ed iateB en efitso rP P G an d P P G

                                                                               S h areh o ld ersR elatd L iab iltes(O P E B ,E n v iro n m en taln d O th er)P en sio n L iab iltesP en sio n A set-2 3 0 -4 6 6

                                                                               4 6 6 V alu eo fG eo rg iaG u lfS h ares(o fJu ly 1 8 ,2 0 1 2 )C ash A su m ed D eb tan d M in o rity In tersT o talP P G
                                                                               S h areh o ld erV alu e-P re-S y n erg ies$ 1 ,0 1 6 9 0 0 1 8 2 $ 2 ,0 9 8 E B IT D A M u ltip le(L astY ear-2 0 1 1 )
                                                                               5 .1 x F in an cialo n sid eratio n p rio rto sy n erg y cap italzo n :Im p lied m u ltip les:O th erb aln cesh etim sau m ed b y m erg ed
                                                                               co m p an y :E B IT D A M u ltip le(P rio r3 -Y earA v erag e)7 .6 x A setan d liab iltesarh o w n b ased o n P P G ’s2 0 1 1

                                                                               1 0 -K .A ln u m b ersin U S D M ilo n sex cep tm u ltip les.S eA p p en d ix fo rcalu latio n v arib lesan d E B IT D A
                                                                               reco n cilato n to P P G G A A P fig u res.




                                                                   PPG000814

                                      A-734
Case 5:18-cv-00114-GMG-RWT Document 171-3 Filed 09/29/20 Page 54 of 220 PageID #:
                                    2133                                       P P G S u m m ary S traeg ic:C o n tin u ed ex ecu tio n o fo n g o in g P P G straeg ico b jectiv esC reatsh areh o ld erv alu e

                                                                               to d ay :Im m ed iately en h an cesh areh o ld erv alu eth ro u g h tax eficn cy an d ab ilty to sh arein sy n erg iesan d g ro w th o f

                                                                               th en ew ly m erg ed co m p an y P ro v id esfo rfu rth ersh areh o ld erv alu ecratio n in th efu tu re:S u p p lem en tsP P G ’s
                                                                               alred y stro n g cash p o sito n ,p ro v id in g fu rth erfin an cialfex ib ilty fo rsh areh o ld er-activ ecash d ep lo y m en tan d
                                                                               d iv id en d sS ig n ifcan tS h areh o ld erV alu atio n C reatio n an d E n h an ced F in an cialF lex ib ilty 9




                                                                   PPG000815

                                      A-735
Case 5:18-cv-00114-GMG-RWT Document 171-3 Filed 09/29/20 Page 55 of 220 PageID #:
                                    2134                                        P au lC arico P resid en tan d C E O G eo rg iaG u lfC o rp o ratio n 1 0




                                                                    PPG000816

                                      A-736
Case 5:18-cv-00114-GMG-RWT Document 171-3 Filed 09/29/20 Page 56 of 220 PageID #:
                                    2135                                       B en efitso fT ran sactio n fo rG eo rg iaG u lfC reatsG lo b alC h em icalsn d B u ild in g P ro d u ctsL ead erw ith In creasd S caleF o rtu n e

                                                                               5 0 0 co m p an y w ith p ro fo rm asleo f$ 5 b ilo n an d b ro ad p o rtfo lio o flead in g p o sito n sin
                                                                               d o w n stream ch em icalsn d b u ild in g p ro d u ctsE n h an ced V erticalIn teg ratio n w ith S ig n ifcan tU .S .N atu ralG asD riv en

                                                                               C h lo r-alk aliP ro d u ctio n V erticaln teg ratio n en h an ceso p eratin g ratesh ro u g h o u th ecy cleA p p ro x im ately 7 0 %
                                                                               in teg ratio n to n atu ralg asfired co g en eratio n w ilm ak eth eco m b in ed co m p an y o n eo fth elo w estco stin teg rated ch lo r-alk ali

                                                                               p ro d u cersin th ew o rld S ig n ifcan tC o stS y n erg iesan d Wel-P o sito n ed to C ap italzeo n G ro w th O p p o rtu n ites
                                                                               E x p ectd ~ $ 1 1 5 m ilo n o fan n u alized co sty n erg iesn th efirstw o y earsS tro n g cap italsru ctu rean d cash flo w sen h an ce

                                                                               fin an cialfex ib ilty Welp o sito n ed to p articp atein N o rth A m erican eth y len ex p an sio n R etu rn o fcash to sh areh o ld ersv ia
                                                                               d iv id en d s1 1 S calen d In teg ratio n o fC o m b in ed C o m p an y C reatsV alu efo rG eo rg iaG u lfS h areh o ld ers




                                                                   PPG000817

                                      A-737
Case 5:18-cv-00114-GMG-RWT Document 171-3 Filed 09/29/20 Page 57 of 220 PageID #:
                                    2136                                       C reatsIn teg rated L ead erA cro sth eC h ain E C U C ap acity ('0 0 0 sh o rto n s)S o u rce:C M A I.1 .O cid en talV C M cap acity

                                                                               in clu d esO X Y M A R .2 .R eflctsD o w ’sclo su reo fV C M cap acity atO y sterC rek ,T X an d P laq u em in e,L A in 2 0 1 1 .

                                                                               3 .T o talP V C cap acity relatso G eo rg iaG u lfcap acity asP P G d o esn o tp ro d u ceP V C .N o rth A m erican E C U C ap acity
                                                                               N o rth A m erican V C M N o rth A m erican P V C E C U C ap acity (‘0 0 0 sh o rto n s)(’0 0 0 sh o rto n s)(’0 0 0 s
                                                                               sh o rto n s)(3 )(2 )(1 )1 2 0 5 0 0 1 ,0 0 0 1 ,5 0 0 2 ,0 0 0 2 ,5 0 0 3 ,0 0 0 S h in tech O cid en tal
                                                                               F o rm o saC o m b in ed C o m p an y Westlak eM ex ich em O th er0 5 0 0 1 ,0 0 0 1 ,5 0 0 2 ,0 0 0

                                                                               2 ,5 0 0 3 ,0 0 0 3 ,5 0 0 O cid en talC o m b in ed C o m p an y S h in tech F o rm o saWestlak eD o w O th er
                                                                               G eo rg iaG u lfP P G C o m m o d ity C h em icals0 1 ,0 0 0 2 ,0 0 0 3 ,0 0 0 4 ,0 0 0 D o w O cid en tal

                                                                               C o m b in ed C o m p an y O lin S h in tech F o rm o saO th ers




                                                                   PPG000818

                                      A-738
Case 5:18-cv-00114-GMG-RWT Document 171-3 Filed 09/29/20 Page 58 of 220 PageID #:
                                    2137                                       D iv ersP ro d u ctP o rtfo lio C reatsO p p o rtu n ity C h lo rin eD o w n stream P V C D o w n stream 6 0 % in tern aly

                                                                               co n su m ed b y ab ro ad m ix o fch lo rin ed eriv ativ esM u ltip led o w n stream g ro w th o p p o rtu n itesG u lfC o ast

                                                                               lo g istcp ro v id ex celn taceso ex p o rtm ark etsO rg an icg ro w th in B u ild in g P ro d u ctsaU .S .h o u sin g reco v ers
                                                                               V C M /P V C 4 5 % M erch an t4 0 % D eriv ativ es1 5 % D o m esticM erch an t5 6 % E x p o rt2 0 %
                                                                               C o m p o u n d s1 2 % B u ild in g P ro d u cts1 2 % 1 3




                                                                   PPG000819

                                      A-739
Case 5:18-cv-00114-GMG-RWT Document 171-3 Filed 09/29/20 Page 59 of 220 PageID #:
                                    2138                                       1 4 E x p ectd C o stS y n erg iesto b eR ealizd O v erF irst2 Y earsE x p ectd V alu e~ $ 4 0 M ~ $ 3 5 M

                                                                               ~ $ 1 1 5 M P ro cu rem en t& L o g istcO p eratin g R ateG & A R ed u ctio n S av in g sfro m co m b in ed ~ $ 1
                                                                               b ilo n /y earth y len ean d n atu ralg asp u rch aseF reig h tan d term in alo p tim izato n O p eratin g rateo p tim izato n th ro u g h th e

                                                                               ch ain o fco m b in ed asetR ed u ced o v erh ead ch arg esIn fo rm atio n T ech n o lo g y sav in g sIm p acto fp u rch ase
                                                                               aco u n tin g p en sio n ad ju stm en ts(~ $ 1 5 M )~ $ 4 0 M T o talC ash to A ch iev eP ro fesio n alfes,co n su ltan ts

                                                                               In fo rm atio n T ech n o lo g y im p lem en taio n R elo catio n an d S ev eran ceo st~ $ 5 5 M A n n u alized C o st
                                                                               S y n erg y R u n R ate$ 3 0 M ilo n A ch iev ed Im m ed iately ,$ 6 0 M ilo n B y E n d o fF irstY ear




                                                                   PPG000820

                                      A-740
Case 5:18-cv-00114-GMG-RWT Document 171-3 Filed 09/29/20 Page 60 of 220 PageID #:
                                    2139                                       G eo g rap h ican d P ro d u ctF itw ith M ajo rF aciltesP P G C o m m o d ity C h em icalsG eo rg iaG u lfL ak eC h arlesA setH av e

                                                                               B en O p eratio n aly In teg rated fo rN early 3 0 y earsC o m b in ed E C U C ap acity C o m b in ed V C M C ap acity L ak e

                                                                               C h arles5 8 % O th er4 2 %




                                                                   PPG000821

                                      A-741
Case 5:18-cv-00114-GMG-RWT Document 171-3 Filed 09/29/20 Page 61 of 220 PageID #:
                                    2140                                       Im p ro v esC o m b in ed M id -C y cleE B IT D A (1 )to $ 8 5 0 m m + H ig h erIn teg ratio n L ev elR ed u ces

                                                                               E B IT D A C y cliaty 1 6 S o u rce:G eo rg iaG u lfM an ag em en t1 .A su m esco rp o rateco sto f$ 6 0 m ilo n .

                                                                               C h lo ro v in y lsB u ild in g P ro d u ctsA ro m aticsD riv ers:O p eratin g ratesN atu ralG asd v an tag eC h lo rin e-cau sticd em an d
                                                                               b aln ceD riv ers:O p eratin g ratesC u m en e-p h en o lcap acity b aln ceE x p o rtd em an d D riv ers:U S an d C an ad ian
                                                                               H o u sin g S tarsR em o d el/R en o v atio n activ ity G eo rg iaG u lfP P G S y n erg ies




                                                                   PPG000822

                                      A-742
Case 5:18-cv-00114-GMG-RWT Document 171-3 Filed 09/29/20 Page 62 of 220 PageID #:
                                    2141                                       M erg erS tren g th en sC ash F lo w ,D ecrasL ev erag eF reC ash F lo w (1 )L ev erag eF recash flo w d efin ed asE B IT D A ,lescah in ters,lcah tax es,l

                                                                               cap ex ,lesch an g ein w o rk in g cap ital.N ew ly m erg ed co m p an y fin an cialsn clu d eru n rateco sty n erg ieso f$ 1 1 5 m ilo n

                                                                               an d calu lated u sin g P P G C o m m o d ity C h em icalsF Y 2 0 1 1 D & A v alu eo f$ 4 1 m m fo rcalu latio n o f
                                                                               L T M 3 /3 1 /1 2 E B IT D A an d P P G C o m m o d ity C h em icalsF Y 2 0 1 1 cap ex v alu eo f
                                                                               $ 8 9 m m fo rL T M 3 /3 1 /1 2 cap ex .E x clu d esim p acto fp en sio n aco u n tin g sy n erg ies.E x clu d esG eo rg ia
                                                                               G u lf’seain an cin g o b lig atio n s.P F L T M 3 /3 1 /1 2 E B IT D A calu lated u sin g P P G C o m m o d ity

                                                                               C h em icalsF Y 2 0 1 1 D & A v alu eo f$ 4 1 m m .(2 )(3 )(2 )(3 )1 7 2 .2 x 2 .1 x 1 .5 x 1 .6 x 1 .7 x
                                                                               1 .8 x 1 .9 x 2 .0 x 2 .1 x 2 .2 x 2 .3 x G eo rg iaG u lfS tan d alo n eD eb t/L T M 3 /3 1 /1 2

                                                                               E B IT D A C o m b in ed C o m p an y D eb t/L T M 3 /3 1 /1 2 E B IT D A $ 3 8 1 $ 1 1 5 $ 0
                                                                               $ 5 0 $ 1 0 0 $ 1 5 0 $ 2 0 0 $ 2 5 0 $ 3 0 0 $ 3 5 0 $ 4 0 0 $ 4 5 0 G eo rg iaG u lf
                                                                               S tan d alo n eL T M 3 /3 1 /1 2 C o m b in ed C o m p an y L T M 3 /3 1 /1 2 ($ in m ilo n s)




                                                                   PPG000823

                                      A-743
Case 5:18-cv-00114-GMG-RWT Document 171-3 Filed 09/29/20 Page 63 of 220 PageID #:
                                    2142                                       1 8 S u m m ary C reatsld in g ,in teg rated ch em icalsn d b u ild in g p ro d u ctso m p an y w ith g lo b aln n u al

                                                                               rev en u eso fap p ro x im ately $ 5 b ilo n N ew ly m erg ed co m p an y w ilh av esu b stan tialco sty n erg iesan d g reatsclo cap italze

                                                                               o n co stad v an tag ed N o rth A m erican n atu ralg asH ig h ly co m p lem en tary to straeg ico b jectiv eso fb o th co m p an ies,w ith
                                                                               sig n ifcan tp o ten tialo en h an cesh areh o ld erv alu eo fb o th co m p an iesN ew ly m erg ed co m p an y w ilaso h av estro n g
                                                                               cap italsru ctu rean d cash flo w to su p p o rtg ro w th an d retu rn o fcap italo sh areh o ld ersS ig n ifcan tS h areh o ld erV alu eC reatio n
                                                                               O p p o rtu n ity fo rB o th C o m p an iesA n o th ersig n ifcan tsep in P P G ’stran sfo rm atio n to am o refo cu sed

                                                                               C o atin g s& S p ecialty P ro d u ctso m p an y C o m b in atio n o fP P G C o m m o d ity C h em icalsB u sin es
                                                                               w ith G eo rg iaG u lf1 2 3 4 5




                                                                   PPG000824

                                      A-744
Case 5:18-cv-00114-GMG-RWT Document 171-3 Filed 09/29/20 Page 64 of 220 PageID #:
                                    2143                                       In v esto rs:V in ceM o rales(4 1 2 )4 3 4 -3 7 4 0 M ed ia:Jerm y N eu h art(4 1 2 )4 3 4 -3 0 4 6 In v esto rs:M artin Jaro sick

                                                                               (7 7 0 )3 9 5 -4 5 2 4 M ed ia:A lan C h ap p le(7 7 0 )3 9 5 -4 5 3 8 C o m p an y C o n tacs1 9




                                                                   PPG000825

                                      A-745
Case 5:18-cv-00114-GMG-RWT Document 171-3 Filed 09/29/20 Page 65 of 220 PageID #:
                                    2144                                         2 0 A p p en d ix




                                                                     PPG000826

                                      A-746
Case 5:18-cv-00114-GMG-RWT Document 171-3 Filed 09/29/20 Page 66 of 220 PageID #:
                                    2145                                       B u sin esO v erv iew sIn teg rated N o rth A m erican C h em icalsn d B u ild in g P ro d u ctso m p an y M an u factu reo f

                                                                               cu sto m an d o th erv in y l-b ased p ro d u ctsm ark etd u n d erth eR o y alB u ild in g P ro d u ctsan d E x terio r

                                                                               P o rtfo lio b ran d sWelp o sito n ed fo rth efu tu re:S h aleg asp o sito n sN o rth A m erican p ro d u cersatlo w en d o fth e
                                                                               g lo b alco stcu rv eD em an d g ro w th fro m em erg in g m ark etsp resn tsro n g ex p o rto p p o rtu n itesN o rth A m erican
                                                                               h o u sin g d em an d an d rem o d elin g ath isto riclo w s2 0 1 1 S ales:$ 3 ,2 2 3 m ilo n 2 0 1 1 A d ju sted
                                                                               E B IT D A :$ 2 3 0 m ilo n 2 1 G eo rg iaG u lfP P G C o m m o d ity C h em icalsG lo b aled erin th em erch an t

                                                                               su p p ly o fC h lo r-alk aliA traciv ep ro d u ctp o rtfo lio in clu d in g ch lo rin e,cau stico d an d d o w n stream ch lo rin e-b ased
                                                                               ch em icalsC h lo rin ated so lv en tsV C M an d E D C H C l,caiu m h y p o ch lo ritean d p h o sg en ed eriv ativ esWo rld clas

                                                                               in teg rated m an u factu rin g faciltesn N o rth A m ericaB ro ad N o rth A m erican p resn ce,b en efitn g fro m stru ctu raly lo w n atu ralg asco st
                                                                               an d g lo b alex p o rto p p o rtu n ites2 0 1 1 S ales:$ 1 ,7 4 1 m ilo n 2 0 1 1 E B IT D A :$ 4 1 1
                                                                               m ilo n




                                                                   PPG000827

                                      A-747
Case 5:18-cv-00114-GMG-RWT Document 171-3 Filed 09/29/20 Page 67 of 220 PageID #:
                                    2146                                        C o m b in ed M ap o fF aciltesG eo rg iaG u lf– B u ild in g P ro d u ctsC o m p an y H ead q u artesP P G
                                                                                C o m m o d ity C h em icalsG eo rg iaG u lf– C h em icals2 2




                                                                    PPG000828

                                      A-748
Case 5:18-cv-00114-GMG-RWT Document 171-3 Filed 09/29/20 Page 68 of 220 PageID #:
                                    2147                                       2 3 F u n d in g o f$ 6 6 0 m ilo n sh o rt-em d eb tb y In italL en d erto P P G P P G tran sferatn d liab ilteso fth e

                                                                               b u sin esto P P G C o m m o d ity C h em icalsT ran sactio n S tep sP re-C lo sin g T ran sactio n S tep sC o n cu ren tw ith

                                                                               C lo sin g P P G C o m m o d ity C h em icalsto isu e$ 6 6 0 m ilo n o fP P G C o m m o d ity C h em icalsN o tes
                                                                               an d b o ro w $ 2 4 0 m ilo n u n d erth eP P G C o m m o d ity C h em icalsT erm L o an P P G
                                                                               C o m m o d ity C h em icalsd istrb u tesh e$ 2 4 0 M o fcash to P P G P P G C o m m o d ity C h em icalsd istrb u tesh e
                                                                               P P G C o m m o d ity C h em icalsN o teso P P G P P G d eliv ersth eP P G C o m m o d ity C h em icalsN o teso th e

                                                                               In italL en d erto retih e$ 6 6 0 m ilo n sh o rt-em P P G C o m m o d ity C h em icalsd eb tin cu red in step 1 In italL en d erslth e
                                                                               P P G C o m m o d ity C h em icalsN o teso b o n d in v esto rsin th ecap italm ark etsP P G sep artesP P G C o m m o d ity

                                                                               C h em icalsb y d istrb u tin g alsh areso fP P G C o m m o d ity C h em icalsto P P G sh areh o ld ersP P G G eo rg iaG u lf
                                                                               G eo rg iaG u lfS h areh o ld ersP P G S h areh o ld ersIn italL en d erC ash $ 6 6 0 M S h o rt-T erm D eb t$ 6 6 0 M
                                                                               P P G G eo rg iaG u lfT erm L o an L en d ersIn italL en d erC ash $ 2 4 0 M T erm L o an $ 2 4 0 M P P G
                                                                               C o m m o d ity C h em icalsB o n d In v esto rT arg etB u sin es$ 2 4 0 M C ash $ 6 6 0 M P P G

                                                                               C o m m o d ity C h em icalsN o tesC ash $ 6 6 0 M $ 6 6 0 M P P G C o m m o d ity C h em icalsN o tesS h o rt-
                                                                               T erm D eb t$ 6 6 0 M $ 6 6 0 M P P G C o m m o d ity C h em icalsN o tesS tep 1 :A b o v eB asiA m o u n t

                                                                               F u n d in g P re-C lo sin g S tep 2 :S p in o f/D eb tE x ch an g eF in an cin g S eq u en cin g O v erv iew




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                                    2148                                       2 4 Im m ed iately fo lo w in g th esp artio n ,G eo rg iaG u lfo ram erg ersu b sid iary w ilm erg ein to P P G C o m m o d ity

                                                                               C h em icalsP P G C o m m o d ity C h em icalsto su rv iv esu ch m erg erasw h o ly o w n ed su b sid iary o fG eo rg iaG u lf

                                                                               P P G S h areh o ld ersw ilo w n ap p ro x im ately 5 0 .5 % o fth en ew ly m erg ed G eo rg iaG u lfan d G eo rg iaG u lf’s
                                                                               ex istn g sh areh o ld ersw ilo w n ap p ro x im ately 4 9 .5 % u p o n th eco m p letio n o fth em erg erG eo rg iaG u lfan d
                                                                               P P G C o m m o d ity C h em icalsto p ro v id ecro sg u arn teso fth ed eb tab o th en tiesG eo rg iaG u lfP P G
                                                                               C o m m o d ity C h em icalsC ro sg u arn teo fd eb tb etw en G eo rg iaG u lfan d P P G C o m m o d ity C h em icals

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                                                                   PPG000830

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                                    2149                                       P P G C o m m o d ity C h em icalsB u sin esF in an cialsn d E B IT D A R eco n cilato n 2 5 2 0 0 9 2 0 1 0
                                                                               2 0 1 1 3 -Y earA v erag eT o talN etS ales$ 1 ,2 8 2 $ 1 ,4 4 1 $ 1 ,7 4 1 $ 1 ,4 8 8 E arn in g sB efo reIn tersan d

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                                                                               (E B IT + D A )1 9 2 2 2 8 4 1 1 2 7 7 E B IT D A % o fS ales1 5 .0 % 1 5 .8 % 2 3 .6 % 1 8 .6 %
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                                                                               rep o rted in P P G ’sfin an cialfn g sw ith th eS E C .




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                                    2150                                       C alcu latio n D etails-C o n sid eratio n F o rP P G C o m m o d ity C h em icalsB u sin esE B IT D A M u ltip leC alcu latio n s:

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                                                                               G u lfS h ares:A ln u m b ersain m ilo n sex cep tm u ltip les,an d sh arep rice.2 6




                                                                   PPG000832

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                                    2151                                       P ro F o rm aF in an cialP ro fileG eo rg iaG u lfP P G C o m m o d ity C h em icals(1 )N ew ly M erg ed C o m p an y (2 )

                                                                               L T M aso f3 /3 1 /1 2 N etS alesn d E B IT reflctL T M n u m b ers.A su m esF Y 2 0 1 1 D & A v alu eo f

                                                                               $ 4 1 m m fo rcalu latio n o fL T M 3 /3 1 /1 2 E B IT D A an d F Y 2 0 1 1 cap ex v alu eo f$ 8 9 m m fo r
                                                                               L T M 3 /3 1 /1 2 cap ex .N ew ly m erg ed co m p an y E B IT in clu d esin creasd D & A fro m p u rch aseco u n tin g
                                                                               ad ju stm en tso f$ 8 2 m m an d $ 1 1 5 m ilo n o fsy n erg ies.F recash flo w d efin ed asE B IT D A ,lescah in ters,lcah tax es,lcap ex ,les
                                                                               ch an g ein w o rk in g cap ital.A su m esF Y 2 0 1 1 D & A v alu eo f$ 4 1 m m fo rcalu latio n o fL T M

                                                                               3 /3 1 /1 2 E B IT D A ,F Y 2 0 1 1 cap ex v alu eo f$ 8 9 m m fo rL T M 3 /3 1 /1 2 ,tax rateo f3 5 % ,an d
                                                                               ch an g ein w o rk in g cap itals% o fsaleh eld stead y w ith G eo rg iaG u lf’so v erth esam ep erio d .In clu d esru n -rateco sty n erg ieso f

                                                                               $ 1 1 5 m m .In clu d esP F in tersx p en sefo rn ew $ 2 4 0 m m term lo an an d $ 6 6 0 m m sen io rn o tesan d tax rate
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                                                                               2 4 1 4 1 4 6 5 5 % m arg in 7 .3 % 2 3 .8 % 1 3 .0 % P lu s:S y n erg ies-1 1 5 P ro fo rm aE B IT D A -
                                                                               7 7 0 % m arg in -1 5 .3 % P ro F o rm aE B IT 1 4 3 3 7 3 5 4 8 % m arg in 4 .3 % 2 1 .4 %

                                                                               1 0 .9 % C ap ex 6 9 8 9 1 5 8 % o fsale2 .1 % 5 .1 % 3 .1 % F reC ash F lo w 1 1 5 2 0 1 3 8 1




                                                                   PPG000833

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                                    2152                                       P ro F o rm aC ap italS tru ctu re2 8 P ro F o rm aC ap italS tru ctu reR ep resn tsd raw n am o u n t.A su m esP P G
                                                                               C o m m o d ity C h em icalsF Y 2 0 1 1 D & A v alu eo f$ 4 1 m m fo rcalu latio n o fP P G C o m m o d ity

                                                                               C h em icalsL T M 3 /3 1 /1 2 E B IT D A .In clu d es$ 1 1 5 m ilo n o fp ro fo rm aru n -rateco sty n erg ies.(2 )(2 )(2 )(1 )
                                                                               ($ m ilo n s)M u lt.O f3 /3 1 /2 0 1 2 A d j.P ro F o rm aL T M E B IT D A C ash $ 3 9 -$ 3 9 0 .1 x
                                                                               A B L F acilty 2 9 6 1 9 0 0 .1 x E x istn g G eo rg iaG u lfD eb t4 9 8 -4 9 8 0 .6 x N ew T erm L o an -
                                                                               2 4 0 2 4 0 0 .3 x R S C o g en D eb t(5 0 % )-9 5 9 5 0 .1 x T o talS ecu red D eb t$ 5 2 7 $ 3 9 6

                                                                               $ 9 2 2 1 .2 x N ew S en io rN o tes-6 6 0 6 6 0 0 .9 x T o talD eb t$ 5 2 7 $ 1 ,0 5 6 $ 1 ,5 8 2
                                                                               2 .1 x L T M E B IT D A $ 2 4 1 $ 7 7 0 C red itS taiscT o talS ecu red D eb t/L T M E B IT D A 2 .2 x

                                                                               1 .2 x T o talD eb t/L T M E B IT D A 2 .2 x 2 .1 x




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                                    2153                                       G eo rg iaG u lfH isto ricalF in an cials2 9 A d ju sted fo rleasfin an cin g o b lig atio n .(1 )(1 )($ in m ilo n s)L T M 2 0 0 9
                                                                               2 0 1 0 2 0 1 1 3 /3 1 /1 2 T o talN etS ales$ 1 ,9 9 0 $ 2 ,8 1 8 $ 3 ,2 2 3 $ 3 ,2 9 5 E B IT D A

                                                                               1 6 2 2 0 8 2 3 0 2 4 1 % m arg in 8 .1 % 7 .4 % 7 .1 % 7 .3 % E B IT 4 4 1 0 9 1 2 9 1 4 3
                                                                               % m arg in 2 .2 % 3 .9 % 4 .0 % 4 .3 % C ap ex 3 0 4 6 6 6 6 9




                                                                   PPG000835

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                                                                               ($ 4 1 m m ).A su m esco n stan tcap italex p en d itu rev alu efro m F Y 2 0 1 1 ($ 8 9 m m ).In clu d esim p acto fh ed g e

                                                                               aco u n tin g th atw iln o tb ep arto fn ew ly m erg ed co m p an y .2 0 1 1 an d L T M in clu d e$ 2 7 M M
                                                                               acq u isto n o fE q u ach lo r.(1 )(2 )($ in m ilo n s)L T M 2 0 0 9 2 0 1 0 2 0 1 1 3 /3 1 /1 2 T o talN etS ales
                                                                               $ 1 ,2 8 2 $ 1 ,4 4 1 $ 1 ,7 4 1 $ 1 ,7 4 1 E B IT D A (3 )1 9 2 2 2 8 4 1 1 4 1 4 % m arg in
                                                                               1 5 .0 % 1 5 .8 % 2 3 .6 % 2 3 .8 % E B IT 1 5 2 1 8 9 3 7 0 3 7 3 % m arg in 1 1 .9 %

                                                                               1 3 .1 % 2 1 .3 % 2 1 .4 % C ap ex (4 )2 4 4 0 8 9 8 9




                                                                   PPG000836

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                           EXHIBIT GG




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                                                                      Exhibit IO.I

                                 SEPARATION AGREEMENT

                                D AT ED AS O F .JULY 18, 2012

                                     BY ANO BETWEEN

                                   PPG INDUSTRIES, INC.

                                            and

                                    EAGLE SPlNCO INC.




                                                                      Exhibit #
                                                                                       exhibitsticker.com




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                                                                SEPARATION AGREEMENT

     THIS SEPARATION AGREEMENT, dated as of July 18, 2012 (this "Agreement"), is by and between PPG Industries, Inc., a Pennsylvania
     co1poration ("Buri:undy"), and Eagle Spinco lnc., a Delaware co1poration and presently a wholly owned Subsidiary of Burgundy ("Spinco").
     Capitalized tenns used in Ibis Agreement and not otherwise defined have the meanings ascribed to such tenns in Article I of this Agreement.

     WHEREAS, Burgundy is engaged, directly and indirectly, in the Eagle Business;

     WH EREAS , the Board of Directors of Bu rgundy has determined that it would be in the best interests of Burgundy and its stockl1olders to separate
     the Eagle Business from the other businesses of Burgundy;

     WH EREAS, Burgundy has caused Spinco, which cu1rently conducts no business operati ons and has no assets or liabilities other than in
     connection with its formation, to be fonned in order to facilitate such separation;

     WH EREAS, Burgundy cu1i-ently owns all of the issued and outstanding shares of common stock, par value $0.001 per share, ofSpinco (the
     ..Smnco Common Stock");

     WH EREAS, Burgundy and Spinco have each determined that it would be appropriate and desirable for (a) Burgundy and its Subsidiaries to
     transfer or cause lo be transferred, lo Spinco, the equity of the Spinco Subsidiaries, and to one or more Spinco Subsidiaries, all of the other Spinco
     Assets (and, to pay in accordance with Section 6.2(d) of the Employee Matters Agreement, the Unde1funding Amount (as defined therein), if any),
     (b) the transfer of certain Excluded Assets to (or the retention of such Excluded Assets by) Burgundy or one or more of its Subsidiaries, and (c)
     the assumption by Burgundy or one or more of its Subsidiaries of the Excluded Liabilities in exchange for (w) one or more Spinco Subsidia1ies
     assuming the Spinco Liabilities, (x) Spinco issuing lo Burgundy shares ofSpinco Common Stock pursuant to the Spinco Stock Issuance, (y)
     Spinco di stributing to Burgundy the Special Below Basis Cash Distribution (and, to pay in accordance with Section 6.2(d) of the Employee Matters
     Agreement, the Grizzly True Up Amount (as defined therein), if any) and (z) Spinco distributing lo Burgundy the Special Above Basis Debt/Cash
     Distribution, as fmther described herein and in the Merger Agreement (the "Spjoco Reorganization");

     WH EREAS, Burgundy and Spinco contemplate that, substantially concun-ently with or inunediately prior to the Spinco Reorganization as fu1ther
     described herein, Spinco will enter into the definitive debt financing arrangements as contemplated by the Spinco Commitment Letter and the
     Spinco Related Letter and the Burgundy Conunitment Letter and the Burgundy Related Leiter, as fmther described herein and in the Merger
     Agreement (the "Spinco Financini: A1rnni:ements", together with the Spinco Stock Issuance and the Special Di stribution, the "Recapitalization");




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     WHEREAS, Burgundy and Spinco contemplate that, following the Spinco Reorganization and Recapitalization as further described herein,
     Burgundy will either (a) distribute all of the shares ofSpinco Couunon Stock to holders of Burgundy Couunon Stock without consideration on a
     pro rata basis (the "One-Step Spin-Off") or (b) consununate au offer to exchange (the "Exchanf.?e Offer") shares ofSpinco Conunon Stock for
     cu1Tently outstanding shares of Burgundy's coDunon stock, $1 .66-2/3 par value per share ("Bu1:i:undy Common Stock") and, in the event that
     Burgundy's stockholders subscribe for less than all of the Spinco CoDunon Stock in the Exchange Offer, Burgundy will di stribute, pro rata to
     holders of Burgundy Couuuon Stock, any unsubscribed Spinco Couuuon Stock on the Distribution Date inuuediately following the consummation
     of the Exchange Offer so that Burgundy will be treated for U.S. federal income Tax purposes as having di stributed all of the Spinco Conunon Stock
     to its stockholders (the "Clean-Up Spin-Oft");

     WH EREAS, the di sposition by Burgundy of I 00% of the Spinco Conunon Stock, whether by way of the One-Step Spin-Off or the Exchange Offer
     (followed by any Clean-Up Spin-00), is refoned to herein as the "Distribution";

     WH EREAS, the Pa1ties intend that, for U.S. federal income tax purposes, the contribution (as part of the Spinco Reorganization) by Burgundy to
     Spinco of all of the Spinco Assets held directly by Burgundy in exchange for (a) the assumption by Spinco Subsidiaries of Spinco Liabilities of
     Ourgundy, (b) the issuance by Spinco to Ourguody of shares ofSpinco Common Stock pursuant to the Spinco Stock Issuance, (c) the distribution
     by Spinco to Burgundy of the Special Below Basis Cash Distribution, and (d) the distribution by Spinco to Burgundy of the Special Above Basis
     Debt/Cash Di stribution (the "Contribution") and the Distribution, taken together, will qualify as a "reorganization" within the meaning of Section
     368(a)(l)(D) of the Code;

     WH EREAS, Burgundy has requested a p1ivate letter mling (the " Private Letter Rulinf;?") from the IRS substantially to the effect that, among other
     things, (i) the Contribution and Disl!ibution, taken together, will quali1y as a "reorganization" within the meaning of Section 368(a)(l)(D) of the
     Code (the "IRS D Reorf;?anization Rulinf;?"), and (ii) Burgundy will not recognize gain or loss for U.S. federal income Tax pu1poses in connection
     with the receipt of the Spinco Exchange Debt in the Special Above Basis Debt/Cash Distribution or the consuuunation of the Debt Exchange (the
     "IRS Debt Exchanf;?e Rulinf;?");

     WHEREAS, pursuant to the Agreement and Plan of Merger, dated July 18, 2012 (the " Merf;?er Af;?reement"), among Burgundy, Spinco, and Georgia
     Gulf Corporation, a Delaware co1poration ("Giizzly"), immediately following the Distiibution, a Subsidiaiy of Grizzly will merge with and into
     Spinco, subject to Schedule 8.3(e) to the Merger Agreement (the "Merf.?er") and Spinco Conunon Stock will be conve1ted into shares of conunon
     stock of Grizzly on the terms and subject to the conditions of the Merger Agreement;

     WH EREAS, it is a condition to the Merger that, prior to the Effective Time, the Spinco Reorganization and the Distribution be completed;

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     WH EREAS, the Di stribution will be call"ied out for the co1porate business pu1pose of tailoring Spinco's co1porate structure to facilitate the Merger
     (which, for U.S. federal income tax purposes, is intended to quali1y as a "reorganization" within the meaning of Section 368(a) of the Code);

     WH EREAS, Burgundy and Spinco have determined that (a) the Merger will not be undertaken unless the Distribution occurs, (b) the Merger
     cannot be accomplished by an alternative nontaxable transaction that does not involve tbe Distribution and is neither impractical nor unduly
     expensive, and (c) Grizzly is not related to Burgundy or Spinco;

     WH EREAS, the Pa1ti es intend this Agreement to be, and hereby adopt as, a "plan of reorganization" within the meaning ofTreasu1y Regulation
     Section I.368-2(g); and

     WH EREAS, the Parties intend in this Agreement to set fo1th the principal all"angemen ts between them regarding the Spinco Reorganization, the
     Recapitalization and the Distribution, and ce11ain other agreements that will, following the Distribution, govem ce1tain matters relating to the
     Spinco Reorganization, the Recapitalization and the Distribution and the relationship of Burgundy, Spinco and their respective Subsidiaries.

     NOW. THEREFORE. for good and valuable consideration. the receipt and sufficiency of which are hereby acknowledged. and intending to be
     legally bound, the Pa1ti es agree as follows:


                                                                            ARTICLE I
                                                                          DEFINITIONS

     For puiposes of thi s Agreement, the following terms, when utilized in a capitalized form, will have the following meanings:

                Section I.I "Above Basis Amount" means $900 million, minus the TCI Value to the extent the TCI Interests are not transfe1red at the
     Business Transfer Time, minus the Below Basis Amount, and minus, if the Estimated Adjustment Payment is negati ve, the absolute value of the
     Estimated Adjustment Payment, and plus, if the Estimated Adjustment Payment is positi ve, tbe Estimated Adjustment Payment (as sucb terms are
     used and defined in the Separation Agreement), subject to adjustment as set fo1th in Section 3.l(d) of the Merger Agreement.

                  Section 1.2 " Accountin11 Exhibit" means the exhibits set forth on Schedules 3.7(a), 3.7(b) and 3.7(c) attached hereto and the line items
     (such line items calculated in accordance with GAAP, consistently applied), methods, practices, categories, estimates, and assumptions reflected
     therein.

                 Section 1.3 "Action'" means any demand, charge, claim, action, suit, counter suit, arbitration, hearing, inquity, proceeding, audit,
     review, complaint, litigation or investigation, or proceeding of any nature whether administrative, civil, criminal , regulatory or otherwise, by or
     before any federal, state, local, foreign or intemational Govemmental Authority or any arbitration or mediation tribunal.

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                 Section 1.4 " Affiliate" means a Person that, directly or indirectly, tlu·ough one or more intermediaries, control s or is controlled by, or is
     under common control with, a specified Person. The tenn "control" (including, with con-elative meanings, the tenns "controlled by" and "under
     common control with"), as applied to any Person, means the possession , direct or indirect, of the power to direct or cause the direction of the
     management and policies of such Person, whether through the ownership of voting securities or other ownership interest, by Contract or
     otherwise; provided, however, that for puiposes of this Agreement, from and after the Distribution Date, no member of either Group shall be
     deemed an Affiliate of any member of the other Group.

                 Section 1.5 " Aiient" has the meaning set fo1th in the Merger Agreement.

                Section 1.6 " Ancillaiy Aiireements" means the Tax Matters Agreement, the Transition Services Agreement, the Employee Matters
     Agreement, the Shared Facilities, Services and Supply Agreement, the Electric Generation, Distribution and Transmission Facilities Lease, the
     Se1vitude Agreement, the Liquid Caustic Soda Sales Agreement (Fresno), the Liquid Caustic Soda Sales Agreement (Stwngsville), the
     Hydrochloric Acid Sales Agreement - Lake Charles (Silica), the Chlorine and Liquid Caustic Soda Sales Agreement (Barbe1ton), the Liquid Caustic
     Soda Sales Agreement (Wichita Falls), the Hydrochloric Acid Sales Agreement, the Shared Facilities Agreement (Monroeville) and the Master
     'fenninal Agreement.

                 Section 1.7 "Assets'" means assets, prope1ties and rights (including goodwill), wherever located (including in the possession of
     vendors or other third parties or elsewhere), whether real, personal or mixed, tangible, intangible or contingent, in each case whether or not
     recorded or reflected or required to be recorded or reflected on the books and records or financial statements of any Person.

                 Section 1.8 " Below Basis Amount" means$225 million,p/us the TCI Basis if the TC! Interests are transfen-ed at the Business T ransfer
     Time, (x) unless pursuant to a written notice delivered to Spinco prior to the couunencement of the Marketing Period (as defined in the Merger
     Agreement) (i) Burgundy elects to reduce the Below Basis Amount by the amount specified in such notice; provided, however, that Burgundy
     shall under no circuinstances reduce the Below Basis Amount to an amount that is less than $200 million (exclusive of the TCI Basis); or (ii)
     Burgundy elects to increase the Below Basis Amount by the amount specified in such notice after considering in good faith the estimated adjusted
     Tax bases of the assets to be transfe1r ed by Burgundy to Spinco and the estimated amount ofliabilities to be assumed by Spinco; provided that in
     no event shall Burgundy increase the Below Basis Amount to more than $260 million (exclusive of the TCI Basis) without the written consent of
     Grizzly and (y) (A) ifthe Estimated Adjustment Payment is negative, minus the absolute value of the Estimated Adjustment Payment and (B) if the
     Estimated Adjustment Payment is positive, plus the Estimated Adjustment Payment.

                 Section 1.9 " Buriiundy Benefit Plan" has the meaning set fo1th in the Merger Agreement.

                 Section LIO "Burgundy Conunitment Letter" has the meaning set fo11h in the Merger Agreement.

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                 Section I .I I "Buri:undy Disqualifyini: Action" bas tbe meaning set fo1t b in tbe Tax Matters Agreement.

                 Section 1.1 2 "Burgundy Group,. means Burgundy and each of its Subsidia1ies, but excluding any member of the Spinco Group.

                  Section 1.13 "Burgundy lndemnitees" means Burgundy , each member of the Bw-gundy Group, and all Persons who are or have been
     stockl1olders, diJectors, paitners, managers, managing members, officers, agents or employees of any member of tbe Burgundy G roup (in each
     case, in their respective capacities as such) or, in the event the TCJ Interests are transllm-ed to Spinco at or prior to the Business Transfor Tin1e,
     TCI, in each case, together with tbeiJ respective beiJS, executors, admini strators, successors and assigns.

                 Section 1.14 "Burgundy Related Letter" has the meaning set forth in the Merger Agreement.

               Section 1.15 "Business Day" means any day, other than a Saturday, Sunday or another day on which couuuercial banking institutions
     in New York State are authorized or required by Law to be closed.

                 Section 1.16 "Calcasieu Estuarv,. means the entire area set fo1th in the map attached as Schedule 1.16.

                 Section 1.1 7 "Claims-Made Policies" mean s policies issued to Burgundy or its Affiliates by insurers on or after July I , 1986, on a
     "clainls made" or "occun-ence reported,. basis, that actually or potentially cover clainls, lawsuits, or liabilities for which Bw-gundy seeks
     indemnification under this Agreement.

                 Section 1.18 "Code,. means the Internal Revenue Code of 1986, as amended.

                 Section I .I 9 "Consent" and "Consen ts" means any consents, waivers or approvals from, or notification requiremen ts to, or
     authorizations by , any th ird parties.

                  Section 1.20 "Contract" or "ai:reement" mean s any loan or credit agreement, note, bond, indenture , mortgage, deed of trust, lease,
     sublease, franchise, permit, authorization, license, contract, instrument or other conunitment, obligation or arrangement, whether wri tten or oral,
     that is binding on any Person or any pa1t of its property under applicable Law, other than any Burgundy Benefit Plan or Grizzly Benefit Plan, and
     tbe term "Contractual" shall have tbe con-elative meaning.

                 Section 1.21 "Debt Ex.change" has the meaning set fo1th in the Merger Agreement.

                Section 1.22 "Distribution Date" mean s tbe date selected by tbe Board of Di1·ectors of Burgundy or its designee for tbe Di stribution,
     through a One-Step Spin-Off or an Exchange Oiler followed by the Clean-Up Spin-Off (if necessary).

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                 Section 1.23 " Eai:le Business" means the chlor-alkali, derivatives and other conunodity or other chemicals business, as operated at, or
     at any time prior to, the Business Transfer Time, at or in respect of the Spinco Active Sites which bu siness currently produces chlorine, caustic
     soda and related chemicals for use in chemical manufactuiing, pulp and paper production, water treatment, plastics production, agricultural
     products, phanuaceuticals and other applications; provided that, notwithstanding the foregoing, the "Eagle Business" shall include any
     discontinued chlor-alkali, derivatives and other couuuodity or other chemical products manufactured by Burgundy or its Affiliates at any Spinco
     Active Site at any time prior to the Business Transfer Time. For the avoidance of doubt, the Eagle Business includes the production of any
     products manufactured at a Spinco Active Site and also at a Spinco Inactive Site, including the production of perchlorethylene or trichlorethylene
     by Burgundy and its Affiliates.

                 Section 1.24 "Effective Time" has the meaning set fo1th in the Merger Agreement.

               Section 1.25 " Employee Matters Ai:reement" mean s the Employee Matters Agreement entered into on the date of this Agreement, by
     and among Bw-gundy, Grizzly and Spinco.

               Section 1.26 " Environmental Condi tions" means the presence in the environment, including the land su1face or subsurface strata,
     groundwater, sediment, surface water or indoor and ambient air, of any Hazardous Materials.

                  Section 1.27 " Environmental Laws" means all Laws of any Governmental Authority that relate to pollution or the protection, clean up
     or restoration of the environment (including indoor and ambient air, surface water, ground water, sediment, land sw-face or subsurface strata)
     including the Comprehen sive Environmental Respon se, Compensation, and Liability Act (42 U.S.C. § 9601 et seq.) ("CERCLA"), the Federal Water
     Pollution Control Act(33 U.S.C. § 1251 et seq.) (''CWA"), the Resource Conservation and Recovery Act (42 U.S.C. § 6901 et seq., as amended)
     (" RCRA"), the Safe D1inking Water Act (21 U.S.C. §349, 42 U.S.C. §§ 201 , 3001) ("SOWA"), the Toxic Substances Control Act (15 U.S.C. § 2601 et
     seq .) ("TSCA"), the Clean Air Act (42 U.S.C. § 7401 et seq.) ("CAA"), the Oil Pollution Act of 1990 ("OPA"), and any similar state or local Laws or
     any other binding legal obligation in effect now or in the future relating to the release of Hazardous Materials, or otherwise relating to the
     treatment, storage, disposal, transport or handling of Hazardous Materials, or to the exposure of any individual to a release of Hazardous
     Mate1i als.

                 Section 1.28 "Exchange Act" has the meaning set forth in the Merger Agreement.

                 Section 1.29 "Final Detennination" has the meaning set fo11h in the Tax Mailers Agreement.

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                 Section I .30 "Governmental Approvals" means any notices, reports or other filings to be made to, or any Consents, registrations,
     pennits or authorizations to be obtained from, any Govemmental Authority.

                 Section 1.3 1 "Governmental Authority" means any federal, state, local or foreign couit, administrative agency, official board, bureau,
     governmental or quasi-governmental entities having competent jurisdiction over Burgundy or Spinco, any of their respective Subsidiaries and any
     other hibunal or commission or other govemmental department, authority or instrumentality or any subdivision, agency , mediator, couuuission or
     authority of competent jurisdiction.

                 Section 1.32 "Grizzly Benefit Plan" bas the meaning set fo1th in the Merger Agreement.

                 Section 1.33 "G1izzly C1mup" means Grizzly and each of its Subsidia1ies, including, after the Effective Time, the Spinco Group.

                 Section 1.34 "Group" means the Burgundy Group, the Spinco Group or the Grizzly Group, as the context requires.

                  Section 1.35 "Hazardous Material'" means any substance that is listed , defined , designated or classified as, or otherwise detemlined to
     be, hazardous, radioactive, infectious, reacti ve, con-osive, ignitable, flanunable or toxic or a pollutant or a contaminant or is otherwise subject to
     regulation, control or Remediation under any EnviJOrunental Law.

                 Section 1.36 "lndemnifyin11 Pa1ty" means any Party that may be obligated to provide indemnification to an lndemnitee pursuant to
     Article V hereof or any other section of this Agreement or any Ancillary Agreement.

                 Section 1.37 "lndemnitee" means any Person that may be entitled to indemnification from an Indemnifying Pa1ty pursuant to A1ticle V
     hereof or any other section of this Agreement or any Ancillary Agreement.

                 Section 1.38 "Information" means infonnation in written, oral, electronic or other tangible or intangible form, stored in any medium,
     including studies, reports, records, books, Contracts, instruments, surveys, discoveries, ideas, concepts, know-how , techniques, designs,
     specifications, drawings, blueprints, diagrams, models, prototypes, samples, flow chruts, data, computer data, disks, diskettes, tapes, computer
     programs or other software , marketing plans, customer names, communications by or to attorneys (including attorney-client p1ivileged
     conununications), memos and other materials prepared by attorneys or under theiJ diJection (including attorney work product), and other teclmical ,
     financial, employee or business information or data, but in any case excluding back-up tapes.

                 Section 1.39 "Insurance Proceeds" means those monies: (i) received by an insured from an insurance ca1rier; or (ii) paid by an
     insuJance caffier on behalf of the insured.

                 Section 1.40 "Intellectual Property Rights'" means, in any and all jurisdictions thJOugbout the world, all (i) inventions and discoveries
     (whether or not patentable or reduced to

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     practice), patents, patent applications, invention di sclosures, and statutory invention registrations, including reissues, divisionals, provisional s,
     continuations, continuations-in-pa1t, extensions, utility models, design patents and reexaminations thereoJ~ (ii) trademarks, serv ice marks, domain
     names, uniform resource locators, trade dress, slogan s, logos, symbols, trade names, brand names and otber identifiers of source or goodwill,
     including registrations and applications for registration thereof and including the goodwill symbolized thereby or associated therewith (the items
     in Ibis clause (ii) being referred to collectively herein as "Trademarks"), (iii) published and unpublished works of authorship, whether
     copyrightable or not, copyrights tberein and tbereto, registrati ons, applicati ons, renewals and extensions therefor, industrial designs, mask works,
     and any and all rights associated therewith , (iv) computer data, computer programs or other solhvare, and databases, in each case whether in
     source code, object code or other fonn, and all related documentation, (v) all infonnation to the extent not included in clauses (i)-(iv), such as data,
     trade secrets, processes, procedures, methods, techniques, compositions, formulas, ingredients, product specifications, mold specifications,
     drawings, sketches, designs, structural shaping, manufactw·ing techniques, material specifications, process specifications, engineering
     specifications, and tbe like, and all rigbts to limit tbe use or di sclosure tbereof, (vi) rights of pri vacy and publ icity, (vii) any and all otber prop1ietary
     rights or prope1ty similar to any of the foregoing in any jurisdiction, whether registered or not registered, together with the right to apply for the
     registration of any sucb rigbts, and all rigbts or forms of protection baving equivalent or similar effect, in any juri sdiction, and (viii) any and all
     other intellectual property under the Laws of any country throughout the world.

                  Section 1.41 "IRS" means tbe U.S. lnternal Revenue Service.

                  Section 1.42 "Law" means any federal, state, local or foreign law, statute, code, ordinance, rule, regulation, judgment, order, injunction,
     decree, arbitration award, agency requirement, license or permit of any Govemmental Authority.

                  Section 1.43 "Liabilities" means all debts, liabilities, guarantees, assurances, conunitments and obligations, whether fixed, contingent or
     absolute, asse1ted or unasse1ted, matured or unmatured, liquidated or unliquidated, accrned or not accrned, known or unknown , due or to become
     due, whenever or however arising (including whether arising out of any Contract or tort based on negligence or strict liability) and whether or not
     tbe same would be required by U.S. Generally Accepted Accounting Principles to be reflected in financial statements or di sclosed in tbe notes
     thereto.

                   Section 1.44 "Losses" means liabilities, damages, penalties, judgments, assessments, losses, costs and expenses in any case, whether
     arising under strict liability or otherwise (including reasonable attorneys' fees); provided, however, tbat (a) witb respect to claims made hereunder
     by (i) any member of the Burgundy Group, on the one hand, against any member of the Spinco Group, on the other hand, or (ii) by any member of
     tbe Spinco Group, on tbe one band, against any member oftbe Burgundy (froup, on tbe other band (collectively, "Direct Claims"), "Losses" will
     not include attorneys' foes or other arbitration or litigation expenses (including without limitation expe1ts' fees and administrative costs) incuned
     in connection witb tbe prosecution of sucb Direct Claim under tbe provisions set fo1tb in Section 7. 14. and (b) "Losses" will not include any
     puni ti ve, exemplary, special, or similar damages in excess of compensatory damages, except to tbe extent awarded by a court of competent
     jurisdiction in connection with a Third-Pai1y Claim_

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                 Section 1.45 "NatJ.ium Excess Land .. means the area described in the map attached hereto as Schedule 1.45.

                 Section 1.46 "Natural Resource Damai:es" means damages for injury to, destruction of, loss of, or loss of use of, natural resources,
     including the reasonable costs of assessing the damage, which are recoverable by a United States Trustee, a State Trustee, an Indian tribe trustee,
     or a foreign tru stee pursuant to CERCLA, CW A, OPA or a counterpa1t state statute.

                  Section 1.47 "Necessary Licenses" mean s those Intellectual Property Rights that are (i) licensed to the Burgundy G roup pursuant to a
     Shared Contract; (ii) used to conduct the Spinco Business prior to the Business Transfer Time; and (iii) necessary to conduct the Spinco Business
     in substantially the same manner as conducted iuunediately prior to the Business Transfer Time.

                Section 1.48 "Non-Spinco Business" means all businesses and operations (whether or not such businesses or operations are or have
     been terminated, divested or discontinued) conducted prior to the Business Transfer Time by Burgundy, the Burgundy Subsidia1ies, Spinco or the
     Spinco Subsidiaries, in each case, that are not included in the Eagle Business.

                 Section 1.49 "Ohio Ri ver" means the 1iver, riverbottom and riverbank of the Ohio River to the normal high water mark depicted on the
     maps attached to Schedule 2.5(b)(ii). For the avoidance of doubt, the maps attached to Schedule 2.5(b)(ii) are only for the purpose of delineating
     the normal high water mark for the po1tion of the Ohio River delineated thereon.

                 Section 1.50 "Order" means any order, judgment, injunction, award, decree, writ or other legally enforceable requirement handed down,
     adopted or imposed by, including any consen t decree, settlement agreement or similar written agreement with, any Governmental Authority.

                 Section 1.51 "Parties" means Burgundy and Spinco and, for purposes of the obligations in Section 5.2, the Spinco Group.

                 Section 1.52 "Person" mean s a natural person, corporation, company, joint venture, individual business tJ.·ust, tJ.·ust association,
     partnership, limited pru1nership, limited liability company or other entity, including a Governmental Authority.

                    Section 1.53 "Policies" means all insurance policies, insurance Contracts and claim administration Contracts of any ki.nd of Burgundy
     and its Subsidiaries (including members of the Spinco Group) and theiJ predecessors which were or are in effect at any time at or prior to the
     Business Transfer Tin1e, including commercial general liability, automobile liability, workers ' compensation and employer's liability, excess and
     umbrella liability, aiJcraft hull and liability, conunercial c1ime (including ERJSA bond), prope11Y and business inte1rnption, diJectors' and officers'
     liability, fiduciary liability, enors and omissions, special accident, environmental, inland and marine, and captive insurance company a1rangements,
     together with all rights, benefits and privileges thereunder.

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                 Section 1.54 "Real Estate Aoorovals" means all Govemmental Approvals associated with the subdivision of any Real Prope1ty that is a
     Spinco Asset from Real Property that is an Excluded Asset and the Conveyance of such Real Property that is a Spinco Asset to Spinco as
     contemplated by this Agreement, including without limitation any zoning variances, approvals o r other relief from the strict requi1·ements of aoy
     applicable zoning, subdivision or land development ordinance associated therewith.

                Section 1.55 "Real Prooe1ty" means land together with all easements, rights and interests arising out of the ownership thereof o r
     appurtenant thereto and improvements thereon .

                  Section 1.56 "Record Date" means the close of business oo the date to be determined by Burgundy's Board of Di1·ectors as the record
     date for determining stockholders of Burgundy entitled to receive shares of Spioco Conunoo Stock in the Di stribution , to the extent the
     Distribution is effected thrnugh a One-Step Spin-Off, or in connection with any Clean-Up Spin-OJI

                 Section 1.57 "Record Holders" means the holders of record of Burgundy Common Stock as of the close of business on the Record
     Date.

                 Section 1.58 "Release" means any spilling, leaking, pumping, pouring, emitting, emptying, discharging, injecting, escaping, leaching,
     dumping, o r disposing in to the eoviJOoment, including the abandonment or di scarding ofba1Tels, containers, and other closed receptacles
     containing Hazardous Material s.

                Section 1.59 "Remediation" means Actions requi1·ed by a Governmental Authority to clean up, abate, remove, or control Releases of
     Hazru·dous Materials into the envit·onn1ent in order to protect public health o r the envit·onment pursuant to applicable Envit·onmental Laws,
     including Actions to study , investigate, monitor and assess such Releases but, for the avoidance of doubt, shall not include any Actions which
     may be requiJed to address Natural Resource Damages with respect to the Calcasieu Estuary.

                 Section 1.60 "Securities Act" has the meaning set fo1th in the Merger Agreement.

                   Section 1.61 "Security Interest" means any mo1tgage, security interest, pledge, lien, charge, claim, option, indenture, right to acquiJe,
     right of first refusal, deed of trust, licenses to third patties, leases to third patties, security agreements, voting or other restriction, right-of-way,
     covenant, condition, easement, encroaclunent, restriction on tran sfer, o r other encumbrance and other restriction s or limitations on use of real or
     personal prope1ty of any nature whatsoever.

                  Section 1.62 "Shared Bur11undy IP" means all lntellectual Prope1ty Rights which are (i) owned o r controlled by the Burgundy Group as
     of the Business Transfer Time and not included in the Spinco Assets; (ii) used to conduct the Spinco Business prior to the Business Transfor
     Tiole; and (iii) necessary to conduct the Spinco Business in substantially the same manner as conducted iolmediately prior to the Business
     Transfer Time; provided however, that the Shared Burgundy lP will exclude any T rademarks, including the trademarks and domain names listed on
     Schedule 2.4(b)(i).

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                Section 1.63 "Shared Contracts" means the Contracts listed on Schedule 1.63 and any other Contract that relates to both (a) the Eagle
     Business and (b) the Non-Spinco Business.

                  Section 1.64 "Shared Info1mation" means (a) all Information provided by any member of the Spinco Group to a member of the
     Bw-gundy Group prior to the Business Transfer Time, and (b) any Information in the possession or under the control of such respective Group that
     relates to the operation of the Eagle Business prior to the Business Transfer Time and that the requesting Pa1ty reasonably needs (i) to comply
     with repo11ing, disclosure, filing or other requirements iU1posed on the requesting Party (including under applicable secw·ities and tax Laws) by a
     Governmental Authority having jw-isdiction over the requesting Party, (ii) for use in any other judicial, regulatory, adU1inistrative or other
     proceeding or in order to satisfy audit, accounting, claims, regulatory, litigation or other similar requiJements, in each case other than claims or
     allegations that one Pa1ty to this Agreement has against the other, (iii) subject to the foregoing clause (ii) above, to comply with its obligations
     under thi s Agreement, the Merger Agreement or any Ancillary Agreement, or (iv) to the extent such lnfonnation and cooperation is necessary to
     comply with such reporting, filing and disclosw-e obligations, for the preparation of financial statements or completing an audit, and as reasonably
     necessary to conduct the ongoing businesses of Burgundy or Spinco, as the case may be.

                  Section 1.65 "Shared Spinco Ir" means all lntcllcctual Property Rights which arc (i) included in the Spinco Assets; (ii) used to conduct
     the Burgundy Group's business prior to the Business Transfer Time; and (iii) necessary to conduct the Burgundy Group's business in
     substantially the same manner as conducted inunediately prior to the Business Transfer TiU1e; provided. however, that the Shared Spinco IP will
     exclude any Trademarks, including the trademarks and domain names li sted on Schedule 2.4(b)(i).

                 Section 1.66 "Spinco Business" means the Eagle Business and also, with respect to events that take place all.er the Business Transfer
     Time, the Eagle Business as it is operated by the Spinco Group or the Grizzly Group after the Business Transfer Time, including any new activities,
     expansions, or other modifications made to the Spinco Assets acquired at the Business Transfer Tin1e.

                 Section 1.67 "Spinco Commitment Lette1" has the meaning set forth in the Merger Agreement.

                 Section 1.68 "Spinco Exchange Dehl" bas the meaning set forth in the Merger Agreement.

                 Section 1.69 "Spinco Employees" has the meaning set fo11h in the Employee Matters Agreement

                 Section 1.70 "Spinco Facility'" means any facility located on a Spinco Active Site.

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                 Section 1.71 "Spinco Group'" means Spinco and each of its Subsidiaries. Tue Grizzly Group will be deemed to be members of the Spinco
     Grnup as of the Effective Time.

                Section 1.72 "Spinco Inactive Sites'" means any and all Real Property owned, leased or operated prior to the Business Transfer Time by
     Bw-gundy or its Affiliates {including the Spinco Grnup) relating to the Eagle Business, other than (i) the Spinco Active Sites and (ii) other Real
     Prope11y expressly identified in th is Agreement or any Ancillary Agreement as Assets to be acquired by any member of the Spinco Group.

                  Section 1.73 "Spinco Indemnitees" means Spinco, each member of the Spinco Group, and all Persons who are or have been
     stockl1olders, directors, partners, managers, managing members, officers, agents or employees of any member of tbe Spinco Group (in each case, in
     tbeir respective capacities as sucb), in eacb case, together with their respecti ve hei rs, executors, administrators, successors and assigns.

                 Section 1.74 "Spinco Related Letter" bas tbe meaning set fo1tb in the Merger Agreement.

                 Section 1.75 "Spinco Securities" has the meaning set fo1th in the Merger Agreement.

                  Section 1.76 "'Subsidiary" means, with respect to any Person, a corporation, pa1tnership, association, limited liability company, trust or
     other fo1m oflegal entity in which such Person, a Subsidiary of such Person or such Person and one or more Subsidiaries of such Person, directly
     or indirectly, has eitber (i) a majority ownership in the equity tbereof, (ii) the power, under ordi nary circumstances, to elect, or to direct the election
     of, a majority of the board of directors or other analogous goveming body of such entity, or (iii) the title or function of general pru1ner or manager,
     or tbe right to designate the Person having such title or function; provided, however, that TCI shall not be deemed a Subsidiary of Burgundy.

                 Section 1.77 "Tru·get Working Capital Amount" means the sum of the Target Working Capital Amount Excluding TCI plus, in the event
     tbe TC! Interests are Conveyed to Spinco at or piior to the Business Transfer Time, the TC! Target Working Capital Amount multiplied by 60%.

                 Section 1.78 "Tai-get Working Capital Amount Excluding TCI" means 9.18% (as adjusted pursuant to Schedule 3.7(a)) of the annualized
     qua1terly sales oftbe Eagle Business for the latest quarter ending on or before tbe Effective Time, excluding TC!, as calculated in accordance witb
     Schedule 3.7(a).

                 Section 1.79 "Tax'" or "Taxes'" has the meaning set forth in the Tax Matters Agreement.

                 Section 1.80 "Tax Return" bas the meaning set forth in the Tax Matters Agreement.

                 Section 1.81 "Taxing Authority" has the meaning set forth in the Merger Agreement.

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                 Section 1.82 "ID'" means Taiwan Chlorine Industries, Ltd., a Taiwanese co1poration.

                Section 1.83 "TC! A~reement'" means that ce1tain Agreement, dated December 12, 1986 by and between Burgundy and China
     Petrochemical Development Co1poration.

                 Section 1.84 "TCI Basis'" means $12 million.

                 Section 1.85 "TC! Interests'" means all shares of TC! owned by Burgundy as of inunediately prior to the Business Transfer Tin1e.

                 Section 1.86 "TCI   Tar~et Workin~   Capital Amount" means $4.5 million.

                 Section 1.87 "TC! Value'" has the meaning set fo1th in Schedule 1.87.

                 Section 1.88 "Transactions'" has the meaning set forth in the Tax Matters Agreement.

                 Section 1.89 "Working Capit<ll'" means the swn of the "Adjusted Working Capital Before Nom1alization Adjustments" of the Eagle
     Business as set fo1th on and calculated in accordance with, Schedule 3.7(b) plus, in the event the TC! Interests are Conveyed to Spinco at or prior
     to the Business Transfer Tin1e, 60% of the (a) swn of (i) the "Adjusted Working Capital" of TC! as set fo1th on and calculated in accordance with,
     Schedule 3.7(c) plus (ii) any cash or cash equivalents at TCI, less (b) any debt at TC!. Working capital will be comprised of the components set
     fo1th on and calculated in accordance with the Accounting Exhibit.


                                                           TERMS DEFINED IN IBIS AGREEMENT

                            DefmedTenn
                            Accounting Firm                                                                        Section 3.7(c)
                            Adjustment Payment                                                                     Section 3.7(e)
                            Agreement                                                                                   Preamble
                            Asbestos Exposure Claim                                                             Section 2.5(bXix)
                            Assigned Domains                                                                          Section6.6
                            Burgundy                                                                                    Preamble
                            Burgundy Accounts                                                                        Section 2.11
                            Burgundy Conunon Stock                                                                       Recitals
                            Burgundy Objection                                                                     Section 3.7(b)
                            Burgundy Transfer Documents                                                               Section 3.5
                            Business Transfer Date                                                                    Section 3.1
                            Business Transfer Tittle                                                                  Section 3.1
                            CAA                                                                                      Section 1.27
                            CERCLA                                                                                   Section 1.27
                            Chlorine and Liquid Caustic Soda Sales Agreement (Barbe1ton)                        Section 3.4(a)(ix)
                            Clainls Notice                                                                       Section 5.5(b)(i)
                            Clean-Up Spin-Oil'                                                                           Recitals
                            Closing Adjustment Statement                                                           Section 3.7(a)

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                Contribution                                                                     Recitals
                Convey                                                                     Section 2.l(a)
                Covered Claim                                                            Section 7.14(a)
                CWA                                                                          Section 1.27
                Direct Claims                                                                Section 1.44
                Di stribution                                                                    Recitals
                Distribution Tax Opinion                                                   Section 3.2(c)
                Election Notice                                                          Section 6.J2(a)
                Electric Generation, Distribution and Transmission Facilities Lease    Section 3.4(a)(iii)
                Estimated Adjustment Payment                                               Section 3.7(a)
                Estimated Closing Adjustment Statement                                    Section 3.7(a)
                Exchange Oiler                                                                   Recitals
                Excluded Assets                                                           Section 2.4(b)
                Excluded Environmental Liabilities                                     Section 2.5(b)(iii)
                Excluded IP Assets                                                      Section 2.4(b)(i)
                Excluded Liabilities                                                      Section 2.5(b)
                Excluded Spinco Sites                                                  Section 2.4(b)(iv)
                Final Closing Adjustment Statement                                        Section 3.7(d)
                First Refusal Right                                                      Section 6.12(a)
                Grizzly                                                                          Recitals
                Guarantee Release                                                        Section 2.IO(b)
                Hydrocblo1ic Acid Sales Agreement                                      Section 3.4(a)(xi)
                Hydrochloric Acid Sales Agreement - Lake Charles (Silica)             Section 3.4(a)(viii)
                Jntercompany Accounts                                                     Section 2.6(c)
                IRS D Reorganization Ruling                                                      Recital s
                IRS Debt Exchange Ruling                                                         Recitals
                Liquid Caustic Soda Sales Agreement (Fresno)                           Section 3.4(a)(vi)
                Liquid Caustic Soda Sales Agreement (Stl'Ongsville)                   Section 3.4(a)(vii)
                Liquid Caustic Soda Sales Agreement (Wichita Falls)                     Section 3.4(a)(x)
                Litigation Conditions                                                   Section 5.5(b)(ii)
                Master Te1minal Agreement                                              Section 3.4(a)(xi)
                Merger                                                                           Recitals
                Merger Agreement                                                                 Recitals
                Nanium Excess Land Agreement                                             Section 6. J2(b)
                OfierNotice                                                              Section 6.12(a)
                Obio River/Calcasieu Estuaiy Liabilities                                Section 2.5(b)(ii)
                One-Step Spin-Off                                                                Recitals
                OPA                                                                          Section 1.27
                Plan of Reorganization                                                        Section 2.1
                Private Letter Ruling                                                            Recitals
                Privileged Information                                                    Section 6.3(a)
                Privileges                                                                 Section 6.3(a)
                RCRA                                                                        Section 1.27
                Recapitalization                                                                 Recitals
                Registrable JP                                                         Section 2.4(a)(vi)
                Response Period                                                          Section 6.J2(a)

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                             SOWA                                                                                        Section 1.27
                             Servitude Agreement                                                                    Section 3.4(a)(v)
                             Shared Burgundy IP License                                                                Section 6.9(b)
                             Shared Facilities Agreement (Monroeville)                                              Section 3.4(a)(xi)
                             Shared Facilities, Services and Supply Agreement                                      Section 3.4(a)(iv)
                             Shared Spinco 1P License                                                                  Section 6.9(a)
                             Special Above Basis Debt/ Cash Distribution                                            Section 3.3(a)(ii)
                             Special Below Basis Cash Di stribution                                                 Section 3.3(a)(ii)
                             Special Distiibution                                                                   Section 3.3(a)(ii)
                             Spinco                                                                                         Preamble
                             Spinco Accounts                                                                          Section 2.1 l(a)
                             Spinco Active Sites                                                                    Section 2.4(a)(ii)
                             Spinco Assets                                                                             Section 2.4(a)
                             Spinco Books and Records                                                              Section 2.4(a)(vii)
                             Spinco Conunon Stock                                                                             Recital s
                             Spinco Contracts                                                                      Section 2.4(a)(iv)
                             Spinco Entities                                                                       Section 2.4(a)(iii)
                             Spinco Entity Interests,                                                               Section 2.4(a)(iii)
                             Spinco Financing AJTangements                                                                    Recitals
                             Spinco Infonnation                                                                        Section 6.3(b)
                             Spinco inventory                                                                          Section 2.5(a)
                             Spinco Liabilities                                                                        Section 2.5(a)
                             Spinco Registration Statement                                                             Section 4.4(a)
                             Spinco Reorganization                                                                            Recitals
                             Spinco Stock Issuance                                                                   Section 3J(a)(i)
                             Spinco Transfer Documents                                                                    Section 3.6
                             Tax Matters Agreement                                                                   Section 3.4(a)(i)
                             Tempora1y Lease Agreement                                                                 Section 2.7(1)
                             Third-Party Claim                                                                       Section 5.5(b)(i)
                             Trademarks                                                                                  Section 1.40
                             Transfer Documents                                                                           Section 3.6
                             Transition Services Agreement                                                          Section 3.4(a)(ii)
                             TSCA                                                                                        Section 1.27
                             Unassigned Domains                                                                           Section 6.7


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                                                              THE SPINCO REORGANIZATION

                 Section 2.1 Transfer ofSpinco Assets· Assumption ofSpinco Liabilities. Except as provided in Section 2.7Cb), subject to the terms of
     th is Agreement and effective as of the Business Transfer Time, in accordance with the plan and stiucture set forth on Schedule 2.1 (such plan and
     structure being refe1red to herein as the " Plan of Reor~anization") and to the extent not previously effected pursuant to the steps of the Plan of
     Reorganization:

                  (a) Burgundy will assign, transfer, convey and deliver ("Convey") (or will cause any applicable Subsidiary to Convey) to Spinco the
     equity interests in the Spinco Enti ties that are to be held directly by Spinco and, as set fo1th in the Plan of Reorganization, to the applicable Spinco
     Entity, the other Spinco Assets, and Spinco will accept from Burgundy (or the applicable Subsidiruy of Burgundy) (or will cause any applicable
     Spinco Entity to accept) all of Burgundy's and its applicable Subsidiaries' respective diJect or indirect 1ight, title and interest in and to all Spinco
     Assets (other than any Spinco Assets that are already held as of the Business Transfer Time by a Spinco Entity , which Spinco Assets will
     continue to be held by such Spinco Entity); and

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                  (b) Burgundy will Convey (or will cause any applicable Subsidiary to Convey) to a Spinco Entity other than Spinco, and such Spinco
     Entity will assume, perform, discharge and fulfill when due and, to the extent applicable, comply with all of the Spinco Liabilities, in accordance
     with their respective terms (other than any Spinco Liabilities that as of the Business Transfer Time are already Liabilities of a Spinco Entity, which
     Spinco Liabilities will continue to be Liabilities of such Spinco Entity).

                 Section 2.2 Transfer of Excluded Assets· Assumpt ion of Excluded Liabilities. Except as provided in Section 2.71b), subject to the term s
     of this Agreement and prior to the Business Transfer Time, in accordance with the Plan of Reorganization and to the extent not previously effected
     pursuant to the steps of the Plan of Reorganization:

                 (a) Burgundy will cause any applicable member or members of the Spinco Group to Convey to Burgundy or, to the extent set forth in
     the Plan of Reorganization, a Subsidiary of Burgundy, and Burgundy wil I accept from such applicable member or members of the Spinco Group (or
     will cause any applicable Subsidiary of Burgundy to accept) all of such member's or members' direct or indirect right, title and interest in and to all
     Excluded Assets; and

                  (b) Burgundy will cause any applicable member or membe.rs of the Spinco Group to Convey to Burgundy or. to the extent S<'t forth in
     the Plan of Reorganization, a Subsidiary of Burgundy, and Burgundy will assume, perform, discharge and fulfill when due, and to the extent
     applicable, comply with (or will cause the applicable Subsidiruy of Burgundy to assume, satisfy, perfonn, discharge and fulfill when due, and to the
     extent applicable, comply with) all of the Excluded Liabilities (including any Liabilities of a Spinco Subsidiary that are Excluded Liabilities), in
     accordance with their respective te1ms.

                  Section 2.3 Misallocated Transfers. Other than the TCI Interests, the treatment of which shall be governed by
     Section 2.7Cel, in the event that at any time or from tin1e to time (whether prior to, at or aft.er the Business Transfer Time), either Pru1y (or any
     member of the Burgundy Group or the Spinco Group, as applicable) is the owner of, receives or otherwise comes to possess any Asset (including
     the receipt of payments made pursuant to Con tracts and proceeds from accounts receivable) or Liability that is allocated to any Person that is a
     member of the other Group pursuant to this Agreement or any Ancillary Agreement (except in the case of any acquisition of Assets from the other
     Pa1ty for value subsequent to the Business Transfer Tinle), such Party will promptly transfer, or cause to be transferred , such Asset or Liability to
     the Person so entitled thereto or responsible therefor. Prior to any such transfer, such Asset or Liability will be held in accordance with Section 2.7
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                 Section 2.4 Spinco Assets; Excluded Assets.

     (a) For purposes of this Agreement, "Spinco Assets" means in each case all of Burgundy's and its Affiliates' rights, title and interests in and to
     the following Assets except as otherwise set fo1th below and in each case subject to Section 2.41b):
                      (i) all inventories of materials, parts, raw materials, packaging materials, stores, supplies, work-in-process, goods in transit, and
                finished goods and products that are, in each case, used or held for use p1imarily in the Eagle Business (the "Spinco Inventory");
                       (ii) all Real Prope1ty li sted or described on Schedule 2.4(a)(ii) (the "Spinco Active Sites");
                       (iii) all issued and outstanding capital stock of, or other equity interests in , the Subsidiaries of Burgundy listed or described on
                Schedule 2.4(a)(iii)(I) (such stock or other equity interests, the "Spinco Entity Interests." and such Subsidiaries, the "Spinco Entities")
                and, subject to Section 2.7(e) with respect to the TCI Interests, all capital stock or other equity interests owned by Burgundy that are
                listed on Schedule 2.4(a)(iiiX2);
                      (iv) (A) all Con tracts that are related primarily to the Eagle Business (including Shared Contracts that are related piima1ily to the
                Eagle Business, subject to Se.ction? 7(c)) and all interests, rights. claims and benefits of Burgundy and any of its Subsidiaries pursuant
                to and associated therewith and (B) to the extent provided in Section 2.7(c), the Contracts for the sole benefit ofSpinco into which the
                Shared Contracts are separated (collectively, the "Spinco Contracts");
                       (v) Subject to Section 2.7, all approvals, consents, franchises, licenses, permits, registrations, authorizations and ce1tificates or
                other rights issued or granted by any Governmental Authority and all pending applications therefor that are, in each case, used
                prin1arily in, or held prin1arily for the benefit oJ~ the Eagle Business;
                      (vi) (A) all patents, patent applications, statutory invention registrations, registered trademarks, registered service marks,
                registered Internet domain names and copyright registrations (collectively, "Reiiistrahle IP") that are, in each case, used or held for use
                primarily in the Eagle Business, including the Registrable IP listed or described on Schedule 2.4(a)(vi), and (B) all lntellectual Property
                Rights, other than Regi strable JP, that is used or held for use primarily in the Eagle Business;

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                  (vii) (A) all business records related prima1ily to tbe Eagle Business, including tbe minute and otber record books and related
           stock and equity interests records of the Spinco Entities and all employment records related prin1a1ily to the Spinco Employees, and (B)
           all other books, records, ledgers, Jiles, documents, correspondence, lists, plats, drawings, photographs, product literature (including
           historical), adve1ti sing and promotional material s, di stribution lists, customer li sts, supplier li sts, studies, market and product sbare data
           (including historical), repo1ts, operating, production and other manual s, manufacturing and quality control records and procedures,
           research and development Jiles, and accounting and business books, records, files, documentation and materials, in all cases whether
           in paper, microfilm, microfiche, computer tape or disc, magnetic tape or any otber form, in eacb case tbat are related p1ima1ily to tbe
           Eagle Business (collectively, the "Spinco Books and Records"); provided, that(!) Burgundy will be entitled to retain a copy of the
           Spinco Books and Records, wbicb will be subject to tbe provi sions of Section 6.2<Q; (2) neitber clause (A) nor (B) will be deemed to
           include any books, records or other items with respect to which it is not reasonably practicable to identify and extract the portion
           tbereof related primarily to tbe Eagle Business from tbe po1t ions tbereoftbat relate primarily to businesses of Burgundy otber tban tbe
           Eagle Business provided, however, tbat tbe po1tion of sucb books, records and otber items tbat are retained by tbe Bu rgundy (froup
           that are related prinlarily to the Eagle Business will be deemed to be Shared Information; (3) neither clause (A) nor (B) will be deemed to
           include any tangible copies of books, records or otber items unless tbey are being kept at eitber a Spinco facility or a tbird party
           storage faciiity covered by a Spinco Contract; provided, however, that such tangibie books, records and other items reiated primariiy 10
           tbe Eagle Business tbat are retained by tbe Burgundy Group will be deemed to be $bared information; (4) to tbe extent requi1·ed to
           satisfy Burgundy's legal or other obligations, Burgundy will be entitled to retain original copies of the Spinco Books and Records,
           wbicb will be subject to tbe provi sions of Section 6.?CO, and will provide Spinco witb a copy of all sucb retained Spinco Books and
           Records; and (5) the Transition Services Agreement will govern the delivery to Spinco of any such books, records or other items that
           are maintained in electronic fonn;
                  (viii) all rights in all telephone, mobile telephone and fax numbers and post office boxes, in eacb case, used or beld for use
           prin1ar ily in the Eagle Business; all websites maintained prinlar ily for the Eagle Business and the content, information and databases
           contained therein (other than any Excluded IP Assets contained therein); and all uniform product codes and other similar data
           identifiers used or beld for use primarily in tbe Eagle Business;
                 (ix) all cash and cash equivalents in the Spinco Accounts not withdrawn prior to the Business Transfer Tin1e;
                 (x) all trade accounts, notes receivable and other receivables arising from the sale or other disposition of goods, o r the
           perfonnance of services, by tbe Eagle Business;

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                  (x.i) all prepaid expenses, prepaid prope1ty taxes, security deposits, credits, deferred charges, advanced payments that are, in each
           case, related primarily to the Eagle Business (other than prepaid insurance premiums, deposits, secuiity or other prepaid amounts in
           connection with workers' compen sation and other Policies related to Excluded Liabilities);
                 (xii) all rights with respect to thiJd paity wan-anties and guaranties that are, in eacb case, related primarily to tbe Eagle Business
           and all related claims, credits, rights of recove1y and other similar rights as to such thiJd pa1ties;
                 (xiii) all rights to causes of Action, lawsuits, judgments, claims and demands that are , in each case, related primarily to the Eagle
           Business, including those li sted o r described on Schedule 2.4(a)(xiii) but, for the avoidance of doubt, not including any counter-claims
           in connection with an underlying clain1 that is not related primarily to the Eagle Business;
                 (xiv) all computers and other electronic data processing equipment, fixtures, machinery, equipment, furniture, office equipment,
           motor veh.icles and other transportation equipment, special and general tangible tools, prototypes, models, and other tangible personal
           prope11y that are, in each case, used or held for use prin1arily in the Eagle Business, including those listed or described in Schedule 2.4
           (aXxiv);
                 (xv) Burgundy's fee and/or leasehold interest, as applicable, in and to tbe Starks and Sulphur Mines Salt Dome Facilities in
           Calcasieu Par ish, Louisiana which service the Eagle Business at the Lake Charles site (including any and all personal prope1ty,
           pipelines and other equipment owned by Burgundy in connection therewith);
                 (xvi) Burgundy's fee and/or leasehold interest, as applicable, in and to tbe O range Line ethylene pipeline wbicb services the
           Eagle Business at the Lake Charles site (including the Real Prope1ty and equipment (including any and all personal prope1ty, pipelines
           and other equipment owned by Burgundy in connection therewith); the licenses retained by eacb member of the Spinco Group
           pursuant to Section 6.9(b); and
                  (xvii) all assets expressly identified in this Agreement or any Ancillary Agreement as assets to be acquired by any member of the
           Spinco Group hereunder or thereunder; and any and all other Assets (other than Excluded Assets) owned by Burgundy or any of its
           Subsidiaries that are used or held for use prin1ar ily in, or related primarily to, the Eagle Business. The intention of this clause (xvii) is
           only to rectify any inadve1ten t omission of Conveyance of any Assets tbat, bad tbe Pa1t ies given specific con sideration to sucb Asset
           as of the date of this Agreement, would have otherwise been classified as a Spinco Asset. No Asset will be deemed a Spinco Asset
           solely as a result oftbis clause (xvii) unless a claim with respect thereto is made by Spinco on or prior to tbe two-year anniversary of
           the Distribution Date.

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     A single Asset may fall within more than one of clauses (i) tlu·ough (xviii) in thi s Section 2.4(a); such fact does not imply that (x) such Asset must
     be Conveyed more than once or (y) any duplication of such Asset is required. The fact that an Asset may be excluded under one clause does not
     imply that it is not intended to be included under another.

               (b) Notwithstanding the foregoing clause (a), the Spinco Assets will not in any event include any of the following Assets (the
     "Excluded Assets"):
                        (i) any Intellectual Property Rights in which the Burgundy Group or the Spinco Group has any right, title or interest, other than
                 Intellectual Prope11y used or held for use prin1arily in the Eagle Business (the "Excluded IP Assets"). For the avoidance of doubt, the
                 Excluded IP Assets include, but are not limited to, the registered and unJegi stered rights in the name(s), trademarks, and domain names
                 listed on Schedule 2.4(b)(i) and any Intellectual Property Rights related to titanium dioxide or to the development, production,
                 manufacture o r fini shing of titanium dioxide products;
                       (ii) any cash o r cash equivalents withdrawn from any Spinco Accounts pri or to the Business Transfer Time;
                       (iii) any dividends declared by TCI, PHH Monomers, LLC and RS Cogen, LLC p1ior to the Business Transfer Time but not yet
                 paid as of the Business Transfer Time, except to the extent included as assets in Working Capital;
                       (iv) except to the extent provided in Section 6.1 I, all insurance policies, binders and claims and rights thereunder and all prepaid
                 insurance premiums;
                       (v) all Spinco Inacti ve Sites;
                      (vi) the Real Prope1ty designated as being retained by Burgundy in the sites li sted o r described on Schedule 2.4(b)(vi) (the
                 "Excluded Spinco Sites");
                       (vii) all Assets of any member of the Burgundy Group not included in any clauses of Section 2.4(a) above;
                     (viii) all Assets that are expressly contemplated by this Agreement or any Ancilla1y Agreement as Assets to be retained by any
                 member of the Bw-gundy Group; and
                       (ix) the Assets listed or described on Schedule 2.4(b)(ix).

     The Pa1ties acknowledge and agree that neither Spinco nor any of its Subsidiaries will acquiJe o r be permitted to retain any diJect o r indiJect right,
     title and interest in any Excluded Assets through the Conveyance of the Spinco Entity Interests, and that if any of the Spinco Entities owns, leases
     or bas the ri ght to use any such Excluded Assets, such Excluded Assets must be Conveyed to Burgundy as contemplated by thi s Agreement.

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                  Section 2.5 Spinco Liabilities. (a) For the puiposes of thi s Agreement, "Spinco Liabili ties" means (except as expressly set forth herein,
     regardless of (I) whether the facts on which such Liabilities are based occurred prior to, at or subsequent to the Business Transfer Time, (2)
     whether or not such Liabilities are asse1ted or determined prior to, at or subsequent to the Business Transfer Time, (3) where or against whom such
     Liabilities are asse1ted or determined (including any such Liabilities arising out of claims made by Burgundy's or Spinco respective directors,
     officers, employees, agents, Subsidiaries or Affiliates against any member of the Burgundy Group or the Spinco Group) , and (4) whether or not
     such Liabilities arise from or are alleged to arise from negligence, recklessness, violation of Law, fraud or misrepresentation by any member of the
     Burgundy Group or the Spinco Group (including any oftheiJ respective diJectors, officers, employees, agents, Subsidiaries or Affiliates)) the
     following Liabilities except as otherwise set fo1th below and in each case subject to Section 2.5<bl:
                       (i) all Liabilities to the extent relating prima1ily to the Spinco Assets or the Eagle Business:
                       (ii) all trade and other accounts payable related primarily to the Eagle Business;
                       (iii) all operating expenses and other cunent Liabilities (including Liabilities for services and goods for which an invoice has not
                 been received prior to the Business Transfer Time) related p1imarily to the Eagle Business;
                       (iv) all Liabilities under tbe Spineo Contracts including, to tbe extent provided in Section 2.7(c), tbe Contracts for tbe sole benefit
                 of Spinco into which the Shared Contracts are separated;
                       (v) all Liabilities arising from conuu.itments (in the fonu of issued purchase orders or otherwise), quotations, proposals and bids
                 to purchase or acquire raw materials, components, supplies or services related primarily to the Eagle Business;
                       (vi) all Liabilities arising from conunitments (in the form of accepted purchase orders or otherwise), quotations, proposals and
                 bids to sell products or provide services related primarily to the Eagle Business;
                        (vii) all Liabilities with respect to any return, rebate, discount, credit, recall wananty, customer program, or similar Liabilities
                 relating primarily to products of the Eagle Business;
                       (viii) all Liabilities for death, personal injury, adve1ti sing injury, other injury to persons or prope1ty damage relating to past,
                 current or future use of or exposure to any of the products (or any part or component) designed, manufactured, serviced or sold, or
                 services perfol111ed, by, or on behalf of, the

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           Eagle Business, including any such Liabilities for negligence, strict liability, design or manufacturing defect, failure to warn, or breach
           of express or implied warranties of merchantability or fitness for any purpose or use;
                (ix) all Liabilities relating prin1a1ily to the Eagle Business or any Spinco Assets to the extent that the san1e constitutes a past,
           cunent or future to1t, breach of Contract or violation of, or non-compliance with, any Law or any approval, consen t, franchise, license,
           permit, regi stration, autho1ization or ce1tificate or other right issued or granted by any Governmental Authority;
                (x) all Liabilities relating to workers' compensation, or claims for occupational health and safety, occupational disease, or
           occupational injury, or other clain1 relating to health, safety, disease or injuiy, with respect to any Spinco Employee or any other Person
           who is or was employed, hired or engaged by or to provide services to the Eagle Business;
                 (xi) all Liabilities relating to any Action related primarily to the Eagle Business;
                  (xii) all Liabilities under tbe Spinco Financing Arrangements and all other indebtedness for bonowed money of Spinco as of the
           Di stribution Date;
                 (xiii) all indebtedness to which Burgundy is subject by virtue of its ownership interests in RS Cogen, LLC, PHH Monomers, LLC
           and, subject to Section 2_7fe), TCI;
                 (xiv) (A) all Liabilities, known or unknown, for Environmental Conditions relating primarily to activities or operations at any of the
           Spinco Active Sites, or otherwise existing on or under any of the Spinco Active Sites (including any Release of Hazardous Materials
           occurring before, at or afler the Business Transfer Time that has migrated, is migrating or in the foture migrates from any of the Spinco
           Active Sites) or any violation of EnviJOnmental Law arising out of the Eagle Business at any of the Spinco Active Sites; and (B) all
           Liabilities for Environmental Conditions at any thit·d-party site relating primarily to Hazardous Materials generated by the Spinco
           Active Sites;
                 (xv) all Liabilities to the extent arising out of(A) the activities or operations of the Spinco Business or the ownership or use of
           the Spinco Assets alter the Business Transfer Time by any member of the Spinco Group; (B) the activities or operations of any other
           business conducted by any member of the Spinco Group or the Grizzly Grnup at any time after the Business Transfer Time (including
           any Liability relating to, a1ising out of or resulting from any act or failure to act by any director, officer, employee, agent or
           representative of any member of the Spinco Group (whether or not such act or failure to act is or was within such Person's authority))
           or (C) any of the terminated or discontinued bu sinesses that were operated on Spinco Active Sites;

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                       (xvi) all Liabilities that are expressly provided by thi s Agreement or any Ancillary Agreement as Liabilities to be assumed or
                 retained by, or allocated to, any member of the Spinco Group;
                      (xvii) all Liabilities of any member of the Spinco Group or the Grizzly Group under this Agreement or any of the Ancillaiy
                 Agreements;
                       (xviii) all Liabilities (including Shareholder Liabilities) relating to, arising out of or resulting from any G1izzly Disqualifying Action;
                 and
                       (xix) all Liabilities listed or described on Schedule 2.5(a)(xix).

     A single Liability may fall within more than one of clauses (i) through (xvii) in this Section 2.5(a); such fact does not imply that (x) such Liability
     must be Conveyed more than once or (y) any duplication of such Liability is requiJed. ll1e fact that a Liability may be excluded under one clause
     does not imply that it is not intended to be included under another.

                (b) Notwithstanding the foregoing clause (a), the Spinco Liabilities will not in any event include any of the following Liabilities (the
     "Excluded Liabilities"):
                       (i) all Liabilities to the extent relating to, arising out ol~ or resulting from any Excluded Assets;
                       (ii) (A) all Liabilities relating to, arising out of or resulting from the contamination in the Ohio River which was the subject of or
                 related to, diJectly or indirectly, sediment sampling conducted or to be conducted by or on behalf of Burgundy (along with any
                 associated follow-up sampling or testing), as and to the extent set fo11h on Schedule 2.5(b)(ii), and (B) all Liabilities relating to, ai·ising
                 out of or resulting from Natural Resource Damages and other thiJd pa1ty to1t (only) damage claims related to the Calcasieu Estuary,
                 other than (i) Liabilities in the Calcasieu Estuaiy related to Remediation, including contribution or similar claims for costs of
                 Remediation and (ii) Liabilities arising out of any Release by the Spinco Group to the Ohio River or the Calcasieu Estuary after the
                 Business Transfer Time (subpaits (A) and (B), the "Ohio River/Calcasieu Estuary Liabilities");
                          (iii) all Liabilities relating to, ai·ising out of, or resulting from any Spinco inactive Site, Excluded Spinco Site or Non-Spinco
                 Business, including (A) all Liabilities relating to, arising out of, or resulting from any EnviJOrunental Conditions or any violation of
                 Environmental Law at any such locations, and (B) all Liabilities relating to, arising out of or resulting from any Environmental
                 Conditions at any third-party site arising from, related to or resulting from Hazardous Materials from any Spinco lnactive Sites, Non-
                 Spinco Business or Excluded Spinco Sites (collectively subpai1 (A) and (B) and , together with the Excluded Liabilities in Section 2.5fb)
                 (ii)., the "Excluded Environmental Liabilities");

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                        (iv) all Liabili ties that are expressly provided by thi s Agreement, the Merger Agreement or any Ancilla1y Agreement as Liabilities
                 to be retained or assumed by Bmgundy or any other member of the Bmgundy Group;
                      (v) all Liabilities (including Shareholder Liabilities) relating to, arising out of or resulting from any Bmgundy Disqualifying
                 Action;
                       (vi) all Liabilities of the Burgundy Group constituting an obligation to defond, indemnify or hold ha1mless any third-party
                 insurers that issued insurance policies to Burgundy (including without limitation any indemnity obligations that Burgundy has
                 assun1ed or may assume in connection with the Chapter 11 bankruptcy reorganization of Pittsbmgh Corning Co1poration);
                        (vii) all Liabilities of the Spinco Entities that are unrelated to the Eagle Business (including Liabilities related to titanium dioxide or
                 to the development, production , manufacture or finishing of titanium diox.ide products);
                       (viii) all Liabili ties relating to, arising out of or resulting from the indemnification of any director, officer, agent or employee of
                 Burgundy or any of its Affiliates who was a director, officer, agent or employee of Burgundy or any of its Affiliates on or prior to the
                 Effective Time to the extent such director, officer, agent or employee is or becomes a named defendant in (A) any shareholder
                 derivntive suit ngninst Bmgundy nrising from the trnnsnctions contemplnted by th is Agreement or the Merger Agreement, including
                 the One-Step Spin-00~ the Exchange Oller or the Clean-Up Spin-Off, with respect to which he or she was entitled to such
                 indemnification pursuant to the then eJtisting obligations or (B) any Action related to an Excluded Liability;
                        (ix) all Liabili ties relating to, arising out of or resul ti ng from claims for or relating to exposure to asbestos at any Real Prope1ty that
                 is a Spinco Asset on or prior to the Business Transfer Time, whether such claim is made before or afler the Business Transfer Time
                 ("Asbestos Exposure Clai m"), subject to the further term s and conditions provided in Schedule 2.5(b)(ix); and
                       (x) all Liabilities described on Schedule 2.5(b)(x) .

     The Parties acknowledge and agree that neither Spinco nor any other member of the Spinco Group will be required to assume or retain any
     Excluded Liabilities as a result of the Conveyance of the Spinco Entity Interests, and that if any of the Spinco Entities is liable for any Excluded
     Liabilities, such Excluded Liabilities will be assumed and sati sfied by Burgundy as contemplated by thi s Agreement.

                 Section 2.6 Termination of Intercomoany Agreements: Settlement of Intercompany Accounts.

                 (a) Tennination oflntercompany Agreements. Except as set fo11h in Section 2.6(b) and Section 2.6<cl, Spinco, on behalf of itself and
     each other member of the Spinco Group,

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     on the one hand, and Burgundy, on behalf of itself and each other member of the Burgundy Group, on tbe other band, will terminate, effective as of
     the Business Transfer Time, any and all Contracts between or among Spinco or any member of the Spinco Group, on the one hand, and Burgundy
     or any member of the Burgundy Group, on tbe other band. No sucb Contract (including any provision thereof which purpo1ts to survive
     termination) will be of any fmther force or effect aller the Business Transfer Tin1e and all parties will be released from all Liabilities thereunder. Each
     Patty will, at the reasonable request of any other Patty , take, or cause to be taken, such other actions as may be necessary to effect the foregoing.

                 (b) Exceptions to Termination oflntercompany Agreements. Notwith standing Section 2.6(a), tbe provi sion s of Section 2.6<a) will not
     apply to any of the following Contracts (or to any of the provisions thereof):
                       (i) any Contracts listed or desc1ibed on Schedule 2.6(b)(i);
                       (ii) this Agreement, the Merger Agreement and the Ancillary Agreements (and each other Contract expressly contemplated by
                 tbis Agreement, tbe Merger Agreement or any Ancillary Agreement to be entered into or continued by any of the Parties or any of the
                 members of their respective Groups);
                       (iii) any Contracts to which any Person other than the Pruties and their respective Afiiliates is a party (it being understood that to
                 tbe extent that the rights and Liabiliti es of tbe Pa1ties and the members of their respecti ve (h·oups under any sucb Contracts consti tute
                 Spinco Assets or Spinco Liabilities, they will be Conveyed pursuant to Section 2.Ha) or Section 2.ICbl, or allocated pursuant to Section
                 2.7(dl); and
                       (iv) any Con tracts to which any non-wholly owned Subsidiary of Burgundy or Spinco, as tbe case may be, is a party (it being
                 understood that directors' qualifying shru·es or sinular interests will be disregarded for purposes of detennining whether a Subsidiary is
                 wholly owned) (it being understood that to the extent that the rights and Liabilities of the Patties and the members of their respective
                 Groups under any sucb Contracts constitute Spinco Assets or Spinco Liabili ties, tbey will be Conveyed pursuant to Section 2. l(a) or
                 Section 2.Hbl, or allocated pursuant to Section 2.7(dl).

                   (c) Settlement of lntercompany Accounts. All oftbe intercompany receivables, payables, loan s and other accounts between Spinco or
     any member of tbe Spinco Group, on tbe one band, and Burgundy or any member of tbe Burgundy Gl·oup, on tbe other band, in existence as of
     in1111ediately prior to the Business Transfer Tin1e set fo1th on Schedule 2.6(c) (collectively, the "lntercompany Accounts") will be satisfied and/or
     settled at the Business T ransfer Time.

                 Section 2.7 Governmental Aporovals and Third-Party Consents.

                (a) Obtaining Consents. To the extent that the consummation of the Spinco Reorganization or the Distribution requires any third-party
     Consents or Govemmental Approvals (including Real Estate Approvals), the Parties will use their respective commercially reasonable

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     efforts to obtain such Consents or Governmental Approval s, as soon as reasonably practicable; provided, however, except with respect to the
     Necessary Licenses, that neither pa11y will under any circumstance be required to or shall be required to cause any member of its Group to, make
     any payments or offer or grant any acconunodation (financial or otherwise, regardless of any provi sion to the contrary in the underlying Contract,
     including any requirements for the securing or posting of any bond s, letters of credit or similar instruments, or the furnishing of any guarantees) to
     any third pa1ty to obtain any Consent or Governmental Approvals unless and to the extent that the member of the other Group agrees to rein1burse
     and make whole, to such person 's reasonable sati sfaction, for any payment or other accommodation made by its request. Except with respect to
     the Necessary Licenses, Spinco agrees that in the event that any third party or Governmental Authority requests that Burgundy make a payment
     or offer or grant an accommodation to obtain any third-pa11Y Consents or Governmental Approval s and Spinco or Grizzly does not agree to
     reimburse or make whole Burgundy in connection therewith, Spinco shall not be entitled to the benefits of the provision in, and Burgundy will not
     be obligated to take any efio1ts under, Section 2.7fdl in respect of any Spinco Asset, Spinco Liability, Excluded Asset or Excluded Liability which
     Conveyance is subject to such third-pa1ty Consents or Governmental Approvals. With respect to the Necessary Licenses, Spinco and Burgundy
     shall share equally any costs related to obtaining Consents (including any remedies related thereto whether negotiated or the result of a judicial
     process) to separate the Shared Contracts or assign the Necessary License, as applicable; provided, however, that if any P1ime Counte1paity to a
     Necessary License requires any payment in the nature of a license fee to be made directly to the Prime Count.erparty by a Spinco Group member
     pursuant to a new license agreement between such Spinco Group member and such Prime Counte1paity that will grant rights to such Spinco G roup
     member in complete or partial substitution for rights of a Burgundy Group member under the Shared Contract in question (as opposed to a
     payment in the nature of a transfer fee or fee for granting consent), such license fee will be borne entiJely by such Spinco Group member. For the
     avoidance of doubt, the required efforts and responsibilities of the Parties (i) to seek the Consents necessary to provide the Services (as defined in
     the Transition Services Agreement) will be governed by A1ticle 3 of the T ransi tion Services Agreement and (ii) to seek approval pursuant to the
     HSR Act or Foreign Competition Laws (each as defined in the Merger Agreement) and the G1izzly Stockholder Approval (as defined in the Merger
     Agreement) will be governed by the Merger Agreement. The obligations set fo1th in th is Section 2.7fal will terminate on the two-year anniversa1y
     of the Distribution Date; provided, however, with respect to Real Estate Approval s, tbe obligations in this Section 2.7(a) will suivive in perpetui ty.

                 (b) Transfer in Violation of Laws or Requi1ing Consent or Govemmental Approval.
                       (i) If and to the extent that the valid, complete and perfected Conveyance to the Spinco G roup of any Spinco Asset or Spinco
                 Liability, or to the Burgundy Group of any Excluded Asset or Excluded Liability, would be a violation of applicable Laws or require any
                 Consen t or Governmental Approval (including Real Estate Approval s) in connection with the Spinco Reorganization, the
                 Recapitalization or the Distribution, then subject to subpru1 (ii) below, the Conveyance to the Spinco Group of any such Spinco Asset
                 or Spinco Liability, or to the Burgundy Group of any such Excluded Asset or Excluded Liability, will automatically be defe1red, and no
                 Conveyance will occur until all legal or

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                Contractual impediments are removed or such Consents or Governmental Approvals have been obtained. Other than the TCI Interests,
                the treatment of which shall be govemed by Section 2.7Cel, any Asset or Liability with respect to which Conveyance has been so
                defe1i-ed will still be considered a Spinco Asset, a Spinco Liability, an Excluded Asset, or an Excluded Liability, as applicable, and will
                be subject to Section 2.7Cdl.
                      (ii) Notwithstanding subpart (i), other than the TCI Interests, the treatment of which shall be governed by
                Section 2.7Cel, (A) Bw-gundy (subject to Spinco's rights under subpart (B)) or Spinco may elect to require the immediate Conveyance
                of any Spinco Asset, Spinco Liability, Excluded Asset or Excluded Liability notwithstanding any requirement that a Consent or
                Governmental Approval be obtained or (B) with respect to Real Property that includes both a Spinco Asset and an Excluded Asset,
                Spinco or Burgundy may elect to requi1·e the immediate Conveyance of all such Real Property that includes both the Spinco Asset and
                the Excluded Asset notwithstanding any requirement that a Consent or Govemmental Approval (including any Real Estate Approvals)
                be obtained; provided, that (A) ifSpinco so elects to requiJe the inunediate Conveyance of any such Asset or Liability, any Liabilities
                arising from such Conveyance relating to such violation of Law or failure to secw-e the requisit.e Consent or Governmental Approval
                will be deemed to be Spinco Liabilities, and (B) if Bw-gundy so elects to require the inunediate Conveyance of any such Asset or
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                Govemmental Approval will be deemed to be Excluded Liabilities, and (C) ifSpinco and Burgundy jointly agree to inunediately Convey
                such Asset or Liability, any Liabilities ari sing from such Conveyance will be shared evenly between Spinco and Burgundy and,
                notwithstanding any prov ision in Section 5.5Cbl to the contrary, the defense of any Third-Pruty Claim relating thereto will be jointly
                managed by Spinco and Burgundy. The Pa1ties will use theiJ conunercially reasonable effo1ts promptly to obtain any Consents or
                Governmental Approvals as required by Section 2.7Cal and to take the actions required by Section 2.7Cdl pending removal oflegal or
                Contractual impediments or receipt of Consents or Governmental Approvals. If and when the legal or Contractual impediments the
                presence of which caused the deferral of transfer of any Asset or Liability pursuant to this Section 2.7Cbl ru·e removed or any Consents
                and/or Govemmental Approvals the absence of which caused the deferral of transfer of any Asset or Liability pursuant to this Section
                2.7Cb) are obtained, the transfer of the applicable Asset or Liability will be effected promptly in accordance with the terms of this
                Agreement and/or the applicable Ancillary Agreement(s). The obligations set fo11h in this Section 2.7Cb) will terminate on the two-year
                anniversary of the Distribution Date; provided, however, with respect to Real Estate Approvals and transfers of Assets and Liabilities
                in connection therewith, the obligations in this Section 2.7<b) will survive in pe1petuity.

                (c) Shared Contrncts. The Pa11ies will use their respective conunercially reasonable elfo11s to sepru·ate the Shared Contracts into
     separate Con tracts effective as of the

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     Business Transfer Time so that from and aft.er the Business Transfer Time Spinco Group will be entitled to rights and benefits and shall assume the
     related po1tion of Liabilities witb respect to eacb Sbared Contract to tbe extent related to tbe Eagle Business and tbe Burgundy Group will bave tbe
     rigbts and benefi ts and sball assume tbe related po1t ion of Liabilities witb respect to eacb Sbared Contract to tbe extent not related to tbe Eagle
     Business. Upon such separation of a Shared Contract, the separated Contract will be a Spinco Asset or Excluded Asset, as applicable. U" the
     counterparty to any Shared Contract that is entitled under the tenns of the Shared Contract to Consent to the separation of the Shared Contract in
     tbe manner set fo1tb in tbi s Section 2.7(c) (a " Prime Counte1l)a1ty") bas not provided sucb Consent or iftbe separation ofa Sbared Contract bas
     not been completed as of the Business Transfer Time for any other reason, then the Pruties will use their respective couunercially reasonable
     effo1ts promptly to develop and implement aJTangements to make tbe po1tion oftbe Sbared Contract related to tbe Eagle Business available for use
     by (and for the benefit of) Spinco Group and to make the po1tion of the Shared Contract not related to the Eagle Business available for use by (and
     for tbe benefit of) Burgundy Group, in eacb case in accordance witb Section 2.7(d). If and wben any sucb Consent is obtained, tbe Shared Contract
     will be separated in accordance with this Section 2.7(cl. The obligations set fo1t h in this Section 2.7(c) will tenninate on the two-year anniversary of
     the Distribution Date. Spinco and Burgundy shall share equally any costs related to separating the Shared Contracts.

                  (d) Conveyances Not Consummated Prior To or At the Business Transfer Time. Other than (i) the TCJ Interests, the treatment of which
     sbull be governed by Section 2.7(e), und (ii) with respect to Reul Property thut requires Reul Esmte Approvul that bus not been secured or
     Conveyed to Spineo or a Spinco Subsidiary prior to tbe Business Transfer Time, tbe treatment ofwbicb sball be governed by Section 2.7CQ, if tbe
     Conveyance of any Asset or Liability intended to be Conveyed is not consummated prior to or at the Business Transfer Time, whether as a result
     oftbe provisions of Section 2.7(h) or Section 2.7(c) or for any otber reason (including any misallocated tran sfers subject to Section 2.3), tben ,
     insofar as reasonably possible (taking into account any applicable restrictions or considerations relating to the contemplated Tax treatment of the
     Transactions) and to tbe extent permitted by applicable Law, tbe Person retaining sucb Asset or Liability, as tbe case may be, (i) will thereafter bold
     such Asset or Liability, as the case may be, in trust for the use and benefit and burden of the Person entitled thereto (and at such Person's sole
     expense) until tbe consummation oftbe Conveyance tbereof (or as otherwise determined by Bu rgundy and Spinco, as applicable, in accordance
     with Section 2.7Cb) or Section 2.7(c)); and (ii) use commercially reasonable efforts to take such other actions as may be reasonably requested by
     tbe Person to wbom sucb Asset or Liability is to be Conveyed (at tbe expense oftbe Person to wbom sucb Asset or Liability is to be Conveyed) in
     order to place such Person in substantially the same position as if such Asset or Liability had been Conveyed as contemplated hereby and so that
     all tbe benefits and burdens relating to sucb Asset or Liability, as tbe case may be, including possession, use, risk of loss, potential for gain, any
     Tax liabilities in respect thereof and dominion, contwl and couunand over such Asset or Liability, as the case may be, ru·e to inure from and alter
     tbe Business Transfer Time to tbe Person to wbom sucb Asset or Liability is to be Conveyed. Any Person retaining an Asset or a Liability due to
     the deferral of the Conveyance of such Asset or Liability, as the case may be, will not be required , in connection with the foregoing, to make any
     payments or offer or grant any acconunodation (financial or otherwise, regardless of any provi sion to tbe contrary in tbe underlying Contract,
     including any requirements for the secw·ing or posting of any bonds, letters of credit or similar instruments, or the fumishing of any guarant.e es) to
     any tbird paity, except to

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     the extent that the Person entitled to the Asset or responsible for the Liability, as applicable, agrees to reimburse and make whole the Person
     retaining an Asset o r a Liability, to such Person's reasonable satisfaction, for any payment or other acconunodation made by the Person retaining
     an Asset or a Liability at the request of the Person entitled to the Asset or responsible for the Liability. The obligations set fo1t h in this Section 2.7
     (ill will terminate on the two-year anniversary of the Distribution Date.

                  (e) T ransfer ofTCl Interests. Subject to the tenn s set fo1th in Schedule 2.7(e), promptly after the date of thi s Agreement, Burgundy
     shall use its commercially reasonable eITorts to take such steps as may be necessary to pemlit the Conveyance of the TCI Interests to Spinco at or
     prior to the Business Transfer Time. In the event that Burgundy does not Convey the TCI Interests at o r prior to the Business Transfer Time to
     Spinco, the Above Basis Amount shall be reduced by the TCI Value and the TCI Interests (and any Assets relating to the TC! Interests) shall be
     deemed to be Excluded Assets.

                  (t) Failure to Secure Real Prope1ty Auurovals Prior to Transfer. Notwithstanding anything to the contrary set fo1th herein, in the event
     that (i) Burgundy shall have failed to obtain a Real Estate Approval to transfer one or more Spinco Assets (whether individually o r as pa.it of Real
     Prope1ty that includes Excluded Assets) on or prior to the Business Transfer Date or (ii) the Pa1t ies have not exercised their respecti ve rights under
     Section 2.7Cb\(ii\ to trnnsfer ce1tnin Spinco Assets to Spinco or n Spinco Entity, Burgundy nnd the npplic.nble Spinco Entity shnll enter into n lense
     agreement effective as of the Business T ransfer Time in a conunercially reasonable form acceptabl e to Burgundy and such Spinco Entity (a
     "Temoorary Lease Agreement''), pmsuant to which, inter alia, such Spinco Entity shall lease from Burgundy the applicable Real Property from and
     after the Business Transfer Date tlu·ough and unti I such time, if any , as Burgundy shall have received the applicable Real Estate Approval with
     respect to such Real Property. Upon receipt of such Real Estate Approval, the Temporaiy Lease Agreement shall terminate and Bmgundy shall
     Con vey the applicable Spinco Active Site to the Spi nco, or its designated Subsidiary or Affiliate, pursuant to one o r more applicable Burgundy
     T ransfer Documents in the manner provided in Section 3.5 hereof. For the term of the Temporary Lease Assignment, notw ithstanding any term to
     the contrary herein, (i) rent shall be payable in a nonlinal an10unt but the Spinco Entity that is pa1ty to the Temporary Lease Agreement shall be
     responsible for the payment of all taxes, insurance premiums and maintenance and operati ng charges with respect to the applicable Real Property
     there under from and afler the Business Transfer Date, (ii) such Spinco Entity shall be allowed to continue to operate such Real Property as it has
     been operated prior to the Business Transfer Time in the o rdinary course, and (iii) such Spinco Entity shall have the right to assign the Tempo rary
     Lease Agreement o r sublet the applicable Real Prope1ty to Spinco o r another Spinco Entity without Burgundy's consent.

              Section 2.8 No Representation or Warranty. EXCEPT TO 11IE EXTENT 011JERWISE EXPRESSLY PROVIDED IN THIS
     AGREEMENr, THE MERGER AGREEMENT OR ANY ANCILLARY AGREEMENT, SPINCO (ON BEHALF OF ITSELF AND MEMBERS OF THE
     SPINCO GROUP) ACKNOWLEDGES THAT NEITHER BURGUNDY NOR ANY MEMBER OF THE BURGUNDY GROUP MAKES ANY EXPRESS
     OR IMPLIED REPRESENTATION OR WARRANTY HEREIN AS TO ANY MATTER WHATSOEVER, INCLUDING ANY REPRESENTATION OR
     WARRANTY

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     WJTI-1 RESPECT TO: (A) TI-IE CONDITION OR TI-IE VALUE OF ANY SPINCO ASSET OR THE AMOUNT OF ANY SPINCO LIABILITY; (B) TI-IE
     FREEDOM FROM ANY SECURITY INTEREST OF ANY SPINCO ASSET; (C) THE ABSENCE OF DEFENSES OR FREEDOM FROM
     COUNTERCLAIMS WITI-1 RESPECT TO ANY CLAIM TO BE CONVEYED TO SPINCO OR HELD BY A MEMBER OF THE SPINCO GROUP; OR
     (D) ANY IMPLIED w ARRANTl£S OF MERCHANTABILITY AND FITNESS FOR A PARTICULAR PURPOSE OR TITLE. EXCErr TO THE
     EXTENT OTHERWISE EXPRESSLY PROVIDED IN lHIS AGREEMENT, lHE MERGER AGREEMENT OR ANY Ai'-ICILLARY AGREEMENT,
     SPINCO (ON BEHALF OF ITSELF AND MEMBERS OF THE SPINCO GROUP) FURll!ER ACKNOWLEDGES THAT ALL OTHER WARRANTIES
     THAT BURGUNDY OR ANY MEMBER OF TI-IE BURGUNDY GROUP GAVE OR MIGHT HAVE GIVEN, OR WHICH MIGHT BE PROVIDED OR
     IMPLIED BY APPLICABLE LAW OR COMMERCIAL PRACBCE, ARE ~IEREBY EXJ>RESSL Y EXCLUDED. EXCEJ>r TO THE EXTENT
     OTHERWISE EXPRESSLY PROVIDED IN THIS AGREEMENT, TI-IE MERGER AGREEMENT OR ANY ANCILLARY AGREEMENT, ALL ASSETS
     ro BE TRANSFERRED ro SPINCO (AND ALL OF nIE SPINCO ASSETS HELD BY ll!E SPJNCO ENTITIES) WILL BE TRANSFERRED
     WJTIIOUT ANY COVENANT, REPRESENTATION OR WARRANTY (WHETIIER EXPRESS OR IMPLIED) AND ARE HELD "AS IS, WHERE IS"
     AND FROM AND AFTER lllE CLOSING SPINCO WILL BEAR THE ECONOMIC AND LEGAL RISK THAT ANY CONVEYANCE WILL PROVE
     TO BE INSUFFICIENT TO VEST IN SPINCO GOOD AND MARKETABLE TITLE, FREE AND CLEAR OF ANY SECURITY INTEREST OR ANY
     NECESSARY CONSENTS OR GOVERNMENTAL APPROVALS THAT ARE NOT OBTAINED OR THAT ANY REQUIREMENTS OF LAWS ARE
     NOi COMPLIED \i/ITII.
                   Section 2.9 Waiver of Bulk-Sales Laws. Each Party hereby waives compliance by each member of its Group with the requirements and
     provisions of the "bulk-sale'" or "bulk-transfer" Laws of any jurisdiction that may otherwise be applicable with respect to the transfer or sale of any
     or all of the Assets to any member of the Burgundy Group or Spinco Group, as applicable.

                 Section 2.10 Guarantees.

                 (a) On or p1ior to the Business Transfer Time or as soon as practicable thereafter, Spinco will (with the reasonable cooperation of the
     applicable member(s) of the Burgundy Group) use its reasonable best effo1ts to have any member(s) of the Burgundy Group removed as guarantor
     of or obligor for any Spinco Liability to the extent that they relate to Spinco Liabilities.

                 (b) On or prior to the Business Transfer Time, to the extent requiJed to obtain a release from an agreement (including any lease of a
     Real Property) or a guarantee (a "Guarantee Release'") of any member of the Burgundy Group, a Spinco Subsidiary will execute a guarantee
     agreement in the form of the ex.isting agreement or guarantee or such other form as is reasonably agreed to by such Spinco Subsidiary and the
     relevant pa11ies to such agreement or guarantee.

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                  (c) If the Parties are unable to obtain, or to cause to be obtained, any such required removal as set fo1th in clauses (a) and (b) of this
     Section 2. 10, (i) Spinco will, and will cause the other members of the Spinco Group (including after the Eftective Time, Grizzly) to indemnify, defend
     and hold harmless each of the Burgundy lndemnitees for any Liability arising from or relating to such guarantee and will, as agent or subcontractor
     for the applicable Burgundy Group guarantor or o bl igor, pay, pe1fonn and di scharge fully all tbe obl igations o r otber Liabilities of such guarantor
     or obligor thereunder, and (ii) Spinco will not, and will cause the other members of the Spinco Gl·oup not to, agree to renew or extend the term of,
     increase any o bligations under, o r transfer to a tbird Person, any loan, guarantee, lease, Contract o r otber obligation for which a member oftbe
     Burgundy Group is or may be liable unless all obligations of the members of the Burgundy Group with respect thereto are thereupon tenninated by
     documentation satisfactory in form and substance to Burgundy in its sole di scretion.

                  (d) On or prior to the Business Transfer Time or as soon as practicable thereal1:er, Burgundy will, at its expense, use its reasonable best
     effo1ts to have any member(s) oftbe Spinco Group removed as guarantor of or obligor for any Excluded Liabil ity to the extent tbat they relate to
     Excluded Liabilities (with the reasonable cooperation of the applicable member(s) of the Spinco Group).

               (e) On or prior to the Business Transfer Time, to tbe extent required to obtain a Guarantee Release of any member oftbe Spinco G roup,
     Burgundy will execute n gunrnntee ngreement in the form of the existing ngreement or gunrnntee or such other form ns is rensonnbly ngreed to by
     Burgundy and tbe relevant pa1ties to sucb guarantee agreement o r guarantee.

                  (J) If the Parties are unable to obtain, or to cause to be obtained, any such required removal as set fo1th in clauses (d) and (e) of this
     Section 2. 10, (i) Burgundy will, and will cause the otber members of the Burgundy Group to, indemnify, defend and bold harmless eacb of the
     Spinco Indemnitees for any Liability arising from or relating to such agreement or guarantee and will, as agent or subcontractor for the applicable
     Spinco Group guarantor or obligor, pay , pe1fonn and discharge fully all the obligations or other Liabili ties of sucb guarantor o r obligor thereunder,
     and (ii) Burgundy will not, and will cause the other members of the Burgundy Group not to, agree to renew or extend the tenn of, increase any
     obligations under, or transfer to a third Person, any loan, guarantee, lease, Contract or other obligation for wbicb a member of the Spinco G roup is
     or may be liable unless all obligations of the members of the Spinco Group with respect thereto are thereupon terminated by docun1entation
     sati sfactory in form and substance to Spinco in its sole discreti on .

           Section 2.11 Bank Accounts· Cash Balances. Burgundy and Spinco each agrees to take, o r cause the respective members oftbeir respecti ve
     Groups to take, from and al1:er the Business Transfer Time (or such earlier time as Burgundy and Spinco may agree), all actions necessary to amend
     all Contracts o r agreements governing eacb bank and brokerage account owned by Spinco o r any other member of tbe Spinco Group and used
     exclusively for the Eagle Business (collectively, the "Spinco Accounts") so that such Spinco Accounts, if cunently linked (whether by automatic
     withdrawal, automatic deposit or any other authorization to transfer funds from or to, hereinafter " linked") to any bank or brokerage account
     owned by (i) Burgundy or any other member of the Burgundy Group or (ii) Spinco or any otber member of the Spinco Group tbat is not used
     exclusively for the Eagle Business (the

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     accounts described in (i) or (ii), collectively, the "Burgundy Accounts"), are delinked from the Burgundy Accounts. Burgundy and Spinco each
     agrees to take, or cause the respecti ve members of theiJ respecti ve Groups to take, from and after the Business Transfer Time (or such earl ier time
     as Burgundy and Spinco may agree), all actions necessary to amend all Contracts or agreements governing the Burgundy Accounts so that s uch
     Burg undy Accounts, ifcunently linked to a Spinco Account, are de-linked from the Spinco Accounts.


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                                                       C LOSING OF T HE SPI NCO REORGANIZA'TION;
                                                    l'OST-C LOSlNG WORKING CAPl'TAL AO.JUSTMENT

                  Section 3.1 Business Transfer Time. Unless otherwise provided in thi s Agreement o r in any Ancillary Agreement, and subject to the
     satisfaction and waiver of the conditions set fo1th in Section 3.2, the effective tin1e and date of each Conveyance and assumption of any Asset or
     Liability in accordance with Alticle II in connection with the Spinco Reorganization will be 12:01 a.m., Eastem Tin1e on the date that is no less than
     two (2) days prior to the Distribution Date (such time, the "Bus iness Transfer Time," and such date the "Business Transfer Date").

                Section 3.2 Condit ions to the Spinco Reorganization. The obligations of Burgundy pursuant to thi s Agreement to effect the Spinco
     Reorganization are subject to the fulfillment (or waiver by Burgundy) at or prior to the Business T ransfer Time of the following conditions:

                 (a) each of the paiti es to the Merger Agreement has iJTevocably confirmed to each other that each condition in Article IX of the
     Merger Agreement to such pru1y's respective obligations to effect the Merger (i) has been fulfilled, (ii) will be fulfilled at the Effective Tinle, or (iii)
     is or has been waived by such pa11y, as the case may be;

                  (b) Burgundy shall have received the lRS D Reorganization Ruling and the lRS Debt Exchange Ruling, each in fonn and substance
     reasonably satisfactory to Burgundy, and such rulings shall con tinue to be valid and in full force and effect (and, for the avoidance of doubt, such
     rulings shall not have been invalidated, modified or otherwise affected by any change in any Law on or after the date such rulings were issued by
     the IRS);

                  (c) Burgundy shall have received an opinion from Wachtell, Lipton, Rosen & Katz, counsel to Burgundy, to the effect that (i) the
     Distribution will be treated as sati sfying the business pmpose requirement described in Treasury Regulation Section J .355-2(b)( J); (ii) the
     Distribution will not be treated as being used principally as a device for the distribution of eamings and profits of the distributing co1poration or
     the controlled co1poration o r both under Section 355(a)(IXB); (iii) the stock ofSpinco di stributed in the Disnibution will not be n·eated as other
     than "qualified prope11y" by reason of the application of Section 355(e)(l); and (iv) the Spinco Secur ities will constitute "securities" for purposes
     of the application of Section 361(a) of the Code (together with clauses (i), (ii) , and (iii), the "Distribution Tax Opinion"); and

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                 ( d) Burgundy and Spinco shall have received any necessary pennits and authorizations under state securities or "blue sky" laws, the
     Securities Act and the Exchange Act in connection with the Distribution and such permits and authorizations shall be in effect.

                 Section 3.3 Recapitalization ofSpinco. Burgundy and Spinco shall cause the following to occur at the Business Transfer Time:

                (a) lo consideration for the tran sfer of Assets contemplated by Section 2. 1,
                                                                                            . Spinco shall:
                      (i) issue to Burgundy shares ofSpinco Conunon Stock as set fo1th in Section 8.17 of the Merger Agreement (the "Spinco Stock
                Issuance"), which Spinco Conunon Stock, together with the JOO shares ofSpinco Conunon Stock owned by Burgundy as of the date
                hereoJ~ will constitute all of the issued and outstanding conunon stock of Spinco outstanding as of the Business Transfer Time;

                      (ii) declare a special distribution, which will be payable no later than immediately prior to the Distiibution, and will be comp1ised
                of(A) an amount in cash equal to the Below Basis Amount (the "Special Below Basis Cash Dist1·ibution"), and (B) Spinco Exchange
                Debt in an amount equal to the Above Basis Amount, subject to adjustment as set fo1th in Section 2.7fe) and Section 3.7(a) or an
                amount in cash determined in accordance with and to the extent provided in Section 8. J J(l)(v) of the Merger Agreement (the "Special
                Abox<'~Basi.s._HebtLCash Di.s.trihution,'" ancl together with the Sp<',cial Relow Ra sis Cash Distribution , the "Spec.ial Distribution");

                      (iii) pay, in accordance with Section 6.2(d) of the Employee Matter Agreement, the Grizzly True Up Amount, if any; and
                      (iv) assume the Spinco Liabilities in accordance with Section 2.1.

                 (b) Financin~ A1rnn~ements. Prior to or concuirently with the Spinco Reorganization, Spinco, together with the other members of the
     Spinco Group, will enter into the Spinco Financing Arrangements and incur the debt contemplated thereby , all on such tenns and conditions as are
     contemplated by the Spinco Conunitment Letter and Spinco Related Letter and the Burgundy Conunitment Letter and the Burgundy Related Letter,
     as fu1ther described in the Merger Agreement.

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                Section 3.4 Transfer of the Eagle Business.

                 (a) Agreements to be Delivered by Burgundy. On the Business Transfer Date, Bw-gundy will deliver, or will cause its appropriate
     Subsidiaries to deliver, to Spinco all of the following instruments:
                      (i) a Tax Matters Agreement in substantially tbe form attached hereto as Exhibit A (the "Tax Matters Ai:reement"), duly executed
                by the members of the Burgundy Group paity thereto;
                      (ii) a Transition Services Agreement negotiated in good faith reflecting the fo1m attached hereto as Exhibit B (the "Transition
                Services Ai:reement") in accordance witb Section 8.26 oftbe Merger Agreement, duly executed by tbe members oftbe Burgundy
                Group patty thereto;
                      (iii) an Electric Generation, Distribution and Transmission Facilities Lease negotiated in good faith reflecting the form attached
                bereto as Exhibit C (tbe "Electric Generation Di stribution and Transmission Facilities Lease") in accordance witb Section 8.26 oftbe
                Merger Agreement, duly executed by the members of the Bw-gundy Group paity thereto;
                      (iv) a Sharecl Facilities, Services and Supply Agreement negotiate"I in good fai th refkcting the fo11n attached hereto as .E:diihiLO
                (tbe "Shared Facilities Services and Supply Ai:reement") in accordance witb Section 8.26 oftbe Merger Agreement, duly executed by
                the members of the Bw-gundy Group pa11y thereto;
                      (v) a Servitude Agreement negotiated in good faith reflecting the fonn attached hereto as Exhibit E (the "Servitude Agreement")
                in accordance with Section 8.26 of the Merger Agreement, duly executed by the members of the Burgundy Group party thereto;
                     (vi) a Liquid Caustic Soda Sales Agreement (Fresno) in substantially the form attached hereto as Exhibit F (the " Liquid Caustic
                Soda Sales Agreement <Fresno)"), duly executed by the members of the Burgundy Group paity thereto;
                     (vii) a Liquid Caustic Soda Sales Agreement (Strongsville) in substantially the form attached hereto as Exhibit G (the " Liquid
                Caustic Soda Sales Agreement (Strongsville)"), duly executed by the members of the Burgundy Group pa1ty thereto;
                      (viii) a HydrocW01ic Acid Sales Agreement· Lake Charles (Silica) in substantially the form attached hereto as Exhibit H (the
                " Hydrochloric Acid Sales

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                Agreement - Lake Charles (Silica)"), duly executed by the members of the Burgundy Group party thereto;
                      (ix) a Chlorine and Liquid Caustic Soda Sales Agreement (Barberton) in substantially the fonn attached hereto as Exhibit I (the
                "Chlorine and Liquid Caustic Soda Sales A11reement <Barberton)"), duly executed by tbe members of tbe Burgundy Group pa1ty
                thereto;
                     (x) a Liquid Caustic Soda Sales Agreement (Wichita Falls) in substantially the form attached bereto as Exhibit J (the " Liquid
                Caustic Soda Sales A11reement (Wichita Falls)"), duly executed by the members of the Burgundy Group party thereto;
                     (xi) a Hydrochloric Acid Sales Agreement in substantially the fonn attached hereto as Exhibit K (the "Hydrochloric Acid Sales
                A11reement"), duly executed by the members of tbe Burgundy Group pa1ty tbereto;
                      (itii) a Sbared Facili ties Agreement (MonJOeville) negotiated in good faith reflecting tbe form attached bereto as Exhibit L (tbe
                "Shared Facilities A11reement (Monroeville)") in accordance with Section 8.26 of the Merger Agreement, duly executed by the members
                of the Burgundy (froup paity thereto;
                      (xiii) a Master Terminal Agreement in substantially the form attached bereto as ExJtibit M (the "Master Tenninal A11reement"),
                duly executed by the members of the Bmgundy Group pany thereto;
                       (xiv) all necessa1y Transfer Documents as described in Section 3.5 and Section 3.6; and
                      (xv) resignations of each of the individuals who serves as an officer or director of members of the Spinco Group as set forth on
                Schedule 3.4(a)(xv) in bis or her capacity as sucb and the resignation of any other Person who will be an employee of any member of
                the Burgundy Group aJter the Business Transfer Time and who is a director or officer of any member of the Spinco Group, to the extent
                requested by Spinco.

                 (b) Agreements to be Delivered by Spinco. On the Business Transfor Date, Spinco will deliver, or will cause its Subsidiaries to deliver,
     as appropriate, to Burgundy all of the following instruments:
                     (i) in each case where any member of the Spinco Group is a party to any Ancillary Agreement, a counterpatt of such Ancillru·y
                Agreement duly executed by the member of the Spinco Group party thereto;

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                       (ii) all necessary Transfer Documents as described in Section 3.5 and Section 3.6; and
                      (iii) resignations of each of the individual s who serve as an officer o r diJector of members of the Burgundy Group as set fo1th on
                 Schedule 3.4(b)(iii) in their capacity as such and the resignations of any other Persons that will be employees of any member of the
                 Spinco Group all.er the Business Transfer Time and that are directors or ofiicers of any member of the Burgundy Group, to the extent
                 requested by Burgundy .

                 Section 3.5 Transfer ofSpinco Assets and Assumption ofSpinco Liabili ties. Jn fu1therance of the Conveyance ofSpinco Assets and
     the assumption of Spinco Liabilities provided in Section 2.1: (a) Burgundy will execute and deliver, and will cause its Subsidiaries to execute and
     deliver, such bill s of sale, quitclaim deeds, stock powers, certificates of ti tle, assignments of Contracts and other instruments oft:ransfer,
     Conveyance and assignment, as and to the extent reasonably necessary to evidence the Conveyance of all of Burgundy's and its
     Subsidiaries' (other than Spinco and its Subsidiaries) right, title and interest in and to the Spinco Assets to Spinco and its Subsidiaries and (b) a
     Spinco Subsidiruy will execute and deliver such assumptions of Contracts and other instruments of assumption as and to the extent reasonably
     necessary to evidence the valid and effective assumption of the Spinco Liabilities by the applicable Spinco Subsidiary. All of the foregoing
     documents contemplated by this Section 3.5 will be reforred to collectively herein as the "Burgundy Transfer Documents." For the avoidance of
     doubt, the obligations with respect to the Conveyance of Spinco Assets and the assumption of Spinco Liabilities provided in Section 2.1 , and the
     execution and delivery of documents provided in th is Section 3.5, does not extend to the Conveyance oJ~ or execution of delivery of documents
     with respect to, any Spinco Assets that ru·e ah"eady held as of the Business Transfer Time by a Spinco Entity (which Spinco Asset will continue to
     be held by such Spinco Entity) or any Spinco Liabilities that as of the Business Transfer Time are ab·eady a Liability ofa Spinco Entity (which
     Spinco Liability will continue to be a Liability of such Spinco Entity).

                  Section 3.6 Transfer of Excluded Assets· Assumpt ion of Excluded Liabilities. ln fu1therance of the Conveyance of Excluded Assets
     and the assumption of Excluded Liabilities provided in Section 2.2: (a) Spinco will execute and deliver, and will cause its Subsidiru·ies to execute and
     deliver, such bills of sale, quitclaim deeds, stock powers, certificates of title, assignments of Contracts and other instruments oft:ransfer,
     Conveyance and assignment as and to the extent reasonably necessa1y to evidence the Conveyance of all of Spinco's and its Subsidiar ies' right,
     title and interest in and to the Excluded Assets to Burgundy and its Subsidiru·ies and (b) Burgundy will execute and deliver such assumptions of
     Contracts and other in struments of assumption as and to the extent reasonably necessary to evidence the valid and effective assumption of the
     Excluded Liabilities by Burgundy. All of the foregoing documents contemplated by this Section 3.6 will be refeired to collectively herein as the
     "Spinco Transfer Documents" and, together with the Burgundy Transfer Documents, the 'Transfer Documents."

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                  Section 3.7 Working Capital Adjustment. (a) At least five (5) Business Days prior to the Business Transfer Date, Spinco, in
     consultation with Grizzly, will prepare and deliver to Burgundy a statement setting forth a good-faith estimate of the amount of Working Capital as
     of the Business Transfer Date, calculated in accordance with the Accounting Exhibit (such estimate, the "Estimated Closing Adjustment
     Statement"). On the Business Transfer Date, (i) if the Estimated Adjustment Payment, if any, is positive, Spinco shall pay to Burgundy the
     Estimated Adjustment Payment by increasing both the Below Basis Amount and the Above Basis Amount by the absolute value of the Estimated
     Adjustment Payment and (ii) if the Estimated Adjustment Payment, if any , is negative, Burgundy shall pay to Spinco the absolute value of the
     Estimated Adjustment Payment by reducing both the Below Basis Amount and the Above Basis Amount by the absolute value of the Estimated
     Adjustment Payment. For example, on the Business Transfer Date, if the Above Basis Amount, before adjusting for any Estimated Adjustment
     Payment, is $675 million and (i) the Estimated Adjustment Payment is positive $ 10 million, then Spinco shall pay to Burgundy the Estimated
     Adjustment Payment by increasing the Below Basis Amount by the absolute value of the Estimated Adjustment Payment, such that the Below
     Basis Amount shall be equal to $235 million (or $225 million plus $10 million), before any fu1ther adjustments in respect of the TC! Basis or any
     elective reduction of increase in the Below Basis Amount as provided in Section 1.8, and the Above Basis Amount shall remain equal to $675
     million (or $900 ulill.ion, minus $235 ulill.ion, plus $ 10 million), before any fm1her adjustments in respect of the TCI Value as provided in this
     Agreement or (ii) the Estimated Adjustment Payment is negative $ 10 million, then Burgundy shall pay to Spinco the absolute value of the
     Estimated Adjusm1ent Payment by reducing both the Below Basis Amount and the Above Basis Amount by the absolute value of the Estimated
     Adjustment Payment, such that the Below Basis Amount shall be equal to $215 million (or $225 million less $10 million), before any fu1ther
     adjustments in respect of the TCI Basis or any elective reduction or increase in the Below Basis Amount as provided in Section 1.8, and the Above
     Basis Amount shall remain equal to $675 million (or $900 million, minus $215 m.illion, minus $ 10 million), before any further adjustments iu respect of
     the TCI Value as provided in this Agreement. The "Estimated Adjustment Payment" will be equal to the Working Capital as reflected on the
     Estimated Closing Adjustment Statement (after sati sfaction of the intercompany accounts pursuant to Section 2.6(c)), minus the Target Working
     Capital Amount. Within 180 days following the Distribution Date, Spinco will prepare and deliver to Burgundy a statement setting forth the
     amount of Working Capital, as of the Business Transfer Date, calculated in accordance with the Accounting Exhibit (the "Closing Adjustment
     Statement"). Upon the reasonabl e request of Spinco, Burgundy will provide (or will cause a member of the Burgundy Group to provide) to Spinco
     and its accountants reasonable access to the books and records, any other information, including working papers of its accountants, and to any
     employees of Bw-gundy or any other member of the Burgundy Group necessary for Spinco to prepare the Closing Adjustment Statement, to
     respond to the Burgundy Objection (if any) and to prepare materials for presentation to the Accounting Finn in connection with thi s Section 3.7
     and Burgundy will otherwise cooperate with and assist Spinco as may be reasonably necessruy to ca1ry out the pmposes of this Section 3.7.

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                 (b) For a period of sixty (60) days after delivery of the Closing Adjustment Statement, Spinco will make available to Burgundy, as
     reasonably requested by Burgundy, all books, records, work papers, personnel (including their accountants and employees) and other materials
     and sources used by Spinco to prepare the Closing Adjustment Statement and not already in the possession or under the control of Burgundy.
     The Closing Adjustment Statement will be binding and conclusive upon, and deemed accepted (including a waiver of objection with respect to)
     by, Burgundy unless Burgundy bas notified Spinco in writing within sixty (60) days after delive1y of tbe Closing Adjustment Statement of any
     good faith objection thereto (the "Burgundy Objection"). Any Burgundy Objection will set fo1th a reasonably specific description of the basis of
     the Burgundy Objection and the adjustments to the line items reflected on the Closing Adjustment Statement which Burgundy believes should be
     made. Any items not disputed during the foregoing sixty (60) day period will be deemed to have been accepted (including a waiver of objection
     with respect to) by Burgundy.

                 (c) ff Burgundy and Spinco are unable to resolve any of their disputes with respect to the Closing Adjustment Statement within 30
     days following Spinco's receipt of the Burgundy Objection to such Closing Adjustment Statement pursuant to
     Section 3.7Cb), they will refer their remaining differences to a nationally recognized firm of independent public accountants to which Burgundy and
     Spinco mutually agree (the " Accounting Firm") for a decision, which decision will be final and binding and unappealable absent fraud or willful
     misconduct on th" Purti..,s. Tu" Accounting Finn will uct us un exp.:rt und not un arbitrator und will address only thus" it.:ms in dispute, in
     accordance with any provisions or policies set fo1th herein and in accordance with the Accounting Exl1ibit, and for each item may not assign a
     value greater than the greatest value for such item claimed by either Pa1ty or smaller than the smallest value for such item claimed by either Pa1ty.
     Any expenses relating to the engagement of the Accounting Finn will be shared equally by Burgundy, on the one hand, and Spinco, on the other
     band.

                  (d) The Closing Adjustment Statement will become final and binding on the Pait ies upon the earliest of(i) if no Burgundy Objection
     bas been given, the expirntion of the period within which Burgundy must make its objection pursuant to
     Section 3.7Cbl, (ii) agreement in writing by Burgundy and Spinco that the Closing Adjustment Statement, together with any modifications thereto
     agreed by Burgundy and Spinco and (iii) the date on which the Accounting Finn issues its written determination with respect to any di spute
     relating to such Closing Adjustment Statement. The Closing Adjustment Statement, as submitted by Spinco if no timely Burgundy Objection has
     been given, as adjusted pursuant to any agreement between the Paities or as determined pursuant to the decision of the Accounting Firm, when
     final and binding on all Parties and upon which a judgment may be entered by a cou1t of competent jurisdiction, is herein refen-ed to as the "Final
     Closing Adjustment Statement."

                 (e) Within five (5) Business Days following issuance of the Final Closing Adjustment Statement, the Adjustment Payment and interest
     thereon will be paid by wire transfer of inunediately available fund s to a bank account designated by Burgundy or Spinco, as the case may be. The
     "Adjustment Payment" will be equal to the amount of the Working Capital as reflected on the Final Closing Adjustment Statement, minus the
     Target Working Capital Amount, minus the ainount paid pursuant to Section 3.7Cal if

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     the Estimated Adjustment Payment was paid by Spinco to Burgundy or plus the amount paid pursuant to Section 3.7(a) if the Estimated
     Adjustment Payment was made by Burgundy to Spinco. The Adjustment Payment, if any , will be payable by Spinco to Burgundy, if positive, and
     if the Adjustment Payment is negative, an amount equal to the absolute value of such Adjustment Payment will be payable by Burgundy to
     Spinco. The Adjustment Payment will bear interest from the Distribution Date to the date of payment at the prime rate (as published in the Wall
     Street Joumal, No11heaste111 Edition) in effect on the Di stribution Date, which interest will be calculated on the basis of a 365-day year and the
     actual number of days elapsed and such interest will be paid on the same date and in the same manner as such Adjustment Payment.


                                                                          ARTICLE IV_

                                                                      THE DISTRIBUTION

                Section 4. 1 Fonn of Distribution. (a) Burgundy may elect, in its sole discretion, to eJiect the Distribution in the fonn of either(i) a One-
     Step Spin-Off or (ii) an Exchange Offer (including any Clean-Up Spin-Off, as set fo1th below).

                 (b) U-Bw-gundy elects to e11ect the Distribution in the fo1m ofa One-Step Spin-Off, the Board of Directors of Burgundy, in accordance
     with applicable Law, will establish (or designate Persons to establish) a Record Date and the Di stribution Date and Burgundy will establish
     appropriate procedures in connection with, and to efiectuate in accordance with applicable Law, the Distribution. All shares ofSpinco Common
     Stock held by Burgundy on the Di stribution Date will be di stributed to the Record Holders in the manner determined by Burgundy and in
     accordance with Section 4.5(bl.

                 (c) If Burgundy elects to effect the Distribution as an Exchange Offer, Burgundy will determine the terms of such Exchange Offer,
     including the number of shares of Spinco Couunon Stock that will be oJlered for each validly tendered share of Burgundy Couunon Stock, the
     period during which such Exchange Offer will remain open, the procedures for the tender and exchange of shares and all other terms and
     conditions of such Exchange Offer, which te1ms and conditions will comply with all secur ities Law requirements applicable to such Exchange Offer.
     In the event that Burgundy's stockholders subscribe for less than all of the Spinco Conunon Stock in the Exchange Ofter, Burgundy will
     consununate the Clean-Up Spin-Off on the Distribution Date inm1ediately following the consununation of the Exchange Offer and the Record Date
     for the Clean-Up Spin-Off shall be established as of such date in the same manner as provided in Section 4. l(b). The tenns and conditions of any
     Clean-Up Spin-Off shall be as dete1mined by Burgundy and will comply with the requirements of all applicable Laws; orovided, however, that any
     shares of Spinco Conunon Stock that are not subscribed for in the Exchange Offer must be di stributed to Burgundy's stockholders in the Clean-Up
     Spin-Oft:

                 Section 4.2 Manner of Di stribution. (a) To the extent the Distribution is effected as a One-Step Spin-Off, subject to the terms thereof, in
     accordance with Section 4.5(bl, each Record Holder will be entitled to receive for each share ofBw-gundy Common Stock held by such Record
     Holder a number of shares of Spinco Conunon Stock equal to the total number of shares of Spinco Conunon Stock held by Burgundy on the
     Distribution Date, multiplied by a fraction, the numerator of which is nun1ber of shares of Bw-gundy Common Stock held by such Record Holder
     and the denominator of which is the total number of shares of Burgundy Conunon Stock outstanding on the Di stribution Date.

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                   (b) To tbe extent tbe Distribution is effected as an Exchange Offer, subject to tbe terms thereof, in accordance witb Section 4.5Cb), eacb
     Burgundy stockholder may elect in the Exchange Offer to exchange a number of shares of Burgundy Conunon Stock held by such Burgundy
     stockholder for shares of Spinco Conunon Stock in sucb quanti ties, at sucb an exchange ratio and subject to sucb otber terms and conditions as
     may be determined by Burgundy and set fo1th in the Spinco Registration Statement; provided, however, the completion of the Exchange Oiler shall
     be subject to a condition (which condition Burgundy may not amend or waive without the written consent of Grizzly) that no one stockholder of
     Spinco (individually or together with all members of any "group'" as defined in the Exchange Act) alter giving effect to the Exchange Offer and the
     Merger, bold greater tban 20% oftbe outstanding conunon stock of Grizzly; provided fu1ther, however, tbat Burgundy may, in its sole discretion,
     rev ise the terms of the Exchange Offer, including the number of shares of Spinco Conunon Stock that will be ofiered for each validly tendered share
     of Burgundy Common Stock, and tbe Clean-Up Spin Off, sucb tbat no one stockl1older of Spinco (individually or together witb all members of any
     "group'" as defined in the Exchange Act) after giving effect to the Exchange Oiler and the Merger, will hold greater than 20% of the outstanding
     common stock of Grizzly. Tbe terms and conditions of any Clean-Up Spin-Off will be as determined by Burgundy, subject to tbe provi sion s of
     Section 4.2(a), mutatis mutandis.

                  (c) None of tbe Paities, nor any of tbeiJ Affiliates bereto will be liable to any Person in respect of any sbares of Spinco Common Stock
     (or dividcmh o r dislribulions with respect thereto) that arc properly delivered to u public oOiciul pursuant to uny upplicublc ubundoncd property,
     escbeat or similar Law.

                  Section 4.3 Conditions to the Distribution. The obligations of Burgundy pursuant to this Agreement to effect the Distribution will be
     subject to tbe fulfillment (or waiver by Burgundy) at or prior to tbe Di stribution Date oftbe following conditions:

                 (a) the Spinco Reorganization has been consununated;

                 (b) tbe Recapitalization sball bave occun-ed on tbe terms contemplated by tbi s Agreement and tbe Merger Agreement and Burgundy
     shall have received the Special Distribution;

                 (c) Burgundy and Spinco shall have received the IRS D Reorganization Ruling and the lRS Debt Exchange Ruling, each in form and
     s ubstance reasonably satisfactory to Burgundy and Spinco, and sucb rulings sball continue to be valid and in full force and effect (and, for tbe
     avoidance of doubt, such rulings shall not have been invalidated, modified or otherwise afiected by any change in any Law on or alter the date
     sucb rulings were issued by tbe IRS);

                 (d) Burgundy shall have received the Distribution Tax Opinion;

                (e) Burgundy and Spinco shall have prepared and mailed to the holders of record of Burgundy Conunon Stock such info1mation
     conceming Spinco, its business, operations and management, the Distribution and such other matters as Burgundy shall determine and as may
     otherwise be requi red by Law; and

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                  (I) each of the conditions to Burgundy's obligation to effect the transactions contemplated in the Merger Agreement shall have been
     satisfied or waived (other than those conditions that by their nature are to be satisfied at the Distribution Date and other than the conditions set
     fo1th in Section 9.l(a) of the Merger Agreement) .

                  Section 4.4 Actions Prior to Di stribution . (a) Spinco will cooperate with Burgundy to accomplish tbe Di stribution, including in
     connection with the preparation of all documents and the making of all filings required in connection with the Distribution. Burgundy will be
     permitted to reasonably direct and control the efforts of the Parties in connection with the Distribution (including the selection of investment bank
     or manager in connection with the Disl!ibution, as well as any financial printer, solicitation and/or exchange agent and financial, legal, accounting
     and other advisors for Burgundy), and Spinco will use commercially reasonable efforts to take, o r cause to be taken, all actions and to do, or cause
     to be done, all other things reasonably necessary to facilitate the Distribution as reasonably directed by Burgundy in good faith. Without linliting
     the generality of the foregoing, Spinco will and will cause its employees, advi sors, agents, accountants, coun sel and other representatives to, as
     reasonably directed by Burgundy in good faith, reasonably cooperate in and take the following actions: (i) preparing and filing the registration
     under the Securities Act or the Exchange Act of Spinco Common Stock on an appropriate registration fo1m or fom1s to be designated by Burgundy
     (the "Spinco Rei:istration Statement"), (ii) pa1ticipating in meetings, drafting sessions, due diligence session s, management presentation session s,
     und "ruud shows" in connection wilh the Distribution (including 1wy umrketing efforts), which purticiputiun shull be subject tu, und muy be
     concuirent with, any such activities required with respect to the Exchange Ofter, (iii) furnish ing to any dealer manager or other similar agent
     participating in the Distribution (A) "cold comfo1t" letters from independent public accountants in customa1y fom1 and covering such matters as
     are customary for an underwritten public offering (including with respect to even ts subsequent to the date of financial statements included in any
     offering docun1ent) and (B) opinions and negative assurance letters of counsel in customary fom1 and covering such matters as may be reasonably
     requested, and (iv) furnishing all historical and forward-looking financial and other pertinent financial and other information that is available to
     Spinco and is reasonably required in connection with the Di stribution. Without limiting the foregoing, the Pa1ties will pe1form the marketing
     activities set fo11h in Schedule 4.4 as provided therein.

                 (b) Burgundy and Spinco will prepare and mail, prior to any Distiibution Date, to the holders of Burgundy Common Stock, such
     info1mation concerning Spinco, Grizzly, their respective bu sinesses, operations and management, the Distribution and such other matters as
     Burgundy will reasonably detemline and as may be required by Law. Burgundy and Spinco will prepare, and Spinco will, to the extent required
     under applicable Law, file with the SEC any such documentati on and any requisite no-action letters which Burgundy determines are necessary or
     desirable to effectuate the Distribution and Burgundy and Spinco will each use its reasonable best efiorts to obtain all necessary approvals from
     the SEC with respect thereto as soon as practicable.

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                 (c) Burgundy and Spinco will take all such action as may be necessary or appropriate under the securities or blue sky Laws of the
     United States (and any comparable Laws under any foreign jurisdiction) in connection with the Distribution.

                  (d) Burgundy and Spinco will take all reasonabl e steps necessary and appropriate to cause the conditions set fo1th in Section 4.3 to be
     sati sfied and to effect the Distribution on any Distribution Date.

                 Section 4.5 Additional Matters.

                  (a) Tax Withholding. Burgundy, Spinco, or the transfer agent or the exchange agent in the Distribution, as applicable, shall be entitled
     to deduct and withhold from the consideration otherwise payable pursuant to thi s Agreement such amoun ts as are requi red to be deducted and
     withheld with respect to the making of such payments under the Code or any provi sion of local or foreign Tax Law. Any withheld amounts will be
     treated for all purposes of this Agreement as having been paid to the Persons otherwise entitled thereto.

                  (b) Delivery of Certificate. Upon the consummation of the One-Step Spin-Off or the Exchange Offer, Burgundy will deliver to the
     Agent, a global ce1tificate representing the Spinco Couuuon Stock being distributed in the One-Step Spin-Off or exchanged in the Exchange Offer,
     as the case may be, for the account of the Burgundy stockholders that are entitled thereto. Upon a Clean-Up Spin-Off, if any, Burgundy will deliver
     to the Agent an additional global ce1tificate representing the Spinco Common Stock being dishibuted in the Clean-Up Spin-Off for the account of
     the Burgundy stockholders that are entitled thereto. The Agent will hold such ce1tificate or ce1tificates, as the case may be, for the account of the
     Burgundy stockholders pending the Merger, as provided in Section 3.2 of the Merger Agreement. lnuuediately aft.er the time of the Distribution
     and prior to the Effective Time, the shares ofSpinco Conunon Stock will not be transferable and the transfer agent for the Spinco Common Stock
     will not transfer any shares of Spinco Couuuon Stock. The Distribution will be deemed to be efiective upon written authorization from Burgundy to
     the transfer agent or the exchange agent in the Distribution to proceed as set forth in Section 4.2.


                                                                           ARTICLEV

                                                          MUTIJAL RELEASES; INDEMNIFICATION

                 Section 5. 1 Release of Pre-Business Transfer Time Claims.

                  (a) Spinco Release. Except as provided in Section 5. l(c), effecti ve as of the Business Transfer Time, Spinco will, for itself and each
     other member of the Spinco Group, and their respective successors and assigns, remise, release and forever discharge the Burgundy lndemnitees
     from any and all Liabilities whatsoever, whether at Law or in equity (including any right of contribution) , whether arising under any Contract, by
     operation of Law or otherwise, eJtisting or arising from any acts or events occun-iug or failing to occur or alleged to have occuir ed or to have failed
     to occur at or before the Business Transfer Time or any conditions existing or alleged to have existed at or before the Business Transfer Time,
     including in connection with the transaction s and all other activities to implement the Spinco Reorganization,

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     the Recapitalizati on and tbe Di stribution. Without limitation, the foregoing release includes a release of any rights and benefits with respect to
     such Liabilities that Spinco and each member of the Spinco Grnup, and their respective successors and assigns, now has or in the future may have
     confe1rnd upon tbem by virtue of any statute or conunon law principle which provides that a general release does not extend to claims which a
     party does not know or suspect to exist in its favor at the time of executing the release, if knowledge of such claims would have materially affected
     such pa1ty's settlement with the obligor. In this connection, Spinco hereby acknowledges that it is aware that factual matters now unknown to it
     may have given or may hereafter give rise to Liabili ties tbat are presently unknown , unanticipated and unsuspected, and it fu1ther agrees that this
     release has been negotiated and agreed upon in light of that awareness and it nevertheless hereby intends to release the Burgundy lndemnitees
     from tbe Liabilities described in tbe fiJst sen tence oftbis Section 5. l(a).

                  (b) Burgundy Release. Except as provided in Section 5. l(cl, efiective as of the Business Transfer Time, Burgundy will, for itself and
     each other member oftbe Burgundy Group, and tbeir respecti ve successors and assigns, remise, release and forever di scharge tbe Spinco
     lndemnitees from any and all Liabilities whatsoever, whether at Law or in equity (including any right of contribution), whether arising under any
     Contract, by operation of Law or otherwise, existing or arising from any acts or events occuning or failing to occur or alleged to have occuned or
     to bave failed to occur at or before tbe Business Transfer Time or any conditions eJtisting or alleged to bave ex.isted at or before tbe Business
     Trunsfor Tim.,, including in connection wilh lb" ln wsuclions 1wtl ull olh"r ucliviti"s to implcmcnl any of lhc Spinco Rcorguni:.mtion, lhc
     Recapitalization and tbe Distribution. Without limitation, tbe foregoing release includes a release of any ri ghts and benefits with respect to sucb
     Liabilities that Burgundy and each member of the Burgundy Group, and their respective successors and assigns, now has or in the future may
     bave confe1Ted upon them by vi1tue of any statute or conunon law principle which provides that a general release does not extend to claims which
     a pa1ty does not know or suspect to exist in its favor at the time of executing the release, if knowledge of such claims would have materially
     affected such party's settlement witb the obligor. ln thi s co0L1ection, Burgundy bereby acknowledges tbat it is aware tbat factual matters now
     unknown to it may have given or may hereafl.er give rise to Liabilities that are presently unknown, unanticipated and unsuspected , and it further
     agrees that this release bas been negotiated and agreed upon in light of that awareness and it neve1theless hereby in tends to release the Spinco
     lndemnitees from tbe Liabilities described in tbe fast sentence oftbis Section 5. l(b) .

                     (c) No lmpainnent. Nothing contained in Section 5. l(a) or~ releases or will release any Person from (nor impaiJS or will impaiJ any
     right of any Person to enforce tbe applicable agreements, a1rnngements, conunitments or understandings relating thereto) tbe obligations under
     this Agreement, tbe Merger Agreement or any Ancilla1y Agreement, in eacb case in accordance with its terms. In addition, nothing in Section 5. 1
     !fil or ,1.!!hl shall release any Person from:
                      (i) any Liability provided in or resulting from any agreement or obligation among any members of the Burgundy Group or the
                Spinco G roup that is specified in tbis Agreement, the Merger Agreement or any Ancillary Agreement as not terminating on or before
                Distribution Date;

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                       (ii) any Liability assumed, transfe1Ted, assigned or allocated to tbe Group ofwbicb sucb Person is a member in accordance witb
                 this Agreement, the Merger Agreement or any other Ancillary Agreement, or any other Liability of any member of any Group under
                 this Agreement, tbe Merger Agreement or any otber Ancillary Agreement;
                        (iii) any Liability for unpaid amounts for products or services or refunds owing on products or services due on a value-received
                 basis for work done by a member of one Group at tbe request or on behalf of a member oftbe otber Group;
                      (iv) any Liability that tbe Pa1ties may bave with respect to indemnification or contribution pursuant to thi s Agreement for claims
                 brought against the Parties by third Persons, and, if applicable, the appropriate provisions of the Merger Agreement and Ancillary
                 Agreements;
                       (v) any Liability the release ofwhicb would result in the release of any Person otber tban a Person released pursuant to this
                 Section 5.1; or
                       (vi) any Liability for fraud or willful misconduct.

                 (d) No Actjons as to Beleased Pre-B11sjness Transfer Tjme C!ajms Following the Business Transfer Time, Spinco will not, and will
     cause its Affiliates not to, make any claim or demand, or conunence any Action asserting any claim or demand, including any claim of contribution
     or any indemnification, against Burgundy or any member of the Burgundy Group, or any otber Person released pursuant to Section 5. l (a), witb
     respect to any Liabilities released pursuant to Section 5.l(a). Following the Business Transfer Time, Burgundy will not, and will cause each other
     member of tbe Burgundy Group not to, make any claim or demand, or conunence any Action asserting any claim or demand, including any claim of
     contribution or any indemnification, against Spinco or any member of the Spinco Group, or any other Person released pursuant to Section 5.Hbl,
     witb respect to any Liabilities released pursuant to Section 5. !(b).

                 (e) General Intent. It is the intent of each of Burgundy and Spinco, by virtue of the provisions of this Section 5.1, to provide for a full
     and complete release and di scharge of all Liabilities existing or arising from all acts and events occmTing or failing to occur or alleged to bave
     occuned or to have failed to occur and all conditions existing or alleged to have existed on or before the Business Transfer Time, between or
     among Spinco or any member oftbe Spinco Group, on tbe one band, and Burgundy or any member oftbe Burgundy Gl·oup, on the other band
     (including any Contractual agreements or arrangements existing or alleged to exist between or among any such members on or before the Business
     Transfer Time), except as expressly set fo1th in Section 5.l (c). At any time, at the request of any other Pa1ty, each Paity will cause each member of
     its Group to execute and deliver releases reflecting the provisions hereo(

               Section 5.2 Indemnification by the Spinco Group. Without limiting or otherwise affecting the indemnity provisions oftbe Ancillary
     Agreements, from and aller the Business Transfer Time, Spinco, and each member of the Spinco Group will, on a joint and several basis,

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     indemni1y, defend (or, where applicable, pay the defense costs for) and hold hanuless the Burgundy lndemnitees from and against, and will
     reimburse such Burgundy lndemnitees with respect to, any and all Losses that result from, relate to or arise, whether prior to, at or following the
     Business Transfer Time, out of any of the following items (without duplication):

                 (a) any failure ofSpinco or any other member of the Spinco Group or any other Person to pay, pe1fo1m, fulfill, discharge and, to the
     extent applicable, comply with, in due course and in full, any Spinco Liabilities;

                 (b) any breach by Spinco or any other member of the Spinco Group of any agreement or obligation to be performed by such Persons
     pursuant to this Agreement or any Ancillary Agreement unless such Ancillary Agreement expressly provides for separate indemnification therein
     (which shall be controlling); and

                 (c) the enforcement by the Burgundy lndemnitees oftheiJ ri ghts to be indemnified, defended and held harmless under thi s Section 5.2.

           Section 5.3 Indemnification bv Burgundv. Without limiting or otherwise aITecting the indemnity provisions of the Ancillary Agreements,
     from and after the Business Transfer Time, Burgundy, and each member of the Burgundy Group will, on a joint and several basis, indemnify,
     defend (or, where applicable, pay the defense costs for) and hold harmless the Spinco lndemnitees from and against, and will reimburse such
     Spinco lndenmitee with respect to, any and all Losses that result from, relate to or arise, whether prior to o r following the Business Transfer Time,
     out of any of the following items (without duplication):

                 (a) any failure of Burgundy or any other member of the Burgundy Group or any other Person to pay, pe1form, fulfill , discharge and, to
     the extent applicable, comply with, in due course and in full the Excluded Liabilities, whether prior to or a1ler the Business Transfer Date or the date
     hereof;

                 (b) any breach by Burgundy or any other member of the Burgundy Group of any agreement or obligation to be performed by such
     Persons pursuant to this Agreement or any Ancillary Agreement unless such Ancillary Agreement expressly provides for separate indemnification
     therein (which, including any limitations on liability contained therein, shall be controlling); and

                 (c) the enforcement by the Spinco lndemnitees of their rights to be indemnified, defended and held hatmless under this Section 5.3.

                 Section 5.4 Payments; Reductions for Insurance Proceeds and Other Recoveri es.

                 (a) Payments. Indemnification payments in respect of any Liabilities for which an lndemnitee is entitled to indemnification under this
     Article V will be paid by the lndenmifying Party to the lndemnitee as such Liabilities are incmred upon demand by the lndenmitee, including
     reasonably satisfactory docU111entation setting forth the basis for the ruuount of such indemnification payment, including documentation with
     respect to calculations made and consideration of any Insurance Proceeds that actually reduce the amount of such

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     Liabilities. The indemnity agreements contained in this Atticle V will remain operative and in full force and effect, regardless of (i) any investigation
     made by or on behalf of any lndemnitee, (ii) tbe knowledge by tbe lndenmitee of Liabilities for wbicb it might be entitled to indenmification
     hereunder and (iii) any termination oftbis Agreement.

                  (b) Insurance Proceeds. The amollilt that any Indemnifying Patty is or may be required to provide indemnification to or on behalf of
     any lndemnitee pursuant to Section 5.2 or Section 5.3 as appl icable, will be reduced (retroactively or prospectively) by any lnsurance Proceeds or
     other amounts actually recovered from unaffiliated tbiJd pa1ties (and excluding any captive insurance companies oftbe lndenmitee or its Affiliates
     or any Taxing Authority) by or on behalf of such lndemnitee in respect of the related Loss (net of increased insurance premiums and charges
     related diJectly and solely to tbe related indemnifiable Losses and costs and expen ses (including reasonable legal fees and expenses) incmTed by
     such lndemnitee in connection with seeking to collect and collecting such amounts). The existence of a clain1 by an lndemnitee for monies from an
     in surer or against a third paity in respect of any indenmifiable Loss will not, however, delay any payment pursuant to tbe indenmification
     provisions contained herein and otherwise determined to be due and owing by an lndemni1ying Pa11y. Rather, the lndemni1ying Party will make
     payment in full oftbe amount determined to be due and owing by it against an assignment by tbe lndemnitee to tbe lndenmifying Pa1ty oftbe
     entire clain1 of the lndemnitee for lnsurance Proceeds or against such third party. Notwithstanding any other provisions of this Agreement, it is the
     i11teutiou of Lhe Pai ties tl1at uo i11~u1e1 01 auy 0 Lhe1 tbiJd pa1Ly will l.>e (i) euti Lled to a " wi11dfoll" 0 1 0 Lhe1 l.>eueJit iL would uoL l.>e eutitled LO 1eceive
     in the absence of the foregoing indemnification provisions or otherwise have any subrogation rights with respect thereto, or (ii) relieved of the
     responsibility to pay any clainls for which it is obligated. The lndenmitee will use and will cause its Affiliates to use commercially reasonable
     effo1ts to pursue claims again st applicable insurers for coverage of such Loss under such policies, subject to Section 6. 11 .

                   (c) Tax Treatment; Adjustments for Tax Benefits and Cost.
                          (i) lo tbe absence of a Final Determination to tbe contrary and except for any interest for any period beginning after tbe
                  Di stri bution Date, any amount payable by Spinco to Burgundy or by Burgundy to Spinco under this Agreement shall be treated for
                  Tax pu1poses as a distribution or capital contribution, respectively , occurring immediately prior to the Distribution.
                        (ii) Notwithstanding the foregoing, the amount that any lndenmifying Pa11y is or may be required to provide indenmification to or
                  on behalf of any lndemnitee pursuant to Section 5.2 or Section 5.3 as applicable, will be (i) decreased to take into accollilt the present
                  value of any Tax benefit made allowable to tbe lndenmitee (or an Affiliate thereof) arising from tbe incun-ence or payment oftbe
                  relevant indemnified item, and (ii) increased to take into account any Tax cost of the lndenmitee (or an Affiliate thereof) arising from the
                  receipt oftbe relevant indenmity payment. For pu1poses oftbis Section 5.4(c)(ii), any Tax benefit or Tax cost, as applicable, shall be
                  detennined (i) using the highest mru·ginal rates in efiect at the tin1e of the detennination, (ii) assuming the lndemnitee will be liable for
                  such Taxes at such rate and bas no Tax attributes at

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                 the time of the determination, and (iii) assuming that any such Tax benefit is used at the earliest date allowable by applicable Law. The
                 present value refe1Ted to in the first sentence of this Section 5.4{c)(ii) shall be determined using a discount rate equal to the mid term
                 applicable federal rate in effect at the time of the payment of the relevant indemnity payment.

                 Section 5.5 Procedures for Defense. Settlement and Indemnification of Third-Patty Claims.

                  (a) Direct Claims. All claims made hereunder on account of indemnifiable Losses that do not involve Thi rd-Paity Claims shall be
     asserted by reasonably prompt written notice given by the lndemnitee to the Indemnifying Party from whom such indemnification is sought.
     Notwithstanding the foregoing, the delay or failure of any lndemnitee to give notice as provided in this Section 5.5(a) will not relieve the relevant
     lndemni1ying Pruty of its obligations under this A.tticle V, except to the extent that such Indemnifying Pru1y is actually prejudiced by such delay or
     failure to give notice.

                 (b) Tiiird-Pruty Claims.
                       (i) Notice of Claims. If an lndemnitee receives notice or otherwise leruns of the asse11ion by a Person (including any
                 Governmeutal AuLhoiity) who i~ uot a mem1.>e1 of the Bu1gum.ly 01ouµ 01 Gii·~:tly 01 auy of it~ Affiliate~ (iuclm.li11g afle1 the Spiuco
                 Reorganization, the Spinco Group) of any claill1 or of the conunencement by any such Person of any Action with respect to which an
                 Indemnifying Pa1ty may be obligated to provide indemnification under this Agreement (collectively, a "ll1ird-Pruty Claim"), such
                 lndemnitee will give such lndenmifying Pa1ty prompt wri tten notice (a "Claims Notice") thereof but in any event within 15 calendar
                 days aft.er becoming awru·e of such Third-Pru1y Claim. Any such notice will describe the Third-Pruty Claim in reasonable detail and
                 include copies of all notices and documents (including comt papers) received by the lndenmitee relating to the Third-Paity Claim.
                 Notwithstanding the foregoing, the delay or failure of any lndemnitee or other Person to give notice as provided in this Section 5.5 will
                 not relieve the related Indemnifying Pa1ty of its obligations under this Article V, except to the extent that such Indemnifying Pa1ty is
                 actually prejudiced by such delay or failure to give notice.
                        (ii) Opoo11unity to Defend. The lndenmifying Pruty shall have the right, exercisable by written notice to the lndenmitee within 30
                days aft.er receipt of a Claill1s Notice from the lndemnitee of the comniencement or asse1tion of any Third-Pruty Claill1 in respect of
                which indenmity may be sought under thi s A1ticle V, to assume and conduct the defen se of such Third-Pa1ty Claim in accordance with
                the lill1its set forth in this Agreement with counsel selected by the lndenmifying Pa1ty and reasonably acceptable to the lndenmitee;
                provided, however, that the (A) defen se of such ll1ird-Paity Claim by the lndenmifying Party will not, in the reasonable judgment of
                the lndenmitee, ( I) if Burgundy or

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                any member of the Burgundy Group is the lndemni1ying Paity, reasonably be expected to affect Grizzly or any of its controlled
                Affiliates (including after tbe Merger, any member of tbe Spinco Group) in a materially adverse manner (for tbe avoidance of doubt, any
                Third Party Claim relating to or arising in connection with any criminal proceeding, Action, indictment, allocation or investigation
                against Grizzly or its Aftiliates sball be deemed materially adverse), and (2) ifSpinco or any member oftbe Spinco Group is tbe
                Indemnifying Paity, reasonably be expected to affect Burgundy or any of its controlled Affiliates in a mate1ially adverse manner (for the
                avoidance of doubt, any Tbird Pa1ty Claim relating to or arising in connection witb any c1iminal proceeding, Action, indictment,
                allocation or investigation against Bw-gundy or its Affiliates shall be deemed mate1ially adverse) and (B) the Third-Paity Claim solely
                seeks (and contin ues to seek) monetary damages (tbe conditions set forth in clauses (A) and (B) are , collectively, the " Litii:ation
                Conditions"). If the lndemni1ying Party does not assume the defense of a Third-Paity Claim in accordance with this Section 5.5, the
                lndenmi tee may contin ue to defend tbe Tbird-Pa1ty Claim. If the lndenmifying Party has assumed tbe defense of a Third-Pa1ty Claim as
                provided in this Section 5.5, the Indemnifying Patty will not be liable for any legal expenses subsequently incurred by the lndemnitee in
                connection witb the defense of the TbiJd-Party Claim; provided, however, that if (x) eitber of the Li tigation Conditions ceases to be met
                or (y) the Indemnifying Patty fails to take reasonable steps necessary to defend diligently such Third-Paity Claim, the lndemnitee may
                assume its own defense, and the lndenmifying Pa1ty will be liable for all reasonable costs or expenses paid or incu1red in connection
                with such detense. Tbe lndeumifying !'arty or the lndemnitee, as the case may be, bas tbe right to participate in (but, subject to tbe
                prior sentence, not control), at its own expense, the defense of any Third-Pai1y Claim that the other is defending as provided in this
                Agreement. Tbe lndenmifying Paity, if it has assumed the defen se of any ThiJd-Paity Claim as provided in this Agreement, may not,
                without the prior written consent of the lndemnitee, consent to a selllement ol~ or the entry of any judgment arising from, any such
                Tbird-Pa1ty Claim tbat (I) does not include as an unconditional term thereof the giving by the claimant or the plaintiff to the lndemnitee
                of a complete release from all liability in respect of such Third-Paity Claim, (II) provides for injunctive or other nonn1onetai·y relief
                affecting the lndenmitee or any of its Affiliates, or (I 11) in the reasonable opinion of the lndenmitee, would othe1wise materially
                adversely affect the lndemnitee or any of its Affiliates. The lndemnitee may settle any Third-Pat1y Claim, the defense of which has not
                been assumed by tbe lndenmifying Pa1ty, only with the prior written consen t of the Indemnifying Pa1ty, not to be unreasonably
                withheld, conditioned or delayed .

                 Section 5.6 Additional Matters.

                 (a) Cooperation in Defense and Settlement. Witb respect to any Third-Pa1ty Claim for wbicb Spinco, on the one hand, and Burgundy,
     on the other hand, may have Liability under this Agreement or any of the Ancillaiy Agreements, the Paities agree to cooperate fully and maintain a
     joint defense (in a manner that will preserve the attorney-client p1ivilege, joint

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     defense or other privilege with respect thereto) so as to seek to minimize such Liabilities and defense costs associated therewith. The Party that is
     not responsible for managing tbe defense of such ThiJd-Paity Claims will, upon reasonable request, be consulted with respect to significant
     matters relating thereto and may retain counsel to monitor or assist in the defense of such claiJlls at its own cost.

                 (b) Ce1tain Actions.
                       (i) Notwithstanding anything to the contrary set forth in Section 5.5, Burgundy may elect to have exclusive authority and control
                over the investigation, prosecution, defen se and appeal of all Actions (excluding any Actions relating to tbe Obio River/Calcesieu
                Liabilities, which are subject to Section 5.6<e)) pending at the Business Transfer Time which relate to or arise out of the Eagle Business,
                the Spinco Assets or tbe Spinco Liabilities if sucb Action primarily relates to tbe Excluded Assets and Excluded Liabilities and a
                member of the Burgundy Group is also named as a target or defendant thereunder; provided that (i) Burgundy will consult with Spinco
                on a regular basis with respect to strategy and developments with respect to any such Action , (ii) if Burgundy fails to take reasonable
                steps necessary to defend diligently such Action, Spinco may assume sucb defense, and Burgundy will be liable for all reasonable
                costs or expenses paid or incun·ed in connection with such defense, (iii) Spinco has the right to pa1ticipate in (but, subject to clause (ii)
                above, not control) tbe defense of sucb Action , and (iv) Burgundy obtains the written con sent of Spinco, sucb con sent not to be
                unreasonably withheld or delayed , to settle or compromise or consent to the entry of judgment with respect to such Action if such
                settlement, consent or judgment would (x) provide for injunctive or other nonmonetary relief affecting Spinco or any of its Affiliates, or
                (y) in the reasonable opinion of Spinco, would otherwise materially adversely ailect Spinco or any of its Affiliates or reasonably
                expected to result in a payment by Spinco (froup in excess of $2 million. After any such compromise, settlement, consent to entry of
                judgment or entry ofjudgment, Burgundy and Spinco will agree upon a reasonable allocation to Spinco and Spinco will be responsible
                for or receive, as tbe case may be, Spinco' propo1tionate share of any such compromise, settlement, consent or judgment attributable
                to tbe Spinco Business, the Spinco Assets or the Spinco Liabilities, including its proportionate share of the reasonable costs and
                expenses associated with defending same.
                       (ii) Notwithstanding anything to the contrary set forth in Section 5.5, Burgundy shall have exclusive authority and control over
                 tbe investigation, prosecution, defense and appeal of all Actions relating to the matters set forth on Schedule 2.5(b)(ix).

                 (c) Substitution. In the event of an Action that involves solely matters that are indemni1iable and in which the Indemnifying Party is
     not a named defendant, if either the Indemnitee or the Indemnifying Pa1ty so requests, the Pa11ies will endeavor to substitute the Indemnifying
     Paity for the named defendant. lf sucb substi tution or addition cannot be achieved

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     for any reason or is not requested, the rights and obligations of the Patties regarding indemnification and the management of the defense of claims
     as set fo1th in thi s Atticle V will not be affected .

                 (d) Subrogation. In the event of payment by or on behalf of any lndemni1ying Party to or on behalf of any lndemnitee in connection
     with any Thi.rd-Patty Claim, such Indemnifying Pat1y will be subrogated to and will stand in the place of such lndemnitee, in whole or in patt based
     upon whether the indemnifying Party has paid all or only pa1t of the indemnitee's Liability, as to any events or circumstances in respect of which
     such lndemnitee may have any right, defense or claim relating to such Third-Paity Claim against any claimant or plaintiff asserting such Tuird-
     Pai1y Claim or against any other Person. Such indemnitee will cooperate with such indemnifying Paity in a reasonable manner, and at the cost and
     expense of such lndemni1ying Patty, in prosecuting any subrogated right, defense or claim.

                  (e) Special Provisions Related to Environmental Matters. Without limiting Section 2.5(b), but subject to the Parties entering into a
     written agreement with respect thereto, Spinco shall provide reasonable cooperation to enable Burgundy to satisfy its obligations relating to the
     Ohio River/Calcesieu Estuary Liabilities including providing reasonable access to, tlu·ough and over the Nat:rium and Lake Charles sites that are
     Spinco Active Sites for Burgundy, its employees, contractors, and consultants. In the event that Spinco brings a claim for indemnification for the
     Ohio River/Calcesieu Estuary Liabilities against Burgundy related to the Ohio River sediments, Burgundy shall have the right, but not the
     obligation, to control any such Remediation; provided, however, Burgundy (i) keeps Spinco apprised of the status of the Remediation; (ii)
     provides drafts of any significant workplan, repo1t, study or other deliverable before submission to a Governmental Authority or interested third
     pa1ty for review and conunent by Spinco; and (iii) promptly provides Spinco with copies of any and all data, analyses, repo1ts, or other documents
     and significant communications generated in connection with the Remediation. Bw-gundy shall elect to either contwl the Remediation of the Ohio
     River sediments set fo1th in such notice or not to control the Remediation of the Ohio River sediments in writing within thi11y (30) days of receiving
     written notice of the Claim. Should Burgundy elect not to assume control of the Remediation of the Ohio River sediments pw-suant to this section,
     then Spinco shall (i) keep Burgundy apprised of the status of the Remediation; (ii) provide drafts ofany significant workplan , report, study or other
     deliverable before submission to a Govemmental Authority or interested third pai1y for review and conunent by Burgundy; and (iii) promptly
     provide Burgundy with copies of any and all data, analyses, repo1ts, or other documents and significant conununications generated in connection
     with the Remediation. Subject to the satisfaction of the term s and conditions of Section 5.5<b), Burgundy may take control of all negotiations and
     proceedings with Governmental Agencies and relevant thiJd paities relating to the Ohio River/Calcasieu Estuary Liabilities.

            Section 5.7 Exclusive Remedy. Each of Grizzly and Burgundy is an established business entity that has been represented by experienced
     counsel in connection with the execution and delivery of this Agreement and the Ancillary Agreements, and intends and hereby agrees that this
     Article V sets forth the exclusive remedy and rights of the Patties following the Business Transfor Time in respect of the matters indemnified under
     thi s Atticle V, except that nothing contained in this Section 5.7 will impaiJ any right of any Person (a) to exercise all of their lights and seek all
     damages available to them under Law in the event of claims or causes of action

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     arising from fraud or willful misconduct; (b) to specific perfonnance under this Agreement; and (c) to equitable relief as provided in Section 7.15
     hereof. lo fu1therance oftbe foregoing, each of the Parties hereto hereby waives, to the fullest extent permitted under applicable Law, any and all
     rights, claims and causes of action it may have against the other Party in connection herewith, arising under or based upon any Law other than the
     rigbt to seek indemnity pursuant to thi s Aiticle V and the right to seek tbe relief described in clauses (a), (b) and (c) oftbe preceding sentence.

                 Section 5.8 Survival of Indemnities. The rigbts and obligations of Burgundy and Spinco and its Jndenmitees under thi s Article V will
     survive the sale or other transfer by any Pa11y of any Assets or businesses or the assignment by any Pru1y of any Liabilities.


                                                                                 ARTICLE VI_

                                                                       AD.DITIONAL AGRF2F2MF:NTS

                 Section 6.1 Fmther Assurances. Subject to the limitations of Section 2.7:

                 (a) tu addi Liou 10 the   actiou~ ~µecilically   µ1ovided fo1   el~ewlie1e    iu   llii~   Ag1eemeul, the Me1ge1 Ag1eemeuL 01 iu ::iuy Aucill:lly
     Agreement, each of the Pruties hereto will cooperate with each other and use (and will cause its Subsidiaries and Affiliates to use) commercially
     reasonable effo1t s, prior to, at and after the Business T ransfer Time, to take, or to cause to be taken, all actions, and to do, or to cause to be done,
     all things reasonably necessary, proper or advisable on its prut under applicable Law or Contractual obligations to consummate and make eITective
     the transactions contemplated by tbis Agreement and the Ancillary Agreements as promptly as reasonabl y practicable.

                  (b) Without limiting the generality of Section 6.l(a), where the cooperation of third parties such as insurers or tmstees would be
     necessary in order for a Pa1ty to completely fulfill its obligations under thi s Agreement or the Ancilla1y Agreements, sucb Pa1ty will use
     couunercially reasonable effo1ts to cause such third Patties to provide such cooperation. If any Affiliate of Burgundy or Spinco is not a pa11y to
     tbis Agreement or, as applicable, any Ancillary Agreement, and it becomes necessary or desirable for sucb Affiliate to be a pa1ty bereto or thereto
     to carry out the pmpose hereof or thereof, then Burgundy or Spinco, as applicable, will cause such Affiliate to become a patty hereto or thereto or
     cause such Affiliate to unde1take sucb actions as if sucb Affiliate were sucb a paity.

                 Section 6.2 Agreement for Exchange of lnfonnation .

                  (a) Generally. Except as otherwise provided in the Transition Services Agreement, each Party, on behalf of its Group, will provide, or
     cause to be provided, to the otber Pa1ty's Group, at any time after the Business Transfer Time and until the later of(x) tbe sixth anniversary of the
     Business Transfer Tin1e and (y) the expiration of the relevant statute of lin1itations period, if applicable, as soon as reasonably practicable alter
     wri tten request therefor, any Shared lnfonnation in its possession or under its control. Eacb of Burgundy and Spinco agree to make its personnel
     available during regular business hours to di scuss the Informati on exchanged pursuant to thi s Section 6.2. Tbe obl igations set fo1th in this Section
     6.2 with respect

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     to the data required for worker's compensation claim handling and filings will survive the sixth anniversaiy time period herein and will instead
     survive indefin itely. Tbe paities agree tbat, after Closing, $bared Information will be subject to tbe confidentiality obligations in tbe Confidentiality
     Agreement as if such Information were provided prior to the Business Transfer Tin1e.

                   (b) Financial lnfonnation for Burgundy. Without limitation to Section 6.2(a), until the end of the first full fiscal year occuJTing after the
     Dishibution Date (and for a reasonable period of time afterwards as requi1·ed by Law for Burgundy to prepare consolidated financial statements or
     complete a financial statement audit for any period during which the financial results of the Spinco Group were consolidated with those of
     Burgundy) , Spinco will use its reasonable best efforts to enable Burgundy to meet its timetable for di ssemination of its financial statements and to
     enable Burgundy's auditors to timely complete their annual audit and quarterly reviews of financial statements. As pait of such efio11s, to the
     extent reasonably necessary for tbe preparation of financial statements or completing an audit or review of financial statements or an audit of
     intemal control over financial repo1ting, (i) Spinco will autho1ize and direct its auditors to make available to Burgundy's auditors, within a
     reasonable time prior to tbe date of Burgundy's audi tors' opinion or review report, botb (x) tbe personnel wbo perfonned or will pe1fonn tbe annual
     audits and quai1erly reviews of Spinco and (y) work papers related to such annual audits and quart.erly reviews, to enable Burgundy's auditors to
     perfonn any procedures they consider reasonably necessary to take responsibility for the work ofSpinco's auditors as it relates to Burgundy's
     audi L01s ' oµi11iou 01 1eµo1t aud (ii) uuLil all gove1tuneuLal audi L:; 1ue cotnµlete, Spiuco will p1ovide 1ea~oua1Jle acce:;~ dUJ i11g uo1wal IJu~iues:; lioui s
     for Burgundy's intemal auditors, counsel and other designated representatives to (x) the premises ofSpinco and its Subsidiaries and all
     Information (and duplicating rigbts) within tbe knowledge, possession or control of Spinco and its Subsidiari es and (y) tbe officers and employees
     ofSpinco and its Subsidiaries, so that Burgundy may conduct reasonable audits relating to the financial statements provided by Spinco and its
     Subsidiaries; provided, however, tbat sucb access will not be uru·easonably di srupti ve to tbe business and affairs oftbe Spinco Group.

                  (c) Financial lnfo1mation for Spinco. Without limitation to Section 6.2(a), until the end of the first full fiscal year occurring aJter the
     Distribution Date (and for a reasonable period of time afterwards or as required by Law), Burgundy will use its reasonable best efforts to enable
     Spinco to meet its timetable for dissemination of its financial statements and to enable Spinco's auditors to timely complete their annual audit and
     qua1terly reviews of financial statements. As part of sucb efforts, to tbe extent reasonably necessary for tbe preparation of financial statements or
     completing an audit or review of financial statements or an audit of intemal control over financial reporting, (i) Burgundy will authorize and direct
     its auditors to make available to Spinco's auditors, within a reasonable time prior to the date ofSpinco's auditors' opinion or review report, both (x)
     the personnel who performed or will perfo1m the annual audits and quaiterly reviews of Burgundy and (y) work papers related to such annual
     audits and quarterly review s, to enable Spinco's auditors to perform any procedures tbey consider reasonably necessary to take responsibility for
     the work of Burgundy's auditors as it relates to Spinco's auditors' opinion or report and (ii) until all governn1ental audits are complete, Burgundy
     will provide reasonable access during normal business bours for Spinco's internal auditors, coun sel and otber designated represen tatives to (x)
     the premises of Burgundy and its Subsidiaries and all Inforu1ation (and duplicating rights) within the knowledge, possession or

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     control of Burgundy and its Subsidiaries and (y) the officers and employees of Burgundy and its Subsidiaries, so that Spinco may conduct
     reasonable audits relating to the financial statements provided by Burgundy and its Subsidiari es; provided, however, that such access will not be
     uru·easonably disruptive to the business and afiairs of the Burgundy Group.

                 (d) Limitations of Liability. Neither Party will have any Liability to the other Pa11y in the event that any lnfonnation exchanged or
     provided pursuant to this Agreement that is an estimate or forecast, or that is based on an estimate or forecast, is found to be inaccurate in the
     absence of fraud or willful misconduct by the providing Person.

                  (e) Ownership oflnfonnation. Any Information owned by a Patty that is provided to the other Patty pursuant to this Section 6.2(e)
     remains the prope11y of the Pai1y that owned and provided such lnfonnation. Each Party will, and will cause members of its Group to, remove and
     destroy any hard drives or other electronic data storage devices from any computer or server that is reasonably likely to contain lnformation that is
     protected by th is Section 6.2(e) and that is transfeiTed or sold to a third-party or otherwise disposed of in accordance with this Section 6.2(e),
     unless requi1·ed by Law to retain such material s.

                  (I) Record Re(en(jon . Each Party agrees to use its conunercially reasonable effo11s to retain all lnfonnation that relates to the operations
     of the Eagle Business in its possession or control at the Business Transfer Time in accordance with the policies of such Person as in effect on the
     Business Transfer Time or such other policies as may be adopted by such Person therealler (provided, in the case of Spinco, that Burgundy notify
     Spinco of any such change). No Pa1ty will destroy, or permit any of its Subsidiaries to destroy, any lnfonnation which the other Pa1ty may have
     the right to obtain pursuant to this Agreement without notifying the other Party of the proposed destruction and giving the other Party the
     reasonable opportunity to take possession or make copies of such Information prior to such destruction . Notwithstanding the foregoing, Section
     7.02 of the Tax Matters Agreement will govern the retention of Tax Retums, schedules and work papers and all material records or other
     documents relating thereto.

                 (g) Other Agreements Providing for Exchange of Infonnation. The rights and obligations grant.e d under th is Section 6.2 are subject to
     any specific limitations, qualifications or additional provi sions on the sharing, exchange or confidential treatment oflnfonnati on set fo1th in thi s
     Agreement, the Confidentiality Agreement and any Ancillary Agreement.

                  (h) Compensation for Providing lnfonnation. The Party requesting Info1mation agrees to reimburse the other Party for the reasonable
     out-of-pocket costs, if any, actually incuned in creating, gathering and copying such lnfonnation, to the extent that such costs are incmTed for the
     benefit of the requesting Party.

                 (i) Production of Witnesses; Records; Cooperat ion.
                        (i) After the Business T ransfer Time, except in the case of any Action by one Party or its Affiliates against another Paity or its
                 Affiliates, each Pai1y will use its conunercially reasonable efforts to make available to each other Pruty, upon written request, the
                 former, cu1rnnt and future directors, officers, employees,

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                 otber personnel and agents of tbe members of its Group as witnesses and any books, records or otber documents within its control or
                 which it otherwise has the ability to make available, to the extent that any such person (giving consideration to bu siness demands of
                 such directors, officers, employees, other personnel and agents) or books, record s or other documents may reasonably be required in
                 connection witb any Action in wbicb the requesting Pa1ty may from time to time be involved, regardless of whether sucb Action is a
                 matter with respect to which indemnification may be sought hereunder. TI1e requesting Paity agrees to reimburse the other Paity for
                 the reasonable out-oJ:pocket costs, if any, incun·ed in connection therewith.
                        (ii) If an Indemnifying Pru1y chooses to defend or to seek to compromise or settle any Third-Pruty Claim, the other Pru1y will make
                 available to sucb Indemnifying Pa1ty, upon written request, the former, cmTent and future directors, officers, employees, otber
                 personnel and agents of the members of its Group as witnesses and any books, records or other documents within its control or which
                 it otherwise bas the ability to make available, to tbe extent that any such person (giving consideration to business demands of sucb
                 directors, officers, employees, other personnel and agents) or books, records or other documents may reasonably be required in
                 connection with such defen se, settlement or compromise, or the prosecution, evaluation or pursuit tbereof, as the case may be, and will
                 otherwise cooperate in such defense, settlement or compromise, or such prosecution, evaluation or pursuit, as the case may be.
                        (iii) Without limiting the foregoing, the Parties will cooperate and consult to the extent reasonably necessary with respect to
                 11lird-Pru1y Claims.
                        (iv) Tbe obligation of the Pa1ties to provide witnesses pursuant to thi s Section 6.2(i) is intended to be inte1preted in a manner so
                 as to facilitate cooperation and will include the obligation to provide witnesses without regard to whether tbe witness or the employer
                 of the witness could asse1t a possible business conllict.
                      (v) In connection with any matter contemplated by this Section 6.2fil, the Pru1ies will enter into a mutually acceptable joint
                 defense agreement so as to maintain to tbe extent practicable any applicabl e attorney-client pri vilege or work product inununity of any
                 member of any Group.

                (j) Restrictions. Except as expressly provided in tbi s Agreement or tbe Ancillary Agreements, no Pa1ty or member of such Pa1ty's
     G roup hereunder grants or confers rights of license in any lnformation owned by any member of such Party's Group to any member of the other
     Patty's Group hereunder.

                 Section 6.3 Privile11ed Matters.

                  (a) Tbe respecti ve rigb ts and obligations of the Pa1ti es to maintain, preserve, asse1t or waive any or all privileges belonging to either
     Paity or its Subsidiaries with respect to

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     the Spinco Business or the Non-Spinco Business, including the attorney-client and work product pri vileges (collecti vely, "Pri vileges"), will be
     govemed by the provisions of this Section 6.3. With respect to Privileged lnfonnation of Burgundy, Burgundy will have sole authority in
     pe1petuity to determine whether to assert or waive any or all Privileges, and Spinco will not take any action (or permit any member of its Group to
     take action) without the pri or wri tten consent of Burgundy that could result in any waiver of any Privilege that could be asse1ted by Burgundy or
     any member of its Group under applicable Law and this Agreement. With respect to Privileged lnfonnation of Spinco aii sing after the Business
     Transfer Time, Spinco will have sole authority in perpetuity to detennine whether to assert or waive any or all Privileges, and Burgundy will take no
     action (nor permit any member of its Group to take action) without the p1ior w1itten consen t of Spinco that could result in any waiver of any
     Privilege that could be asserted by Spinco or any member of its Group under applicable Law and th is Agreement. The rights and obligations
     created by thi s Section 6.3 will apply to all lo formation as to which a Party or its Group would be en titled to assert or have asse1ted a Pri vilege
     without regard to the efiect, if any, of the Spinco Reorganization, the Recapitalization or the Distribution ("Privileged lnfonnation").

                  (b) Privileged lnfonnation of Burgundy and its (froup includes (i) any and all Information regardi ng the Non-Spinco Business and the
     Burgundy Group (other than lnfonnation relating to the Eagle Business ("Spinco lnfonnation")), whether or not such lnfonnation (other than
     Spinco Information) is in the possession ofSpinco or any Affiliate thereof, (ii) all conununications subject to a Pri vilege between counsel for
     Bw·guudy (other than counsel for the Eagle Business) (including any person who, at the tin1e of the communication, was an employee ofBurguudy
     or its Group in the capacity of in-house counsel, regardless of whether such employee is or becomes an employee of Grizzly, Spinco or any
     Afliliate thereol) and any person who, at the time of the conununication, was an employee of Burgundy, regardl ess of whether such employee is or
     becomes an employee of Spinco or any Affiliate thereoJ~ and (iii) all Information generated, received or arising aller the Business Transfer Time
     that refers or relates to and discloses Privileged Information of Burgundy or its Group generated, received or arising prior to the Business T ransfer
     Time.

                  (c) Privileged lnfonnation ofSpinco and its (froup includes (i) any and all Spinco Information, whether or not it is in the possession of
     Burgundy or any member of its Group, (ii) all couununications subject to a Privilege between counsel for the Eagle Business (including any person
     who, at the time of the conununication, was an employee of Burgundy or its Group in the capacity of in-house counsel, regardless of whether such
     employee is or remains an employee of Burgundy or any Affiliate thereol) and any person who, at the tin1e of the couununication, was an employee
     of Burgundy, Spinco or any member of either Group or the Eagle Business regardless of whether such employee was, is or becomes an employee
     of Burgundy or any of its Subsidiaries, and (iii) all Information generated, received or arising after the Business T ransfer Time that refers or relates
     to and discloses Privileged Information of Spinco or its Group generated, received or a1ising alter the Business Transfer Time.

                 (d) Upon receipt by Burgundy or Spinco, or any of theiJ respective Affiliates, as the case may be, of any subpoena, discovery or other
     request from any third-pa1ty that actually or arguably calls for the production or disclosure of Privileged Information of the other or if Burgundy or
     Spinco, or any of their respective Affiliates, as the case may be, obtains knowledge

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     that any cwTent or fonner employee ofBw-gundy or Spinco, or any of their respective Affiliates, as the case may be, receives any subpoena,
     discove1y or other request from any third-party that actually or arguably calls for the production or disclosw-e of Privileged lnfonnation of the
     other, Burgundy or Spinco, as the case may be, will promptly notify the relevant other Party of the existence of the request and will provide such
     other Party a reasonable oppo1tunity to rev iew the lnfonnation and to asse1t any rights it may have under this Section 6.3 or otherwise to prevent
     the production or disclosure of Privileged lnfonnation. Bw-gundy or Spinco, as the case may be, will not, and will cause their respective Affiliates
     not to, produce o r disclose to any thiJd-party any of the other Party's Privileged lnfonnation under thi s Section 6.3 unless (i) the other Party bas
     provided its express written consent to such production or disclosure or (ii) a court of competent jw-isdiction has entered an Order not subj ect to
     interlocutory appeal o r review finding that the Infonnation is not entitled to protection from di sclosure under any applicable p1ivilege, docnine or
     rule.

                  (e) Burgundy's transfer of books and records pe1taining to the Eagle Business and other Information to Spinco, Burgundy's
     agreement to pennit Spinco to obtain Information existing prior to the Spinco Reorganization, Spinco's transfer of books and records pe1taining to
     Burgundy, if any, and other Information to Burgundy and Spinco's agreement to permit Burgundy to obtain Information existing prior to the
     Spinco Reorganization are made in reliance on Burgundy's and Spinco's respective agreements, as set forth in Section 6.2 and this Section 6.3, to
     maintain Ilic confitkntiulity of sucli lnfonuulion um.I 10 tukc Ilic steps pruvitlctl li"rcin for Ilic prcscrvulion ofull Privileges tliut muy belong 10 or be
     asse1ted by Burgundy or Spinco, as the case may be. The access to Information, witnesses and individuals being granted pursuant to Section 6.2
     and the disclosw-e to Spinco and Burgundy of Privileged Information relating to the Spinco Business o r the Non-Spinco Business pursuant to this
     Agreement in connection with the Spinco Reorganization will not be asse1ted by Burgundy or Spinco to constitute, o r otherwise deemed, a waiver
     of any Privilege that has been o r may be asse1ted under this Section 6.3 or otherwise. Nothing in this Agreement will operate to reduce, minimize or
     condition the rights granted to Burgundy and Spinco in, o r the obligations imposed upon Burgundy and Spinco by, thi s Section 6.3.

                 Section 6.4 Intellectual Prope1ty Assignment/ Recordation. Each Party will be responsible for, and will pay all expenses (whether
     incuned before, at o r after the Business Transfer Time) involved in notarizati on, authentication, legalization and/or consularization of the
     signatures of any representatives of its Group on any of the Transfer Documents relating to the transfer of Intellectual Property Rights. Spinco will
     be responsible for, and will pay all expenses (whether incuned before or after the Business T ransfer Time) relating to, the recording of any such
     T ransfer Documents relati ng to the n·ansfer oflntellectual Property Rights to any member of the Spinco Group with any Governmental Authorities
     as may be necessruy or appropriate.

                  Section 6.5 Intellectual Prope1ty Matters. Except as specifically set fo1th in this Section 6.5, from and after the Effective Time, Spinco
     will take all actions necessary to assure that no member of the Spinco Group operates the Spinco Business utilizing, based on or taking advantage
     of the name, reputation, Trademarks or goodwill of any member of the Burgundy Group, provided that Grizzly and members of the Spinco (froup
     may refer to the Burgundy (froup and T rademarks of the Burgundy G roup in connection with describing the hi storical relationship of the Spinco
     Grnup to the Bw-gundy Group. In addition, Spinco and each member of

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     the Spinco Group may use labeling, packaging, adve1tising, sale and promotional materials, printed stationery, brochures and literature bearing any
     of the co1porate names, T rademarks, product identification numbers or consumer information telephone numbers of the Burgundy Group after the
     Business T ransfer Time; provided, that Spinco will, and will cause each member of the Spinco Group to, cease use of the labeling, packaging,
     advertising, sale and promotional materials, printed statione1y, brochures and literature bearing any of the co1porate nan1es, Trademarks, product
     identification numbers or consumer information telephone numbers beginning on the six (6) month anniversary of the Effective Tin1e; provided,
     fmther, that there will be no time limit with respect to Spinco's sale of products bearing the corporate name, T rademarks or consumer information
     telephone numbers or that use any packaging bearing the san1e included in the Spinco Inventory. The Spinco Group will use commercially
     reasonable effo1ts to cease the sale or use of such products, product labeling or packaging as promptly as reasonably practicable following the
     Business Transfer Tin1e, consistent with their ordinary course of business. Spinco will, and will cause each member of the Spinco Group to,
     maintain quality standards for products of the Spinco Business not materially different from those maintained by the Eagle business prior to the
     Business Transfer Tin1e for so long as any member of the Spinco Group continues to use any labeling, packaging, adve1tising, sales or promotional
     materials, printed stationery, brochures or literature bearing the corporate nan1es, Trademarks, product identification numbers or consumer
     information telephone numbers of any member of the Burgundy Group.

                 Sectio u 6.6 i\"sig11ed Drunai11 Naine". Al the Bu~iue~~ Tt::iu~fe1 Time, the dou-.::iiu u::une 1egi~L1::ttiou~ ~el fo11h o u Schedule 2.4(::.)(vi),
     including all content, text, descriptions, photographs, drawings, or other work compri sing the associated web pages (collectively the "Assi11ned
     Domains"), shall be assigned to, and subsequently owned and maintained by , the Spinco Group. The Burgundy Group will take commercially
     reasonable steps to effectuate the assignment of the Assigned Domains. On or before the three (3) month anniversary of the Business Transfer
     Tin1e, the Spinco Group will be required to remove any and all references to any name, Trademarks, or goodwill owned by any member of the
     Burgundy Group that exist on the Assigned Domain Names.

                  Section 6.7 Unassigned Domain Names. The domain names and web pages set forth on Schedule 2.4(b)(i) include a Trademark owned
     by tbe Burgundy Group and were used piimarily for the Eagle Business prior to tbe Business Transfer Time ("Unass i11ned Domains"). Tbe
     Unassigned Domains are registered in the name of the Burgundy Group and will not be assigned to the Spinco Group. However, from and aJter the
     Business Transfer Time, each member of tbe Spinco Group may coordinate witb the Burgundy Group to redirect lntemet traffic and site visits from
     the Unassigned Domains to a domain name or web page of its choosing. On or before tbe three (3) month anniversary of the Business Transfer
     Tittle, the Unassigned Domains will be disabled and the registrations will be permitted to lapse. From and all.er the Business Transfer Time, no
     member of the Spinco Group will take steps to register or utili ze the Unassigned Domains or any other domain name or web page that includes a
     T rademark owned by the Burgundy Group.

                 Section 6.8 Unassigned Domain Name Content. From and after the Business Transfer Time, all light, title, and interest, including any
     copyrights, related to the content, text, descriptions, photographs, drawings, or other work included on the Unassigned Domains prior to the
     Business Transfer Tittle shall be the sole and exclusive prope1ty of the Spinco Group, except

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     for any text, descriptions, photographs, drawings, or other work that p1imar ily relates to any name, reputation, Trademarks or goodwill primarily
     associated with any member of the Burgundy (froup.

                 Section 6.9 Shared IP Licenses.

                  (a) Notwithstanding anything in this Agreement to the contrary, each member of the Burgundy Group shall retain an inevocable, non-
     tenninable, pe1petual, worldwide, nonexclusive, royalty-free, fully paid-up license to use the Shared Spinco IP solely and exclusively for the
     pmpose of conducting the Burgundy Group's business in substantially the san1e manner as it was conducted immediately prior to the Effective
     Date (the "Shared Spinco IP License"). No member of the Burgundy Group may assign or sublicense its rights under the Shared Spinco IP License
     to any Person other than an Affiliate thereof without Spinco's prior written consent; provided, however, that without consent any member of the
     Burgundy (froup may (a) assign its righ ts under the Shared Spinco IP License to any enti ty that acquiJes all or substantially all of the assets of
     such Burgundy Group member's business; (b) assign its righ ts under the Shared Spinco IP License to any successor by merger, consolidation, or
     acquisition to a member of the Burgundy llioup for the purpose of conducting such Burgundy Group member's business; (c) sublicense its rights
     under the Shared Spinco IP License to any purchaser of substantially all the assets of one of the plants used in the Burgundy Business only to the
     extent reasonahly np,cessary to enahle such purchaser to operate such plant in the sa me manner as the licensecl memher of the Rurguncly omup
     operated the same; and (d) assign its ri ghts under the Shared Spinco IP License to any lender (or agent for any lender) to the owner of any such
     assets for collateral pmposes only. Following the grant of any sub license permitted hereinabove to the transferee of any such plant, the
     sub licensee may further sub license the Shared Spinco IP to which it has been sublicensed but only together with a transfer of substan tially all the
     assets of such plant and only to the extent reasonably necessary to enable the transferee to operate such plant in the san1e manner as the
     sublicensing Person operated the same. Any attempted assign ment or sublicense in breach of this Section 6.9(a) will be null and void.

                 (b) At the Business Transfer Time, each member of the Burgundy Group hereby grants each member of the Spinco Group an
     iJTevocable, non-terminable, pe1petual, worldwide, nonexclusive, royalty-free, fully paid-up license to use the Shared Burgundy IP solely and
     exclusively for the purpose of conducting the Spinco Group's bu siness in substantially the same manner as it was conducted immediately prior to
     the Effective Date (the "Shared Bumundy IP License"). No member of the Spinco Group may assign or sublicense its rights under the Shared
     Burgundy IP License to any Person other than an Affiliate thereof without Burgundy's prior writt.en consent; provided, however, that without
     consent any member of the Spinco Group may (a) assign its righ ts under the Shared Burgundy IP License to any entity that acqui1·es all or
     substantially all of the assets of such Spinco Group member's business; (b) assign its rights under the Shared Burgundy IP License to any
     successor by merger, consolidation, or acqui sition to a member of the Spinco G roup for the puipose of conducting such Spinco Group member's
     business; (c) sublicense its rights under the Shared Burgundy IP License to any purchaser of substantially all the assets of one of the plants used
     in the Spinco Business only to the extent reasonabl y necessary to enable such purchaser to operate such plant in the same manner as the licensed
     member of the Spinco

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     Group operated the same; and (d) assign its rights under the Shared Burgundy lP License to any lender (or agent for any lender) to the owner of
     any sucb assets for collateral purposes only. Following tbe grant of any sublicense permitted bereinabove to tbe transferee of any sucb plant, tbe
     sub licensee may fmther sublicense the Shared Burgundy lP to which it has been sublicensed but only together with a transfer of substantially all
     tbe assets of sucb plant and only to tbe extent reasonably necessary to enable tbe transferee to operate sucb plant in tbe same manner as tbe
     sublicensing Person operated the same. Any attempted assignment or sublicense in breach of this Section 6.9fb) will be null and void.

                  Section 6.10 Removal of Tangible Assets. (a) Except as may be otherwise provided in the Transition Services Agreement, or otherwise
     agreed to by tbe Pa1ties, all tangible Spinco Assets tbat are located at any sites of Burgundy or its Subsidiaries tbat are not Spinco Active Sites
     will be moved as promptly as practicable after tbe Business Transfer Time from sucb sites, at Spinco 's expense and in a manner so as not to
     uOJeasonably interfere with the operations of any member of the Burgundy Group and to not cause damage to such facility, and such member of
     tbe Burgundy (froup will provide reasonable access to sucb facility to effectuate same. Spinco will remove any Spinco Assets tbat remain at any
     such sites in connection with the perfonnance of services under the Transition Services Agreement as promptly as practicable aJter the termination
     of sucb service pursuant to tbe same terms and conditions stated in tbe inunediately preceding sentence.

                 (h) Rxee pt as may he otherwise proviclocl in tho Transition Servieos Agrnomonl or otherwise agrnocl lo hy the Parties, all tangihlo
     Excluded Assets tbat are located at any oftbe Spinco Active Sites will be moved as promptly as practicable after tbe Business Transfer Time from
     such facilities, at Burgundy's expense and in a manner so as not to unreasonably interfore with the operations of any member of the Spinco Group
     and to not cause damage to sucb Spinco Facility, and sucb member oftbe Spinco (froup will provide reasonable access to sucb Spinco Facility to
     effectuate such movement. Burgundy will remove any Excluded Assets that remain at any such Spinco Active Sites in connection with the
     pe1fonnance of services under tbe Transi tion Services Agreement as promptly as practicable after tbe termination of sucb service pursuant to tbe
     same tenns and conditions stated in the inunediately preceding sentence.

                 Section 6.1 I Insurance.

                  (a) Rights Under Policies. Notwithstanding any other provision of this Agreement, from and alter the Business Transfer Date, none of
     Spinco nor any other member of the Spinco Group will have any rights whatsoever with respect to any Policies, except that Burgundy will, if
     requested by Spinco, use commercially reasonable effo1ts (as set fortb in Section 5.4 above) to pursue Insurance Proceeds under Claims-Made
     Policies for any liabilities for which indemnification is sought from Spinco pursuant to this Agreement (to the extent such Claims-Made Policies
     provide coverage for sucb liabilities); provided tbat all of Burgundy's and eacb member of tbe Burgundy (froup's reasonable costs and expenses
     incuned in connection witb tbe foregoing sball be promptly paid by Spinco. All claims for Insurance Proceeds under Claims-Made Policies
     pursued by Burgundy will be subject to all of the tenns and conditions of the applicable Clain1s Made Policy and Spinco shall promptly pay to
     Burgundy any applicable deductible or retention tbat applies to tbe Claim subject to indemnification.

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                  (b) Couunutations or Buyouts of Claims-Made Policies. Burgundy may, at any time, without Liability or obligation to Spinco (other
     than as set forth in tbis Section 6. 1 l(h)), amend, conunute, terminate, buy-out, extinguish liability under o r otherwise modify or reduce the amount
     of coverage available under any Claims-Made Policies after the Distribution Date. In the event that any such transaction would aITect or reduce the
     amount oflnsurance Proceeds that otherwise would be available to Spinco for a claim tbat is subject to indemnification under this Agreement,
     Burgundy will give Spinco prior written notice thereof. ln tbe event of an insurance transaction described in this section, Burgundy will pay to
     Spinco its equitable sbare (which must be determined in good faith based on the amount of premiums paid or allocated to the Eagle Business in
     respect of the applicable Claims-Made Policies and the efiect the insurance transaction would have on Spinco's actual or potential indemnification
     obligations) of any net proceeds actually received by Burgundy from the insurer under tbe applicable Claims-Made Policy as a result of sucb
     transaction (after deducting Burgundy's reasonable costs and expenses incurred in connection with such action). The Tax treatment of any such
     payments to Spinco by Burgundy will be bandied in accordance with Section 5.4(c).

                  (c) No Limitation to Indemnity. Nothing in this Section 6.11 will be construed to limit or otherwise alter in any way the indemnity
     o bligations oftbe pa1ties to this Agreement, including those created by this Agreement.

                 Section 6.12   Ri~ht ofFi~t Refi1~al.


                  (a) ff at any time and each time prior to the twenty (20) year anniversary of the Business Transfer Time, Burgundy desires to sell all or a
     po11ion of the Natrium Excess Land to a third pa1ty, Burgundy shall give notice (the "Offer Notice") thereof to Spinco, together with the price and a
     sununary of the other material terms and condi tions pursuant to whicb Burgundy desires to sell all or a po1tion oftbe Natrium Excess Land . Spinco
     shall have the right (the "First Refusal Right") to give to Burgundy a notice (the "Election Notice"), which shall specify that Spinco elects to
     purchase, as applicable, all or the po1tion ofNatrium Excess Land proposed to be sold upon the same material terms and conditions (subject to the
     execution of a mutually satisfacto1y Contract of sale as hereinafter provided) as set forth in the Oiler Notice. Spinco and Burgundy shall record in
     the appropiiate public land records an instrument setting forth the foregoing First Refusal Right. The Election Notice must be delivered within 15
     Business Days following Burgundy's delivery to Spinco of the Oller Notice (such period is hereinaller refeired to as the " Response Period").
     Notwith standing anything to the contrary in tbi s Agreement, tbe First Refusal Right described in tbis Section 6. 12 sball not be applicable to any
     sale of the Natrium Excess Land by Burgundy to a Subsidiary o r Affiliate of Burgundy, provided, that following any such sale, such Subsidiary or
     Aftiliate of Burgundy shall be subject in all respects to tbi s Agreement.

                 (b) lfSpinco shall give the Election Notice within the Response Period, Spinco and Burgundy shall promptly proceed to negotiate an
     agreement (the "Natrium Excess Land Agreement") to purchase the Nat:rium Excess Land at the price and otherwise on all of the mate1ial tenns and
     conditions set forth in the Offer Notice and otherwise on such other customary tem1s for the purchase of comparable properties, as Spinco and
     Burgundy may mutually agree upon .

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                  (c) lfSpinco shall fail to give an Election Notice within the Response Period, (i) Burgundy shall have the 1ight to sell the Natrium
     Excess Land at the price and on other terms and condi tions no less advantageous in any material respect to Burgundy than that set fo1th in the
     Offer Notice, free and clear of any rights or claims of Spinco under this Section 6.12. and (ii) provided Burgundy has not materially breached its
     obligations under thi s Section 6.12, thi s Section 6 ..12 shall terminate and be null, void and of no fu1ther force or effect; provided, that Spinco shall
     again have the right to exercise the First Refusal Right pursuant to the provi sions of this Section 6. 12 if any of the following conditions occurs: (a)
     the tenns and conditions of sale to the third patty are less advantageous in any material respect to Burgundy than set fo11h in the Offer Notice, or
     (b) the definitive agreement(s) providing for the sale are not executed and delivered with a purchaser within 120 days afler the giving of the
     applicable Offer Notice and subsequently consununated with such purchaser within six (6) months of execution of the definitive agreements.


                                                                           ARTICLE VU

                                                                        MISCELLANEOUS

                  Section 7.1 Expenses. Except as otherwise provided in this Agreement, each Pa1ty will be responsible for the fees and expenses of the
     Patties as provided in the Merger Agreement.

                 Section 7.2 Entire A11reement. This Agreement, the Merger Agreement and the Ancillary Agreements and the Confidentiality
     Agreement, including any related annexes, schedules and exhibits, as well as any other agreements and docU111ents refened to herein and therein,
     will together constitute the entire agreement between the Parties with respect to the subject matter hereof and thereof and will supersede all prior
     negotiations, agreements and understandings of the Parties of any nature, whether oral or written, with respect to such subject matter.

                 Section 7.3 Govemin11 Law . This Agreement and, unless expressly provided therein, each Ancillary Agreement (and any claims or
     disputes arising out of or related hereto or thereto or to the transactions contemplated hereby and thereby or to the inducement of any Party to
     enter herein and therein, whether for breach of Con t:ract, to1tious conduct or otherwise and whether predicated on conunon law , statute or
     otherwise) is govemed by and construed and interpreted in accordance with the Laws of the State of Delaware inespective of the choice oflaws
     principles of the State of Delaware, including all matters of validity, construction, effect, enforceability, perfonnance and remedies.

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                  Section 7.4 Notices. All notices, requests, pennissions, waivers and other conununications under this Agreement will be in writing and
     will be deemed to have been duly given (a) five (5) Business Days following sending by registered or ce1t ified mail , postage prepaid, (b) when sen t,
     if sent by facsinule, provided that the facsinule transmission is promptly confumed by telephone, (c) when delivered, if delivered personally to the
     in tended recipient, and (d) one Business Day following sending by overnight delivery via a national courier service and, in each case, addressed
     to a Pa1ty at the following address for such Party:

     ff to Bw-gundy or, prior to the Efiective Tin1e, Spinco:
                 PPG Industries, Inc.
                 One PPG Place
                 Pittsburgh, PA 15272
                 Attention: General Counsel
                 Facsimile:   (412) 434-2490

     with a copy (which shall not constitute notice) to:
                 Wachtell, Lipton, Rosen & Katz
                 51 West 52nd Stree t
                 New York , New York 10019
                 Attention: Steven A. Rosenblum
                 Facsimile:   (212) 403-2000
                 lfto Spinco, a]fter the Effective Time:
                 Georgia GulfC01poration
                 115 Perimeter Center Place, Suite 460
                 Atlanta, GA 30346
                 Attention: Chief Executive Officer
                 Facsimile:   (770) 390-9673

     with a copy (which shall not constitute notice) to:
                 Jones Day
                 1420 Peachtree St., N.E.
                 Suite 800
                 Atlanta, GA 30309-3053
                 Attention: Jolm E. Zamer
                 Facsinule:   404-581-8330

     or to such other address(es) as will be furni shed in writing by any such pa1ty to the other pa1ty in accordance with the provisions of thi s Section
     7.4.

                 Section 7.5 Priority of Agreements. If there is a conflict between any provi sion of this Agreement and a provi sion in any of the
     Ancilla1y Agreements (other than the Tax Matters Agreement and Employee Matters Agreement), the provision of this Agreement shall control
     unless specifically provided otherwise in this Agreement o r in the Ancillary Agreement. Except as othe1wise specifically provided herein, thi s
     Agreement will not apply to matters relating to Taxes or employees, employee benefits plans, and related assets and liabilities including pension
     and other post-employment benefit assets and liabilities, which shall be exclusively governed by the Tax Matters Agreement and Employee
     Matters Agreement, respectively. ln the case of any conflict between thi s Agreement and the Tax Matters Agreement or Employee Matters
     Agreement, respectively, in relation to any matters addressed by the Tax Matters Agreement or Employee Matters Agreement, the Tax Matters
     Agreement or Employee Matters Agreement, as applicable, will prevail.

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                 Section 7.6 Amendments and Waivers. (a) This Agreement may be amended and any provision of this Agreement may be waived;
     provided that any such amendment or waiver will be binding upon a Party only if such amendment or waiver is set fo11h in a writing executed by
     such Party. In addition, unless the Merger Agreement shall have been tenninated in accordance with its terms, any such amendment or waiver
     shall be subject to the written consent of G rizzly. No course of dealing between or among any Persons having any interest in thi s Agreement will
     be deemed effective to modify, amend or di scharge any pa1t of this Agreement or any rights or obligations of any Pa1ty hereto under or by reason
     of this Agreement.

                  (b) No delay or failure in exerci sing any right, power or remedy hereunder will affect or operate as a waiver thereof; nor will any single
     or partial exercise thereof or any abandonment or discontinuance of steps to enforce such a right, power or remedy preclude any further exercise
     thereof or of any other right, power or remedy. Any waiver, permit, con sent or approval of any kind or character of any breach or default under thi s
     Agreement or any such waiver of any provision of this Agreement must satisfy the conditions set forth in Section 7.6fa) and will be eJlective only
     to the extent in such writing specifically set fo1th .

                Section 7.7 Tennination. This Agreement will terminate without further action at any time before the Effective Time upon tennination of
     the Merger Agreemen t. If tenninated, no Party will have any Liability of any kind to the other Pa1ty or any other Person on account of this
     Agreement, except as provided in the Merger Agreement.

                  Section 7.8 Parties in Interest. This Agreement is binding upon and is for the benefit of the Parties hereto and their respective
     successors and pennitted assigns. Grizzly shall be a third patty beneficiary of the rights of Spinco under this Agreement and of the provisions of
     Section 4.2(b). As of the Effective Time, this Agreement shall be binding on Grizzly and Grizzly shall , as between Burgundy and Grizzly, be subject
     to the obligations and restrictions imposed on, and shall be the beneficiary of the rights of, Spinco under this Agreement. This Agreement is not
     made for the benefit of any Person not a Pa11y hereto, and no Person other than the Patties hereto or their respective successors and permitted
     assigns will acquiJe or have any benefit, 1ight, remedy or claim under or by reason of this Agreement, except (i) as contemplated in the preceding
     sentence and (ii) for the provisions ofAtticle V with respect to indemnification oflndemnit.ees.

                  Section 7.9 Assignability. No Patty may assign its rights or delegate its duties under this Agreement without the written consent of the
     other Pa1ty, except that a Pa1ty may assign its rights or delegate its duties under thi s Agreement to a member of its Group and a Pa1ty may assign
     or sublicense the rights grant.ed in Section 6.9 as provided therein; provided that the member agrees in writing to be bound by the tenns and
     condition s contained in thi s Agreement; provided, further, that the assignment or delegation will not relieve any Party of its indemnification
     obligations or obligations in the event of a breach of this Agreement; and provided, further, that Spinco may assign this agreement, without
     obtaining the prior written consent of Burgundy, to any lender (or agent for any lender) for collateral pu1poses only (and upon any assignment
     pemlitted by this proviso, the references to Spinco Group shall also apply to any such assignee unless the context otherwise acquires). Any
     attempted assignment or delegation in breach of thi s Section 7.9 will be null and void.

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                  Section 7.10 lnterpretat ion. When a reference is made in this Agreement to an Alticle or Section, such reference shall be to an Alt icle
     or Section of this Agreement unless otherwise indicated. The tabl e of contents to this Agreement is for reference purposes only and shall not
     aJlect in any way the meaning or interpretation of this Agreement. The descriptive headings herein are inserted for convenience of reference only
     and are not intended to be a substantive part of or to affect the meaning or inte1pretation of thi s Agreement. Whenever the words " include,"
     " includes" or " including" are used in thi s Agreement, they shall be deemed to be followed by the words " without limitation." The words "hereot:'·
     "hereby," "herein" and "hereunder" and words of sinl.ilar import when used in this Agreement shall refer to this Agreement as a whole and not to
     any particular provi sion of this Agreement. All terms defined in this Agreement shall have the defined meanings when used in any certificate or
     other document made or delivered pw-suant thereto unless otherwise defined therein. The definitions contained in this Agreement are applicable to
     the singular as well as the plural forms of such terms and to the masculine as well as to the feminine and neuter genders of such term . Any
     agreement, instrument or statute defined or refen-ed to herein or in any agreement or instrument that is refen-ed to herein means such agreement,
     instrument or statute as from tin1e to time amended, modified or supplemented, including (in the case of agreements or instruments) by waiver or
     con sent and (in the case of statutes) by succession of comparable successor statutes, including all attaclunents thereto and instruments
     inco1porated therein. References to a Person are also to its permitted successors and assigns. References to a date or tin1e shall be deemed to be
     such date or time in New York City, unless otherwise specified. References to dollar amoun ts are to U.S. dollars, unless othe1wise specified. Each
     of th" pait1"s has pait1c1patt:d 10 tht; drnflmg and nt;gotiahon of this Agrt:t;mt;nt. U' an ainb1gu1ty or qut;shon of wlt;nt or mt<:rprdahon ans.:s, this
     Agreement must be construed as if it is drafted by all the parties and no presumption or burden of proof shall ari se favoring or di sfavoring any
     party by virtue of authorship of any of the provisions of this Agreement. Except as otherwise expressly provided elsewhere in this Agreement, the
     Merger Agreement, or any An cillary Agreement, any provi sion herein which contemplates the agreement, approval or con sent of, or exercise of
     any right of, a Patty, such Party may give or withhold such agreement, approval or consent, or exercise such right, in its sole and absolute
     discretion, the Patties hereto hereby expressly disclain1 any implied duty of good faith and fair dealing or sinl.ilar concept.

                 Section 7.11 Severability. If any provision of this Agreement or any Ancillary Agreement, or the application of any provision to any
     Person or circumstance, shall be declared judicially to be invalid, unenforceable or void, such decision shall not have the effect of invalidating or
     voiding the remainder of thi s Agreement or such Ancillary Agreement, it being the intent and agreement of the pa1ties hereto that this Agreement
     and any Ancillary Agreement shall be deemed amended by modifying such provision to the extent necessary to render it valid, legal and
     enforceable while preserving its intent or, if such modification is not possible, by substituting therefor another provision that is legal and
     enforceable and that achieves the same objective.

                  Section 7.12 Countema11s. This Agreement may be executed in multiple counte1pruts (any one of which need not contain the
     signatures of more than one Paity), each of which will be deemed to be an original but all of which taken together will constitute one and the same
     agreement. This Agreement, and any amendments hereto, to the extent signed and deli vered by means of a facsinl.ile machine or other electronic
     transmi ssion, will be treated in all manner and respects as an original agreement and will be con sidered to have the same binding legal effects as

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     if it were the original signed version thereof delivered in person. At the request of a Party, the other Party will re-execute original fonns thereof and
     deliver them to the requesting Pa11y. No Paity will raise the use of a facsimile machine or other electronic means to deliver a signature or the fact
     that any signature was transmitted or communicated through the use of facsimile machine or other electronic means as a defense to the formation
     of a Contract and each such Party forever waives any such defense.

                 Section 7.13 Survival of Covenants. Except as expressly set forth in any Ancillary Agreement, the covenants, representations and
     warranties contained in this Agreement and each Ancillai·y Agreement, and liability for the breach of any obligations contained herein, will survive
     each of tbe Spinco Reorganization, tbe Recapitalization and tbe Distribution and will remain in full force and effect.

                 Section 7.14 Juri sdiction; Consent to Jurisdiction .

                   (a) Exclusive Jurisdiction. Except as otherwise expressly provided in any Ancillary Agreement, each of the Pmies irrevocably agrees
     that any claim, dispute or controversy (of any and every kind or type, whether based on Contract, to1t , statute, regulation or otherwise, and
     wbetber based on state, federal , foreign or any otber law), ari sing out of, relating to or in connection witb tbis Agreement, tbe Ancillary
     Agreements, the documents referred to in this Agreement, or any of the transactions contemplated thereby, and including disputes relating to the
     existence, validity, breach or termination oftbis Agreement (any such claim being a "Covered Claim") will be brought and determined in any federal
     or state cowt located in the State of Delawai·e, and each of the Paities hereto hereby i1r evocably submits and consents in respect of Covered
     Claims for itself and in respect to its prope1ty, generally and unconditionally, to the exclusive jurisdiction of the aforesaid cou1ts and agrees that it
     may be served with such legal process at the address and in the manner set forth in Section 7.4. Each of the Pmies hereto hereby irrevocably
     waives, and agrees not to asse1t, by way of motion, as a defen se, counterclaim or otherwise, in any Action in respect of Covered Claims (a) any
     claim that it is not personally subject to the jur isdiction of the above-named courts for any reason other than the failure to lawfully serve process,
     (b) that it or its prope1ty is exempt or inunune from jurisdiction of any sucb couit or from any legal process conunenced in such courts (whether
     through service of notice, attachment prior to judgment, attachment in aid of execution ofjudgment, execution ofjudgment or otherwise) and (c) to
     the fullest extent pe1mitted by applicable Laws, that (i) the Action in any such cow1 is brought in an inconvenient forum, (ii) the venue of such
     Action is improper and (iii) thi s Agreement, or the subject matter bereof, may not be enforced in or by sucb courts.

              (b) Waiver of Jury Trial. EACH PAR1Y ACKNOWLEDGES AND AGREES THAT ANY CONTROVERSY WHICH MAY ARISE
     UNDER THIS AGREEMENT OR THE ANCILLARY AGREEMENTS JS LIKELY TO INVOLVE COMPLICATED AND DIFFICULT ISSUES, AND
     THEREFORE EACH SUCH PARTY HE REBY UlREVOCABLY AND UNCONDITIONALLY WAIVES ANY RIGHT SUCH PARTY MAY HAVE TO
     A TRIAL BY JURY IN RESPECT OF ANY LITIGATION DIRECfLY OR INDIRECTLY ARISING OUT OF OR RELATING TO THIS AGREEMENT,
     THE ANCILLARY AGREEMENTS OR THE TRAN SACTIONS CONTEMPLATED BY THIS AGREEMENT AND THE ANCILLAllY
     AGREEMENTS. EACH PARTY CERTIFIES AND

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     ACKNOWLEDGES THAT (i) NO REPRESENTATIVE, AGENT OR AlTORNEY OF ANY OTHER PARTY HAS REPRESENTED, EXPRESSLY OR
     OTHERWISE, THAT SUCH OTHER PARTY WOULD NOT, IN THE EVENT OF ANY LITIGATION, SEEK TO ENFORCE THE FOREGOING
     WAIVER,(ii) EACH PARTY UNDERSTANDS AND HASCONSIDEREDTHEIMPLICATIONSOFTHIS WAIVER,(iii) EACH PARTY MAKES
     THIS WAIV ER VOLUNTAIULY, AND (iv) EACH PARTY HAS BEEN INDUCED TO ENTER INTO THIS AGREEMENT, BY, AMONG OTHER
     THINGS, THE MUTUAL WAIVERS AND CERTIFICATIONS IN THIS SEcnON 7. I41b).

                  Section 7.15 Specific Pe1fonnance. ln the event of any actual or threatened default in, or breach of, any of the terms, conditions and
     provisions of this Agreement or any other Ancillary Agreement, the Party who is, or is to be, thereby aggrieved will have the right to specific
     perfonnance and injunctive or other equitable relief in respect of its rights under this Agreement or such Ancillary Agreement, in addition to any
     and all other rights and remedies at law or in equity, subject to Section 5.7. The Pa1ties agree that the remedies at law for any breach or threatened
     breach, including monetary damages, are inadequate compensation for any loss and that any defense in any Action for specific performance that a
     remedy at law would be adequate is waived. Any requirements for the securing or posting of any bond with such remedy are waived by each of
     the Pruties to this Agreement.

                  Section 7. 16 Limitations of Liabilitv. Notwithstanding anything in this Agreement to the contrary, neither Spinco or its Affiliates, on
     the one hand, nor Burgundy or its Affiliates, on the other hand, will be liable under this Agreement to the other for any punitive, exemplruy, special
     or similar damages in excess of compensato1y damages, except to the extent awarded by a court of competent ju1isdiction in connection with a
     Third-Pruty Claim.

                                                                  [Signalure Page Follows}

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     JN WITN ESS WH EREOF, each of the Pa1ties has caused this Separation Agreement to be executed on its behalf by its officers hereunto duly
     authorized effective on the day and year first above written.

                                                                                                                             PPG INDUSTRJ£S, INC.

                                                                                          By: ~~~~~~~~~~~~'-~-C
                                                                                                              ~ha_1_1·e_s_E_._B_un
                                                                                                                                ~c_h
                                                                                                                             Name: Charles E. Bunch
                                                                                                          Title: Chainnan and Chief Executive Officer

                                                                                                                                EAGLE SPlNCO INC.

                                                                                          By:~~~~~~~~~~~~'-~-C
                                                                                                             ~ha_1_
                                                                                                                  ·1e_s_E_._B_un~c-h
                                                                                                                            Name: Charles E. Bunch
                                                                                                            Title: Chairman of the Board of Directoi-s

                                                        (Signature Page to Separation Agreement]




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                          EXHIBIT HH




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       Transcript of Jeffrey Davies
                                Date: August 19, 2020
 Case: Bellon, et al. -v- The PPG Employee Life and Other Benefits Plan, et al.




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                           Video Deposition
                                      2231 of Jeffrey Davies
                                                              Conducted on August 19, 2020                                      1 (1 to 4)


                                                                       1                                                                     3
  1              IN THE UNITED STATES DISTRICT COURT                        1                       A P P E A R A N C E S
  2         FOR THE NORTHERN DISTRICT OF WEST VIRGINIA                      2
  3    ------------------------------------x                                3    ON BEHALF OF PLAINTIFFS:
  4    CHARLES W. BELLON, ROBERT E. EAKIN, :       Case No.                 4         JAMES T. CARNEY, ESQUIRE
  5    JUDY GAY BURKE, LOUISE NICHOLS,         :   5:18-cv-00114            5         845 Northridge Drive
  6    WILTON G. WALLACE, BERNADOT F.          :                            6         Pittsburgh, Pennsylvania 15216
  7    VEILLON, BARBARA BROWN, and ROBERT      :                            7         (412) 561-0533
  8    E. WILLIAMS, on behalf of themselves:                                8                  - and -
  9    and others similarly situated,          :                            9         MICHAEL A. ADAMS, ESQUIRE, R.Ph
  10             Plaintiffs,                   :                            10        LEWIS BRISBOIS BISGAARD & SMITH, LLP
  11      -v-                                  :                            11        3054 Pennsylvania Avenue
  12 THE PPG EMPLOYEE LIFE AND OTHER           :                            12        Weirton, West Virginia 26062
  13 BENEFITS PLAN, PPG INDUSTRIES, INC.,:                                  13        (304) 491-4728
  14 and THE PPG PLAN ADMINISTRATOR,           :                            14
  15             Defendants.                   :                            15
  16 ------------------------------------x                                  16 ON BEHALF OF DEFENDANTS:
  17                                                                        17        JOSEPH J. TORRES, ESQUIRE
  18            Videotape Deposition of JEFFREY DAVIES                      18        JENNER & BLOCK
  19                      CONDUCTED REMOTELY                                19        353 N Clark Street
  20                  Wednesday, August 19, 2020                            20        Chicago, Illinois 60654-3456
  21                           9:11 a.m. EST                                21        (312) 222-9358
  22 Job No.: 316211                                                        22               - and -
  23 Pages: 1 - 108                                                         23        BILL ADAMS, ESQUIRE (PPG)
  24 Reported by: Keith G. Shreckengast, RPR                                24


                                                                       2                                                                     4
  1                 Videotape Deposition of JEFFREY DAVIES,                 1    A P P E A R A N C E S      C O N T I N U E D
  2    held at the offices of:                                              2
  3                                                                         3     ON BEHALF OF DEFENDANTS:
  4                                                                         4          LINDSAY GAINER, ESQUIRE
  5                 ALL PARTIES ATTENDED REMOTELY                           5          LITTLER MENDELSON, P.C.
  6                                                                         6          707 Virginia Street East
  7                                                                         7          Suite 1010
  8                                                                         8          Charleston, West Virginia 25301
  9    Pursuant to Notice, before Keith G. Shreckengast,                    9          (304) 599-4600
  10 Registered Professional Reporter and Notary Public                     10
  11 in and for the Commonwealth of Pennsylvania.                           11
  12                                                                        12 ALSO PRESENT:
  13                                                                        13         Ryan Grzelak (AV Technician)
  14                                                                        14         Justin Murray (Videographer)
  15                                                                        15
  16                                                                        16
  17                                                                        17
  18                                                                        18
  19                                                                        19
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                                      2232 of Jeffrey Davies
                                         Conducted on August 19, 2020                                6 (21 to 24)



                                                    21                                                          23
  1     Q Well, was PPG selling twice as much as            1 merger?
  2 Georgia Gulf and Commodity Chemicals, or vice-versa?    2      A Synergies are a part of the economic
  3     A I mean again, I think PPG was bigger. I           3 benefits of scale creation.
  4 don't know if it was twice as big. And the word         4      Q And by synergies, how would you define
  5 Commodity Chemicals is a pretty broad statement.        5 synergies?
  6     Q Well, the Commodity Chemicals business            6          MR. TORRES: In relation to what?
  7 was what PPG sold to Georgia Gulf, let's define it      7          MR. CARNEY: In relation to the benefits
  8 that way.                                               8 of a merger?
  9     A Yeah. So again, I think we were bigger            9          MR. TORRES: This merger, or any merger?
  10 than them. But the word Commodity Chemicals, in our    10         MR. CARNEY: This merger.
  11 case, meant a certain group of products, and I think   11     A Yeah, again, I don't recall. I think
  12 Georgia Gulf was in perhaps some overlaps, but also    12 there's some materials that were put forward that
  13 in different products.                                 13 talked about two different categories. Selling more
  14 Q Why did Georgia Gulf want to acquire PPG             14 products to more customers, eliminating some
  15 Commodity Chemicals business?                          15 duplicate costs, things of that nature.
  16        MR. TORRES: Object to the form of the           16     Q Isn't the main benefits of mergers in
  17 question, to the extent it calls for speculation.      17 general, synergies which allow elimination of
  18 But go ahead and answer if you can, Jeff.              18 duplicate functions?
  19 A I guess they thought it made sense for               19         MR. TORRES: Object to the form of the
  20 their shareholders?                                    20 question. It calls for speculation, and it's vague,
  21 Q Did Georgia Gulf representatives ever                21 to the extent you want to ask him to speculate about
  22 tell you why they wanted to acquire PPG Commodity      22 mergers generally. Go ahead and answer if you can.
  23 Chemicals business?                                    23     A Yeah, would I say no, or -- I don't know.
  24 A I'm sorry, I couldn't hear what you said.            24 Mergers are all different.
                                                    22                                                          24
  1      Q Did the Georgia Gulf negotiators ever            1      Q But you've been working in the area of
  2 tell you why they wanted to acquire PPG Chemicals       2 mergers and acquisitions for a number of years,
  3 business?                                               3 haven't you?
  4      A I don't recall specific discussions about        4      A I have, yes.
  5 why. I imagine they said they viewed it as an           5      Q How many years?
  6 attractive fit for their company.                       6      A A long time. 2006, and some time before
  7      Q Did Georgia Gulf merge its operations            7 that, so 20 years.
  8 with the PPG Commodity Chemicals operations?            8      Q And you don't know whether synergies are
  9      A Who merged what into whom is a technical         9 one of the major benefits of mergers?
  10 question. So putting aside who merged what into        10     A No, I'm not sure that's what you asked
  11 whom, I would say the businesses were combined,        11 me.
  12 certainly.                                             12         MR. TORRES: It's been asked and
  13     Q Now what was the economic benefits of            13 answered.   It's also argumentative. Go ahead and
  14 such a merger to the extent they were combined?        14 answer if you can, Jeff.
  15        MR. TORRES: Object to the form of the           15         THE WITNESS: I just -- I don't think --
  16 question as vague. Go ahead and answer if you can,     16 I'm not sure that's what he asked me, so --
  17 Jeff.                                                  17     Q What about in terms of the PPG Commodity
  18     A The economic benefits, again I think it          18 Chemicals and Georgia Gulf merger?
  19 pursued an economic -- yeah, I'm trying to remember    19         MR. TORRES: Well, he's already answered
  20 what the -- I would say the economic benefits were     20 that question, so you're asking the same question
  21 that they put the companies together, and they could   21 again. But go ahead and answer it again, Jeff.
  22 grow faster, and they could achieve some benefits of   22     A Well, again the view of the benefits of
  23 scale.                                                 23 the merger were articulated by both parties. And I
  24     Q What was the role of synergies in the            24 think it's in the documents that you've seen. So I
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                                      2233 of Jeffrey Davies
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                                                     25                                                         27
  1 won't try to remember exactly what they all say.        1           MR. TORRES: Don't guess, Jeff. Just
  2 But creating a bigger, stronger company, and selling    2 testify as to what you recall.
  3 more, and eliminating some duplicate costs.             3      Q Does this document indicate that both PPG
  4      Q What was the advantage of the merger to          4  and  Georgia Gulf were interested in the synergies
  5 PPG?                                                    5 from the merger?
  6      A It helped us progress on our strategic           6           MR. TORRES: Hold on, Jeff. I'm going to
  7  transformation.     We were able to get a good value   7  object  to the form of the question as assuming
  8 for the business.                                       8 facts. Go ahead and answer if you can.
  9      Q Would you have gotten the same benefits          9      A It looks like a document that's outlining
  10 just by selling the Commodity Chemicals business?      10 potential areas of synergies.
  11         MR. TORRES: Object to the form of the          11          MR. CARNEY: Excuse me, would the court
  12 question. Go ahead and answer if you can.              12 reporter read back his answer.
  13     A I don't know.                                    13          (The record was read back by the
  14     Q Did PPG consider selling the business?           14 Reporter.)
  15     A We did.                                          15     Q Now would you look at a document which
  16     Q Did you ever -- well, without having the         16 would be part of Exhibit 2, 9173.
  17 merger,  excuse me. Would PPG consider selling the     17          MR. CARNEY: I'll ask the videographer to
  18 business without a merger being involved?              18 pull that up.
  19     A Did we, you said?                                19          (Exhibit 2(part 2) was marked for
  20     Q Could PPG consider selling the business          20 identification.)
  21 to someone who would not merge the business?           21     Q Again, Mr. Davies, could you have the
  22     A Yeah, we looked at that as an                    22 videographer scroll through this document for you.
  23 alternative.                                           23     A Okay. Yes. Okay. Okay. Okay. Okay.
  24     Q And were the advantages to PPG doing that        24 All right. Okay. Are you waiting for me?
                                                     26                                                         28
  1 the same as selling it to a company which would         1      Q Have you seen this document before,
  2 merge the business?                                     2 Mr. Davies?
  3     A Well, I would say at the time we didn't           3      A I don't recall.
  4 think so, which is why we chose to do the               4      Q And you don't know who prepared it, then?
  5 transaction we did.                                     5      A I can speculate, but I don't recall.
  6           MR. CARNEY: Now, Mr. Videographer, could      6      Q Would it be the type of document that
  7 you pull up Exhibit 2. And that should be PPG           7 your group would have prepared?
  8 917091.                                                 8           MR. TORRES: Object to the form of the
  9           (There was a discussion off the record.)      9 question as vague. Go ahead and answer if you can,
  10          MR. CARNEY: 9170.                             10 Jeff.
  11          (Exhibit 2 was marked for                     11     A Yeah, I mean it could have been prepared
  12 identification.)                                       12 by my group, or could have been prepared by other
  13    Q Now, again, Mr. Davies, I'll ask you to           13 groups. I don't remember who put this document
  14 scroll through this document.                          14 together.
  15    A Okay, next page. Okay. Next page.                 15     Q Do you remember seeing it at the time of
  16 Okay. Okay. Okay. Okay. Okay. Okay.                    16 the negotiation?
  17    Q Now, Mr. Davies, have you seen this               17     A No.
  18 exhibit before?                                        18     Q Was it one of PPG's main tactics in
  19    A I do not specifically recall seeing this          19 negotiation to try to convince Georgia Gulf that
  20 before.                                                20 there would be great synergies in the merger, and
  21    Q Would this have been something created by         21 that, ergo, Georgia Gulf could pay more for the
  22 your group?                                            22 Commodity Chemicals operation?
  23    A Well, again, I don't know what the                23          MR. TORRES: Objection to the form of the
  24 document is, so I'm not -- it could have been.         24 question as argumentative. Go ahead and answer if
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                                                       53                                                         55
  1 OPEB liability for current PPG retirees?                   1 was communicated to me, no.
  2      A Well, it's -- I'd have to go back and               2          MR. CARNEY: Court reporter, could you
  3 look again and see what it says. So maybe scroll           3 read back the answer.
  4 down, please. I mean if you think it says that,            4          (The record was read back by the
  5 then you can point me to where it says that.               5 Reporter.)
  6      Q I suggest it doesn't include that, but              6      Q How did you learn that this offer was not
  7  you   have to verify it by reading it.                    7  acceptable?
  8      A Okay. Okay. So what was your question               8      A Well, I don't remember -- again, we
  9 again?                                                     9 decided it was not acceptable. Ultimately that
  10     Q Did the offer include assumption of OPEB            10 decision rested on the CEO. And we -- there was a
  11 liabilities for current retirees?                         11 letter sent back to Georgia Gulf, I believe.
  12     A The letter says that they would assume              12     Q Excuse me, go on.
  13 pension and post retirement OPEB for active               13     A I can't remember what you asked
  14 employees. It does not mention anything about             14 specifically again, but --
  15 retirees.                                                 15     Q How did you find out that the CEO
  16     Q Okay. Now do you know if the PPG Board              16 determined it was unacceptable?
  17 of Directors    had meetings to consider this proposal?   17     A I don't remember.
  18     A What was the date of this proposal?                 18     Q Now did you attend any further
  19     Q The proposal date, February 10th.                   19 discussions between PPG and Georgia Gulf after this
  20     A Well, I would say we have -- we typically           20 offer was rejected?
  21 have a Board meeting in February, after the 10th. I       21         MR. TORRES: Object to the form of the
  22 would not characterize it as a meeting to consider        22 question as vague, compound as phrased. Go ahead
  23 this proposal. I would characterize it as a normal        23 and answer if you can, Jeff.
  24 Board meeting where we discuss -- we likely updated       24     A Yeah, again, we had a meeting. I recall
                                                       54                                                         56
  1 them on this proposal.                                     1 at least one meeting in Pittsburgh. And I don't
  2      Q Did you attend such meeting?                        2 recall whether it was before or after this document.
  3      A I don't remember if I was there or not.             3      Q Do you remember what was said in that
  4      Q Do you remember anyone, a discussion,               4 meeting?
  5 whether this proposal -- do you remember anyone            5      A No.
  6 discussing with you whether this proposal was              6      Q Do you remember participating in any
  7 adequate or inadequate?                                    7 negotiating meetings other than the one in
  8          MR. TORRES: Object to the form of the             8 Pittsburgh you just described?
  9 question as vague. Go ahead and answer if you can.         9            MR. TORRES: Objection, it's been asked
  10     A Well, I recall that we didn't accept this           10 and answered. Go ahead and answer it again.
  11 offer, and we therefore didn't view it as                 11     A Yeah, again, I don't remember how many
  12 acceptable.                                               12 meetings we had. I remember a meeting.
  13     Q And who told you that?                              13     Q Do you remember discussion at any point
  14         MR. TORRES: Object to the form of the             14 that this offer did not involve assumption of OPEB
  15 question. Go ahead and answer.                            15 liability for retirees?
  16     A I mean no one told me that. It was a                16     A I don't remember specific discussions.
  17 decision that ultimately was made by Mr. Bunch.           17 But I remember that that was one of the elements
  18     Q And who informed you of Mr. Bunch's                 18 that we thought that would be acceptable to us,
  19 decision?                                                 19 ultimately, that if they would pay more money and
  20     A I don't remember. I may have been in the            20 accept more of the liability relating to the
  21 room when it was discussed, or I may have been told.      21 business. I don't recall specific discussions or
  22     Q Do you remember being told in what way              22 dates, but I recall that that was generally our
  23 the proposal was inadequate or unsatisfactory?            23 frame of mind.
  24     A I don't remember specifically that that             24     Q Who was responsible, or who came up with
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                                      2235 of Jeffrey Davies
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                                                       57                                                             59
  1 the idea that they should assume responsibility for     1      A You said did we. Well, we did clearly in
  2 the OPEB liability for retirees, current retirees?      2 this transaction. Are you asking about -- What are
  3      A Again, I don't know whose specific idea          3 you asking me?
  4  that  was.                                             4      Q I'm asking you any other sales other than
  5      Q And do you know when that idea -- you            5 this one, did PPG transfer retirees and OPEB
  6 first heard about that idea?                            6 liabilities relating to retirees?
  7      A I don't remember.                                7      A Yes, I believe we did.
  8      Q What was the basis for PPG wanting to get        8      Q What one?
  9 Georgia Gulf to assume these liabilities?               9      A I believe we did in fiberglass.
  10           MR. TORRES: Objection, I think it's          10     Q Fiberglass. Any other ones?
  11 asked and answered. But go ahead and answer it         11     A I believe we did in flat glass.
  12 again, Jeff.                                           12     Q Flat grass. Flat glass, right?
  13     A Well, I'd say the theory is that if we're        13     A Flat glass, yes.
  14 selling the business that's generating the cash        14     Q Any others?
  15 flow, then we should get rid of all the liabilities    15     A Optical, I don't remember. Automotive
  16 relating to the business.                              16 glass, I don't believe we did. The one in Mexico, I
  17     Q So are you saying that since Commodity           17 don't know that it's -- I don't know that there even
  18 Chemicals would no longer be generating cash flow to   18 are retirees in that business, so I don't know the
  19 finance benefits for these retirees, you didn't want   19 answer there. Is that all six? I don't --
  20 to still have the liabilities?                         20     Q Do you remember if any -- in any of the
  21           MR. TORRES: Object to the form of the        21 sales where PPG did not transfer such liability, if
  22 question. It's also asked and answered. But go         22 PPG proposed such transfer?
  23 ahead and answer again if you can, Jeff.               23     A I don't recall if we proposed to transfer
  24     A Well, I didn't say that Commodity                24 them in the automotive deal or not.
                                                       58                                                             60
  1 business was not going to be generating cash flow.      1      Q Okay. Now were there any other reasons
  2 I said if we're disposing of the business that's        2 besides the ones you just mentioned, for
  3 generating the cash flow, that our general thesis is    3 transferring a retiree with the business from which
  4 that we should pass on all the other assets and         4 they came?
  5 liabilities relating to the business.                   5           MR. TORRES: Which prior testimony are
  6      Q Okay. How many divestitures of                   6 you referring to? Your question is vague.
  7 businesses have you been involved with while you        7      Q Retirees from the business -- I'll
  8 worked for PPG?                                         8 rephrase it. Do you remember if any other reason,
  9      A Several.                                         9 besides what was testified to, for PPG wanting to
  10     Q Can you be more definitive than several?         10 transfer retirees from the business when they sold
  11     A Yeah, (inaudible) chemicals, flat glass,         11 the business?
  12 fiberglass, auto glass, optical. Drywall business      12          MR. TORRES: Same objection. Go ahead
  13 in Mexico. That's six. Is that enough?                 13 and  answer   if you can, Jeff.
  14     Q If those are all you remember, that's            14     A I mean it goes back to my point, is that
  15 fine.                                                  15 if we're selling a business, we will look to sell or
  16     A That's all I can think of off the top of         16 include the liabilities with the business we're
  17 my head here.                                          17 selling.
  18     Q Okay. Did PPG transfer OPEB liability            18     Q Did PPG's internal accounting system
  19 for current retirees from these operations to the      19 allocate the liabilities for retirees from a
  20 new buyer?                                             20 business to a particular business?
  21     A Could you be more specific? You said             21          MR. TORRES: The question is vague as to
  22 current retirees. I assume you mean retirees?          22 time. Go ahead and answer if you can.
  23     Q Okay, past retirees, as opposed to               23     A I'm not -- I don't know the answer to
  24 current employees.                                     24 that question.
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                                                        61                                                       63
  1      Q Now did PPG ever propose to Georgia Gulf          1 you can certainly testify to that. But I would
  2 that it guaranteed payment of retiree benefits to        2 caution you not to disclose any legal advice that
  3 the PPG retirees?                                        3 you may be aware of regarding the question that's
  4      A I don't recall.                                   4 being asked.
  5      Q Did Georgia Gulf ever express any                 5      A Yeah, I don't remember that we got a
  6 willingness to guarantee a payment of a retiree          6 legal opinion, but that doesn't mean that we didn't.
  7 benefit to PPG retirees?                                 7      Q Okay. And did anyone raise any question
  8          MR. TORRES: Objection, the question             8 in your presence about the legal right of PPG to
  9 assumes facts. Go ahead and answer if you can.           9 transfer retirees and liabilities?
  10     A Again, I don't recall that they did or            10          MR. TORRES: Asked and answered. Go
  11 didn't.                                                 11 ahead and answer it again.
  12     Q Do you recall any discussion about what           12     A No.
  13 Georgia Gulf would be doing in terms of retiree         13     Q Now did PPG transfer all the liabilities
  14 benefits for PPG retirees?                              14 related to Commodity Chemicals to Georgia Gulf?
  15     A No.                                               15          MR. TORRES: Objection, lack of
  16     Q Did any PPG representatives ever express          16 foundation. Go ahead and answer if you can.
  17 to you  any concern that Georgia Gulf might not be      17     A No. I think we retained some
  18 able to afford to provide retiree benefits to PPG       18 liabilities.
  19 retirees?                                               19     Q Why would you retain liabilities?
  20     A No.                                               20          MR. TORRES: Objection, the question is
  21     Q Did you ever discuss with any PPG                 21 vague, calls for speculation. Go ahead and answer
  22 representative the ability of Georgia Gulf to afford    22 if you can.
  23 to provide such benefits?                               23     A Because they didn't want to take them.
  24     A No, not -- no.                                    24     Q And would you have transferred the OPEB
                                                        62                                                       64
  1      Q Did you have any discussion with any PPG          1 liabilities if George Gulf did not want to take
  2 representative about the Georgia Gulf willingness to     2 them?
  3 provide such benefits?                                   3           MR. TORRES: Object to the form of the
  4      A No.                                               4 question. Go ahead and answer if you can. It's
  5      Q Did you have any discussion with any PPG          5 argumentative.
  6 representative about what would happen to the            6      A Well, I mean the construct of the deal,
  7 retiree benefits when the people were transferred to     7 they agreed to take them, so -- I don't know that
  8 Georgia Gulf?                                            8 they wanted to or not, but they agreed to.
  9      A No.                                               9      Q As a matter of bargaining?
  10     Q Do you know what authority PPG had to             10     A I mean I think the track record of the
  11 transfer the benefits to Georgia -- transfer            11 letter shows that that was a negotiating topic, yes.
  12 retirees to Georgia Gulf?                               12          MR. CARNEY: Now could we call up Exhibit
  13          MR. TORRES: Objection to the extent the        13 5, which   is PPG 01900 to 101905.
  14 question calls for a legal conclusion. Go ahead and     14          (Exhibit 5 was marked for
  15 answer if you can, Jeff.                                15 identification.)
  16     A We transferred the liability, so I'm              16     Q And again, Mr. Davies --
  17 assuming we had the authority to do so.                 17          MR. TORRES: I think he's frozen again.
  18     Q But you don't know, though?                       18          THE VIDEOGRAPHER: We're going off the
  19     A That's not my area of expertise.                  19 record at 10:53 a.m.
  20     Q Did anyone from PPG obtain a legal                20          (There was a recess in the proceedings.)
  21 opinion about its right to transfer the retirees and    21          THE VIDEOGRAPHER: We are back on the
  22 related liabilities?                                    22 record at 11:09 a.m.
  23          MR. TORRES: Object. Before you answer,         23 BY MR. CARNEY:
  24 I mean if you know if they obtained a legal opinion,    24     Q Mr. Davies, are you testifying that you
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                                                       89                                                        91
  1      A I don't remember any commitments being           1      Q Excuse me, Mr. Davies, I interrupted you.
  2 made. The transaction documents say what the            2 Go on.
  3 transaction documents say.                              3      A No problem. As I said, I don't remember
  4      Q And do you remember any commitment to            4  whether   I discussed anything with them or not.
  5 representation to PPG about Georgia Gulf's ability      5      Q How did you normally communicate with
  6 to provide such benefits?                               6 them?
  7           MR. TORRES: Asked and answered. Go            7      A I would have communicated with them by
  8 ahead and answer again, Jeff.                           8 in-person discussion, telephone call, or email.
  9      A Again, I don't remember Georgia Gulf             9          MR. CARNEY: We have maybe a little bit
  10 making any commitments.                                10 less than an hour to go. Why don't we take another
  11     Q And did Axiall ever notify you, in 2012          11 ten minute break. I assume, Mr. Torres, we don't
  12 or thereafter, about its intent to reduce, terminate   12 want to break for lunch at this point?
  13 retiree benefits for current retirees?                 13         MR. TORRES: It's up to Mr. Davies and
  14          MR. TORRES: Asked and answered. Go            14 what he wants to do.
  15 ahead and answer it again, Jeff.                       15         THE WITNESS: If Mr. Carney says he
  16     A I don't recall that I've ever talked to          16 thinks we have another hour to go, then I don't
  17 Axiall  after 2012, so no.                             17 think we need to break for lunch.
  18     Q And did you ever learn that Axiall had           18         MR. CARNEY: Now, Mr. Davies, just so
  19 eliminated retiree life insurance benefits for PPG     19 you're aware, after I'm done with your deposition --
  20 retirees?                                              20         MR. TORRES: He understands what's going
  21          MR. TORRES: Asked and answered. Go            21 on. You don't need to explain it to him.
  22 ahead and answer again, Jeff.                          22         MR. CARNEY: Okay, I'm just trying to be
  23     A I only learned of that, this issue came          23 cooperative, in terms of making sure he recognizes
  24 to my attention in the past several months.            24 that we're -- when I'm done, Ms. Davidson will be
                                                       90                                                        92
  1      Q Now did you communicate with --                  1 doing a further deposition.
  2          MR. CARNEY: Mr. Videographer, you can          2          THE WITNESS: Well, perhaps we'll break
  3  take down   this exhibit.                              3  for lunch  before that one. We'll see.
  4      Q Did you communicate with Karen Rathburn          4          MR. CARNEY: Okay.
  5 or Craig Jordan in doing the negotiations?              5          MR. TORRES: Off the record.
  6      A I imagine I did, but I don't recall              6          THE VIDEOGRAPHER: We are off the record
  7 specifically.                                           7 at 12 p.m.
  8      Q You have no recollection of specific             8          (There was a recess in the proceedings.)
  9 communication.                                          9          THE VIDEOGRAPHER: We are back on the
  10     A Correct.                                         10 record at 12:05 p.m.
  11         MR. TORRES: Asked and answered.                11 BY MR. CARNEY:
  12     Q Do you remember any -- what the subject          12     Q Mr. Davies, did you or PPG ever suggest
  13 of those communications would have been?               13 to Axiall or to Gulf that synergies could be
  14         MR. TORRES: If you want to ask him about       14 achieved by reducing or eliminating PPG benefits?
  15 the subject of the communications he doesn't           15         MR. TORRES: Asked and answered. Go
  16 remember, that's your question?                        16 ahead and answer it again, Jeff.
  17         MR. CARNEY: Yes, I'm asking him that.          17     A No.
  18         MR. TORRES: Go ahead and give that one a       18     Q Now I want to ask next of the
  19 shot, Jeff.                                            19 negotiations between PPG and Georgia Gulf involving
  20     A No, I don't remember what the                    20 the amount of tax consideration to be paid to PPG.
  21 discussions --                                         21 Right?
  22     Q How did you communicate with them?               22     A Yes.
  23         MR. TORRES: Why don't you let him finish       23     Q Okay. Wasn't the amount initially
  24 his answer before you go on to the next one.           24 offered by Georgia Gulf $500 million?
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                                                     93                                                              95
  1     A Again, I can go look at the letter, but          1 of the section dealing with OPEB benefits.
  2 if that's what the letter says, then that was what     2       A Okay, keep going.
  3 it was.                                                3       Q Do you see the words in italics, Georgia
  4     Q And was this ultimately increased to             4  Gulf  will assume certain material, and read that
  5 900 million?                                           5 section to yourself.
  6     A Again, I think that was the final number.        6       A Can you scroll up a little bit, please.
  7  But if the record shows that it was, then yes.        7  Whoop!      What happened? We lost -- I lost the
  8     Q Now didn't Georgia Gulf have to borrow to        8 graphic.
  9 finance this payment?                                  9       Q I did, too.
  10         MR. TORRES: Objection, lack of                10      A There it is. Could you go back to the
  11 foundation. Go ahead and answer if you can.           11 top of this paragraph that Mr. Carney was -- you can
  12    A I don't recall specifically. But                 12 go down from here. Down some more, please. And
  13 potentially they may have had to borrow, yes.         13 some more. Little more. Okay, if you scroll down a
  14    Q And if they borrowed 900 million,                14 little bit more, please. Okay, scroll down some
  15 wouldn't they be heavily leveraged?                   15 more, please. Okay, I've read the paragraph.
  16         MR. TORRES: Objection, calls for              16      Q Mr. Davies, was this section dealing with
  17 speculation. Go ahead and answer if you can.          17 OPEB    liabilities one of the sections that you
  18    A Well, I recall -- the answer is, I don't         18 reviewed in this document?
  19 know. But I do recall yesterday looking at a          19      A I don't recall whether I reviewed this
  20 document, and that their credit statistics were       20 section.
  21 actually better after they combined with our          21      Q Does this section state that while the
  22 business.                                             22 possibilities may occur, that Axiall will not be
  23    Q Now was PPG's expectation that Georgia           23 able to fund the PPG retiree benefits?
  24 Gulf or Axiall would be successful financially?       24      A I think that's the gist of what it says,
                                                     94                                                              96
  1          MR. TORRES: Object to the form of the         1 is that -- I believe this is a risk factor section,
  2 question. Go ahead and answer if you can, Jeff.        2 and it's communicating the risk that that could
  3      A What was the question?                          3 happen, yes.
  4      Q Did PPG expect that the new company,            4      Q Do you have any reason to disagree with
  5 Axiall, would be financially successful?               5 the statements made in this section?
  6      A I think we thought that they were -- they       6      A It was the risk that was identified.
  7 had stronger credit metrics after they made the deal   7      Q Yeah, but do you have any reason to
  8 than they did before. And that they were in good       8 disagree with the statements made here?
  9 shape.                                                 9      A I have no reason to disagree.
  10     Q Did PPG expect Axiall would be able to          10     Q Now did -- were you aware at the time of
  11 afford the retiree benefits?                          11 negotiations that Georgia Gulf did not provide
  12         MR. TORRES: Objection, it's been asked        12 retiree life and retiree medical for its employees,
  13 and answered.    Go ahead and answer it again.        13 and retirees?
  14     A Again, we thought that they were well           14     A I don't recall being aware of that, no.
  15 positioned as a new entity financial.                 15     Q Did anybody from Georgia Gulf ever tell
  16         MR. CARNEY: Mr. Videographer, could you       16 you, or tell somebody in your presence, that it
  17 bring up Exhibit 9.                                   17 would have to harmonize the benefits which PPG
  18     Q And, Mr. Davies, you recognize Exhibit 9        18 people were receiving with the benefits that Georgia
  19 from before?                                          19 Gulf people were receiving?
  20     A Yes.                                            20     A I don't believe anyone said that in my
  21     Q Okay. When we look at pages 102254 to           21 presence, no, or told me that.
  22 102255. Maybe we can scroll up to the top of page     22     Q Did you see any letter from Georgia Gulf
  23 254. Maybe you have to go to 253. We can read down    23 saying  that, or any other document saying that?
  24 through these pages till 22 -- we hit 2255, the end   24     A Not that I recall, no.
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                                                       101                                                        103
  1 Okay. Can you read the question back, please.            1 seen this document before, and nor am I a benefits
  2       Q I think you need to go to the top of the         2 expert.
  3 first page.                                              3      Q Now do you see justification for these
  4           (The record was read back by the               4  changes?
  5 Reporter.)                                               5           MR. TORRES: Same objection. It doesn't
  6           MR. TORRES: Object to the form, to this        6 relate to the issue in this litigation. But go
  7  question,   to the extent it relates to populations     7 ahead and answer if you can, Jeff.
  8 that are not at issue in this litigation. Subject        8      A Just -- I don't see the justification. I
  9 to that objection, go ahead and answer if you can,       9 don't know what you're referring to.
  10 Jeff.                                                   10     Q If you look at the paragraph that starts
  11      A Yeah, I see that it says that there --           11 off: As a necessary cost-saving measure to allow
  12 again, scroll down, please. I see the sentence that     12 Axiall to continue providing the subsidy and
  13 it says that they are -- retiree life insurance         13 OneExchange service, retiree life insurance benefits
  14 benefits will end effective December 31st. I see        14 will end effective December 31, 2015.
  15 that, yes.                                              15     A Yes, I see that paragraph.
  16      Q And do you see that there are replacing          16     Q Is that the -- did you anticipate when
  17 medical   insurance, retiree medical insurance, with    17 PPG   sold the Commodity Chemical operation to Axiall,
  18 $100 per month per eligible retiree, dependent,         18 that Axiall would not be able to afford to provide
  19 spouse?                                                 19 retiree life insurance?
  20          MR. TORRES: Objection to the form of the       20          MR. TORRES: Objection, that's been asked
  21 question. Also to the extent it relates to              21 and answered. Go ahead and answer it again, Jeff.
  22 populations and issues not relevant to this             22     A No.
  23 litigation. Go ahead and answer, Jeff, if you can.      23     Q Did you anticipate that they would
  24      A Well, you used words that they're                24 terminate retiree life insurance at any point?
                                                       102                                                        104
  1 replacing. I don't see it says that. To me it says       1           MR. TORRES: Same objection. It's been
  2 they're continuing current retiree health benefits,      2 asked and answered. Go ahead and answer it again.
  3 and then they list a subsidy of $100 a month and         3      A No.
  4 some other things. I don't know if that's                4           MR. CARNEY: We'll take a few minutes and
  5 replacing, or enhancing, or whatever they're doing.      5 I'll see about if there's anything more I need to
  6      Q Well, look at the sentence down,                  6 ask. And we'll see about getting ready for the next
  7 Assistance in finding healthcare on the individual       7 deposition.
  8 market.                                                  8           MR. TORRES: Let's just go off the
  9          MR. TORRES: Objection. This lawsuit is          9 record. Okay?
  10 not about retiree medical insurance. And it's not       10          THE VIDEOGRAPHER: We are now off the
  11 even entirely clear that this document relates to       11 record at 12:28 p.m.
  12 the salary population at issue in this litigation.      12          (There was a recess in the proceedings.)
  13 But if you want to waste a man's time in asking him     13          THE VIDEOGRAPHER: We are back on the
  14 what this document says, go ahead and answer if you     14 record at 12:33 p.m.
  15 can, Jeff.                                              15 BY MR. CARNEY:
  16     A Yes, I see the bullet that says:                  16     Q In any of the negotiating meetings that
  17 Assistance in finding healthcare on the individual      17 you attended, were there representatives of PPG's
  18 market.                                                 18 law department present?
  19     Q Which means that they are not being               19     A Yes, I believe one would have been
  20 offered group healthcare?                               20 present.
  21         MR. TORRES: Same objection. Go ahead            21     Q Who would have been present, to your
  22 and answer. Calls for speculation, also. But go         22 recollection?
  23 ahead and answer if you can, Jeff.                      23          MR. TORRES: The question is compound as
  24     A I don't know what it means. I haven't             24 phrased. You're asking for multiple -- you're
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                            EXHIBIT II




                                      A-842
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                                     2241

                                       SUBJECT TO COMPLETION DATED SEPTEMBER 5, 2012
     PRELIMINARY PROSPECTUS- OFFER TO EXCHANGE


                                           PPG INDUSTRIES, INC.
                                        Offer to Exchange All Shares of Common Stock of
                                               EAGLE SPINCO INC.
                                           which are owned by PPG Industries, Inc.
                                     and will be converted into Shares of Common Stock of
                          GEORGIA GULF CORPORATION
                                                              for
                                          Shares of Common Stock of PPG Industries, Inc.
     PPG lndusrries. Inc. ("PPG") is offering ro exchange oil shores of co111111011 stock of Eagle Spinco Inc. ( "Spli1co co11u11011 stock") which are owned
     by PPG for shares of common stock of PPG ("PPG co111111011s10ck")1har ore validly 1endered and nor properly withdrawn. The 1enns and
     conditions ofThis exchange offer are described in this document, which you should read carefully. None of PPG, Eagle Spin co Inc. ( "Splitco" ), any
     of their re~vective directors or officers or any of their re~1Jective representatives makes any recommendation as to whether you should pal1icipate in
     this exchange offer. You must make your own decision qfter reading this document and consulting with your advisors.
     Immediately following co11sulllmation of this exchange offer, a ~vecial pw7Jose merger subsidial)' ofGeorgia Gu(f Co17Joration ("Georgi.a Gulf') named
     Grizzly Acquisilion Sub, Inc., a Delaware corporation ("Merger Sub"). will be merged wi1h and into Splirco, whereby rile separate corporate existence
     ofMerger Sub will cease and Splirco will continue as the surviving company and a wholly-owned subsidiary ofGeorgia Gulf(the "Merger"). In rhe
     Merge1; each share ofSplitco COllllllOn stock (except shares ofSplitco COllllllOn stock held by Splitco as treaswy stock) will be converted into the right to
     receive a number ofshares of co11u11on stock o.fGeorgia Gulf("Georgi.a Gulf co11unon stock") equal to (a) the greater O.f(i) 35,200,()()() shares o.f
     Georgia Gulfco11u11.0n stock or (ii) the product o.f(x) the nulllber ofshares o.fGeorgia Gulfcom11t0n stock issued and outstanding i11u11edi.ately prior to
     rile effective Ii111e of rile Merger multiplied by (y) 1.02020202, divided by (b) rile nu111ber of shares of Spli1co com111011 s10ck issued and oumanding
     i11unedi.ately prior to the effective time ofthe Merger (subject to ac(;ustment in cenain circu/llstances). Accordingly, shares ofSpliJco co11u11.0n stock will
     nor be transferred 10 parlicipa111s in this exchange offer; such pa11icipanrs will ins1ead receive shares ofGeorgia Gulf common s10ck in rile Merger. No
     trading 111arke1 curre111ly exisrs or will ever exist for shares of Spli1co com111011 srock. You will nor be able ro rrade rile shares of Spli1co com111on srock
     be.fore they are exchanged for shares o.fGeorgia Gulfcom11t0n stock in the Merger. There can be 1w assurance, lwwever, that shares o.fGeorgia Gulf
     COlllmon stock when issued in the Merger will tmde at the same prices as shares o.fGeorgia Gulfcom111.0n stock are h·aded prior to the Merger.
     The value of PPG CO/llmon stock and Splitco CO/llmon stock will be detennined by PPG by reference to the silllple arithmetic avemge of the daily
     volume- weighted average prices ("VWAP") on each o.f the Valuation Dates (as defined below), of PPG common stock and the Georgia Gu(f
     co111111011 stock on rile New York Srock Exchange ("NYSE") on each of rhe lasr three trading days ("Valuation Dares") of rhe exchange offer period
     (including rhe expiralio11 dare), as ir 111ay be voluntarily extended, bur nor including rhe last m>o trading days rhar are part ofany Mandatory
     Extension (as described below) or any volunta1y extension following a MandatOI)' Extensio11. Based on an expiration date o.f                  , 2012,
     the Valuation Dates are expected to be                  , 2012,              , 2012, and               , 2012. See "This £Tchange Offer- Terms o_fthis
     Exchange Offer. "
     For each $1.00 of PPG collln/.On stock accepted in this exchange o.ffer, you will receive approxilllately $         o.f Splitco collln/.On stock, subject
     roan upper limit of         shares of Spli1co co111111on stock per share of PPG common s10ck. This exchange offer does nor provide for a mi11i111um
     exchange ratio. See "This Exchange Offer- Terms of this Exchange Offer." If rile upper li111ir is in effecr, rhen rhe exchange ratio will be f~'ed ar
     that limit and this exchange offer will be aittonwtically extended (a "Mandato1y Extension") until 12:00 midnight New York City time, on the
     second h·ading day .following the originally contelllplated expiration date to permit sharelwlders to tender or withdraw their PPG common stock
     during rhar period. IF THE UPPER LIMIT IS IN EFFECT. AND UNLESS YOU PROPERLY WITHDRAW YOUR SHARES, YOU WILL
     RECEIVE LESS THAN$                OF SPL!TCO COMMON STOCK FOR EACH $1.00 OF PPG COMMON STOCK THAT YOU TENDER, AND
     YOU COULD RECEIVE MUCH LESS.
     The indicative exchange ratio that would have been in effect following the official close o.fh·ading on the NYSE on             . 2012 (the day
     before rile dare of this docu111enr), based on rile daily VWAPs of PPG common s10ck and Georgia Gulf common s10ck 011                  . 2012,
                   . 2012, and               , 2012. would hove provided for       shares of Splirco common s10ck 10 be exchonged for every share of
     PPG co111111on stock accepred. The value of Splirco co111mon stock received and, following rile Merger, rhe value of Georgia Gulf co111111on stock
     received may not renwin above the value o.f PPG common stock tendered.following the expiration date o.f this exchange offer.
     THIS EXCHANGE OFFER AND WITHDRAWAL RIGHTS WILL EXPIRE AT 12:00 MIDNIGHT, NEW YORK CITY TIME, ON
     2012, UNLESS THE OFFER IS EXTENDED OR TERMINATED. SHARES OF PPG COMMON STOCK TENDERED PURSUANT TO THIS
     EXCHANGE OFFER MAY BE WITHDRAWN AT ANY TIME PRIOR TO THE EXPIRATION OF THIS EXCHANGE OFFER.

         In reviewing this document, you should carefully consider the risk factors begi1111i11g 011 page 37 of this
     document.
          Neither the Securities and Exchange Commission (the "SEC") nor any state se<:urities commission has approved or disapproved of
     these securities or determined if this Prospectus-Offer to Exchange is truthful or complete. Any representation to the contrary is a
     crimiual offense.
                                            The date of this Prospectus-Offer to Exchange is                         '2012.
                                                                                                                                                          Exhibit #
                                                                                                                                                                           exhibitsticker.com




                                                                                                                                                                 9
                                                                                                                                                         08/19/2020 - RG



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   Unless there is a Mandatory Extension, the final exchange ratio used to determine the number of shares ofSplitco common
   stock that you will receive for each share of PPG common stock accepted in this exchange offer will be announced by press
   release no later than 4:30 p.m., New York City time, on the expiration date. At such time, the final exchange ratio will be
   available at www.             .com/          I and from the information agent at the toll-free number provided on the back
   cover of this document. PPG will announce whether the upper limit on the number of shares that can be received for each
   share of PPG common stock tendered will be in effect at the expiration of the exchange offer period, through
   www.            .com/            I and by press release, no later than 4:30 p.m., New York City time, on the e,\piration date.
   Throughout this exchange offer, indicative exchange ratios (calculated in the manner described in this document) will also
   be available from the infonnation agent at the toll-free number provided on the back cover of this document.

   This document provides information regarding PPG, Splitco, Georgia Gulf, the exchange offer and the Merger in which
   shares of PPG common stock may be exchanged for shares of Splitco common stock which will then be immediately
   exchanged for shares of Georgia Gulf common stock and distributed to participating PPG shareholders as described
   herein. PPG common stock is listed on the NYSE under the symbol "PPG. " Georgia Gulf common stock is listed on the
   NYSE under the symbol "GGC." On                   , 2012, the last reported sale price of PPG common stock on the NYSE was
   $         , and the last reported sale price of Georgia Gulf common stock on the NYSE was $           . The market prices of
   PPG common stock and of Georgia Gulf common stock will fluctuate prior to the completion of this exchange offer and
   thereafter and may be higher or lower at the expiration date than the prices set forth above. No trading market currently
   exists for shares of Splitco common stock, and no such market will exist in the future. Splitco has not applied for listing of
   its common stock on any exchange.

   If this exchange offer is consummated but this exchange offer is not fully subscribed because less than all the shares of
   Splitco common stock owned by PPG are exchanged, the remaining shares of Splitco common stock owned by PPG will
   be distributed to PPG shareholders whose shares of PPG common stock remain outstanding after the consummation of
   the exchange offer pursuant to a pro rata distribution (a "spin -off') that would also be consummated on the closing date
   of the Merger. This document covers all shares ofSplitco common stock offered by PPG in this exchange offer and all
   shares of Splitco common stock that may be distributed by PPG as a spin-off to holders of PPG common stock. If this
   exchange offer is tenninated by PPG without the exchange of shares (but the conditions for consummation of the
   Transactions have otherwise been satisfied), all shares of Splitco common stock owned by PPG will be distributed in a
   spin-off to holders of PPG. See "This Exchange Offer- Dividend and Distribution of Any Shares ofSplitco Common Stock
   Remaining After This Exchange Offer."

   Immediately following consummation of this exchange offer, in the Merger, Merger Sub will be merged with and into Splitco,
   whereby the separate corporate existence of Merger Sub will cease and Splitco will continue as the sun1iving company and a
   wholly-owned subsidiary of Georgia Gulf. Each share of Splitco common stock (except shares of Splitco common stock held
   by Splitco as treasury stock) will be converted into the right to receive a number of shares of Georgia Gulf common stock
   equal to (a) the greater of (i) 35,200,000 shares of Georgia Gulf common stock or (ii) the product of (x) the number of shares
   of Georgia Gulf common scock issued and outsranding immediately prior ro the effecrive time of the Merger mulriplied by
   (y) 1.02020202, divided by (b) the number of shares of Splitco common stock issued and outstanding immediately prior to the
   effective time of the Merger (subject to adjustment in certain circumstances). Immediately after the Merger, at least 50.5% of
   the shares of Georgia Gulf common stock are expected to be held by pre-Merger holders of PPG common stock and no more
   than 49.5% of the shares of Georgia Gulf common stock are expected to be held by pre-Merger Georgia Gulf stockholders.

   PPG's obligation to exchange shares of Splitco common stock for Georgia Gulf common stock is subject to the conditions
   listed under "This Exchange Offer- Conditions for Consummation of this Exchange Offer, " including the satisfaction of
   conditions to the Merger, which include the Georgia Gulf stockholder approval of the issuance of Georgia Gulf common
   stock in connection with the Merger, and other conditions.




                                                                                                                 PPG102212


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           This document incorporates by reference important business and financial information about PPG
      and Georgia Gulf from documents filed with the U.S. Securities and Exchange Commission ("SEC") that
      have not been included in or delivered with this document. This information is available at the website that
      the SEC maintains at www.sec.gov, as well as from other sources. See "Where You Can Find More
      Information; Incorporation By Reference." You also may ask any questions about this exchange offer or
      request copies of the exchange offer documents from PPG, without charge, upon written or oral request to
      PPG's information agent,         , located at        or at telephone number         . In order to receive
      timely delivery of the documents, you must make your requests no later than          , 2012.


            All information contained or incorporated by reference in this document with respect to Georgia Gulf and
      Merger Sub and their respective subsidiaries, as well as information on Georgia Gulf after the consummation of
      the Transactions, has been provided by Georgia Gulf. All other information contained or incorporated by
      reference in this document with respect to PPG, Splitco or their respective subsidiaries, or the PPG Chlor-alkali
      and Derivatives Business, and with respect to the terms and conditions of the exchange offer has been provided
      by PPG. This document contains or incorporates by reference references to trademarks, trade names and service
      marks, including tri-ethane®, VersaTrans® and Accu-Tab®, that are owned by PPG and its related
      entities. Transitions® is a registered trademark of Transitions Optical, Inc.


           This prospectus is not an offer to sell or exchange and it is not a solicitation of an offer to buy any shares of
      PPG common stock, Splitco common stock or Georgia Gulf common stock in any jmisdiction in which the offer,
      sale or exchange is not permitted. Non-U.S. shareholders should consult their advisors in considering whether
      they may paiticipate in the exchange offer in accordance with the laws of their home countries and, if they do
      participate, whether there are any resnictions or limitations on transactions in the shares of Splitco common stock
      that may apply in their home countries. PPG, Splitco and Georgia Gulf cannot provide any assurance about
      whether such limitations may exist. See "The Exchange Offer- Certain Matters Relating to Non-U.S.
      Jurisdictions" for additional information about limitations on the exchange offer outside the United States.

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                                             HELPFUL INFORMATION

         In this docmnent:
         •   ''Additional Agreements" means the Employee Matters Agreement, the Tax Matters Agreement, the
             Shared Facilities, Services and Supply Agreement, the Transition Services Agreement, the Servitude
             Agreement, the Elecuic Generation, Disnibution and Transmission Facilities Lease, and the Chlo1ine,
             Liquid Caustic Soda and Hydrochloric Acid Sales Agreements;
         •   ''ASC" means the Financial Accounting Standards Board Accom1ting Standards Codification;
         •   ''Chlo1ine, Liquid Caustic Soda and Hydrochlo1ic Acid Sales Agreements" means those ce1tain
             agreements to be entered into at the date of the Separation between PPG and Georgia Gulf;
         •   ''Chlo1ine Sales Agreement Amendment" means the Amendment, dated as of July 18, 2012, to the
             Chlo1ine Sales Contract, dated as of January 1, 1985, as amended, between PPG and a subsidiary of
             Georgia Gulf;
         •   ''Code" means the Internal Revenue Code of 1986, as amended;
         •   ''Debt Exchange" means the distribution of the Debt SecLrrities by PPG on or about the closing date of
             the Merger to investment banks and/or commercial banks in satisfaction of the debt obligations of PPG
             described in the section of this document entitled ''Debt Financing- PPG B1idge Facility";
         •   ''Debt Secmities" means the $675.0 million in senior notes, subject to increase or decrease by PPG
             within certain parameters set forth in the Merger Agreement, that Splitco will issue to PPG, that PPG
             thereafter expects to exchange for debt obligations of PPG in the Debt Exchange, and that will be the
             debt obligations of Splitco, guaranteed by Georgia Gulf and certain of its subsidiaries, following
             consu1lllllation of the Transactions;
             "Distribution" means the distribution by PPG of its shares of Splitco co1lllllon stock to the holders of
             shares of PPG common stock by way of an exchange offer and, with respect to any shares of Splitco
             co1lllllon stock that are not subscribed for in the exchange offer, a pro rata distribution to the holders of
             shares of PPG common stock;
             "Distribution Tax Opinion'' means an opinion from Wachtell, Lipton, Rosen & Katz, tax counsel to
             PPG, substantially to the effect that (i) the Distribution will be treated as satisfying the business
             purpose requirement described in Treasury Regulation§ l.355-2(b)(l), (ii) the Distribution will not be
             treated as being used principally as a device for the distribution of earnings and profits of PPG or
             Splitco or both under Section 355(a)(l)(B) of the Code, (iii) the stock of Splitco distributed in the
             Disnibution will not be treated as other ·'qualified prope1ty" by reason of the application of
             Section 355(e)(l) of the Code; and (iv) the Splitco secLrrities will constitute ·'secmities" for purposes of
             the application of Section 36l{a) of the Code;
             "The Electric Generation, Distribution and Transmission Facilities Lease" means the Generation,
             Distribution and Transmission Facilities Lease to be entered into at the date of the Separation, between
             PPG and Splitco;
             "Employee Matters Agreement" means the Employee Matters Agreement, dated as of July 18, 2012, by
             and among Georgia Gulf, PPG and Splitco;
             "Exchange Act" means the Securities Exchange Act of 1934, as amended;
             "Exchange Loans" means the unsecured loans to be issued by Splitco at the closing of the Merger if
             certain conditions are satisfied and the debt obligations of PPG described in the section of this
             document entitled "Debt Financing- PPG Bridge Facility" have not been repaid in full prior to the
             closing of the Merger;
         •   ''Exchange Notes" means unsecLrred senior exchange notes of Splitco ( 1) for which the Exchange
             Loans (if any) may be exchanged in whole or in part at any time after the first anniversary of the date




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             the Exchange Loans (if any) are first exchanged for the debt obligations of PPG described in the
             section of this docmnent entitled "Debt Financing- PPG Bridge Facility" or (2) which may be issued
             at the closing of the Merger upon the demand of ce11ain financial institutions if certain conditions are
             satisfied and the debt obligations of PPG described in the section of this document entitled ''Debt
             Financing- PPG B1idge Facility" have not been repaid in full p1ior to the closing of the Merger;
         •   ''GAAP" means generally accepted accounting principles in the United States;
             "Georgia Gulf' means Georgia Gulf Corporation, a Delaware corporation, and. unless the context
             otherwise requires, its subsidiaries;
         •   ''Georgia Gulf common stock" means the common stock, par value $0.01 per share, of Georgia Gulf;
             "Georgia Gulf Group'' means Georgia Gulf and each of its consolidated subsidiaries including, after
             consummation of the Merger, Splitco;
             "Group" means the Georgia Gulf Group, PPG Group, or Splitco Group, as the case may be.
         •   ''Master Te1minal Agreement" means the Master Tenninal Agreement to be entered into at the date of
             the Separation between PPG and Splitco;
         •   ''Merger" means the combination of Georgia Gulfs business and the PPG Chlor-alkali and De1ivatives
             Business through the merger of Merger Sub with and into Splitco, whereby the separate corporate
             existence of Merger Sub will cease and Splitco will continue as the surviving company and as a
             wholly-owned subsidiary of Georgia Gulf, as contemplated by the Merger Agreement;
         •   ''Merger Agreement" means the Agreement and Plan of Merger, dated as of July 18, 2012, by and
             among PPG, Splitco, Georgia Gulf and Merger Sub, as amended by Amendment No. 1 to the Merger
             Agreement, dated as of August 31, 2012;
         •   ''Merger Sub" means Grizzly Acquisition Sub, Inc., a Delaware corporation and a wholly-owned
             subsidiary of Georgia Gulf, and, unless the context otherwise requires, its subsidiaries;
             "Monroeville Shared Facilities Agreement'' means the Monroeville Shared Facilities Agreement to be
             entered into at the date of the Separation between PPG and Splitco;
             "NYSE" means the New York Stock Exchange;
         •   ''PPG" means PPG lndustiies, Inc., a Pennsylvania corporation, and, unless the context otherwise
             requires, its subsidiaries, other than Splitco and any of its subsidiaries;
         •   ''PPG Chlor-alkali and Derivatives Business" means substantially all of the assets and liabilities of the
             business of PPG relating to the production of chlorine, caustic soda and related chemicals as further
             described in the section of this document entitled "Information on the PPG Chlor-alkali and
             Derivatives Business" and to be transferred to Splitco pursuant to the terms and conditions contained in
             the Separation Agreement;
         •   ''PPG common stock" means the common stock, par value $1.66 2/3 per share, of PPG;
         •   ''PPG Group" means PPG and each of its consolidated subsidiaiies which, after consummation of the
             Merger, will not include the PPG Chlor-alkali and Derivatives Business;
             "PPG shareholders" means the holders of PPG common stock;
             "SEC" means the United States Securities and Exchange Commission;
         •   ''Secmities Act" means the Securities Act of 1933, as amended;
         •   ''Separation" means the transfer by PPG of the assets and liabilities related to the PPG Chlor-alkali and
             Derivatives Business, including certain subsidiaries of PPG, to Splitco;
         •   ''Separation Agreement" means the Separation Agreement, dated as of July 18, 2012, between PPG and
             Splitco;

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         •   ''Servitude Agreement" means the Servitude Agreement to be entered into at the date of the Separation
             between PPG and Splitco;
             "Shared Facilities, Services and Supply Agreement" means the Shared Facilities, Services and Supply
             Agreement to be entered into at the date of the Separation between PPG and Splitco;
         •   ''Special Disuibution" means the disnibution to be made in connection with the Transactions by
             Splitco to PPG consisting of (1) approximately $225.0 million in cash, subject to increase or decrease
             by PPG within certain parameters set forth in the Merger Agreement, and (2) the Debt Securities in an
             amount that would satisfy the debt obligations of PPG described in the section entitled "Debt
             Financing- PPG Bridge Facility";
         •   ''Splitco" means Eagle Spinco, Inc., a Delaware corporation, and, prior to the Merger, a wholly-owned
             subsidiary of PPG, and, unless the context otherwise requires, its subsidimies;
             "Splitco Group" means Splitco and each of its consolidated subsidiaries (including, after
             consummation of the Merger, Georgia Gulf and each of its subsidiaries);
         •   ''Tax Matters Agreement" means the Tax Matters Agreement to be entered into at the date of the
             Separation by and among Georgia Gulf, PPG and Splitco;
             "TCI" means Taiwan Chlorine Industries, Ltd., a joint venture between PPG and China Petrochemical
             Development Corporation, in which PPG owns a 60 percent interest. For more information about the
             transfer of PPG's interest in TCI to Splitco, see "The Merger Agreement- Financing'';
             "TCI Interests" means the shares of TCI owned by PPG immediately prior to the effective time of the
             Merger;
         •   ''Term Facility" means $225 .0 million in new bank debt, subject to increase or decrease by PPG within
             ce11ain pm·ameters set fo11h in the Merger Agreement, to be incmTed by Splitco under a senior secured
             term loan facility, which debt will be obligations of Splitco and, upon consummation of the
             Transactions, guaranteed by Georgia Gulf and ce11ain of its subsidiaries;
             "Transactions" means the transactions contemplated by the Merger Agreement and the Separation
             Agreement, which provide for, among other things, the Separation, the Term Facility, the Debt
             Securities, the Debt Exchange, the Distribution and the Merger, as described in the section of this
             document entitled "Tue Transactions";
         •   ''Transition Services Agreement" means the Transition Services Agreement to be entered into at the
             date of the Sepm·ation between PPG and Splitco; and
         •   ·'VWAP" means volume-weighted average price.




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           QUESTIONS AND ANSWERS ABOUT THIS EXCHANGE OFFER AND THE TRANSACTIONS

      Questions and Answers About This Exchange Offer
           The following are some of the questions that PPG shareholders may have, and answers to those questions.
      These questions and answers, as well as the following summary, are not meant to be a substitute for the
      information contained in the remainder of this document, and this information is qualified in its entirety by the
      more detailed descriptions and explanations contained elsewhere in this document. You are urged to read this
      document in its entirety prior to making any decision.

      Q: Who may participate in this Exchange Offer?
      A:   Any U.S. holders of PPG common stock dming the exchange offer pe1iod may participate in this exchange
           offer. Although PPG has mailed this prospectus to its shareholders to the extent required by U.S . law,
           including shareholders located outside the United States, this prospectus is not an offer to sell or exchange
           and it is not a solicitation of an offer to buy any shares of PPG common stock or shares of Splitco common
           stock in any jmisdiction in which such offer, sale or exchange is not permitted.
           Countries outside the United States generally have their own legal requirements that govern securities
           offerings made to persons resident in those countries and often impose stringent requirements about the
           form and content of offers made to the general public. PPG has not taken any action under non-U.S.
           regulations to facilitate a public offer to exchange the shares of PPG common stock outside the United
           States. Accordingly, the ability of any non-U.S. person to tender shares of PPG common stock in the
           exchange offer will depend on whether there is an exemption available under the laws of such person's
           home country that would permit the person to participate in the exchange offer without the need for PPG to
           take any action to facilitate a public offering in that country. For example, some countries exempt
           transactions from the rules governing public offe1ings if they involve persons who meet ce11ain eligibility
           requirements relating to their status as sophisticated or professional investors.
           Non-U.S. shareholders should consult their advisors in considering whether they may participate in the
           exchange offer in accordance with the laws of their home countries and, if they do participate, whether there
           are any restrictions or limitations on transactions in the shares of PPG common stock, Splitco common stock
           or Georgia Gulf common stock that may apply in their home countries. PPG, Splitco and Georgia Gulf
           cannot provide any assurance about whether such limitations may exist. See "Tue Exchange Offer- Certain
           Matters Relating to Non-U.S. Jurisdictions'' for additional information about limitations on the exchange
           offer outside the United States.

      Q: How many shares of Splitco common stock will I receive for each share of' PPG common stock that I
         tender?
      A:   This exchange offer is designed to permit you to exchange your shares of PPG common stock for shares of
           Splitco common stock at a         % discount to the per-share value of Georgia Gulf common stock, calculated
           as set forth in this document. Stated another way, for each $1.00 of your PPG common stock accepted in
           this exchange offer, you will receive approximately $        of Splitco common stock. The value of the PPG
           common stock will be based on the calculated per-share value for the PPG common stock on the NYSE and
           the value of the Splitco common stock will be based on the calculated per-share value for Georgia Gulf
           common stock on the NYSE, in each case determined by reference to the simple arithmetic average of the
           daily VW AP on each of the Valuation Dates. Please note, however, that:
                The number of shares you can receive is subject to an upper limit of an aggregate of    shares of
                Splitco common stock for each share of PPG common stock accepted in this exchange offer. The next
                question and answer below desc1ibes how this limit may impact the value you receive.
                This exchange offer does not provide for a minimum exchange ratio. See "This Exchange Offer-
                Terms of this Exchange Offer.''

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           •    Because this exchange offer is subject to proration, PPG may accept for exchange only a portion of the
                PPG common stock tendered by you.

      Q: Is there a limit on the number of shares of' Splitco common stock I can receive for each s hare of PPG
         common stock that I tender?
      A:   The number of shares you can receive is subject to an upper limit of       shares of Splitco common stock
           for each share of PPG common stock accepted in this exchange offer. If the upper limit is in effect, you
           will receive less than $         of Splitco common stock for each $1.00 of PPG common stock that you
           tender, and you could receive much less. For example, if the calculated per-share value of PPG common
           stock was$          {the highest closing p1ice for PPG common stock on the NYSE dming the three-month
           period prior to commencement of this exchange offer) and the calculated per-share value of Splitco common
           stock was$          {the lowest closing p1ice for Georgia Gulf common stock on the NYSE during that
           three-month period), the value of Splitco common stock, based on the Georgia Gulf common stock price,
           received for PPG common stock accepted for exchange would be approximately $             for each $ 1.00 of
           PPG common stock accepted for exchange.
           The upper limit represents a         % discount for Splitco common stock based on the closing p1ices of
           PPG common stock and Georgia Gulf common stock on the NYSE on                  , 2012 (the day before the
           commencement of this exchange offer). PPG set this upper limit to ensure that an unusual or unexpected
           drop in the trading p1ice of Georgia Gulf common stock, relative to the trading price of PPG common stock,
           would not result in an unduly high number of shares of Splitco common stock being exchanged for each
           share of PPG common stock accepted in this exchange offer.

      Q: What will happen if the upper limit is in effect?
      A:   PPG will announce whether the upper limit on the number of shares that can be received for each share of
           PPG common stock tendered will be in effect at the expiration of the exchange offer pe1iod, through
           www.          .com/        I and by press release, no later than 4:30 p.m., New York City time, on the
           expiration date. If the upper limit is in effect at that time, then the exchange ratio will be fi xed at the upper
           limit and a Mandatory Extension of this exchange offer will be made until 12:00 midnight, New York City
           time, on the second trading day following the originally contemplated expiration date to permit shareholders
           to tender or withdraw their PPG common stock dming those days. The daily VW AP and trading p1ices of
           PPG common stock and Georgia Gulf common stock dming this Mandatory Extension will not, however,
           affect the exchange ratio, which will be fixed at            . See ''This Exchange Offer- Terms of this
           Exchange Offer- Extension; Termination; Amendment- Mandatory Extension."

      Q: Bow are the calculated per- share values of PPG common stock and Georgia Gulf common stock
         determined for purposes of calculating the number of shares of Splitco common stock to be r eceived
         in this exchange offer ?
      A:   The calculated per- share value of PPG common stock and Georgia Gulf common stock for purposes of this
           exchange offer will equal the simple arithmetic average of the daily VW AP of PPG common stock and
           Georgia Gulf common stock, as the case may be, on the NYSE on each of the Valuation Dates. PPG will
           determine such calculations of the per- share values of PPG common stock and Georgia Gulf common stock
           and such determination will be final.

      Q: What is the " daily volume- weighted average price" or " daily VW AP?"
      A:   The ''daily volume-weighted average price" for PPG common stock and Georgia Gulf common stock will
           be the volume-weighted average p1ice of PPG common stock and Georgia Gulf common stock on the NYSE
           during the period beginning at 9:30 a.m., New York City time (or such other time as is the official open of
           trading on the NYSE), and ending at 4:00 p.m., New York City time (or such other time as is the official
           close of trading on the NYSE and in no event later than 4: 10 p.m., New York City time), as reported to PPG

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           by Bloomberg L.P. for the equity ticker pages PPG, in the case of PPG common stock, and GGC, in the case
           of Georgia Gulf common stock. The daily VW APs provided by Bloomberg L.P. may be different from other
           sources of volume- weighted average prices or investors' or secmity holders' own calculations of volume-
           weighted average p1ices.

      Q: Where can I find the daily VWAP of' PPG common stock and Georgia Gulf' common stock during the
         exchange offer period?
      A:   The daily VWAP ot both PPG common stock and Georgia Gulf common stock, together with indicative
           exchange ratios, for each day during this exchange offer will be available by contacting the information
           agent at the toll- free number provided on the back cover of this document. During the pe1iod of the
           Valuation Dates, when the values of PPG common stock and Georgia Gulf common stock are calculated for
           the pm·poses of this exchange offer, the indicative exchange ratios based on indicative calculated per-share
           values calculated by PPG will equal (i) on the first Valuation Date, the intra-day VW AP during the elapsed
           portion of that day, (ii) on the second Valuation Date, the intra-day VW AP dming the elapsed po11ion of
           that day averaged with the actual daily VW AP on the first Valuation Date and (iii) on the third Valuation
           Date, the intra-day VW AP during the elapsed po1tion of that day averaged with the actual daily VW AP on
           the first Valuation Date and with the actual daily VWAP on the second Valuation Date.

      Q: Why is the calculated per-share value for Splitco common stock based on the tr ading prices for
         Georgia Gulf' common stock?
      A:   There is currently no trading market for Splitco common stock and no such trading market will be
           established in the future. PPG believes, however, that the trading prices for Georgia Gulf common stock are
           an appropriate proxy for the trading p1ices of Splitco common stock because (i) in the Merger each share of
           Splitco common stock will be conve11ed into the iight to receive a number of shares of Georgia Gulf
           common stock equal to (a) the greater of (i) 35,200,000 shares of Georgia Gulf common stock or (ii) the
           product of (x) the number of shares of Georgia Gulf common stock issued and outstanding immediately
           p1ior to the effective time of the Merger multiplied by (y) 1.02020202, divided by {b) the number of shares
           of Splitco common stock issued and outstanding immediately prior to the effective time of the Merger
           (subject to adjustment in certain circumstances) and (ii) at the Valuation Dates, it is expected that all the
           major conditions to the consummation of the Merger will have been satisfied and the Merger will be
           expected to be consummated shortly, such that investors should be expected to be valuing Georgia Gulf
           common stock based on the expected value of such Georgia Gulf common stock after the Merger. There can
           be no assurance, however, that Georgia Gulf common stock after the Merger will trade on the same basis as
           Georgia Gulf common stock trades prior to the Merger. See ''Risk Factors- Risks Related to the
           Transactions- The trading prices of Georgia Gulf common stock may not be an appropriate proxy for the
           prices of Splitco common stock."

      Q: Bow and when will I know the final exchange ratio?
      A:   Subject to the possible Mandatory Extension of this exchange offer described below, the final exchange
           ratio showing the number of shares of Splitco common stock that you will receive for each share of PPG
           common stock accepted in this exchange offer will be available at www.         .com/     I no later than 4:30
           p.m., New York City time, on the expiration date and separately annom1ced by press release. In addition, as
           described below, you may also contact the information agent to obtain these indicative exchange ratios and
           the final exchange ratio at its toll- free number provided on the back cover of this document.
           PPG will announce whether the upper limit on the number of shares that can be received for each share of
           PPG common stock tendered is in effect at www.         .com/     I and separately by press release, no later
           than 4:30 p.m., New York City time, on the expiration date. If the upper limit is in effect at that time, then
           the exchange ratio will be fixed at the upper limit and a Mandatory Extension until 12:00 midnight, New
           York City time, on the second trading day following the originally contemplated expiration date will be
           made to permit shareholders to tender or withdraw their PPG common stock during those days.

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      Q: Will indicative exchange ratios be provided during the tender offer period?
      A:   Yes. Indicative exchange ratios will be available by contacting the information agent at the toll-free number
           provided on the back cover of this prospectus on each day during the exchange offer period, calculated as
           though that day were the expiration date of this exchange offer. The indicative exchange ratio will also
           reflect whether the upper limit on the exchange ratio, described above, would have been in effect. You may
           also contact the information agent at its toll- free number to obtain these indicative exchange ratios.
           In addition, for purposes of illustration, a table that indicates the number of shares of Splitco common stock
           that you would receive per share of PPG common stock, calculated on the basis described above and taking
           into account the upper limit, assuming a range of averages of the daily VW AP of PPG common stock and
           Georgia Gulf common stock on the Valuation Dates is provided under "This Exchange Offer- Terms of this
           Exchange Offer."

      Q: What if PPG common stock or Georgia Gulf common stock does not trade on any of the Valuation
         Dates?
      A:   If a market disruption event occurs with respect to PPG common stock or Georgia Gulf common stock on
           any of the Valuation Dates, the calculated per- share value of PPG common stock and Splitco common stock
           will be determined using the daily VW AP of shares of PPG common stock and shares of Georgia Gulf
           common stock on the preceding trading day or days, as the case may be, on which no market disruption
           event occurred with respect to both PPG common stock and Georgia Gulf common stock. If, however, a
           market disruption event occurs as specified above, PPG may terminate this exchange offer if, in its
           reasonable judgment, the market disruption event has impaired the benefits of this exchange offer. For
           specific information as to what would constitute a market disruption event, see ''This Exchange Offer-
           Conditions for Consummation of this Exchange Offer."

      Q: Are there circumstances under which I would receive fewer shares of Splitco common stock than I
         would have received if the exchange ratio were determined using the closing prices of PPG common
         stock and Georgia Gulf' common stock on the expiration date of this exchange offer?
      A:   Yes. For example, if the trading price of PPG common stock were to increase during the period of the
           Valuation Dates, the calculated per- share value of PPG common stock would likely be lower than the
           closing price of PPG common stock on the expiration date of this exchange offer. As a result, you may
           receive fewer shares of Splitco common stock for each $1.00 of PPG common stock than you would have if
           that per- share value were calculated on the basis of the closing price of PPG common stock on the
           expiration date. Similarly. if the trading price of Georgia Gulf common stock were to decrease during the
           period of the Valuation Dates, the calculated per- share value of Splitco common stock would likely be
           higher than the closing p1ice of Georgia Gulf common stock on the expiration date. This could also result in
           your receiving fewer shares of Splitco common stock for each $1 .00 of PPG common stock than you would
           otherwise receive if that per- share value were calculated on the basis of the closing price of Georgia Gulf
           common stock on the expiration date of this exchange offer. See "This Exchange Offer- Terms of this
           Exchange Offer."

      Q: Will PPG distribute fractional shares?
      A:   Upon consummation of this exchange offer, the exchange offer agent will hold the shares of Splitco
           common stock in trust for the holders of PPG common stock who validly tendered their shares and, in case
           of a pro rata distribution, for the holders of record of PPG common stock for the pro rata distribution.
           Immediately following the consummation of this exchange offer and by means of the Merger, each share of
           Splitco common stock will be converted into the right to receive a number of shares of Georgia Gulf
           common stock equal to (a) the greater of (i) 35,200,000 shares of Georgia Gulf common stock or (ii) the
           product of (x) the number of shares of Georgia Gulf common stock issued and outstanding immediately
           p1ior to the effective time of the Merger multiplied by (y) 1.02020202, divided by (b) the number of shares

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           of Splitco common stock issued and outstanding immediately prior to the effective time of the Merger. In
           the Merger, no fractional shares of Georgia Gulf common stock will be delivered to holders of Splitco
           common stock. All fractional shares of Georgia Gulf common stock that a holder of shares of Splitco
           common stock would otherwise be entitled to receive as a result of the Merger will be aggregated by the
           transfer agent. The transfer agent will cause the whole shares obtained thereby to be sold on behalf of such
           holders of shares of Splitco common stock that would otherwise be entitled to receive such fractional shares
           of Georgia Gulf common stock in the Merger, in the open market or otherwise as reasonably directed by
           PPG, and in no case later than five business days after the Merger. The transfer agent will make available
           the net proceeds thereof, after deducting any required withholding taxes and brokerage charges,
           commissions and transfer taxes, on a pro rata basis, without interest, as soon as practicable to the holders of
           Splitco common stock that would otherwise be entitled to receive such fractional shares of Georgia Gulf
           common stock in the Merger.

      Q: What is the aggregate number of shares of Splitco common stock being offered in this excha nge offer?
      A:   In this exchange offer, PPG is offering a number of shares of Splitco common stock equal to the greater of
           (i) 35,200,000 shares or (ii) the product of {x) the number of shares of Georgia Gulf common stock issued
           and outstanding immediately prior to the effective time of the Merger multiplied by (y) 1.02020202, subject
           to adjustment under ce11ain circumstances. In this exchange offer, PPG is offering all the shares of Splitco
           common stock it holds on the date of consummation of this exchange offer.

      Q: What happens if not enough shares of PPG common stock are tender ed to a llow PPG to exchange all
         of the shares of Splitco common stock it holds?

      A:   If this exchange offer is consummated but less than all shares of Splitco common stock owned by PPG are
           exchanged because this exchange offer is not fully subscribed, the additional shares of Splitco common
           stock owned by PPG will be distributed on a pro rata basis to the holders of shares of PPG common stock.
           Upon consummation of this exchange offer, PPG will deliver to the exchange offer agent a global certificate
           representing all of the Splitco common stock being distributed in this exchange offer, with instructions to
           hold the shares of Splitco common stock in trust for holders of shares of PPG common stock validly
           tendered and not withdrawn and holders of shares of PPG common stock as of the distribution date of a pro
           rata distribution, if any. If there is a pro rata distribution, the exchange offer agent will calculate the exact
           number of shares of Splitco common stock not exchanged in this exchange offer and to be distributed on a
           pro rata basis, and that number of shares of Splitco common stock will be held in trust for the holders of
           shares of PPG common stock. See "This Exchange Offer- Dividend and Distribution of Any Shares of
           Splitco Common Stock Remaining After This Exchange Offer.

      Q: Will all shares of PPG common stock that I tender be accepted in this exchange offer?
      A:   Not necessarily. Depending on the number of shares of PPG common stock validly tendered in this
           exchange offer and not properly withdrawn, and the calculated per-share values of PPG common stock and
           Splitco common stock determined as described above, PPG may have to limit the number of shares of PPG
           common stock that it accepts in this exchange offer through a proration process. Any proration of the
           number of shares accepted in this exchange offer will be determined on the basis of the proration mechanics
           described under "Summary- Terms of this Exchange Offer- Proration; Odd-Lots."
           An exception to proration can apply to shareholders who beneficially own ·'odd- lots," that is, fewer than
           l 00 shares of PPG common stock. Beneficial holders of less than 100 shares of PPG common stock who
           validly tender all of their shares will not to be subject to proration.
           In all other cases, proration for each tende1ing shareholder will be based on (i) the propo11ion that the total
           number of shares of PPG common stock to be accepted bears to the total number of shares of PPG common
           stock validly tendered and not properly withdrawn and (ii) the number of shares of PPG common stock

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           validly te ndered and not properly withdrawn by that shareholder (and not on that shareholder's aggregate
           ownership of shares of PPG common stock). Any shares of PPG common stock not accepted for exchange
           as a result of proration will be returned to tende1ing shareholders promptly after the final proration factor is
           determined.

      Q: Will I be able to sell my shares of Splitco common stock after this exchange offer is completed?
      A:   No. There currently is no trading market for shares of Splitco common stock and no such trading market
           will be established in the future.

      Q: How many shares of PPG common stock will PPG accept if' this exchange ofler is completed?
      A:   The number of shares of PPG common stock that will be accepted if this exchange offer is completed will
           depend on the final exchange ratio, the number of shares of Splitco common stock offered and the number
           of shares of PPG common stock tendered. Assuming PPG offers 35,200,000 shares of Splitco common
           stock in this exchange offer, the largest possible number of shares of PPG common stock that will be
           accepted would equal 35,200,000 divided by the final exchange ratio. For example, assuming that the final
           exchange ratio is      (the maximum number of shares of Splitco common stock that could be exchanged
           for one share of PPG common stock), then PPG would accept up to a total of approximately         shares of
           PPG common stock.

      Q: Are there any conditions to PPG's obligation to complete this exchange offer?
      A:   Yes. This exchange offer is subject to various conditions listed under "This Exchange Offer- Conditions for
           Consummation of this Exchange Offer." If any of these conditions are not satisfied or waived prior to the
           expiration of this exchange offer, PPG will not be required to accept shares for exchange and may extend or
           terminate this exchange offer.
           PPG may waive any of the conditions to this exchange offer. For a description of the material conditions
           precedent to this exchange offer, including satisfaction or waiver of the conditions to the Transactions, the
           receipt of Georgia Gulf stockholder approval of the issuance of shares of Georgia Gulf common stock in
           connection with Merger and other conditions, see "This Exchange Offer-Conditions for Consummation of
           this Exchange Offer." Georgia Gulf has no right to waive any of the conditions to this exchange offer.

      Q: When does this exchange offer expire?
      A:   The period during which you are permitted to tender your shares of PPG common stock in this exchange
           offer will expire at 12:00 midnight, New York City time, on     , 2012, unless PPG extends this exchange
           offer. See "This Exchange Offer-Terms of this Exchange Offer-Extension; Termination; Amendment."

      Q: Can this exchange ofler be extended and under what circumstances?
      A:   Yes. PPG can extend this exchange offer, in its sole discretion, at any time and from time to time. For
           instance, this exchange offer may be extended if any of the conditions for consummation of this exchange
           offer listed under "This Exchange Offer-Conditions for Consummation of this Exchange Offer" are not
           satisfied or waived prior to the expiration of this exchange offer. In case of an extension of this exchange
           offer, PPG will publicly announce the extension at www.         .com/      I and separately by press release no
           later than 9:00 a.m., New York City time, on the next business day following the previously scheduled
           expiration date. In addition, if the upper limit on the number of shares that can be received for each share of
           PPG common stock tendered is in effect at the expiration of the exchange offer period, then the exchange
           ratio will be fixed at the upper limit and a Mandatory Extension of this exchange offer will be made until
           12:00 midnight, New York City time, on the second following trading day.




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      Q: How do I pa r ticipate in this excha nge offer?
      A:   The procedures you must follow to pmiicipate in this exchange offer will depend on whether you hold your
           shares of PPG common stock in certificated form, through a bank or trust company or broker, or if your
           PPG common shares are held in book-entry via the Direct Registration System (''DRS"). For specific
           instrnctions about how to pmiicipate, see "This Exchange Offer- Terms of This Exchange Offer-
           Procedures for Tende1ing."

      Q: How do I tender my sha res of' PPG common stock after the final excha nge ratio has been determined?
      A:   If you wish to tender your shares after the final exchange ratio has been determined, you will generally need
           to do so by means of delive1ing a notice of guaranteed delivery and complying with the guaranteed delivery
           procedures described in the section entitled "This Exchange Offer- Terms of this Exchange Offer-
           Procedures for Tende1ing- Guaranteed Delivery Procedures." If you hold shares of PPG common stock
           through a broker, dealer, commercial bank, trust company or similar institution, that institution must tender
           your shares on your behalf.
           If your shares of PPG common stock are held through an institution and you wish to tender your PPG
           common stock after The Depository Trust Company has closed, the institution must deliver a notice of
           guaranteed delivery to the exchange offer agent via facsimile prior to 12:00 midnight, New York City time,
           on the expiration date.

      Q: Can I tender only a portion of my shares of PPG common stock in this excha nge offer?
      A:   Yes. You may tender all, some or none of your shares of PPG common stock.

      Q: Wha t do I do if I want to retain all of my sha res of PPG common stock?
      A:   If you want to retain all of your shares of PPG common stock, you do not need to take any action. However,
           after the Transactions, the PPG Chlor-alkali and Derivatives Business will no longer be owned by PPG, and
           as a holder of PPG common stock you will no longer hold shares in a company that owns the PPG Chlor-
           alkali and Derivatives Business (unless the exchange offer is consummated but is not fully subscribed and
           the remaining shares of Splitco common stock are distributed on a pro rata basis to PPG shareholders whose
           shares of PPG common stock remain outstanding after consummation of the exchange offer).

      Q: Can I cha nge my mind after I tender my shares of' PPG common stock?
      A:   Yes. You may withdraw your tendered shares at any time before this exchange offer expires. See "This
           Exchange Offer- Terms of this Exchange Offer- Withdrawal Rights.'' If you change your mind again, you
           can re-tender your shares of PPG common stock by following the tender procedures again prior to the
           expiration of this exchange offer.

      Q: Will I be a ble to withdraw the shares of' PPG common stock I tender after the final excha nge ratio has
         been determined?
      A:   Yes. The final exchange ratio used to determine the number of shares of Splitco common stock that you will
           receive for each share of PPG common stock accepted in this exchange offer will be announced no later
           than 4:30 p.m., New York City time, on the expiration date of this exchange offer, which is       , 2012,
           unless this exchange offer is extended or terminated. You have the right to withdraw shares of PPG common
           stock you have tendered at any time before 12:00 midnight, New York City time, on the expiration date,
           which is         , 2012. See ''This Exchange Offer-Terms of this Exchange Offer."
           If the upper limit on the number of shares of Splitco common stock that can be received for each share of
           PPG common stock tendered is in effect at the expiration of the exchange offer period, then the exchange
           ratio will be fixed at the upper limit and a Mandatory Extension of this exchange offer until 12:00 midnight,

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           New York City time, on the second trading day following the 01iginally contemplated expiration date will
           be made to permit you to tender or withdraw your PPG common stock dming those days, either directly or
           by acting through a broker, dealer, commercial bank, trust company or similar institution on your behalf.

      Q: How do I withdraw my tendered PPG common stock after the final exchange ratio has been
         determined?
      A:   If you are a registered shareholder of PPG common stock (which includes persons holding certificated
           shares and book-entry shares held through DRS) and you wish to withdraw your shares after the final
           exchange ratio has been determined, then you must deliver a written notice of withdrawal or a facsimile
           transmission notice of withdrawal to the exchange offer agent p1ior to 12:00 midnight, New York City time,
           on the expiration date. The information that must be included in that notice is specified under "This
           Exchange Offer- Terms of this Exchange Offer- Withdrawal Rights."
           If you bold your shares through a broker, dealer, commercial bank, trust company or similar institution, you
           should consult that institution on the procedures you must comply with and the time by which such
           procedures must be completed in order for that institution to provide a written notice of withdrawal or
           facsimile notice of withdrawal to the exchange offer agent on your behalf before 12:00 midnight, New York
           City time, on the expiration date. If you hold your shares through such an institution, that institution must
           deliver the notice of withdrawal with respect to any shares you wish to withdraw. In such a case, as a
           beneficial owner and not a registered shareholder, you will not be able to provide a notice of withdrawal for
           such shares directly to the exchange offer agent.
           If your shares of PPG common stock are held through an institution and you wish to withdraw shares of
           PPG common stock after The Depository Trust Company has closed, the institution must deliver a written
           notice of withdrawal to the exchange offer agent prior to 12:00 midnight, New York City time, on the
           expiration date, in the form of The Depository Trust Company's notice of withdrawal and you must specify
           the name and number of the account at Tue Depository Trust Company to be credited with the withdrawn
           shares and must otherwise comply with The Depository Trust Company's procedures. See "This Exchange
           Offer- Terms of this Exchange Offer- Withdrawal Rights- Withdrawing Your Shares After the Final
           Exchange Ratio Has Been Determined."

      Q: Will I be subject to U.S. federal income tax on the shares of Splitco common stock that I receive in
         this exchange offer or on the shares of Georgia Gulf common stock that I receive in the Merger?
      A:   Shareholders of PPG generally will not recognize any gain or loss for U.S. federal income tax purposes as a
           result of this exchange offer or the Merger, except for any gain or loss atllibutable to the receipt of cash in
           lieu of fractional shares of Georgia Gulf common stock received in the Merger.
           The mate1ial U.S. federal income tax consequences of the exchange offer and the Merger are described in
           more detail under "This Exchange Offer- Mate1ial U.S. Federal Income Tax Consequences of the
           Distribution and the Merger."

      Q: Are there any appraisal rights for holders of shares of PPG common stock?
      A:   There are no appraisal rights available to holders of shares of PPG common stock in connection with this
           exchange offer.

      Q: Whom do I contact for information regarding this exchange offer?
      A:   You may call the information agent,               , at              (for shareholders) and            (for
           banks and brokers), to ask any questions about this exchange offer or to request additional documents,
           including copies of this document and the letter of transmittal (including the instructions thereto).




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      Questions and Answers about the Transactions
      Q: What are the key steps of the Transactions?
      A:   Below is a summary of the key steps of the Transactions. A step-by-step description of material events
           relating to the Transactions is set forth under "The Transactions."
           •   PPG will transfer to Splitco the PPG Chlor-alkali and De1ivatives Business;
           •   prior to the Disnibution, Splitco will incur new indebtedness in the form of the Term Facility in the
               amount of approximately $225.0 million and issue approximately $675 .0 million in aggregate principal
               amount of Debt Securities to PPG. PPG will ultimately receive the cash proceeds from the
               approximately $225.0 million term loan under the Term Facility through a distribution in connection
               with the Separation and prior to the consummation of the Merger. PPG is then expected to transfer the
               Debt Securities on or about the closing date of the Merger to investment banks and/or commercial
               banks in satisfaction of the debt obligations of PPG described in the section of this document entitled
               "Debt Financing- PPG Bridge Facility." The Debt Securities are subsequently expected to be sold by
               the investment banks and/or commercial banks to third-party investors as described below. PPG is
               expected to receive approximately $900.0 million in cash from the Term Facility and Debt Securities;
           •   PPG will offer to PPG shareholders the right to exchange all or a portion of their shares of PPG
               common stock for shares of Splitco common stock in an exchange offer. If the exchange offer is
               consummated but is not fully subscribed, PPG will distiibute the remaining shares of Splitco common
               stock on a pro rata basis to PPG shareholders whose shares of PPG common stock remain outstanding
               after consummation of the exchange offer. If there is a pro rata distribution, the exchange agent will
               calculate the exact number of shares of Splitco common stock not exchanged in the exchange offer and
               to be distributed on a pro rata basis, and the number of shares of Georgia Gulf common stock into
               which the remaining shares of Splitco common stock will be converted in the Merger will be
               transferred to PPG shareholders (after giving effect to the consummation of the exchange offer) as
               promptly as practicable thereafter;
               immediately after the Distribution, and on the closing date of the Merger, Merger Sub will merge with
               and into Splitco, whereby the separate corporate existence of Merger Sub will cease and Splitco will
               continue as the surviving company and a wholly-owned subsidiary of Georgia Gulf. In the Merger,
               each share of Splitco common stock will be converted into the right to receive Georgia Gulf common
               stock based on the exchange ratio set forth in the Merger Agreement, as described in the section of this
               document entitled "The Merger Agreement- Merger Consideration." Following the consummation of
               the Merger, Georgia Gulf and certain of its subsidiaries will guarantee the Term Facility and the Debt
               Securities;
           •   immediately after consummation of the Merger, at least 50.5% of Georgia Gulf common stock is
               expected to be held by pre-Merger holders of PPG common stock and no more than 49.5% of Georgia
               Gulf common stock is expected to be held by pre-Merger Georgia Gulf stockholders; and
           •   as desc1ibed in the second bullet point above, Georgia Gulf and PPG expect the Debt Securities to be
               n·ansferred by PPG on or about the closing date of the Merger to investment banks and/or commercial
               banks in the Debt Exchange in exchange for debt obligations of PPG described in the section of this
               document entitled " Debt Financing-PPG Bridge Facility." The Debt Securities will then be sold by
               the investment banks and/or commercial banks to third-party investors pursuant to an exemption from
               registration m1der the Securities Act in either a private placement or a " Rule 144A" transaction.

      Q: What are the material U.S. federal income tax consequences to Georgia Gulf and Georgia Gulf's
         stockholders resulting from the Transactions?
      A : Georgia Gulf will not recognize any gain or loss for U.S. federal income tax purposes as a result of the
          Merger. Because Georgia Gulf stockholders will not participate in the Distribution or the Merger, Georgia
          Gulf stockholders will generally not recognize gain or loss upon either the Distribution (including this
          exchange offer) or the Merger.

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      Q: What will Georgia Gulf stockholders receive in the Merger?
      A:   Georgia Gulf stockholders will not directly receive any consideration in the Merger. All shares of Georgia
           Gulf common stock issued and outstanding immediately before the Merger will remain issued and
           outstanding after consummation of the Merger. Immediately after the Merger, Georgia Gulf stockholders
           will continue to own shares in Georgia Gulf, which will include the PPG Chlor-alkali and Derivatives
           Business. Splitco, as a wholly-owned subsidiary of Georgia Gulf, will be responsible for repaying the
           approximately $900.0 million of debt that will be incurred in connection with the Transactions, and these
           debt obligations will be guaranteed by Georgia Gulf and ce11ain ot its subsidiaries after the consummation
           of the Merger.

      Q: Are there possible adverse effects on the value of Georgia Gulf' common stock to be received by PPG
         s hareholders who participate in the exchange offer?
      A:   PPG shareholders that participate in the exchange offer will be exchanging their shares of PPG common
           stock for shares of Splitco common stock at a discount to the per-share value of Georgia Gulf common
           stock. The existence of a discount, along with the issuance of shares of Georgia Gulf common stock
           pursuant to the Merger, may negatively affect the market price of Georgia Gulf common stock. Further,
           Splitco will be the obligor on approximately $900.0 million of debt, consisting of approximately $225.0
           million under the Term Facility and approximately $675.0 million in Debt Securities, which, after the
           consummation of the Merger, will be guaranteed by Georgia Gulf and certain of its subsidiaries. This
           additional indebtedness could adversely affect the operations and financial condition of Georgia Gulf.
           Georgia Gulf also expects to incur significant one-time costs in connection with the Transactions, including
           financial, legal, accounting and other professional fees and costs, and the other costs necessary to achieve
           the benefits that may result from the realization of approximately $115.0 million of annualized cost
           synergies Georgia Gulf management believes are achievable in the Merger; and the incurrence of these costs
           may have an adverse impact on Georgia Gulf's liquidity or operating results in the periods in which they are
           incurred. Finally, Georgia Gulf's management will be required to devote a significant amount of time and
           attention to the process of integrating the operations of Georgia Gulf and the PPG Chlor-alkali and
           De1ivatives Business. If Georgia Gulf management is not able to effectively manage the process, Georgia
           Gulf's business could suffer and its stock price may decline. See ''Risk Factors" for a further discussion of
           the mate1ial iisks associated with the Transactions.

      Q: How will the Transactions impact the future liquidity and capital resources of Georgia Gull'?
      A:   The approximately $225.0 million under the Term Facility and approximately $675.0 million in Debt
           Secmities will be the debt obligations of Splitco, and, after consummation of the Merger, will be guaranteed
           by Georgia Gulf and certain of its subsidiaiies. In the Transactions, Georgia Gulf expects to incur significant
           one-time financial, legal, accounting and other professional fees and costs, as well as other costs necessary
           to achieve the benefits that may result from the realization of approximately $115 .0 million of annualized
           cost synergies Georgia Gulf's management believes are achievable in the Merger. Georgia Gulf anticipates
           that its primary sources of liquidity for working capital and operating activities, including any future
           acquisitions, after the Transactions will be cash provided by operations and additional availability under its
           current or any future credit facilities . Georgia Gulf expects to enter into the New ABL Revolver (as defined
           and desc1ibed in the section entitled ''Debt Financing- New ABL Revolver"), which is expected to, among
           other things, increase Georgia Gulf's availability to $500.0 million, subject to applicable borrowing base
           limitations and ce11ain other conditions. There can be no assurance that Georgia Gulf will be able to enter
           into the New ABL Revolver on acceptable terms, at an appropriate time, or at all.

      Q: How do the Transactions impact Georgia Gulf's dividend policy?
      A:   On May 21, 2012, Georgia Gulf declared a cash dividend of $0.08 per share, Georgia Gulf's first dividend
           since 2008. This dividend was paid on July 10, 2012. Pursuant to the Merger Agreement, Georgia Gulf has
           agreed not to pay a quarterly dividend of greater than $0.08 per share until after the consummation of the

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           Merger and indicated its intent to pay qum1erly dividends from and after the closing of the Merger at no less
           than the cm-rent rate of $0.32 per share per annum, although the payment of cash dividends in the future will
           be at the discretion of Georgia Gulf's board of directors. The declm·ation of any cash dividends, and the
           amount thereof, will depend on many factors, including Georgia Gulfs financial condition, capital
           requirements, funds from operations, the dividend taxation level, Georgia Gulf's stock p1ice, future business
           prospects, and any other factors, as Georgia Gulf's board of directors may deem relevant. Additionally, the
           ABL Revolver and the indenture governing the 9 percent notes place significant resnictions on Georgia
           Gulf' s ability to pay dividends, and other indebtedness Georgia Gulf may incur in the future, including the
           New ABL Revolver, may contain similar restrictions.

      Q: What will PPG receive in the Transactions?
      A:   PPG will receive the cash proceeds of the Term Facility, and will receive the Debt Securities. The Debt
           Securities are expected to be issued by Splitco to PPG prior to the Distribution. The Term Facility and Debt
           Securities will be the debt obligations of Splitco and, following the consummation of the Merger, will be
           guaranteed by Georgia Gulf and certain of its subsidiaries. As a result, PPG will receive total cash proceeds
           of approximately $900.0 million in connection with the Separation and the Distribution, subject to
           adjustments.

      Q.   What will you receive in the Transactions?
      A.   In the exchange offer, PPG will offer to you the right to exchange all or a portion of their shares of PPG
           common stock for shares of Splitco common stock. If the exchange offer is consummated but is not fully
           subsc1ibed, PPG will distribute the remaining shares of Splitco common stock on a pro rata basis to PPG
           shareholders whose shares of PPG common stock remain outstanding after consummation of this exchange
           offer. In the Merger, each shm·e of Splitco common stock will be converted into the right to receive Georgia
           Gulf common stock based on the exchange ratio set forth in the Merger Agreement, as described in the
           section of this document entitled ''The Merger Agreement-Merger Consideration."

      Q: Are there any conditions to the consummation of' the Transactions?
      A:   Yes. Consummation of the Transactions is subject to a number of conditions, including:
           •    the approval of Georgia Gulf's stockholders of the issuance of shm·es of Georgia Gulf common stock in
                the Merger;
           •    the receipt of ce11ain rulings from the Internal Revenue Service (the ''IRS");
           •    the receipt by PPG of the Distribution Tax Opinion;
                the completion of the various transaction steps contemplated by the Merger Agreement and the
                Separation Agreement, including the Separation and the Distribution;
                clearance of the Merger under applicable antitrust or competition laws in Canada and the United States;
                and
                other customary conditions.
           If Georgia Gulf waives the satisfaction of a material condition to the consummation of the Transactions,
           Georgia Gulf will evaluate the appropriate facts and circumstances at that time and resolicit stockholder
           approval of the issuance of shares of Georgia Gulf common stock in the Merger if required to do so by law.
           This document describes these conditions in more detail under "The Merger Agreement- Conditions to the
           Merger."

      Q: When will the Transactions be completed?
      A:   The Transactions are expected to be completed in late 2012 or early 2013. However, it is possible that the
           Transactions could be completed at a later time or not at all. For a discussion of the conditions to the
           Transactions, see ''The Merger Agreement- Conditions to the Merger."

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      Q: Are there risks associated with the Transactions?
      A:   Yes. The material risks associated with the Transactions are discussed in the section of this document
           entitled "Risk Factors." Those risks include, among others, the possibility that Georgia Gulf may fail to
           realize the anticipated benefits of the Merger, the uncertainty that Georgia Gulf will be able to integrate the
           PPG Chlor-alkali and Derivatives Business successfully, the possibility that Georgia Gulf may be unable to
           provide benefits and services or access to equivalent financial strength and resources to the PPG
           Chlor-alkali and Derivatives Business that historically have been provided by PPG, the additional long-term
           indebtedness and liabilities that Georgia Gulf will have following the consummation of the Transactions and
           the substantial dilution to the ownership interest of current Georgia Gulf stockholders following the
           consummation of the Merger.

      Q: What stockholder approvals are needed in connection with the Transactions?
      A:   Georgia Gulf cannot complete the Transactions unless the proposal relating to the issuance of shares of
           Georgia Gulf common stock in the Merger is approved by the affirmative vote of a majority of the shares of
           Georgia Gulf common stock represented and voting at the special meeting, either in person or by proxy
           (provided that the total votes cast on the proposal represent over 50% in interest of all shares entitled to vote
           on the proposal).

      Q: Where will the Georgia Gulf shares to be issued in the Merger be listed?
      A:   Georgia Gulf common stock is listed on the NYSE under ·'GGC." After the consummation of the
           Transactions, all shares of Georgia Gulf common stock issued in the Merger, and all other outstanding
           shares of Georgia Gulf common stock, will continue to be listed on the NYSE.




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                                                        SUMMARY

           The following summary contains certain information described in more detail elsewhere in this document. It
      does not contain all the details concerning the Transactions, including information that may be important to you.
      To better understand the Transactions, you should carefully review this entire document and the documents it
      refers to. See "Where You Can Find More Information; Incorporation by Reference. "


      The Companies
          Georgia Gulf Corporation

          Georgia Gulf Corporation
          115 Perimeter Center Place, Suite 460
          Atlanta, Georgia 30346
          Telephone: (770) 395-4500

           Georgia Gulf Corporation is a leading, integrated North American manufacturer and international marketer
      of chemicals and building products. Georgia Gulf manufactures two chemical lines, chlorovinyls and aromatics,
      as well as vinyl-based building and home improvement products. Georgia Gulf's vinyl-based building and home
      improvement products, marketed under the Royal Building Products and Exterior Portfolio brands, include
      window and door profiles, mouldings, siding, pipe and pipe fittings and deck products. Georgia Gulf,
      headquartered in Atlanta, Georgia, has manufacturing facilities located throughout North America to provide
      industry-leading service to customers.

          Grizzly Acquisition Sub, Inc.

          Grizzly Acquisition Sub, Inc.
          c/o Georgia Gulf Corporation
          115 Pe1imeter Center Place, Suite 460
          Atlanta, Georgia 30346
          Telephone: (770) 395-4500

            Grizzly Acquisition Sub, Inc., a Delaware corporation referred to in this document as Merger Sub, is a
      newly formed, direct wholly-owned subsidiary of Georgia Gulf that was organized specifically for the purpose of
      completing the Merger. Merger Sub has engaged in no business activities to date and it has no material assets or
      liabilities of any kind, other than those incident to its formation and in connection with the Transactions.

           PPG Industries, Inc.

          PPG Industries, Inc.
          One PPG Place
          Pittsburgh, Pennsylvania 15272
          Telephone: (412) 434-3131

           PPG Industries, Inc., incorporated in Pennsylvania in 1883, is a leading coatings and specialty products
      company. PPG's net sales in 2011 totaled $14,885 million and 2011 net income was $1 ,095 million. PPG's
      corporate headquarters is located in Pittsburgh, Pennsylvania. PPG has manufacturing facilities, sales offices,
      research and development centers and distribution centers located throughout the world. At December 31, 2011
      PPG operated 128 manufactming facilities in 45 counaies.




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           Eagle Spinco Inc.

           Eagle Spinco Inc.
           c/o PPG Industiies, Inc.
           One PPG Place
           Pittsburgh, Pennsylvania 15272
           Telephone: (412) 434-3131

           Eagle Spinco Inc., a Delaware corporation referred to in this document as Splitco, is a newly formed, direct
      wholly-owned subsidiary of PPG that was organized specifically for the purpose of effecting the Separation.
      Splitco bas engaged in no business activities to date and it has no material assets or liabilities of any kind, other
      than those incident to its formation and those incurred in connection with the Transactions.


      The Transactions
            On July 19, 2012, Georgia Gulf and PPG announced that they, along with Splitco and Merger Sub, bad
      entered into the Merger Agreement, and that PPG and Splitco had entered into the Separation Agreement, which
      together provide for the combination of Georgia Gulf's business and the PPG Chlor-alkali and Derivatives
      Business. In the Transactions, PPG will transfer the PPG Chlor-al.kali and Derivatives Business to Splitco. Prior
      to the Distribution, PPG will receive the cash proceeds of approximately $225 .0 million from borrowings under
      the Term Facility through a distiibution in connection with the Separation and p1ior to the consummation of the
      Merger. PPG will also receive approximately $675.0 million in Debt Secmities, which are expected to be issued
      by Splitco to PPG prior to the Distiibution, and then 11·ansferred on or about the closing date of the Merger to
      investment banks and/or commercial banks in satisfaction of the debt obligations of PPG described in the section
      entitled "Debt Financing- PPG Bridge Facility."

            On the closing date of the Merger, PPG will distiibute shares of Splitco common stock to its paiticipating
      shareholders in an exchange offer. If the exchange offer is consummated but is not ftilly subsc1ibed, PPG will
      disnibute the remaining shares of Splitco common stock on a pro rata basis to PPG shareholders whose shares of
      PPG common stock remain outstanding after consummation of the exchange offer. If there is a pro rata
      disnibution, the exchange agent will calculate the exact number of shares of Splitco common stock not
      exchanged in the exchange offer and to be disnibuted on a pro rata basis, and the number of shares of Georgia
      Gulf common stock into which the remaining shares of Splitco common stock will be converted in the Merger
      will be transferred to PPG shareholders (after giving effect to the consummation of the exchange offer) as
      promptly as practicable thereafter. Immediately after the Distribution and on the closing date of the Merger,
      Merger Sub will merge with and into Splitco, whereby the separate corporate existence of Merger Sub will cease
      and Splitco will continue as the surviving company and a wholly-owned subsidiary of Georgia Gulf. In the
      Merger, each share of Splitco common stock will be converted into the right to receive Georgia Gulf common
      stock based on the exchange ratio set forth in the Merger Agreement, as described in the section of this document
      entitled "The Merger Agreement- Merger Consideration."

           Georgia Gulf expects to issue 35,200,000 million shares of Georgia Gulf common stock in the Merger,
      although the exact number of shares to be issued in the Merger will not be known until the closing date. Based
      upon the reported closing sale price of$           per share for Georgia Gulf common stock on the NYSE on
                , 2012, the total value of the shares to be issued by Georgia Gulf and the amount of cash received by
      PPG in the Transactions, including the Term Facility and the Debt Securities, which will be the obligations of
      Splitco and, following the consummation of the Merger, will be guaranteed by Georgia Gulf, would have been
      approximately $           million. The value of the consideration to be paid by Georgia Gulf will depend on the
      market price of shares of Georgia Gulf common stock at the time of determination.



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           After the Merger, Georgia Gulf will own and operate the PPG Chlor-alkali and De1ivatives Business
      through Splitco, which will be Georgia Gulf's wholly-owned subsidiary, and will also continue its current
      businesses. All shares of Georgia Gulf common stock, including those issued in the Merger, will be listed on the
      NYSE under Georgia Gulf's cmTent trading symbol ''GGC."

           Below is a step-by-step desc1iption of the sequence of material events relating to the Transactions.


      Step l   Separation
                PPG will transfer to Splitco, a newly formed, direct wholly-owned subsidiary of PPG, the PPG
                Chlor-alkali and Derivatives Business.


      Step 2   lncurrence of Debt
                Prior to the Distribution, Splitco will incur new indebtedness in the form of the Term Facility in the
                amount of approximately $225 .0 million and issue approximately $675 .0 million in aggregate principal
                amount of Debt Securities to PPG. PPG will ultimately receive the cash proceeds from the
                approximately $225.0 million term loan under the Term Facility through a distribution in connection
                with the Separation and prior to the consummation of the Merger. PPG is then expected to transfer the
                Debt Securities on or about the closing date of the Merger to investment banks and/or commercial
                banks in satisfaction of the debt obligations of PPG described in the section entitled "Debt Financing-
                PPG Bridge Facility." The Debt Secmities are subsequently expected to be sold by the investment
                banks and/or commercial banks to third-patty investors as described below. PPG is expected to receive
                approximately $900.0 million in cash from the Term Facility and Debt Securities.


      Step 3   Distribution- Exchange Offer
                PPG will offer to PPG shareholders the right to exchange all or a portion of their shares of PPG
                common stock for shares of Splitco common stock in an exchange offer.
                If the exchange offer is consummated but is not fully subscribed, PPG will distribute the remaining
                shares of Splitco common stock on a pro rata basis to PPG shareholders whose shares of PPG common
                stock remain outstanding after consummation of the exchange offer. If there is a pro rata distribution,
                the exchange agent will calculate the exact number of shares of Splitco common stock not exchanged
                in the exchange offer and to be disnibuted on a pro rata basis, and the number of shares of Georgia
                Gulf common stock into which the remaining shares of Splitco common stock will be conve1ted in the
                Merger will be transferred to PPG shareholders (after giving effect to the consummation of the
                exchange offer) as promptly as practicable thereafter.
                The exchange agent will hold, for the account of the relevant PPG shareholders, the global certificate(s)
                representing all of the outstanding shares of Splitco common stock, pending the consummation of the
                Merger. Shares of Splitco common stock will not be able to be traded during this period.
                As previously noted, Splitco has prepared this document under the assumption that the shares of
                Splitco will be distributed to PPG shareholders pursuant to a split-off. Based on market conditions prior
                to closing, PPG will detennine whether the Splitco shares will be distiibuted to PPG's shareholders in a
                spin-off or a split-off and, once a final decision is made, this document will be amended to reflect that
                decision, if necessary.




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      Step 4   Merger
                Immediately after the Distribution, and on the closing date of the Merger, Merger Sub will merge with
                and into Splitco, whereby the separate corporate existence of Merger Sub will cease and Splitco will
                continue as the surviving company and as a wholly-owned subsidiary of Georgia Gulf. In the Merger,
                each share of Splitco common stock will be converted into the right to receive Georgia Gulf common
                stock based on the exchange ratio set forth in the Merger Agreement, as described in the section of this
                document entitled "The Merger Agreement- Merger Consideration." rollowing the consummation of
                the Merger, Georgia Gulf and certain of its subsidimies will guarantee the Term Facility and the Debt
                Secmi ties.
                Immediately after consummation of the Merger, at least 50.5% of Georgia Gulf common stock is
                expected to be held by pre-Merger holders of PPG common stock and no more than 49.5% of Georgia
                Gulf common stock is expected to be held by pre-Merger Georgia Gulf stockholders.


      Step 5   Sale of Debt Securities to Third-Party Investors
                As described in Step 2 above, Georgia Gulf and PPG expect the Debt Securities to be transferred by
                PPG on or about the closing date of the Merger to investment banks and/or commercial banks in the
                Debt Exchange in exchange for debt obligations of PPG described in the section of this document
                entitled "Debt Financing- PPG Bridge Facility.'' The Debt Securities will then be sold by the
                investment banks and/or commercial banks to third-party investors pursuant to an exemption from
                registration m1der the Securities Act in either a private placement or a " Rule 144A" transaction.

           Set fo1ih below are diagrams that graphically illustrate, in simplified form, the existing corporate structure,
      the corporate structure immediately following the Distribution, and the corporate stm cture immediately
      following the consummation of the Transactions contemplated by the Merger Agreement.


                      Existing Structure                          Structure Following the Separation and the Distribution
                                                                                  but Before the Merger




            PPG (Owns the
            PPG Chlor-alkall         Georgia Gulf
            and Derivatives                                                            Splitco (Owns the     Georgia Gulf
               Business)                                               PPG             PPG Chlor-alkali
                                                                                        and Derivatives
                                                                                      Business and is the
                                                                                       Obligor under the
                                                                                         Term Facility
                                                                                      and Debt Securities)
                Splltco              Mer ger Sub
                                                                                                             Merger Sub




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                                      Structure Immediately Following the Transactions




                                              ~50.5%                        ~49.5%




                                PPG                       Georgia Gulf




                                                         Splitco (Owns the
                                                        PPG Chlor-alkall and
                                                     Derivatives Business and
                                                   Is the Obllgor under the Term
                                                   Facility and Debt Securities)




           After completion of all of the steps described above:
            •   Georgia Gulf's wholly-owned subsidiary, Splitco, will hold the PPG Chlor-alkali and Derivatives
                Business and will be the obligor under the Term Facility and the Debt Securities, which will be
                guaranteed by Georgia Gulf and certain of its subsidiaries; and
            •   PPG will receive the approximately $225.0 million in cash proceeds from the Term Facility and will
                exchange the approximately $675 .0 million in Debt Securities for debt obligations of PPG in the Debt
                Exchange (and the Debt Securities will then be sold to third-party investors), resulting in PPG
                receiving approximately $900.0 million in cash from the Transactions.

      Immediately after consummation of the Merger, at least 50.5% of Georgia Gulf common stock is expected to be
      held by pre-Merger holders of PPG common stock and no more than 49.5% of Georgia Gulf common stock is
      expected to be held by pre-Merger Georgia Gulf stockholders. In connection with the Transactions, Georgia
      Gulf, Merger Sub, PPG and/or Splitco have entered into or will enter into the Additional Agreements relating to,
      among other things, ce11ain tax matters, ce11ain employee matters, the provision of certain transition services
      dming a transition pe1iod following the consummation of the Transactions and the shming of facilities, services
      and supplies. See ·'Other Agreements."

           Vaiious factors were considered by Georgia Gulf and PPG in negotiating the tenns of the Transactions,
      including the equity ownership levels of Georgia Gulf stockholders and the PPG shareholders receiving shm·es of
      Georgia Gulf common stock in the Disnibution. The p1incipal factors considered by the pm1ies negotiating the
      tem1s of the Transactions were the strategic and financial benefits that could be expected to be achieved by
      combining Georgia Gulf and the PPG Chlor-alkali and Derivatives Business relative to the future prospects of
      Georgia Gulf on a standalone basis, the relative actual results of operations and prospects of Georgia Gulf and of


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      the PPG Chlor-alkali and De1ivatives Business, synergies expected to be realized in the combination, as well as
      other alternatives that may be available to Georgia Gulf, and the risks and unce11ainties associated with the
      Transactions and with such alternatives, and the other factors identified in the sections of this document entitled
      "The Transactions-Background of the Transactions" and ''The Transactions-Georgia Gul f s Reasons for the
      Transactions." PPG also considered, among other things, the value to PPG and PPG's shareholders that could be
      realized in the Transactions as compared to the value to PPG and PPG's shareholders that could be realized if the
      Transactions did not occur, the proposed tax treatment of the Transactions, and the other factors identified in the
      section of this document entitled "The Transactions- PPG's Reasons for the Transactions.''


      Number of' Shares of' Splitco Common Stock to Be Distributed to PPG Shareholders
      PPG is offering to exchange all shares of Splitco common stock for shares of PPG common stock validly
      tendered and not properly withdrawn. Splitco will authorize the issuance of a number of shares of Splitco
      common stock such that the total number of shares of Splitco common stock outstanding immediately prior to the
      effective time of the Merger will equal the greater of (i) 35,200,000 shares or (ii) the product of (x) the number of
      shares of Georgia Gulf common stock issued and outstanding immediately prior to the effective time of the
      Merger multiplied by (y) 1.02020202, subject to adjustment in certain circumstances .


      Terms of' this Exchange Offer
      PPG is offe1ing holders of shares of PPG common stock the opportunity to exchange their shares for shares of
      Splitco common stock. You may tender all, some or none of your shares of PPG common stock. This document
      and related documents are being sent to persons who directly held shares of PPG common stock on              , 2012
      and brokers, banks and similar persons whose names or the names of whose nominees appear on PPG's
      shareholder list or, if applicable, who are listed as pmticipants in a clearing agency's secmity position listing for
      subsequent transmittal to beneficial owners of PPG's common stock.

      PPG common stock validly tendered and not properly withdrawn will be accepted for exchange at the exchange
      ratio determined as described under "This Exchange Offer-Terms of this Exchange Offer," on the terms and
      conditions of this exchange offer and subject to the limitations described below, including the proration
      provisions. PPG will promptly return any shares of PPG common stock that are not accepted for exchange
      following the expiration of this exchange offer and the determination of the final proration factor, if any,
      desCiibed below.




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      For the purposes of illustration, the table below indicates the number of shares of Splitco common stock that you
      would receive per share of PPG common stock you validly tender, calculated on the basis described under "This
      Exchange Offer- Tenns of this Exchange Offer" and taking into account the upper limit, assuming a range of
      averages of the daily VW AP of PPG common stock and Georgia Gulf common stock on the Valuation Dates.
      The first row of the table below shows the indicative calculated per- share values of PPG common stock and
      Splitco common stock and the indicative exchange ratio that would have been in effect following the official
      close of trading on the NYSE on          , 2012, based on the daily VWAPs of PPG common stock and Georgia
      Gulf common stock on          , 2012,       , 2012 and       , 2012. The table also shows the effects of a %
      increase or decrease in either or both the calculated per- share values of PPG common stock and Splitco common
      stock based on changes relative to the values as of        , 2012.

                                                                                                   Shares or
                                                              Calculated      Calculated       Splitco common
                                                               per-share       per-share        stock per PPG
                                            Georgia Gulf     value of PPG   value or Splitco    common stock     Calculated
      PPG common stock                     common stock     common stock    common stock           tendered     Value Ratio(l)

      As of    '2012                     As of    , 2012
      Down      %                        Up     %
      Down      %                        Unchanged
      Down      %                        Down      %
      Unchanged                          Up     %
      Unchanged                          Down      %
      Up     %                           Up     %
      Up     %                           Unchanged
      Up     %                           Down      %(2)

      (1) The Calculated Value Ratio equals (i) the calculated per-share value of Splitco common stock multiplied by
          the exchange ratio, divided by (ii) the calculated per-share value of PPG common stock.
      (2) In this scenario, the upper limit is in effect. Absent the upper limit, the exchange ratio would have been
                shares of Splitco common stock per share of PPG common stock tendered. In this scenario, PPG would
          announce that the upper limit on the number of shares that can be received for each share of PPG common
          stock tendered is in effect at the expiration of the exchange offer period no later than 4:30 p.m., New York
          City time, on the expiration date, that the exchange ratio will be fixed at the upper limit and this exchange
          offer will be extended until 12:00 midnight, New York City time, on the second trading day following the
          originally contemplated expiration date.

      During the three- month period of         , 2012 through       , 2012, the highest closing price of PPG common
      stock on the NYSE was $           and the lowest closing p1ice of Georgia Gulf common stock on the NYSE was
      $      . If the calculated per- share values of PPG common stock and Splitco common stock equaled these closing
      prices, you would have received only the limit of         shares of Splitco common stock for each share of PPG
      common stock tendered, and the value of such shares of Splitco common stock, based on the Georgia Gulf
      common stock p1ice, would have been less than the value of PPG common stock accepted for exchange
      (approximately$          of Splitco common stock for each $1.00 of PPG common stock accepted for exchange).


      Extension; Termination
      This exchange offer, and your withdrawal iights, will expire at 12:00 midnight, New York City time, on
      2012, unless this exchange offer is extended. You must tender your shares of PPG common stock prior to this
      time if you want to participate in this exchange offer. PPG may extend or terminate this exchange offer as
      described in this document.




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      Mandatory Extension
      If the upper limit on the number of shares that can be received for each share of PPG common stock tendered is
      in effect at the expiration of the exchange offer period, then the exchange ratio will be fixed at the upper limit
      and a Mandatory Extension of this exchange offer will be made until 12:00 midnight, New York City time, on
      the second trading day following the originally contemplated expiration date.

      In case of an extension of this exchange offer (mandatory or otherwise), PPG will publicly announce the
      extension by press release no later than 9:00 a.m., New York City time, on the previously scheduled expiration
      date.

      Conditions for Co11summatio11 of this Exchange Offer
      PPG's obligation to exchange shares of Splitco common stock for shares of PPG common stock is subject to the
      conditions listed under ''This Exchange Offer- Conditions for Consummation of this Exchange Offer," including
      the satisfaction of conditions to the Transactions and other conditions. These conditions include:
                the absence of a market disruption event;
                the approval of Georgia Gulf's stockholders of the issuance of shares of Georgia Gulf common stock in
                the Merger;
           •    PPG's receipt of a private letter ruling from the Internal Revenue Service (the "IRS") regarding the
                tax -free treatment of certain aspects of the Transactions;
                the receipt by PPG of a tax opinion from counsel to PPG;
           •    the requirement that no one shareholder of Splitco (individually or together with all members of any
                ·'group," as defined in the Exchange Act) after giving effect to this exchange offer and the Merger hold
                greater than 20% of the outstanding common stock of Georgia Gulf;
                the completion of various transaction steps; and
                other customary conditions.

      For a description of the material conditions precedent to the Transactions, see "The Merger Agreement-
      Conditions to the Merger."

      PPG may waive any of the conditions to this exchange offer prior to the expiration of this exchange offer. Splitco
      has no right to waive any of the conditions to this exchange offer.

      Proration; Odd-Lots
      If, upon the expiration of this exchange offer, PPG shareholders have validly tendered more shares of PPG
      common stock than PPG is able to accept for exchange (taking into account the exchange ratio and the total
      number of shares of Splitco common stock owned by PPG), PPG will accept for exchange the shares of PPG
      common stock validly tendered and not properly withdrawn by each tende1ing shareholder on a pro rata basis,
      based on the proportion that the total number of shares of PPG common stock to be accepted bears to the total
      number of shares of PPG common stock validly tendered and not properly withdrawn (rounded to the nearest
      whole number of shares of PPG common stock, and subject to any adjustment necessary to ensure the exchange
      of all shares of Splitco common stock owned by PPG), except for tenders of odd-lots, as desc1ibed below.

      PPG will announce the proration factor at www.       .com/     I and separately by press release as promptly as
      practicable after the expiration date. Upon determining the number of shares of PPG common stock validly
      tendered for exchange and not properly withdrawn, PPG will announce the final results of the exchange offer,
      including the final proration factor.


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      Beneficial holders of less than 100 shares of PPG common stock who validly tender all of their shares may elect
      not to be subject to proration by completing the box in the applicable letter of transmittal entitled " Odd-Lot
      Shares." If your odd-lot shares are held by a broker for your account, you can contact the broker and request this
      preferential treatment. All of your odd-lot shares will be accepted for exchange without proration if PPG
      completes this exchange offer.


      Fractional Shares
      Immediately following the consummation of this exchange offer, Merger Sub will be merged with and into
      Splitco, whereby the separate corporate existence of Merger Sub will cease and Splitco will continue as the
      surviving company and a wholly-owned subsidiary of Georgia Gulf. Each outstanding share of Splitco common
      stock will be converted into the right to receive a number of shares of Georgia Gulf common stock equal to
      (a) the greater of (i) 35,200,000 shares of Georgia Gulf common stock or (ii) the product of (x) the number of
      shares of Georgia Gulf common stock issued and outstanding immediately prior to the effective time of the
      Merger multiplied by (y) 1.02020202, divided by (b) the number of shares of Splitco common stock issued and
      outstanding immediately prior to the effective time of the Merger. In this conversion of shares of Splitco
      common stock into shares of Georgia Gulf common stock, no fractional shares of Georgia Gulf common stock
      will be delivered to holders of Splitco common stock. All fractional shares of Georgia Gulf common stock that a
      holder of shares of Splitco common stock would otherwise be entitled to receive as a result of the Merger will be
      aggregated by Georgia Gulf's transfer agent. The transfer agent will cause the whole shares obtained thereby to
      be sold on behalf of such holders of shares of Splitco common stock that would otherwise be entitled to receive
      such fractional shares of Georgia Gulf common stock in the Merger, in the open market or otherwise as
      reasonably directed by PPG, and in no case later than five business days after the Merger. The transfer agent will
      make available the net proceeds thereof, after deducting any required withholding taxes and brokerage charges,
      commissions and transfer taxes, on a pro rata basis, without interest, as soon as practicable to the holders of
      Splitco common stock that would otherwise be entitled to receive such fractional shares of Georgia Gulf common
      stock in the Merger.


      Procedures for Tendering
      For you to validly tender your shares of PPG common stock pursuant to this exchange offer, prior to the
      expiration of this exchange offer:
                If you hold shares of PPG common stock, you must deliver to the exchange offer agent at an address
                listed on the letter of transmittal for PPG common stock you will receive, a properly completed and
                duly executed letter of transmittal (or a manually executed facsimile of that document), along with any
                required signature guarantees and any other required documents, and in the case of shares held in
                ce1tificated form, book-entry via DRS, the ce1tificates representing the shares of PPG common stock
                tendered.
                If you hold shares of PPG common stock through a broker, you should receive instructions from your
                broker on how to participate in this exchange offer. In this situation, do not complete a letter of
                transmittal to tender your PPG common stock. Please contact your broker directly if you have not yet
                received instructions. Some financial institutions may also effect tenders by book-entry transfer
                through The Depository Trust Company.


      Delivery of Shares of Splitco Common Stock
      Upon consummation of this exchange offer, PPG will irrevocably deliver to the exchange offer agent a global
      certificate representing all of the Splitco common stock being exchanged in this exchange offer, with irrevocable
      instructions to hold the shares of Splitco common stock in trust for the holders of shares of PPG common stock


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      validly tendered and not properly withdrawn in the exchange offer and, in the case of a pro rata distribution, if
      any, PPG shareholders whose shares of PPG common stock remain outstanding after the consummation of the
      exchange offer. Georgia Gulf will deposit with the transfer agent for the benefit of persons who received shares
      of Splitco common stock in this exchange offer certificates or book-entry autho1izations representing shares of
      Georgia Gulf common stock, with irrevocable instructions to hold the shares of Georgia Gulf common stock in
      uust for the holders of Splitco common stock. Shares of Georgia Gulf common stock will be delivered
      immediately following the expiration of this exchange offer, the acceptance of PPG common stock for exchange,
      the determination of the final proration factor, if any, and the effectiveness of the Merger, pursuant to the
      procedures determined by the exchange offer agent and PPG's transfer agent. See "This Exchange Offer- Terms
      of this Exchange Offer- Exchange of Shares of PPG Common Stock.''


      Withdrawal Rights
      You may withdraw your tendered PPG common stock at any time prior to the expiration of this exchange offer
      by following the procedures described herein. If you change your mind again, you may re-tender your PPG
      common stock by again following the exchange offer procedures prior to the expiration of this exchange offer.

      No Appraisal Rights
      No appraisal rights are available to holders of PPG common stock in connection with this exchange offer or any
      pro rata distribution of shares of Splitco common stock.

      Distribution of Any Shares of Splitco Common Stock Remaining After this Exchange Offer
      All shares of Splitco common stock owned by PPG that are not exchanged in this exchange offer will be
      distiibuted on a pro rata basis to the holders of shares of PPG common stock immediately following the
      consummation of this exchange offer, with a record date to be announced by PPG on such date.

      If this exchange offer is consummated, the exchange offer agent will calculate the exact number of shares of
      Splitco common stock not exchanged in this exchange offer to be distributed on a pro rata basis, and that number
      of shares of Splitco common stock will be held in trust for holders of PPG common stock entitled thereto.

      If this exchange offer is terminated by PPG without the exchange of shares, but the conditions for consummation
      of the Transactions have otherwise been satisfied, PPG intends to distiibute all shares of Splitco common stock
      owned by PPG on a pro rata basis to the holders of PPG common stock and deferred stock awards, with a record
      date to be announced by PPG.


      Legal Limitations; Certain Matters Relating to Non-U.S. Jurisdictions
      This document is not an offer to sell or exchange and it is not a solicitation of an offer to buy any shares of
      Splitco common stock in any j urisdiction in which the offer, sale or exchange is not permitted. Countries outside
      the United States generally have their own legal requirements that govern securities offerings made to persons
      resident in those countries and often impose stringent requirements about the form and content of offers made to
      the general public. None of PPG, Splitco or Georgia Gulf have taken any action under non-U.S. regulations to
      facilitate a public offer to exchange the shares of Splitco common stock outside the United States. Accordingly,
      the ability of any non-U.S . person to tender shares of PPG common stock in the exchange offer will depend on
      whether there is an exemption available under the laws of such person's home country that would permit the
      person to participate in the exchange offer without the need for PPG to take any action to facilitate a public
      offering in that country. For example, some countries exempt transactions from the rnles governing public
      offerings if they involve persons who meet ce11ain eligibility requirements relating to their status as sophisticated
      or professional investors.


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      Non-U.S. shareholders should consult their advisors in considering whether they may pait icipate in the exchange
      offer in accordance with the laws of their home countiies and, if they do participate, whether there are any
      res11ictions or limitations on transactions in the shares of Splitco common stock (or Georgia Gulf common stock)
      that may apply in their home counllies. PPG, Georgia Gulf and Splitco cannot provide any assurance about
      whether such limitations may exist. See "The Exchange Offer-Ce1tain Matters Relating to Non-U.S.
      Jurisdictions" for additional infonnation about limitations on the exchange offer outside the United States.


      Risk Factors
      In deciding whether to tender your shares of PPG common stock in this exchange offer, you should carefully
      consider the matters described in the section "Risk Factors,'' as well as other information included in this
      document and the other documents to which you have been referred.

      Debt Financing
      In connection with the entI)' into the Merger Agreement, PPG and Georgia Gulf entered into ce1tain commitment
      letters with other parties thereto pursuant to which those parties agreed to provide various financing in
      connection with the Transactions. The terms of the debt financing, including any conditions thereto and
      covenants thereunder, will be set out in various definitive docmnentation to be entered into by the respective
      parties. See ''Debt Financing".

      Board of Directors and Management of Georgia Gulf Following the Transactions
      Following the consummation of the exchange offer, Merger Sub will merge with and into Splitco, whereby the
      separate corporate existence of Merger Sub will cease and Splitco will continue as the surviving company and a
      wholly owned subsidiary of Georgia Gulf. In connection with the Merger, Georgia Gulf will increase the size of
      its board of directors by three members, and three individuals selected by PPG and approved by the Nominating
      and Governance Committee of the board of directors of Georgia Gulf will be appointed to fill the vacancies. In
      accordance with the Merger Agreement, these individuals will also be nominated for re-election to the board of
      directors of Georgia Gulf at Georgia Gulf's 2013 annual meeting of stockholders. The executive officers of
      Georgia Gulf immediately prior to the consummation of the Merger are expected to be the executive officers of
      Georgia Gulf immediately following the consummation of the Merger.

      Georgia Gulf Stockholder Vote
      Georgia Gulf cannot complete the Transactions unless the proposal relating to the issuance of shares of Georgia
      Gulf common stock in the Merger is approved by the affirmative vote of a majority of the shares of Georgia Gulf
      common stock represented and voting at the special meeting, either in person or by proxy (provided that the total
      votes cast on the proposal represent over 50% in interest of all shares entitled to vote on the proposal).

      Accounting Treatment and Considerations
      ASC 805, Business Combinations, requires the use of the acquisition method of accounting for business
      combinations . In applying the acquisition method, it is necessm)' to identify both the accounting acquiree and the
      accounting acquiror. In a business combination effected through an exchange of equity interests, such as the
      Merger, the entity that issues the interests (Georgia Gulf in this case) is generally the acquiring entity. In
      identifying the acquiring entity in a combination effected through an exchange of equity interests, however, all
      pertinent facts and circumstances must be considered, including the following:
                The relative voting interests of Georgia Gulf after the Transactions. In this case, PPG shareholders
                pmticipating in the exchange offer (and pro rata disnibution, if any) are expected to receive at least
                50.5% of the equity ownership and associated voting iights in Georgia Gulf after the Transactions.


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           •    The composition of the governing body of Georgia Gulf after the Transactions . In this case, the board
                of directors of Georgia Gulf immediately following the Merger will consist of the members of the
                board of directors of Georgia Gulf immediately prior to the consummation of the Merger. In addition,
                as of the consummation of the Merger, Georgia Gulf will increase the size of its board of directors by
                three members, and three individuals selected by PPG and approved by the Nominating and
                Governance Committee of the board of directors of Georgia Gulf will be appointed to fill the
                vacancies.
           •    The composition of the senior management of Georgia Gulf after the Transactions. In this case,
                Georgia Gulf's executive officers following the Merger will consist of Georgia Gulfs executive
                officers immediately prior to the Merger.

      Georgia Gulfs management has determined that Georgia Gulf will be the accounting acquiror in the Merger
      based on the facts and circumstances outlined above and the detailed analysis of the relevant GAAP guidance.
      Consequently, Georgia Gulf will apply acquisition accounting to the assets acquired and liabilities assumed of
      Splitco upon consummation of the Merger. Upon consummation of the Merger, the historical financial statements
      will reflect only the operations and financial condition of Georgia Gulf.

      Material U.S. Federal Income Tax Consequences of' the Distribution and the Merger
      Tue consummation of the Distribution (which includes this exchange offer) and related transactions is
      conditioned upon the receipt of the Private Letter Ruling (as defined below m1der the heading ''The
      Transactions-Material U.S. Federal Income Tax Consequences of the Distribution and the Merger- The
      Distribution") and the Disnibution Tax Opinion (as defined below under the heading "The Transactions-
      Mate1ial U.S. Federal Income Tax Consequences of the Distiibution and the Merger- The Disnibution"). On the
      basis that the Distiibution, together with ce11ain related transactions, qualifies as a "reorganization" for U.S.
      federal income tax purposes under Sections 355 and 368{a)(l)(D) of the Code, in general, for U.S. federal
      income tax pm·poses, no gain or loss will be recognized by, and no amount will be included in the income of,
      U.S. holders of PPG common stock upon the receipt of Splitco common stock in this exchange offer or in any
      pro rata distribution of Splitco common stock distributed to holders of PPG common stock if this exchange offer
      is undersubsc1ibed (or if PPG dete1mines not to consummate the exchange offer).

      Tue consmnmation of the Merger is conditioned upon the receipt of the P1ivate Letter Ruling and the
      Distribution Tax Opinion described above, as well as the Merger Tax Opinions (as defined below under the
      heading "The Transactions-Material U.S. Federal Income Tax Consequences of the Distribution and the
      Merger- The Merger"). On the basis that the Merger qualifies as a "reorganization" within the meaning of
      Section 368(a) of the Code, in general, for U.S. federal income tax purposes, no gain or loss will be recognized
      by, and no amount will be included in the income of, U.S. holders of Splitco common stock upon the receipt of
      shares of Georgia Gulf common stock in the Merger, except for any gain or loss recognized with respect to cash
      received in lieu of a fractional share of Georgia Gulf common stock.

      Although a Private Letter Ruling from the IRS generally is binding on the IRS, PPG and Splitco will not be able
      to rely on the ruling if the factual representations made to the IRS in connection with the private letter ruling
      request are untrue or incomplete in any material respect, or if undertakings made to the IRS in connection with
      the request for the Private Letter Ruling have been violated. If the Distribution and/or the Merger fails to qualify
      for tax- free treatment, PPG and/or its shareholders will be subject to tax. See "Risk Factors- Risks Related to
      the Transactions- If the Distribution, including the Debt Exchange, does not qualify as a tax-free transaction
      under Section 368(a)(l)(D) or 355 of the Code or the Merger does not qualify as a tax-free "reorganization"
      under section 368(a) of the Code, including as a result of actions taken in connection with the Distribution or the
      Merger or as a result of subsequent acquisitions of shares of PPG, Georgia Gulf or Splitco stock, then PPG and/or




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      PPG shareholders may be required to pay substantial U.S. federal income taxes, and in ce11ain circumstances and
      subject to certain conditions, Splitco and Georgia Gulf may be required to indemnify PPG for any such tax
      liability."

      Tax matters are complicated and the tax consequences of the Transactions to you will depend on the facts of your
      own situation. You should read the summary in the section of this docmnent entitled "This Exchange Offer-
      Material U.S. Federal Income Tax Consequences of the Distribution and the Merger" and consult your own tax
      advisor for a full understanding of the tax consequences to you of the Transactions.




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                            SUMMARY HISTORICAL AND PROFORMA FINANCIAL DATA

            The following summary combined financial data of the PPG Chlor-alkali and De1ivatives Business and
      summary consolidated financial data of PPG and Georgia Gulf are being provided to help you in your analysis of
      the financial aspects of the Transactions. You should read this information in conjunction with the financial
      information included elsewhere and incorporated by reference into this docmnent. See ''Management's
      Discussion and Analysis of Financial Condition and Results of Operations for the PPG Chlor-alkali and
      Derivatives Business,'' "Where You Can Find More Information; Incorporation by Reference," "Information on
      the PPG Chlor-alkali and Derivatives Business," "Information on PPG," "Information on Georgia Gulf," and
      "Selected Historical and Pro Forma Financial Data."

      Summary Historical Combined Financial Data of the PPG Cblor-alkali and Derivatives Business
            The following summary histo1ical combined financial data of the PPG Chlor-alkali and De1ivatives
      Business for the years ended December 31, 2011, December 31, 20 l 0 and December 31, 2009 and as of
      December 31, 2011 and December 31, 2010 has been derived from the audited combined financial statements of
      the PPG Chlor-alkali and De1ivatives Business. The following summary histo1ical condensed combined financial
      data of the PPG Chlor-alkali and Derivatives Business for the six-month pe1iods ended June 30, 2012 and
      June 30, 2011, and as of June 30, 2012, June 30, 2011 and December 31, 2009, has been derived from the
      unaudited condensed combined financial statements of the PPG Chlor-alkali and Derivatives Business, but is not
      necessarily indicative of the results or the financial condition to be expected for the remainder of the year or any
      future date or period. The management of the PPG Chlor-alkali and Derivatives Business believes that the
      unaudited condensed combined financial statements reflect all normal and recurring adjustments necessary for a
      fair presentation of the results as of and for the interim periods presented. This information is only a summary
      and should be read in conjunction with "Management's Discussion and Analysis of Financial Condition and
      Results of Operations for the PPG Chlor-alkali and Derivatives Business" and the financial statements of the
      PPG Chlor-alkali and Derivatives Business and the notes thereto included elsewhere in this document.
                                                                                   Six Months Ended         Year Ended
                                                                                       Juue30,             December 31,
                                                                                    2012     2011      2011    2010    2009
      (111 Millio11s)
      Statement of Income Data:
      Net sales                                                                    $851      $893     $1,741 $1,441 $1,282
      Cost of sales, exclusive of depreciation and amortization                     574       613      1,224 1,117 1,001
      Selling, general and administrative                                            59        60        123    102    100
      Depreciation and amortization                                                  21        20         41     39     40
      Research and development- net                                                   1          l         2      2      2
      Business restrncturing                                                          1                                  6
      Other charges                                                                   4          7        10     11      9
      Other earnings                                                                 (7)       (13)      (27)    (7)   (12)
      Income before income taxes                                                     198      205        368    177    136
      Income tax expense                                                              68       67        122     65     43
                                                                                                                          --
      Net income attributable to the controlling and noncontrolling interests        130      138         246      112     93
           Less: Net income attributable to noncontrolling interests                  (7)      (6)        (13)      (7)    (5)
      Net income (atU'ibutable to the PPG Chlor-alkali and Derivatives Business)   $123      $132     $ 233 $ 105 $        88
                                                                                   --        -- - - - - - -
      Balance Sheet Data (at end of period):
      Total assets                                                                 $766      $716     $   734    $ 621 $ 601
      Working capital                                                              $163      $134     $   119    $ 81 $ 77
      Other long-term obligations                                                  $320      $274     $   320    $ 268 $ 264
      Total Parent company shareholders' equity                                    $229      $226     $   181    $ 132 $ 130
      Cash Flow Data:
      Cash from operating activities                                               $102      $106     $ 276 $ 142 $ 133
      Cash used for investing activities                                           $(22)     $(48)    $ (86) $ (43) $ (22)
      Cash used for financing activities                                           $(95)     $(63)    $ (174) $ (95) $ (123)



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      Summary Historical Consolidated Financial Data of PPG
           The following summary historical consolidated financial data of PPG as of and for each of the fiscal years in
      the three-year period ended December 31 , 2011 has been derived from the audited consolidated financial
      statements of PPG incorporated by reference in this document (except for the balance sheet financial data as of
      December 31 , 2009, which is not incorporated by reference in this document). The following summary historical
      condensed consolidated financial data of PPG as of and for each of the six-month periods ended June 30, 2012
      and June 30, 2011 has been de1i ved from the unaudited condensed consolidated financial statements of PPG
      incorporated by reference in this document but is not necessarily indicative of the results or financial condition to
      be expected for the remainder of the year or any future period. PPG's management believes that the unaudited
      condensed consolidated financial data reflects all normal and recurring adjustments necessary for a fair
      presentation of the data for the inte1im pe1iods presented. This information is only a smnmary and should be read
      in conjunction with the financial statements of PPG and the notes thereto and the ''Management's Discussion and
      Analysis of Financial Condition and Results of Operation" section contained in PPG's annual report on Form
      10-K for the year ended December 31, 2011 and quaiierly report on Form 10-Q for the quarter ended June 30,
      2012, each of which is incorporated by reference into this document. See ·'Where You Can Find More
      Information; Incorporation By Reference."

                                                                            Six Mouths Ended
                                                                                 June30,            Year Ended December 31,
                                                                               2012      2011      2011       2010       2009
      (111 Millions)
      Statement of Income Data:
      Net sales                                                            $ 7,707 $ 7,519 $14,885 $13,423 $12,239
      Cost of sales, exclusive of depreciation and amortization              4,581   4,544   9,081   8,214   7,539
      Selling, general and administrative expenses                           1,672   1,626   3,234   2,979   2,936
      Depreciation                                                             176     174     346     346     354
      Amortization                                                              56      62     121     124     126
      Research and development-net                                             224     213     430     394     388
      Interest expense                                                         101     108     210     189     193
      Interest income                                                          (19)    (21)    (42)    (34)    (28)
      Asbestos settlement-net                                                    6       6      12      12      13
      Business restructuring                                                   208                             186
      Other charges                                                            189      46      73      84      65
      Other earnings                                                           (65)    (90)   (177)   (180)   (150)
                                                                          ---
      Income before income taxes                                                 578       851      1,597      1,295       6 17
      Income tax expense                                                         131       220        385        415       191
      Net income ataibutable to the controlling and non controlling
        interests                                                                447       631      1,212        880       426
           Less: Net income ataibutable to noncona·olling interests              (72)      (63)      (117)      (111)      (90)
      Net income (attributable to PPG)                                     $     375 $     568 $ 1,095 $ 769 $             336
                                                                                                       ===
      Balance Sheet Data (at end of period):
      Total assets                                                         $14,817      $15,267   $14,382    $14,975    $14,240
      Working capital                                                      $ 2,586      $ 3,317   $ 2,992    $ 3,433    $ 2,404
      Long-term debt less current portion                                  $ 2,964      $ 3,613   $ 3,574    $ 4,043    $ 3,074
      Other long-term obligations                                          $ 3,613      $ 3,444   $ 3,660    $ 3,474    $ 3,667
      Total PPG shareholders' equity                                       $ 3,461      $ 4,054   $ 3,249    $ 3,638    $ 3,753
      Cash Flow Data:
      Cash from operating activities                                       $ 434 $ 252 $ 1,436 $ 1,310 $ 1,345
      Cash (used for) from investing activities                            $ (430) $ 325 $ 353 $ (949) $ (203)
      Cash used for financing activities                                   $ (443) $ (96 1) $(1,632) $ (104) $(1,123)


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      Summary Historical Consolidated Financial Data of Geor gia Gulf
           The following summary historical consolidated financial data of Georgia Gulf for the years ended
      December 31 , 2011 , 2010 and 2009, and as of such dates, has been derived from Georgia Gulf's audited
      consolidated financial statements as of and for the years ended December 31, 2011, 2010 and 2009. The
      following summary historical consolidated financial data as of and for the six month periods ended June 30, 2012
      and 2011 has been derived from the unaudited condensed consolidated financial statements of Georgia Gulf and
      is not necessarily indicative ot the results or financial condition to be expected for the remainder ot the year or
      for any future period. Georgia Gulf's management believes that the unaudited condensed consolidated financial
      statements reflect all adjustments, consisting of nomrnl recLming adjustments, necessary for a fair presentation of
      the results and the financial condition as of and for the inte1im pe1iods presented. This information is only a
      summary and should be read in conjunction with the financial statements of Georgia Gulf and the notes thereto
      and the "Management's Discussion and Analysis of Financial Condition and Results of Operations" section
      contained in Georgia Gulf's annual report on Form 10-K for the year ended December 31, 2011 and qum1erly
      repo11 on Form 10-Q for the period ended June 30, 2012, each of which is incorporated by reference into this
      document. See "Where You Can Find More Information; Incorporation by Reference."

                                                                         As of and for the                     As of and for the
                                                                    Six Mouths Ended Ju ne 30,             Year Ended December 31,
      (In thousands, except per share data,                            2012             2011                         2010          2009
      percentages and employees)                                                                      2011
      Results of Oper ations:
      Net sales ............................ $1,727,642 $ 1,619,648 $3,222,884 $2,818,040                                       $1,990,091
      Cost of sales .........................      1,537,336  1,460,953  2,919,625  2,543,638                                    1,778,998
      Selling, general and administrative
        expenses ..........................           99,456     86,669    168,221    160,031                                     182,937
      Long-lived asset impairment chm·ges ......                             8,318                                                 21,804
      Transaction related costs, restructming and
        other, net ..........................         11,581      1,025      3,271        102                                       6,858
      (Gains) losses on sale of assets ...........   (17,386)    (1,150)    (1,150)                                                    62
      Operating income (loss) . . . . .. . . . . .. . . . .              96,655         72,151        124,599        114,269          (568)
      Interest expense . . . . . .. . . . . .. . . . . .. . . . .       (29,106)       (33,575)       (65,645)       (69,795)     (131,102)
      Loss on redemption and other debt costs . . .                                     (1,100)        (4,908)                     (42,797)
      Gain on debt exchange . . . . . .. . . . . .. . . . .                                                                        400,835
      Foreign exchange loss .. . . . . .. . . . . .. . . . .              (402)          (940)           (786)          (839)       (1,400)
      Interest income .......................                              170            186             280            322           583
      Income from operations before taxes .. . . . .                    67,317         36,722         53,540         43,957       225,551
      Provision (benefit) for income taxes . .. . . . .                 18,384         10,007         (4,217)         1,279        94,492
      Income from operations . . . . .. . . . . .. . . . .              48,933         26,715         57,757         42,678       131,059
      Net income ..........................                         $   48,933     $   26,715     $   57,757     $   42,678     $ 131,059
      Basic earnings per share . . . . .. . . . . .. . . . . $            1.41 $      0.77 $       1.66 $      1.22 $      8.27
      Diluted earni ngs per share . . . .. . . . . .. . . . . $           1.40 $      0.77 $       1.66 $      1.22 $      8.26
      Financial Highlights:
      Net working capital . . .. . . . . .. . . . . .. . . . . $ 448,658 $ 481 ,935 $ 384,729 $ 400,447 $ 340,721
      Property, plant and equipment, net . . .. . . . .                634,053     663,873     640,900      653,137     687,570
      Total assets . . .. . . . . .. . . . . .. . . . . .. . . . .   1,723,508   1,893,695   1,644,211    1,665,701   1,604,640
      Total debt . . . . .. . . . . .. . . . . .. . . . . .. . . . .   497,665     666,265     497,464      577,557     632,569
      Lease financing obligation ..............                        109,287     115,867     109,899      112,385     106,436
      Net cash (used in) provided by operating
        activities ..........................                          (14,989)    (72,438)    187,449      183,799         723


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                                                                                     As of and for the                               As of and for the
                                                                                Sh: Mouths Ended June 30,                        Year Ended December 31,
      (In thousands, except per share data,                                         2012          2011
                                                                                                                         ~~~~~~~~~~~~




                                                                                                                              2011          2010       2009
      percentages and employees)
      Net cash (used in) investing activities . . .. . . . . .. . .                   (18,954)               (95,162)      (136,510)        (44,645)     (26,025)
      Net cash (used in) provided by financing activities . .                            (266)                86,266        (85,658)        (55,719)     (29,099)
      Depreciation and amortization . . .. . . . . .. . . . . .. . .                   44,975                 51,842        101,522          99,691      117,330
      Capital expenditures . . . . .. . . . . .. . . . . .. . . . . .. . .             40,699                 23,692         66,382          45,714       30,085
      Acquisition, net of cash acquired ............... .                                                     71,623         71,371
      Maintenance expendittu-es .................... .                                101,950                 75,269        109,317         137,448      104,472
      Other Selected Data:
      Adjusted EBITDA(l) ........................ .                               $129,765                  $115,631      $ 222,896        $201,322     $155,062
      Weighted average common shares outstanding-
        basic ................................... .                                    34,346                 33,971          34,086         33,825          14,903
      Weighted average common shares outstanding-
        diluted .................................. .                                   34,521                 33,992          34,122         33,825       14,908
      Common shares outstanding ................... .                                  34,279                 33,983          34,236         33,962       33,718
      Retmn on sales ............................. .                                      2.8%                    1.6%            1.8%           1.5%         5.8%
      En1ployees ................................. .                                    3,846                  4,014           3,744          3,619        3,489

      (1) For the reconciliation of Adjusted EBITDA to net income dete1mined in accordance with GAAP, see
          ''Selected Histo1ical and Pro Fonna Financial Data - Selected Historical Consolidated Financial Data of
          Georgia Gulf.''


      Summary Unaudited Pro Forma Condensed Combined Financial Data of' Georgia Gulf' and the PPG
      Chlor-alkali and Derivatives Business
           The following summary unaudited pro forma condensed combined financial data of Georgia Gulf and the
      PPG Chlor-alkali and Derivatives Business is being presented for illustrative pmposes only, and this information
      should not be relied upon for purposes of making any investment or otber decisions. The following summary
      unaudited proforma condensed combined financial data assumes tbat the PPG Chlor-alkali and Derivatives
      Business bad been owned by Georgia Gulf for all periods, and at the date presented. Georgia Gulf and the PPG
      Chlor-alkali and Derivatives Business may have performed differently bad they actually been combined for all
      periods or on the date presented. You should also not rely on tbe following summary unaudited pro forma
      condensed combined financial data as being indicative of the results or financial condition that would have been
      achieved bad Georgia Gulf and the PPG Chlor-alkali and Derivatives Business been combined other than during
      the periods or on the date presented or of the actual futtu-e results or financial condition of Georgia Gulf to be
      achieved following the Transactions.

                                                                                                                                                For the
                                                                                                                       As or and for the      Year Ended
                                                                                                                       Six Months Ended       December 31,
                                                                                                                         June 30, 2012            2011
            (In millions, except per share data)
            Results of Operations:
            Net sales . . .. . . . . .. . . . . .. . . . . .. . . . . .. . . . . ..   . . . . ..   .   ..   . ..   .      $2,552.5             $4,875 .7
            Cost of sales . . . . . .. . . . . .. . . . . .. . . . . .. . . . . ..    . . . . ..   .   ..   . ..   .       2,121.8              4,124.6
            Net income .. . . . . .. . . . . .. . . . . .. . . . . .. . . . . ..      . . . . ..   .   ..   . ..   .         135.4                208.6
            Net income attributable to controlling shareholders                       . . . . ..   .   ..   . ..   .         130.5                199.8
            Basic earnings per share ................................. .                                                  $     1.87           $      2.85
            Diluted earnings per share .. . . . . .. . . . . .. . . . . .. . . . . .. . . . . .. .                        $     1.86           $      2.85




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                                                                                                                                    For the
                                                                                                              As of and for the   Year Ended
                                                                                                             Six Months Ended     December 31,
                                                                                                               June 30, 2012         2011
          (In miUions, except per share data)

          Financial Highlights:
          Total assets ............................................                                      .       $5,048.4
          Total liabilities . . . .. . . . . .. . . . . .. . . . . .. . . . . .. . . . . .. . . . . ..   .        3,063.4
          Other Selected Data:
          Adjusted E BITDA(l) . . . . .. . . . . .. . . . . .. . . . . .. . . . . .. . . . . ..          .       $ 351.5            $637.9
          Weighted average common shares outstanding- basic . .. . . . . ..                              .          69.5              69.3
          Weighted average common shares outstanding- diluted .. . . . . ..                              .          69.7              69.3

      (1) In addition to evaluating financial condition and results of operations in accordance with GAAP,
          management of Georgia Gulf also reviews and evaluates certain alternative financial measures not prepared
          in accordance with GAAP. Non-GAAP measures do not have definitions under GAAP and may be defined
          differently by and not be comparable to, similarly titled measures used by other companies. As a result,
          management of Georgia Gulf considers and evaluates non-GAAP measures in connection with a review of
          the most directly comparable measure calculated in accordance with GAAP. Management of Georgia Gulf
          cautions investors not to place undue reliance on such non-GAAP measures, but also to consider them with
          the most directly comparable GAAP measure.

          In this docmnent, Georgia Gulf supplements its financial information prepared in accordance with GAAP
          with Adjusted EBITDA (earnings before interest, taxes, depreciation and amortization, cash and non-cash
          restructuring and certain other costs related to financial restructming and business improvement initiatives,
          gains or losses on substantial modification of debt and sales of ce11ain assets, certain purchase accounting
          and certain non-income tax reserve adjustments, professional fees related to a previously disclosed and
          withdrawn unsolicited offer and the Merger, goodwill, intangibles, and other long-lived asset impairments,
          and interest expense related to the OMERS sale-leaseback transaction) because Georgia Gulf believes
          investors commonly use Adjusted EBITDA as a main component of valuing cyclical companies such as
          Georgia Gulf. Adjusted EBITDA is not a measurement of financial performance under G AAP and should
          not be considered as an alternative to net income (loss) as a measure of performance or to cash provided by
          operating activities as a measure of liquidity. In addition, Georgia Gulfs calculation of Adjusted EBITDA
          may be different from the calculation used by other companies and, therefore, comparability may be limited.




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           A reconciliation of Adjusted EBITDA to net income {loss) dete1mined in accordance with GAAP is
      provided below:

                                                                            Six Months Ended June 30, 2012
                                                                 Historical             Pro Forma Adjustments
                                                                         PPG Chlor-
                                                                         alkali and                                Pro f orma
                                                                         Derivatives  A<"qu isitiou   Finaudug     ConMnsed
      (in thousands)                                     Georgia Gulf     Business   Adjustments Adjustments       Combined
      Net income                                          $ 48,933     $130,000      $(25,600)     $(17,900)       $135,433
      Net income attributable to non-controlling
         interests                                                        (7,000)        2,100                       (4,900)
      (Benefit) provision for income taxes                  18,384        68,000       (15,300)        (10,800)      60,284
      Interest income                                         (170)                                                    (170)
      Interest expense                                      29,106                                     28,700        57,806
      Depreciation and amortization expense                 44,975        21 ,000       55,000                      120,975
      Transaction related costs, restructuring and
        other, net                                           11,581         1,000       (7,500)                       5,081
      (Gains) losses on sale of assets                      (17,386)                                                (17,386)
      Other(a)                                               (5,658)                                                 (5,658)
           Adjusted EBITDA                                $129,765     $213,000      $ 8,700       $               $351,465

                                                                            Year Ended December 31, 2011
                                                                 Historkal            Pro Forma Adjustments
                                                                        PPG Chlor-
                                                                        alkali and                                 ProForma
                                                                        Derivatives  Acqu isition   Financing      Condensed
      (in thousands)                                     Georgia Gulf    Business   Adjustments Adjustments        Combined
      Net income                                          $ 57,757     $246,000      $(59,400)     $(35,800)       $208,557
      Net income attiibutable to non-cona·olling
         interests                                                       (13,000)        4,200                       (8,800)
      (Benefit) provision for income taxes                   (4,217)     122,000       (35,700)        (21,500)      60,583
      Interest income                                          (280)                                                   (280)
      Loss on redemption and other debt costs                 4,908                                                   4,908
      Interest expense                                       65,645                                    57,300       122,945
      Depreciation and amortization expense                 101,522       41 ,000      109,900                      252,422
      Long-lived asset impairment charges                     8,318                                                   8,318
      Restructuring costs                                     3,271                                                   3,271
      (Gains) losses on sale of assets                       (1,150)                                                 (1,150)
      Other(a)                                              (12,878)                                                (12,878)
           Adjusted EBITDA                                $222,896     $396,000      $ 19,000      $               $637,896

      (a) ·'Other" for the six months ended June 30, 2012 consists of $2.0 million of loan cost amo1tization and $3.7
          million of lease financing obligations interest. For the year ended December 31, 2011, " Other" consists of
          $4.l million in loan cost amortization, $7.4 million oflease financing obligations interest and a $4.4 million
          reversal of non-income tax reserves, paitially offset by $3.0 million in acquisition costs and inventory
          purchase accounting adjustments.




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      Summary Comparative Historical and Pro Forma Per Share Data
            The following table sets forth certain historical and pro forma per share data for Georgia Gulf and certain
      histrorical per share data for PPG. The Georgia Gulf historical data has been derived from and should be read
      together with Georgia Gulf's audited consolidated financial statements and related notes thereto contained in
      Georgia Gulf's annual report on Form 10-K for the fiscal year ended December 31 , 2011, and Georgia Gulf's
      unaudited condensed consolidated financial statements and related notes thereto contained in Georgia Gulf's
      qum1erly report on Po1m 10-Q for the pe1iod ended June 30, 2012, each of which are incorporated by reference
      into this document. The pro fonna data has been de1ived from the unaudited pro forma condensed combined
      financial statements of Georgia Gulf and the PPG Chlor-alkali and Derivatives Business included elsewhere in
      this document. The PPG historical data has been derived from and should be read together with the audited
      consolidated financial statements of PPG and related notes thereto contained in PPG's Form 10-K for the yem·
      ended December 31, 2011 and the unaudited condensed consolidated financial statements of PPG and related
      notes thereto contained in PPG's Form 10-Q for the quarter ended June 30, 2012, which m·e incorporated by
      reference into this document. See "Where You Can Find More Information; Incorporation by Reference."

           This summm)' comparative histo1ical and pro fonna per share data is being presented for illustrative
      purposes only. Georgia Gulf and the PPG Chlor-alkali and De1ivatives Business may have pe1formed differently
      had the Transactions OCCLu-red prior to the pe1iods or at the date presented. You should not rely on the proforma
      per share data presented as being indicative of the results that would have been achieved had Georgia Gulf and
      the PPG Chlor-alkali and De1ivatives Business been combined during the periods or at the date presented or of
      the actual future results or financial condition of Georgia Gulf or the PPG Chlor-alkali and Derivatives Business
      to be achieved following the Transactions.

                                                                                                      As of and for the          As of and for the
                                                                                                     Six Months Ended              Year Ended
                                                                                                       June 30, 2012            December 31, 2011
      Georgia Gulf'                                                                              Historical    Pro Forma    Historical   Pro Forma
      (shares in thousands)
      Basic em11ings per shm·e                                                                   $     1.41    $     1.87   $     1.66    $     2.85
      Diluted earnings per share                                                                 $     1.40    $     1.86   $     1.66    $     2.85
      Weighted average common shares outstanding- Basic                                              34,346        69,546       34,086        69,286
      Weighted average common shares outstanding- Diluted                                            34,521        69,721       34,122        69,321
      Book value per share of common stock                                                       $ 14.20       $ 26.71      $ 14.05
      Dividends declared per share of common stock                                               $     0.08    $     0.08

                                                                                                       As of and for the
                                                                                                      Sh: Months Ended           For the Year Ended
                                                                                                        June 30, 2012            December 31, 2011
      PPG
      Basic earnings per share .. . . . . .. . . . . .. . . . . .. . . . . .. . . . . .. . . . . .              $ 2.45                        $ 6.96
      Diluted earnings per share . . . . .. . . . . .. . . . . .. . . . . .. . . . . .. . . . . .               $ 2.42                        $ 6.87
      Book value per common share outstanding . . . .. . . . . .. . . . . .. . . . . .                          $22.37                        $20.40




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                               Historical Common Stock Market Price and Dividend Data

          Histo1ical market p1ice data for Splitco has not been presented as the PPG Chlor-alkali and Derivatives
      Business is cm-rently operated by PPG and there is no established trading market in Splitco common stock.
      Shares of Splitco common stock do not currently trade separately from PPG common stock.

            Shares of PPG common stock currently trade on the NYSE under the symbol "PPG." On July 18, 2012, the
      last trading day before the announcement of the Transactions, the last sale price of PPG common stock reported
      by the NYSE was $104.19. On              , 2012, the last trading day prior to the public announcement of this
      exchange offer, the last sale price of PPG common stock reported by the NYSE was$              . On        , 2012,
      the last trading day prior to this document, the last sale price of PPG common stock reported by the NYSE was
      $

          Shares of Georgia Gulf common stock currently trade on the NYSE under the symbol "GGC." On July 18,
      2012, the last trading day before the announcement of the Transactions, the last sale price of Georgia Gulf
      common stock reported by the NYSE was $28.85 . On              , 2012, the last trading day prior to the public
      announcement of this exchange offer, the last sale price of Georgia Gulf common stock reported by the NYSE
      was$       . On August 23, 2012, the last sale price of Georgia Gulf common stock reported by the NYSE was
      $38.90.

           The following table sets forth the high and low sale p1ices of PPG common stock and Georgia Gulf common
      stock on the NYSE for the periods indicated as well as the dividends per share declared by PPG to holders of
      PPG common stock and Georgia Gulf to holders of Georgia Gulf common stock for these periods. The
      quotations are as reported in published financial sources.

                                                                                             Georgia
                                                           PPG Per         PPG Common       Gulf Per    Georgia Gulf Common
                                                                                Stock                           Stock
                                                            Share                             Share
                                                           Dividends       High       Low   Dividends     High        Low
      Year Ending December 31, 2012
      First Qum1er                                          $0.57      $ 96.40 $83.27        $-         $35.56     $20.24
      Second Quarter                                        $0.59      $107.95 $91 .85       $0.08      $37.24     $23.80
      Third Quarter {through August 23, 2012)               $0.59      $114.62 $99.12        $-         $39.54     $24.52
      Year Ended December 31, 2011
      First Qum1er                                          $0.55      $   96.56   $78.75    $-         $38.15     $23.68
      Second Quarter                                        $0.57      $   97.81   $82.76    $-         $40.59     $22.57
      Third Quarter                                         $0.57      $   93.85   $68.27    $-         $25 .35    $13.69
      Fourth Quarter                                        $0.57      $   90.00   $66.43    $-         $20.83     $12.19
      Year Ended December 31, 2010
      First Quarter                                         $0.54      $   66.63   $56.96    $-         $19.08     $13.91
      Second Quarter                                        $0.54      $   72.24   $59.01    $-         $21.79     $13.26
      Third Quarter                                         $0.55      $   73.99   $59.69    $-         $17.00     $11.11
      Fourth Quarter                                        $0.55      $   84.59   $72.10    $-         $24.75     $15.61




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                                                       RISK FACTORS

           You should carefully consider each of the following risks and all of the other information contained and
      incorporated by reference in this document and the exhibits hereto. Some of the risks described below relate
      principally to the business and the industry in which Georgia Gulf, including the PPG Ch/or-alkali and
      Derivatives Business, will operate after the Transactions, while others relate principally to the Transactions and
      participation in the exchange offer. The remaining risks relate principally to the securities markets generally and
      ownership of shares of Georgia Gulf common stock. The risks described below are not the only risks facing
      Georgia Guljfollowing the consummation of the Transactions or to participating in the exchange offer.
      Additional risks and uncertainties not currently known or that are currently deemed to be immaterial may also
      materially and adversely affect Georgia Gulfs business operations and financial condition or the price of
      Georgia Gulj'' s common stock following the consummation of the Transactions.


      Risks Related to the Transactions
           The calculation of the merger consideration will not be adjusted if the value of the business or assets of
      the PPG Ch/or-alkali and Derivatives Business declines or if the value of Georgia Gulf increases before the
      Merger is comp/.eted.
           The calculation of the number of shares of Georgia Gulf common stock to be disaibuted in the Merger will
      not be adjusted if the value of the business or assets of the PPG Chlor-alkali and De1ivatives Business declines
      prior to the consummation of the Merger or the value of Georgia Gulf increases prior to the Merger. Georgia
      Gulf will not be required to consummate the Merger if there has been any "material adverse effect'' (as this term
      is described in the section of this document entitled "The Merger Agreement- Representations and Warranties'')
      on the PPG Chlor-alkali and Derivatives Business. However, Georgia Gulf will not be permitted to terminate the
      Merger Agreement or resolicit the vote of Georgia Gulf stockholders because of any changes in the market prices
      of Georgia Gulf's common stock or any changes in the value of the PPG Chlor-alkali and Derivatives Business
      that do not constitute a material adverse effect on the PPG Chlor-alkali and Derivatives Business.


          Georgia Gulf will incur significant costs related to the consummation of the Transactions that could have
      a material adverse effect on its liquidity, cash flows and operating results.
           Georgia Gulf will incur significant, one-time costs in connection with the Transactions, including financial,
      legal, professional and accounting fees, and the other costs expected to be incurred in connection with the
      integration of the PPG Chlor-alkali and Derivatives Business into Georgia Gulf's current operations and
      necessary in order to achieve the benefits that may result from the realization of approximately $115.0 million of
      annualized cost synergies Georgia Gulf believes are achievable as a result of the Transactions. These costs may
      have a material adverse impact on Georgia Gulfs liquidity, cash flows and operating results in the pe1iods in
      which they are incurred.


          Georgia Gulf will have a substantial amount of long-term indebtedness and liabilities f ollowillg the
      Transactions, which could adversely affect its liquidity, operations and financial condition.
           Georgia Gulf has a significant amount of indebtedness and, following the consummation of the
      Transactions, will continue to have significant indebtedness and liabilities. In addition, as of hme 30, 2012, on
      an actual and a pro forma basis after giving effect to the Transactions, Georgia Gulf had and would have had
      outstanding long-term indebtedness and liabilities of $1.2 billion and $3.l billion, respectively. Georgia Gulf
      also has and will continue to have the ability to incur a significant amomlt of additional debt. After the
      consummation of the Transactions, Georgia Gulf's indebtedness could have important consequences, including
      but not limited to:
           •    limiting its ability to invest operating cash flow in its operations due to debt service and other
                obligations;

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           •    limiting its ability to obtain additional debt or equity financing for working capital expenditures or
                other general corporate purposes;
                limiting its operational flexibility due to the covenants contained in its debt agreements;
           •    requiti ng it to dispose of significant assets in order to satisfy its debt service and other obligations if it
                is not able to satisfy these obligations from cash from operations or other sources;
                to the extent that Georgia Gulf's debt is subject to tloating interest rates, increasing Georgia Gulf's
                vulnerability to tluctuations in market interest rates;
                limiting Georgia Gulf's ability to buy back Georgia Gulf common stock or pay cash dividends;
           •    limiting its flexibility in planning for, or reacting to, changes in its business or industry, thereby
                limiting its ability to compete with companies that are not as highly leveraged; and
                increasing its vulnerability to economic downturns and changing market conditions.

           Georgia Gulf's ability to satisfy its debt service and other obligations will depend on its future performance,
      which will be affected by financial, business, economic and other factors, including prices, industry capacity
      levels and demand for Georgia Gulf's products, raw materials and energy costs and availability, feedstock
      availability and changes in govenunental and enviro1unental regulations. If Georgia Gulf does not generate
      enough cash to satisfy its debt service and other obligations, it may be required to refinance all or part of its
      existing debt, sell its assets, borrow more money or raise equity. There is no assurance that Georgia Gulf will be
      able to, at any given time, refinance its debt, sell its assets, borrow more money or raise capital on terms
      acceptable to it or at all.


            Georgia Gulf will assume certain material pension and post-retirement welfare benefit obligations
      associated with the PPG Chlor-alkali and Derivatives Business. Future funding obligations related to these
      liabilities could restrict cash available for Georgia Gulf's operations, capital expenditures or other
      requirements, or require Georgia Gulf to borrow additionalf1mds.
           In the Transactions, Georgia Gulf, through its wholly owned subsidiary Splitco, will assmne certain substantial
      tax-qualified and non tax-qualified pension obligations related to employees and retirees of the PPG Chlor-alkali
      and Derivatives Business. In connection therewith, the legally required level of pension assets will be transferred
      from the tax-qualified PPG pension plans to the new pension plans to be established by Georgia Gulf in respect of
      those liabilities. In addition to the standard minimum funding requirements, the Pension Protection Act of 2006 {the
      " Pension Act") (as amended by the Worker, Retiree and Employer Recovery Act of 2008) requires companies with
      tax-qualified defined benefit pension plans to make contributions to such plans as frequently as quarterly in order to
      meet the "funding target'' for such plans, as defined in the Pension Act. The failure to meet the funding target could
      result in the imposition of fines or penalties. Funding obligations with respect to tax-qualified pension plans change
      due to, among other things, the actual investment return on plan assets. Continued volatility in the capital markets
      may have a further negative impact on the funded status of tax-qualified pension plans, which may in tum increase
      attendant funding obligations. Given the amount of pension assets transferred from the tax-qualified PPG pension
      plans to the new pension plans to be established by Georgia Gulf, and subject to the foregoing variables, and the
      uncertainties associated therewith, it is possible that Georgia Gulf could be required to make substantial
      contributions in future years to the new pension plans. These contributions could restrict available cash for Georgia
      Gulf's operations, capital expenditures and other requirements, and may materially adversely affect its financial
      condition and liquidity. Nonqualified pension liabilities to be assumed by Georgia Gulf are unfunded and no assets
      will be transferred by PPG to Georgia Gulf in respect of these liabilities. These obligations will require annual
      funding that could restrict cash available to Georgia Gulf for other purposes.

           The principal post-retirement welfare benefit liabilities to be assumed by Georgia Gulfrelated to retirees
      associated with the PPG Chlor-alkali and De1ivatives Business are obligations to provide retiree health benefits.
      No assets will be transferred by PPG to Georgia Gulf in respect of these liabilities as these obligations are

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      unfm1ded. The obligations to make payment with respect to these liabilities in the future may increase for several
      reasons, including, but not limited to, because of health care costs escalation. These obligations will require
      annual fllllding that could res11ict cash available to Georgia Gulf for use for other purposes.

            While Georgia Gulf intends to comply with any future funding obligations for its pension and post
      retirement welfare benefit plans through the use of cash from operations, there can be no assurance that Georgia
      Gulf will generate enough cash to do so and also meet its other required or intended cash uses. Georgia Gulf's
      inability to fund these obligations through cash from operations could require it to seek funding from other
      sources, including through additional borrowings, which could materially increase Georgia Gulf's outstanding
      debt or debt service req uirements.


          Sales of Georgia Gulf common stock after the Transactions may negatively affect the market price of
      Georgia Gulf common stock.
           The shares of Georgia Gulf common stock to be issued in the Transactions to holders of Splitco common
      stock will generally be eligible for immediate resale. The market price of Georgia Gulf common stock could
      decline as a result of sales of a large number of shares of Georgia Gulf common stock in the market after the
      consummation of the Transactions or even the perception that these sales could occur.

            It is expected that immediately after consummation of the Merger, PPG shareholders or former PPG
      shareholders will hold at least 50.5% of Georgia Gulf's common stock and Georgia Gulf's existing stockholders
      will hold no more than 49.5% of Georgia Gulf's common stock. Currently, PPG shareholders may include index
      funds that have performance tied to the Standard & Poor's 500 Index or other stock indices, and institutional
      investors subject to vmious investing guidelines. Because Georgia Gulf may not be included in these indices
      following the consummation of the Transactions or may not meet the investing guidelines of some of these
      institutional investors, these index funds and institutional investors may decide to or may be required to sell the
      Georgia Gulf common stock that they receive in the Transactions. In addition, the investment fiduciaries of
      PPG's defined conllibution and defined benefit plans may decide to sell any Georgia Gulf common stock that the
      uusts for these plans receive in the Transactions, or may decide not to participate in the exchange offer, in
      response to their fiducim)' obligations under applicable law. These sales, or the possibility that these sales may
      occur, may also make it more difficult for Georgia Gulf to obtain additional capital by selling equity secmities in
      the future at a time and at a price that it deems approp1iate.


           The historical financial information of the PPG Chlor-alkfl.Ji and Derivfl.tives Business may 1101 be
      represe11tative of its results or financial co11diti.o11 if it had been operated illdepe11de11tly of PPG a11d, as a
      result, may 11ot be a reliable indicator of its future results.
           The PPG Chlor-alkali and Derivatives Business is currently operated by PPG. Consequently, the financial
      information of the PPG Chlor-alkali and Derivatives Business included in this document has been derived from
      the consolidated financial statements and accounting records of the PPG Chlor-alkali and Derivatives Business
      and reflects all direct costs as well as assmnptions and allocations made by management of PPG. The financial
      position, results of operations and cash flows of the PPG Chlor-alkali and De1ivatives Business presented may be
      different from those that would have resulted had the PPG Chlor-alkali and De1ivatives Business been operated
      independently of PPG dming the applicable periods or at the applicable dates. For example, in preparing the
      financial statements of the PPG Chlor-alkali and De1ivatives Business, PPG made allocations of costs and PPG
      corporate expenses deemed to be atuibutable to the PPG Chlor-alkali and Derivatives Business. However, these
      costs and expenses reflect the costs and expenses atuibutable to the PPG Chlor-alkali and Derivatives Business
      operated as part of a larger organization and do not necessaiily reflect costs and expenses that would be incurred
      by the PPG Chlor-alkali and Derivatives Business had it been operated independently. As a result, the historical
      financial information of the PPG Chlor-alkali and Derivatives Business may not be a reliable indicator of future
      results.

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           Georgia Gulf may be unable to provide the same types and level of benefits, services and resources to the
      PPG Chlor-alkali and Derivatives Business that historically have been provided by PPG, or may be unable to
      provide them at the same cost.
           As a separate reporting segment of PPG, the PPG Chlor-alkali and Derivatives Business has been able to
      receive benefits and services from PPG and has been able to benefit from PPG's financial strength and extensive
      business relationships. After the Transactions, the PPG Chlor-alkali and Derivatives Business will be owned by
      Georgia Gulf and will no longer benefit from PPG's resources. While Georgia Gulf expects to enter into an
      agreement under which PPG will agree to provide certain transition services for up to 24 months following the
      consummation of the Transactions, it cannot be assured that Georgia Gulf will be able to adequately replace
      those resources or replace them at the same cost. If Georgia Gulf is not able to replace the resources provided by
      PPG or is unable to replace them at the same cost or is delayed in replacing the resources provided by PPG,
      Georgia Gulfs results of operations may be mate1ially adversely impacted.

           Georgia Gulf's business, financial condition and results of operations may be adversely affected
      following the Transactions if Georgia Gulf cannot negotiate terms that are as favorable as those PPG has
      received when Georgia Gulf replaces contracts after the closing of the Transactions.
           P1ior to consummation of the Transactions, ce11ain functions (such as purchasing, information systems,
      sales, logistics and distribution) for the PPG Chlor-alkali and De1ivatives Business have generally been
      performed under PPG's centralized systems and, in some cases, under contracts that are also used for PPG's
      other businesses and which are not intended to be assigned to Georgia Gulf with the PPG Chlor-alkali and
      Derivatives Business. In addition, some other contracts that PPG is a party to on behalf of the PPG Chlor-alkali
      and Derivatives Business require consents of third parties to assign them to Splitco. While PPG, under the
      Transition Services Agreement, will agree to provide Georgia Gulf with certain services, there can be no
      assurance that Georgia Gulf will be able to negotiate terms that are as favorable as those PPG received when
      Georgia Gulf replaces these services with its own agreements for similar services. Increased costs associated with
      replacement agreements for any of these services could have a material adverse impact on Georgia Gulf's
      business, financial condition and results of operations following the Transactions.


           If the Distribution, including the Debt Exchange, does not qualify as a tax-free transaction under
      Section 368(a)(l)(D) or 355 of the Code or the Merger does not qualify as a tax-free "reorganization" under
      Section 368(a) of the Code, including as a result ofactions taken ill connection with the Distribution or the
      Merger or as a result of subsequent acquisitions of shares of PPG, Georgia Gulf or Splitco common stock,
      then PPG and/or PPG shareholders may be required to pay substantial U.S. federal income taxes, and, ill
      certain circumstallces atld subject to certaill condidolls, Splitco atld Georgia Gulf may be required to
      indemnify PPG for any such tax liability.
           The consummation of the Transactions is conditioned on PPG 's receipt of the Private Letter Ruling (as
      defined below in the section of this document entitled "The Transactions- Material U.S. Federal Income Tax
      Consequences of the Distribution and the Merger- The Distribution''). The consummation of the Transactions is
      also conditioned on the receipt by PPG of the Distribution Tax Opinion and a Merger Tax Opinion, and by
      Georgia Gulf of a Merger Tax Opinion (each as defined below in the section of this document entitled "The
      Transactions- Material U.S. Federal Income Tax Consequences of the Distribution and the Merger- The
      Distribution'' and "- The Merger'').

           Although a private letter ruling from the IRS generally is binding on the IRS, PPG and Splitco will not be
      able to rely on the Private Letter Ruling if the factual representations made to the IRS in connection with the
      request for the Private Letter Ruling are untrue or incomplete in any material respect, or if undertakings made to
      the IRS in connection with the request for the Private Letter Ruling have been violated. In addition, the opinions
      of counsel will be based on, among other things, the P1ivate Letter Ruling as to the matters addressed by the
      ruling, current law and ce11ain representations and assmnptions as to factual matters made by PPG, Splitco,
      Georgia Gulf, and Merger Sub. Any change in currently applicable law, which may be retroactive, or the failure

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      of any representation or assumption to be true, correct and complete in all mate1ial respects, could adversely
      affect the conclusions reached by counsel in the opinions . See "The Transactions- Material U.S. Federal Income
      Tax Consequences of the Distiibution and the Merger".

            Even if the Distribution were otherwise to qualify as a tax-free transaction under Sections 368(a)(l)(D) and
      355 of the Code, the Distribution would be taxable to PPG (but not to PPG shareholders) pursuant to
      Section 355(e) of the Code if there is a 50% or greater change in ownership of either PPG or Splitco (including
      stock of Georgia Gulf after the Merger), directly or indirectly, as part of a plan or series of related transactions
      that include the Distribution. For this purpose, any acquisitions of PPG, Splitco or Georgia Gulf stock within the
      period beginning two years before the Distiibution and ending two years after the Distribution are presumed to be
      part of such a plan, although PPG, Splitco or Georgia Gulf may be able to rebut that presumption. Fmiher, for
      purposes of this test, the Merger will be treated as pmi of such a plan, but the Merger standing alone should not
      cause the Distiibution to be taxable to PPG under Section 355(e) of the Code because PPG shm·eholders will hold
      at least 50.5% of Georgia Gulf stock immediately following the Merger. However, if the IRS were to detennine
      that other acquisitions of PPG, Splitco or Georgia Gulf stock, either before or after the Distiibution, were pmi of
      a plan or series of related transactions that included the Distiibution, such determination could result in
      significant tax to PPG. In connection with the P1ivate Letter Ruling and the Distiibution Tax Opinion, PPG and
      Georgia Gulf have represented or will represent that the Distiibution is not pmi of any such plan or series of
      related a·ansactions.

           In ce11ain circumstances and subject to certain limitations, under the Tax Matters Agreement, Splitco is
      required to indemnify PPG against taxes on the Distribution that arise as a result of certain actions or failures to
      act by Georgia Gulf or Splitco (a "disqualifying action'') or as a result of changes in ownership of the stock of
      Georgia Gulf or Splitco after the Transactions. If PPG were to recognize gain on the Distribution for reasons not
      related to a disqualifying action by Splitco or Georgia Gulf, PPG would not be entitled to be indemnified under
      the Tax Matters Agreement and the resulting tax to PPG could have a material adverse effect on PPG. If PPG
      were to recognize gain on the Merger for reasons not related to a breach by PPG of a representation or covenant,
      PPG would generally be entitled to indemnification by Splitco under the Tax Matters Agreement. If Splitco is
      required to indemnify PPG if the Distribution or the Merger is taxable, this indemnification obligation would be
      substantial and could have a material adverse effect on Georgia Gulf, including with respect to its financial
      condition and results of operations.

           Splitco and Georgia Gulf may be affected by significant restrictions f ollowillg the Transactions in order
      to avoid significant tax-related liabilities.
           The Tax Matters Agreement generally will prohibit Splitco, Georgia Gulf and their affiliates from taking
      certain actions that could cause the Distribution, the Merger and certain related a·ansactions to fail to qualify as
      tax-free a·ansactions. In particular, for a two-year period following the date of the Distribution, Splitco may not:
            •   enter into any transaction or series of transactions (or any agreement, understanding or arrangement) as a
                result of which one or more persons would acquire (directly or indirectly) stock comprising 50% or more
                of the vote or value of Splitco (taking into account the stock of Splitco acquired pursuant to the Merger);
            •   redeem or repurchase any stock or stock rights;
            •   amend its certificate of incorporation or take any other action affecting the relative voting rights of its
                capital stock;
            •   merge or consolidate with any other person (other than pursuant to the Merger);
            •   take any other action that would, when combined with any other direct or indirect changes in
                ownership of Splitco capital stock (including pursuant to the Merger), have the effect of causing one or
                more persons to acquire stock comprising 50% or more of the vote or value of Splitco, or would
                reasonably be expected to adversely affect the tax-free status of the Transactions;
            •   liquidate or paiiially liquidate;

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            •   discontinue the active conduct of the PPG Chlor-alkali and De1ivatives Business; or
            •   sell, transfer or otherwise dispose of assets (including stock of subsidiaries) that constitute more than
                30% of the consolidated gross assets of Splitco and/or its subsidiaries (subject to exceptions for, among
                other things, ordinary course dispositions and repayments or prepayments of Splitco debt).

           If Splitco intends to take any such restiicted action, Splitco will be required to cooperate with PPG in
      obtaining a supplemental IRS ruling or an unqualified tax opinion reasonably acceptable to PPG to the effect that
      such action will not affect the scams of the Distribution, the Merger and certain related transactions as tax-free
      transactions. However, if Splitco takes any of the actions above and such actions result in tax-related losses to
      PPG, then Splitco generally will be required to indemnify PPG for such losses, without regard to whether PPG
      has given Splitco prior consent. See "Other Agreements- Tax Matters Agreement".

           Due to these restiictions and indemnification obligations under the Tax Matters Agreement, Georgia Gulf
      may be limited in its ability to pursue sti·ategic transactions, equity or conve1t ible debt financings or other
      a·ansactions that may otherwise be in Georgia Gulf's best interests. Also, Georgia Gulf's potential indemnity
      obligation to PPG might discourage, delay or prevent a change of control dming this two-year pe1iod that
      Georgia Gulf stockholders may consider favorable to its ability to pursue sti·ategic a·ansactions, equity or
      convertible debt financings, or other tI·ansactions that may otherwise be in Georgia Gulfs best interests.


           Georgia Gulf will have more shares of its common stock outstanding after the Transactions, which may
      discourage other companies from trying to acquire Georgia Gulf
           Georgia Gulf expects to issue 35 .2 million shares of its common stock as part of the Transactions. Because
      Georgia Gulf will be a significantly larger company and have significantly more shares of its common stock
      outstanding after the Transactions, an acquisition of Georgia Gulf may become more expensive. As a result,
      some companies may not seek to acquire Georgia Gulf, and the reduction in potential parties that may seek to
      acquire Georgia Gulf could negatively impact the prices at which Georgia Gulf's common stock trades.


          Tendering PPG shareholders may receive a reduced premium or may not receive a11y premium i11 this
      exchange offer.
            This exchange offer is designed to permit you to exchange your shares of PPG common stock for shares of
      Splitco common stock at a % discount to the per-share value of Splitco common stock, calculated as set forth
      in this document. Stated another way, for each $ 1.00 of your PPG common stock accepted in this exchange offer,
      you will receive approximately $       of Splitco common stock. The value of the PPG common stock will be
      based on the calculated per-share value for the PPG common stock on the NYSE and the value of the Splitco
      common stock will be based on the calculated per-share value of Georgia Gulf common stock on the NYSE, in
      each case detennined by reference to the simple mithmetic average of the daily VWAP on each of the Valuation
      Dates.

            The number of shares you can receive is, however, subject to an upper limit of         shm·es of Splitco
      common stock for each share of PPG common stock accepted in this exchange offer. As a result, you may
      receive less than$        of Splitco common stock for each $1.00 of PPG common stock, depending on the
      calculated per-shm·e values of PPG common stock and Splitco common stock at the expiration date. Because of
      the limit on the number of shares of Splitco common stock you may receive in this exchange offer, if there is a
      drop of sufficient magnitude in the trading price of Georgia Gulf common stock relative to the a·ading p1ice of
      PPG common stock, or if there is an increase of sufficient magnitude in the trading price of PPG common stock
      relative to the a·ading p1ice of Georgia Gulf common stock, you may not receive$        of Splitco common stock
      for each $ 1.00 of PPG common stock, and could receive much less.

           For example, if the calculated per-share value of PPG common stock was $ {the highest closing price
      for PPG common stock on the NYSE during the three-month period p1ior to commencement of this exchange

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      offer) and the calculated per-share value of Splitco common stock was$      {the lowest closing p1ice for
      Georgia Gulf common stock on the NYSE during that three-month pe1iod), the value of Splitco common stock,
      based on the Georgia Gulf common stock p1ice, received for PPG common stock accepted for exchange would
      be approximately $        for each $1.00 of PPG common stock accepted for exchange.

           This exchange offer does not provide for a minimum exchange ratio. See ''This Exchange Offer-Terms of
      this Exchange Offer." If the upper limit on the number of shares of Splitco common stock that can be received
      for each share of PPG common stock tendered is in effect at the expiration of the exchange offer period, then the
      exchange ratio will be fixed at the upper limit and a Mandatory Extension of this exchange offer will be made
      until 12:00 midnight, New York City time, on the second trading day following the originally contemplated
      expiration date to permit shareholders to validly tender or properly withdraw their PPG common stock during
      those days. Any changes in the prices of PPG common stock or Georgia Gulf common stock on those additional
      days of this exchange offer will not, however, affect the exchange ratio.

           For example, if the trading price of PPG common stock were to increase during the last two trading days of
      the exchange offer, the average PPG stock price used to calculate the exchange ratio would likely be lower than
      the closing price of shares of PPG common stock on the expiration date of the exchange offer. As a result, you
      may receive fewer shares of Splitco common stock, and therefore effectively fewer shares of Georgia Gulf
      common stock, for each $1.00 of shares of PPG common stock than you would have if the average PPG stock
      price were calculated on the basis of the closing price of shares of PPG common stock on the expiration date of
      the exchange offer or on the basis of an averaging period that includes the last two trading days prior to the
      expiration of the exchange offer period. Similarly, if the trading price of Georgia Gulf common shares were to
      decrease dming the last two trading days prior to the expiration of the exchange offer period, the average Georgia
      Gulf stock p1ice used to calculate the exchange ratio would likely be higher than the closing price of Georgia
      Gulf common shares on the expiration date. This could also result in your receiving fewer shares of Splitco
      common stock, and therefore effectively fewer shares of Georgia Gulf common stock, for each $1.00 of PPG
      common stock than you would otherwise receive if the average Georgia Gulf common stock p1ice were
      calculated on the basis of the closing p1ice of Georgia Gulf common stock on the expiration date or on the basis
      of an averaging period that included the last two trading days p1ior to the expiration of the exchange offer pe1iod.

           In addition, there is no assm·ance that holders of shares of PPG common stock that are exchanged for Splitco
      common stock in this exchange offer will be able to sell the shares of Georgia Gulf common stock after receipt in
      the Merger at p1ices comparable to the calculated per-share value of Splitco common stock at the expiration date.


           The trading prices of Georgia Gulf common stock may not be an appropriate proxy for the prices of
      Splitco common stock.
            The calculated per-share value for Splitco common stock is based on the trading prices for Georgia Gulf
      common stock, which may not be an appropriate proxy for the prices of Splitco common stock. There is currently
      no trading market for Splitco common stock and no such market will be established in the future . PPG believes,
      however, that the trading prices for Georgia Gulf common stock are an appropriate proxy for the trading prices of
      Splitco common stock because immediately following the consummation of this exchange offer, Merger Sub will
      be merged with and into Splitco, whereby Splitco will continue as the surviving company and a wholly-owned
      subsidiary of Georgia Gulf. Each outstanding share of Splitco common stock will be canceled and retired and
      will cease to exist and the holders of Splitco common stock will receive the right to receive a number of shares of
      common stock of Georgia Gulf equal to (a) the greater of (i) 35,200,000 shares of Georgia Gulf common stock or
      (ii) the product of (x) the number of shares of Georgia Gulf common stock issued and outstanding immediately
      prior to the effective time of the Merger multiplied by (y) 1.02020202, divided by (b) the number of shares of
      Splitco common stock issued and outstanding immediately prior to the effective time of the Merger. There can be
      no assurance, however, that common stock of Georgia Gulf after the issuance of Splitco common stock and the
      Merger will trade on the same basis as Georgia Gulf common stock trades prior to the Transactions. In addition,
      it is possible that the trading p1ices of Georgia Gulf common stock p1ior to consummation of the Merger will not

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      ftilly reflect the anticipated value of common stock of Georgia Gulf after the Merger. For example, trading p1ices
      of Georgia Gulf common stock on the Valuation Dates could reflect some uncertainty as to the timing or
      consummation of the Merger or could reflect trading activity by investors seeking to profit from market
      arbitrage.


           Following the exchange of shares of Georgia Gulf common stock for shares of Splitco common stock ill
      the Merger, the former holders of shares of Splitco common stock may experience a delay prior to receiving
      their shares of Georgia Gulf common stock or their cash in lieu offractional shares, if any.
            Following the exchange of shares of Georgia Gulf common stock for shares of Splitco common stock, the
      former holders of Splitco common stock will receive their shares of Georgia Gulf common stock or their cash in
      lieu of fractional shares, if any, only upon SLmender of all necessary documents, duly executed, to the transfer
      agent. Until the distribution of the shares of Georgia Gulf common stock to the individual shareholder has been
      completed, the relevant holder of shares of Georgia Gulf common stock will not be able to sell its shares of
      Georgia Gulf common stock. Consequently, in case the market price for Georgia Gulf common stock should
      decrease dming that pe1iod, the relevant shareholder would not be able to stop any losses by selling the shares of
      Georgia Gulf common stock. Similarly, the former holders of Splitco common stock who received cash in lieu of
      fractional shares will not be able to invest the cash Lllltil the disnibution to the relevant shareholder has been
      completed, and they will not receive interest payments for this time pe1iod.


      Other Risks that Relate to Georgia Gulf, Including the PPG Chlor-alkali and Derivatives Business After
      the Transactions
           The chemicals industry is cyclical and volatile, experiencing a/Jernating periods of tight supply and
      overcapacity, and the building products industry is also cyclical. This cyclicality adversely impacts Georgia
      Gulf's capacity utilization and causes fluctuations in Georgia Gulf's results of operations.
            Georgia Gulf's historical operating results for its chemical businesses have tended to reflect the cyclical and
      volatile nature of the chemicals industry. Georgia Gulf expects to continue to be subject to the cyclicality and
      volatility following the consummation of the Transactions. Historically, periods of tight supply of commodity
      chemicals have resulted in increased prices and profit margins thereon, and have been followed by periods of
      substantial capacity increase, resulting in oversupply and declining prices and profit margins for those products.
      A number of Georgia Gulf's chemical products are and will remain highly dependent on markets that are
      particularly cyclical, such as the building and construction, paper and pulp, and automotive markets. As a result
      of changes in demand for Georgia Gulf's products, its operating rates and earnings fluctuate significantly, not
      only from year to year, but also from quarter to quarter, depending on factors such as feedstock costs,
      transportation costs, and supply and demand for the product produced at the facility during that period. In order
      to compensate for changes in demand, Georgia Gulf has historically operated individual facilities below or above
      rated capacities in any pe1iod, and Georgia Gulf expects to continue this practice in the future. Georgia Gulf may
      idle a facility for an extended pe1iod of time because an oversupply of a certain product or a lack of demand for
      that product makes production uneconomical. Facility shutdown and subsequent restmi expenses may adversely
      affect periodic results when these events occur. In addition, a temporm)' shutdown may become permanent,
      resulting in a write-down or write-off of the related assets. Industry-wide capacity expansions or the
      announcement of such expansions have generally led to a decline in the p1icing of Georgia Gulf's chemical
      products in the affected product line. Following the completion of the Transactions, Georgia Gulf expects that it
      may be required to take similm· actions in the future in response to cyclical conditions. Georgia Gulf cannot
      provide any assurances that future growth in product demand will be sufficient to utilize any additional capacity.

           In addition, the cyclical and seasonal nature of the building products industJ.)', which is significantly affected
      by changes in national and local economic and other conditions such as employment levels, demographic trends,
      availability of financing, interest rates and consumer confidence, could negatively affect the demand for and
      pricing of Georgia Gulf's building products. For example, if interest rates increase, the ability of prospective

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      buyers to finance purchases of home improvement products and invest in new real estate could be adversely
      affected, which, in turn, could adversely affect Georgia Gulfs financial pe1formance. In response to the
      significant decline in the market for Georgia Gulfs building and home improvement products beginning in 2008,
      Georgia Gulf has closed facilities and sold certain businesses and assets and continues to monitor cost control
      initiatives. In the near-term, it is unclear whether demand for these products will return and stabilize or whether
      demand for Georgia Gulfs building products will further decline.


          Tile integration of Georgia Gulf and the PPG (;Ji/or-alkali and Derivatives Businesses may not be
      successful or the anticipated benefits from the Transactions may not be realized.
           After consummation of the Transactions, Georgia Gulf will have significantly more sales, assets and
      employees than it did prior to the Transactions. The integration process will require Georgia Gulf to expend
      significant capital and significantly expand the scope of its operations and financial systems. Georgia Gulf's
      management will be required to devote a significant amount of time and attention to the process of integrating the
      operations of Georgia Gulf's business and the PPG Chlor-alkali and Derivatives Business. There is a significant
      degree of difficulty and management involvement inherent in that process. These difficulties include:
           •    integrating the operations of the PPG Chlor-alkali and Derivatives Business while carrying on the
                ongoing operations of Georgia Gulf's business;
                managing a significantly larger company than before consummation of the Transactions;
           •    the possibility of faulty assumptions underlying Georgia Gulf's expectations regarding the integration
                process;
           •    coordinating a greater number of diverse businesses and businesses located in a greater number of
                geographic locations;
                integrating two separate business cultures, which may prove to be incompatible;
           •    attracting and retaining the necessary personnel associated with the PPG Chlor-alkali and De1ivatives
                Business following the Transactions;
                creating uniform standards, controls, procedures, policies and information systems and controlling the
                costs associated with such matters; and
           •    integrating information, purchasing, accounting, finance, sales, billing, payroll and regulatory
                compliance systems.

           There is no assurance that the PPG Chlor-alkali and Derivatives Business will be successfully or cost-
      effectively integrated into Georgia Gulf. The process of integrating the PPG Chlor-alkali and Derivatives
      Business into Georgia Gulf's operations may cause an interruption of, or loss of momentum in, the activities of
      Georgia Gulf's business after consummation of the Transactions. If Georgia Gulf management is not able to
      effectively manage the integration process, or if any significant business activities are interrupted as a result of
      the integration process, Georgia Gulf's business could suffer and its liquidity, results of operations and financial
      condition may be materially adversely impacted.

           All of the risks associated with the integration process could be exacerbated by the fact that Georgia Gulf
      may not have a sufficient number of employees with the requisite expertise to integrate the businesses or to
      operate Georgia Gulf's business after the Transactions. If Georgia Gulf does not hire or retain employees with
      the requisite skills and knowledge to run Georgia Gulf after the Transactions, it may have a material adverse
      effect on Georgia Gulf's business.

           Even if Georgia Gulf is able to successfully combine the two business operations, it may not be possible to
      realize the full benefits of the increased sales volume and other benefits, including the expected synergies, that
      are expected to result from the Transactions, or realize these benefits within the time frame that is expected. For

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      example, the elimination of duplicative costs may not be possible or may take longer than anticipated, or the
      benefits from the Transactions may be offset by costs incurred or delays in integrating the companies. If Georgia
      Gulf fails to realize the benefits it anticipates from the acquisition, Georgia Gulf' s liquidity, results of operations
      or financial condition may be adversely affected.


           Georgia Gulf's operations and assets are and will continue to be subject to extensive environmental,
      health and safety laws and regulations; the costs associated with compliance with these regulations could
      materially adversely aj]ect Georgia Gulf's financial condition and results of operations, and tile failure to
      comply could expose Georgia Gulf to material liabilities.
           Georgia Gulf's operations and assets are, and are expected to continue to be, subject to extensive
      enviromnental, health and safety regulation, including laws and regulations related to air emissions, water
      discharges, waste disposal and remediation of contaminated sites, at both the national and local levels in the U.S.
      Georgia Gulf is also subject to similar laws and regulations in Canada and, after consummation of the
      Transactions, expects to be subject to similar regulations in other jurisdictions. Tue nature of the chemical and
      building products industries exposes, and is expected to continue to expose, Georgia Gulf to risks of liability
      under these laws and regulations due to the production, storage, use, transportation and sale of materials that can
      cause contamination or personal injury, including, in the case of commodity chemicals, potential releases into the
      enviromnent. Environmental laws may have a significant effect on the costs of use, transportation and storage of
      raw materials and finished products, as well as the costs of the storage and disposal of wastes. Georgia Gulf has
      and will continue to incur substantial operating and capital costs to comply with environmental laws and
      regulations. In addition, Georgia Gulf may incur substantial costs, including fines, damages, criminal or civil
      sanctions and remediation costs, or experience interruptions in its operations for violations arising under these
      laws and regulations .

            For example, some environmental laws, such as the federal Superfund statute, impose joint and several
      liability for the cost of investigations and remedial actions on any company that generated, arranged for disposal
      of or transported waste to a disposal site, or selected or presently or formerly owned or operated a disposal site or
      a site otherwise contaminated by hazardous substances. A number of environmental liabilities have been
      associated with Georgia Gulf's facilities at Lake Charles, Louisiana that Georgia Gulf acquired as pm1 of its
      acquisition of the vinyls business of CONDEA Vista Company ("CONDEA Vista," which is now known as
      Sasol No11h Ame1ica, Inc.) and which may be designated as Supe1fund sites. Although CONDEA Vista retained
      financial responsibility for certain environmental liabilities that relate to the acquired facilities that arose before
      the closing of the acquisition in November 1999, there can be no assm·ance that CONDEA Vista will be able to
      satisfy its obligations in this regard, pm1icularly in light of the long period of time in which environmental
      liabilities may arise under the environmental laws. If CONDEA Vista fails to fulfill its obligations regarding
      these environmental liabilities, then Georgia Gulf could be held responsible. Furthermore, Georgia Gulf severally
      is responsible for, and does not have indemnification for, any environmental liabilities arising from certain other
      acquisitions, including several liabilities resulting from Royal Group's operations prior to Georgia Gulf's
      acquisition of that company.

           In connection with the consummation of the Transactions, Georgia Gulf will acquire a significant additional
      number of properties and amount of assets, which could materially increase Georgia Gulf's compliance costs and
      exposure to liabilities. For example, the assets associated with the PPG Chlor-alkali and Derivatives Business are
      subject to similar environmental health and safety laws and regulations which could result in significant capital
      expenditures related thereto in future periods. The PPG Chlor-alkali and Derivatives Business could be
      responsible for, and is engaged in discussing with various parties regarding an allocation of costs relating to
      certain environmental remediation plans at the Calcasieu River Estuary in Lake Charles, Louisiana. These costs
      could be material and, if incurred, would be expected to be incurred following the consummation of the
      Transactions. Fm1her, PPG is currently negotiating a settlement with the Louisiana Department of Environmental
      Quality relating to alleged violations of PPG's Lake Charles facility's air permit relating to the PPG Chlor-alkali
      and Derivatives Business. In connection with the Transactions, any settlement related thereto would be a liability

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      of the PPG Chlor-alkali and Derivatives Busi ness. No assurances as to the ultimate costs or timing of any
      payments required in connection with these alleged violations can be provided. For additional information on the
      potential environmental liabilities associated with the Calcasieu River Estuary and the Lake Charles, Louisiana
      facility, including the expected timing and cost of actions related thereto, see "Information on the PPG Chlor-
      alkali and Derivatives Business- Regulation and Environmental Matters" and ·'- Legal Proceedings" elsewhere
      in this document.

           In addition, due to the nature of environmental laws, regulations and liabilities, it is possible that the reviews
      Georgia Gulf conducted in connection with its evaluation of, and determination to enter into, the Transactions,
      may not have identified all potentially adverse conditions. Such conditions may not presently exist or be
      detectable through reasonable methods, or may not be able to be adequately valued. For example, the PPG Chlor-
      alkali and Chemical Business's facility in Natrium, West Virginia has been in operation for over 65 years. There
      may be significant latent liabilities or future claims arising from the operation of a facility of this age, and
      Georgia Gulf may be required to incur material future remediation or other costs in connection with future
      actions or developments at this or other facilities.

           Georgia Gulf expects to be continually subjected to increasingly stringent enviromnental and health and
      safety laws and regulations and that continued compliance will require increased capital expenditures and
      increased operating costs, or may impose restrictions on Georgia Gulf's present or future operations. It is difficult
      to predict the future interpretation and development of these laws and regulations or their impact on Georgia
      Gulf's future earnings and operations. Georgia Gulf's policy is to accrue costs relating to environmental matters
      when it is probable that these costs will be required and can be reasonably estimated. Any increase in these costs,
      or any material restrictions, could mate1ially adversely affect Georgia Gulf's liquidity, financial condition and
      results of operations. However, estimated costs for future environmental compliance and remediation may be
      materially lower than actual costs, or Georgia Gulf may not be able to quantify potential costs in advance. Actual
      costs related to any environmental compliance in excess of estimated costs could have a material adverse effect
      on Georgia Gulfs financial condition in one or more future periods.


           Recent heightened interest ill environmental-related issues could require Georgia Gulf to i11cur
      significant compliance costs or resu/J in material operating restrictions.
           Heightened interest in environmental regulation, such as climate change issues, have the potential to
      materially impact Georgia Gulfs costs and present and future operations. Georgia Gulf, and other chemicals
      companies, are currently required to file ce11ain governmental reports relating to greenhouse gas (''GHG")
      emissions. The U.S . Government has considered, and may in the future implement, restrictions or other controls
      on GHG emissions which could require Georgia Gulf, including, following the consummation of the Merger, the
      PPG Chlor-alkali and Derivatives Business, to incur significant capital expenditures or further restrict Georgia
      G ulf's present or future operations.

           In addition to GHG regulations, the United States Environmental Protection Agency (the "EPA,.) has
      recently taken certain actions to limit or control certain pollutants created by companies such as Georgia Gulf
      and the PPG Chlor-alkali and Derivatives Business. For example, in February 2012, the EPA issued its final rule
      to update emissions limits for air toxins from polyvinyl chloride and copolymers production ("PVC production,.).
      The rule, known as the National Emission Standards for Hazardous Air Pollutants for Polyvinyl Chloride and
      Copolymers Production, establishes new, more stringent emission standards for certain regulated "hazardous air
      pollutants,,. including vinyl chloride monomer. The rule sets maximum achievable control technology ("MACT,.)
      standards for major sources of PVC production and establishes certain working practices, as well as monitoring,
      reporting and record-keeping requirements. Existing sources that become subject to these requirements would
      have three years from the effectiveness of the rule to come into compliance. Following the publication of the rule
      in the Federal Register, legal challenges were filed by the vinyl industry's trade organization, several vinyl
      manufacturers, and several environmental groups, which will lik ely impact provisions of a final rule. Although
      Georgia Gulf has conducted a preliminary evaluation of the potential impact of a final rule on its operations, the

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      preliminary evaluation was based on the final rule as it currently exists, as well as a number of assumptions
      concerning the equipment and process changes that would be necessary to come into compliance with the
      existing final rule. There could be significant changes from the cm-rently existing rule to the final rule after all
      legal challenges have been exhausted.

           Following the consummation of the Transactions, Georgia Gulf expects that its business and operations will
      also be subject to pending environmental regulations impacting the PPG Chlor-alkali and Derivatives Business.
      For example, in March 2011 , the EPA proposed amendments to the national emission standards for hazardous air
      pollutants for mercury emissions from mercury cell chlor-alkali plants known as the Mercury MACT regulations.
      These proposed amendments would require improvements in work practices to reduce fugitive emissions and
      would result in reduced levels of mercury emissions while still allowing the mercury cell facilities to continue to
      operate. The PPG Chlor-alkali and Derivatives Business currently operates a cell production unit at its Natrium,
      West Virginia facility , which constitutes approximately 4% of the PPG Chemical Business's total chlor-alkali
      production capacity. No assurances as to the timing or content of the final rule, or its ultimate impact on Georgia
      Gulf, can be provided.

            Separately, the PPG Chlor-alkali and Derivatives Business's Natrium, West Virginia facility currently
      discharges wastewater into the Ohio River pursuant to a National Pollution Discharge Elimination System
      ("NPDES") permit issued by the West Virginia Department of Environmental Protection ("WVDEP''). Because
      it discharges into the Ohio River, the wastewater permit terms must conform to water quality standards in the
      Ohio River set by the Ohio River Valley Water Sanitation Commission ("ORSANCO''). ORSANCO has adopted
      an ambient water column standard c1iterion for mercury in the Ohio River and, in 2009, ORSANCO adopted new
      standards that prohibit as of October 16, 2013, the use of a ''mixing zone" as used by, among others, the PPG
      Chlor-alkali and De1ivatives Business, to meet these standards for ce11ain bioaccumulative chemicals, including
      mercury. In September 2011, PPG, on behalf of the PPG Chlor-alkali and Derivatives Business, submitted a
      request for a vmiance from the mixing zone prohibition in ORSANCO's pollution control standards. PPG, on
      behalf of the PPG Chlor-alkali and De1ivatives Business, has requested continued use of a mixing zone for
      mercury through the life of its current permit, which is valid through January 2014, and for any subsequent
      permits. ORSANCO issued a preliminary decision approving this request and ORSANCO accepted public
      comments on its preliminary decision through July 31, 2012. No assurances as to the timing or content of the
      final decision can be provided, and any decision may require the PPG Chlor-alkali and Derivatives Business to
      incur material costs to remain in compliance with the regulation, or could mate1ially impair the ability of the PPG
      Chlor-alkali and De1ivatives Business to operate its Natrium, West Virginia facility .

            Also in March 2011, the EPA issued emissions standards for large and small boilers and incinerators that
      burn solid waste, known as the Boiler MACT regulations. These regulations are aimed at controlling emissions
      of toxic air contaminants. As a result of numerous petitions from both industry and environmental groups, the
      EPA reconsidered its March 2011 final rule. On December 23, 2011 , the EPA' s proposed rule reconsidering its
      March 2011 final rule was published in the Federal Register. The EPA has indicated its intent to issue the final
      regulations in 2012 requiring that covered facilities achieve compliance within three years. The 115 megawatt
      coal fired power plant at the PPG Chlor-alkali and Derivatives Business's Natrium, West Virginia facility would
      be the source most significantly impacted by the Boiler MACT regulations. The PPG Chlor-alkali and
      Derivatives Business continues to evaluate alternative paths of either retrofitting the Natrium boilers to burn
      natural gas or to engineer and install pollution control equipment. No assurances as to the timing or content of the
      final rule, or its ultimate impact on Georgia Gulf, can be provided.

           The potential impact of these and/or unrelated future, legislative or regulatory actions on Georgia Gulf's
      current or future operations cannot be predicted at this time but could be significant. Such impacts could include
      the potential for significant compliance costs, including capital expenditures, could result in operating restrictions
      or could require Georgia Gulf to incur significant legal or other costs related to compliance or other activities.
      Any increase in the costs related to these initiatives, orrestiictions on Georgia Gulf's operations, could materially
      adversely affect Georgia Gulfs liquidity, financial condition or results of operations.

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          Natural gas, electricity, fuel and raw materials costs, and other external factors beyond Georgia Gulf's
      control, as well as changes ill the level ofactivity in the home repair and remodeling and new home
      construction sectors of the economy, can cause wide fluctuations ill Georgia Gulf's margins.
           The cost of Georgia Gulf's natural gas, electricity, fuel and raw materials may not correlate with changes in
      the prices Georgia Gulf receives for its products, either in the direction of the price change or in absolute
      magnitude. Natural gas and raw materials costs represent, and will continue to represent, a substantial part of
      Georgia Gulf's and the PPG Chlor-al.kali and Derivatives Business's manufacturing costs, and energy costs, in
      particular electricity and fuel, represent a component ot the costs to manufacture building products. Pollowing
      the consummation of the Merger, a $1.00 change in the price of natural gas per British Thennal Unit ("BTU")
      could raise or lower Georgia Gulf's operating costs by approximately $60 million to $80 million per year. Most
      of the raw materials Georgia Gulf uses are commodities and the p1ice of each can fluctuate widely for a vaiiety
      of reasons, including changes in availability because of capacity additions or facility operating problems. For
      example, ethylene is a key raw mate1ial used by both Georgia Gulf and the PPG Chlor-alkali and De1ivatives
      Business. Dming 2011, costs for ethylene increased substantially compared to 2010 driven by a combination of
      tight supplies due to production outages and increased global demand, particularly in U.S. exports of ethylene
      derivative products. Other external factors beyond Georgia Gulf's control can cause volatility in raw mate1ials
      prices, demand for Georgia Gulfs products, product prices, sales volumes and margins. These factors include
      general economic conditions, the level of business activity in the industries that use Georgia Gulf's products,
      competitors' actions, international events and circumstances, and governmental regulation in the United States
      and abroad. These factors can also magnify the impact of economic cycles on Georgia Gulf's business. While
      Georgia Gulf attempts to pass through p1ice increases in energy costs and raw mate1ials, Georgia Gulf has been
      unsuccessful in doing so in some circumstances in the past and there can be no assurance that it will be able to
      successfully do so in the future.

            Additionally, Georgia Gulf's business is and will continue to be impacted by changes in the North American
      home repair and remodeling sectors, as well as the new construction sector, which may be significantly affected
      by changes in economic and other conditions such as gross domestic product levels, employment levels,
      demographic trends, consumer confidence, increases in interest rates and availability of consumer financing for
      home repair and remodeling projects as well as availability of financing for new home purchases. These factors
      can lower the demand for and pricing of Georgia Gulf's products, while Georgia Gulf may not be able to reduce
      its costs by an equivalent amount, which alone or in combination could cause Georgia Gulf's net sales and net
      income to materially decrease and, among other things, could require Georgia Gulf to recognize impairments of
      its assets.


          Hazards associated with ma11ufacturi11g may adversely affect Georgia Gulf's business or results of
      operations.
           There are a number of hazards associated with chemical manu:factming and building products
      manufactming in Georgia Gulf's current operations, as well as in the use, storage and transpo11ation ofrelated
      raw mate1ials, products and wastes. These hazards will be magnified in connection with the expansion of Georgia
      Gulf's operations as a result of the consummation of the Transactions. The occurrence of any such hazard could
      lead to an interruption or suspension of operations and have a material adverse effect on the productivity and
      profitability of a pai1icular manufacturing facility or on Georgia Gulf's operations as a whole. These hazards
      include:
                pipeline and storage tank leaks and ruptures;
           •    explosions and fires;
                inclement weather and natural disasters;
                mechanical failure;
           •    unscheduled downtime;

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           •    labor difficulties;
                transportation intem1ptions;
           •    transportation accidents involving the chemical products of Georgia Gulf and the PPG Chlor-alkali and
                Derivatives Business;
                remediation complications;
           •    terrorist acts; and
           •    chemical spills and other discharges or releases of toxic or hazardous substances or gases.

           These hazards may cause personal injury and loss of life, severe damage to or destruction of prope11y and
      equipment, and environmental damage, any of which could lead to claims or mate1ial liability under
      environmental or other laws. Although Georgia Gulf maintains prope11y, business inte1rnption and casualty
      insurance of the types and in the amounts that it believes are customary for the industry, Georgia Gulf is not fully
      insured against all potential hazards incident to its business.


           In additi.oll to potential exposure to claims arising from environmental liabilities, Georgia Gulffaces
      potential exposure to significant product liability, personal injury or other claims relating to the productioll
      alld manufacture of its products, and this exposure will increase following the comp/.etioll of the Merger.
            Georgia Gulf is exposed to significant losses from product liability claims relating to the products it
      manufactures in both its chemicals and building products business. Additionally, individuals could seek damages
      for alleged personal injury or property damage due to exposure to chemicals at Georgia Gulf's facilities or to
      chemicals otherwise owned, controlled or manufactured by Georgia Gulf. Georgia Gulf is also subject to present
      and future claims with respect to workplace exposure, workers' compensation and other matters. In connection
      with the completion of the Transactions, Georgia Gulf expects that its exposure to potential losses from products
      liability, personal injury and other claims will significantly increase as a result of existing and possible future
      lawsuits and claims relating to the PPG Chlor-alkali and Derivatives Business and its products. For example, the
      PPG Chlor-alkali and Derivatives Business is currently involved in litigation with, among others, the City of
      Modesto, California relating to the claims involving the manufacture of perchloroethylene, and a significant
      number of other contract, product liability and other matters. Any such claims, whether with or without merit,
      could be time consuming, expensive to defend and could divert management's attention and resources. Although
      Georgia Gulf maintains and expects to continue to maintain appropriate amounts of insurance for products
      liability, workplace exposure, workers' compensation and other claims, the amount and scope of such insurance
      may not be adequate or available to cover a claim that is successfully asserted against Georgia Gulf. In addition,
      such insurance could become more expensive and difficult to maintain and, in the future, may not be available to
      Georgia Gulf on commercially reasonable terms or at all. The results of any future litigation or claims are
      inherently unpredictable, but such outcomes could have a material adverse effect on Georgia Gulf's liquidity,
      financial condition or results of operations.


            The ABL Revolver, the indenture governing Georgia Gulf's 9 percellt llotes and the financing
      agreements expected to be entered into in collnection with the Trallsactions will impose sigllijicant operating
      alld jillallcial restrictions Oil Georgia Gulf and its subsidiaries, which may prevent Georgia Gulffrom
      capitalizing Oil business opportullities and takillg some acti.olls.
            The agreements that govern the terms of Georgia Gulf's existing debt, including the ABL Revolver and the
      indenture that governs the 9 percent notes, impose significant operating and financial resnictions on Georgia
      Gulf. In addition, Georgia Gulf expects that the financing agreements to be entered into in connection with the
      Transactions and described in the section of this document entitled "Debt Financing,. will contain similar
      restrictions. These restrictions limit, and will continue to limit, Georgia Gulf's ability to, among other things:
           •    inCLff additional indebtedness;

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           •    inc Lu- liens;
                make investments and sell assets, including the stock of subsidiaries;
           •    pay dividends and make other disaibutions;
                purchase its stock;
           •    engage in business activities unrelated to its cmTent business;
           •    enter into a·ansactions with affiliates; or
                consolidate, merge or sell all or substantially all of its assets.

           As a result of these covenants and restrictions, in addition to any restrictions or limitations imposed on
      Georgia Gulf in connection with undertaking the Transactions and preserving the tax-free nature thereof, Georgia
      Gulf is limited in bow it conducts its business and it may be unable to raise additional debt or equity financing to
      compete effectively or to take advantage of new business opportunities. The terms of any future indebtedness
      Georgia Gulf may incur could include more restrictive covenants. A breach of any of these covenants could
      result in a default in respect of the related indebtedness. If a default occurs, the relevant lenders could elect to
      declare the indebtedness, together with accrued interest and other fees, to be due and payable immediately and
      proceed against any collateral securing that indebtedness.

           Furthermore, there are limitations on Georgia Gulf's ability to borrow the full amount of commitments
      under the ABL Revolver, and Georgia Gulf expects that the New ABL Revolver (as defined below) will contain
      similar limitations. Borrowings under the ABL Revolver are limited by, and borrowings under the New ABL
      Revolver are expected to be limited by, a specified boITowing base consisting of a percentage of eligible accounts
      receivable and inventory, less customary reserves. In addition, (x) if Georgia Gulf's availability under the ABL
      Revolver falls below a ce11ain amount, Georgia Gulf will be subject to compliance with a covenant requiring
      Georgia Gulf to maintain a fixed charge coverage ratio of at least 1.1 to 1.0, and Georgia Gulf expects that the
      New ABL Revolver will contain a similar resnictive covenant, and (y) Georgia Gulf will be subject to a senior
      secured leverage ratio of 3.50 to 1.00 m1der the Term Facility. Georgia Gulfs ability to comply with any required
      fixed charge coverage ratio and senior secLu-ed leverage ratio can be affected by events beyond its control, and
      Georgia Gulf cannot assLu-e you it will be able to comply with these ratios. A breach of the covenants requiring
      compliance with these ratios, or with any other covenants in these debt agreements, could result in a default
      under the ABL Revolver, or under the New ABL Revolver or the Term Facility, when entered into, as the case
      may be.


         Georgia Gulf relies, and expects to continue to rely after the consummation of the Merger, on a limited
      number of outside suppliers for specified feeds tocks and services.
           Georgia Gulf currently obtains, and expects to continue to obtain after the consummation of the Merger, a
      significant portion of its raw materials from a few key suppliers. If any of these suppliers are unable to meet their
      obligations under present or any future supply agreements, Georgia Gulf may be forced to pay higher prices to
      obtain the necessary raw materials. Any interruption of supply or any price increase of raw materials could have
      a material adverse effect on Georgia Gulf's business and results of operations. In connection with Georgia Gulf's
      acquisition of the vinyls business of CONDEA Vista in 1999, Georgia Gulf entered into agreements with
      CONDEA Vista to provide specified feeds tocks for its Lake Charles facility . This facility is dependent upon
      CONDEA Vista's infrastructure for services such as wastewater and ground water treatment, site remediation,
      and fire water supply. Any failure of CONDEA Vista to perform its obligations under those agreements could
      adversely affect the operation of the affected facilities and Georgia Gulf's liquidity and results of operations. The
      agreements relating to these feedstocks and services had initial terms of one to ten years. Most of these
      agreements have been automatically renewed, but may be terminated by CONDEA Vista after specified notice
      periods. If Georgia Gulf was required to obtain an alternate source for these feedstocks or services, Georgia Gulf
      may not be able to obtain p1icing on as favorable terms. Additionally, Georgia Gulf may be forced to pay

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      additional transpo11ation costs or to invest in capital projects for pipelines or alternate facilities to accommodate
      railcar or other delivery or to replace other services.

           While Georgia Gulf believes that its relationships with its key suppliers are strong, any vendor may choose,
      subject to existing contracts, to modify its relationship due to general economic concerns or concerns relating to
      the vendor or Georgia Gulf, at any time. Any significant change in the terms that Georgia Gulf has with its key
      suppliers could materially adversely affect Georgia Gulf's financial condition and liquidity, as could significant
      additional requirements from Georgia Gulf's suppliers that it provides them additional security in the form of
      prepayments or with letters of credit.


           The industries in which Georgia Gulf competes and expects to compete after the consummation of the
      Merger are highly competitive, and some of Georgia Gulf's competitors have greater financial and other
      resources than Georgia Gulf has, which may materially adversely affect Georgia Gulf's business and results
      of operations.
           The commodity chemicals industry is highly competitive. Many of Georgia Gulf's competitors are larger
      and have, and are expected to continue to have after the consummation of the Merger, greater financial and other
      resources and less debt than Georgia Gulf. Moreover, barriers to entry, other than capital availability, are low in
      most product lines of Georgia Gulf's current and contemplated commodity chemical business. Capacity additions
      or technological advances by existing or future competitors could also create greater competition, particularly in
      pricing. Georgia Gulf cannot provide assurance that it will have access to the financing necessary to upgrade
      Georgia Gulfs facilities in response to technological advances or other competitive developments.

           In addition, Georgia Gulf competes with national and international manufacturers of vinyl-based building
      and home improvement products. Some of these companies are larger and have greater financial resources and
      less debt than Georgia Gulf. Accordingly, these competitors may be better able to withstand changes in
      conditions within the industries in which Georgia Gulf operates and may have significantly greater operating and
      financial flexibility than Georgia Gulf. Some of these competitors, who compete with Georgia Gulfs building
      product lines, may also be able to compete more aggressively in pricing and could take a greater share of sales
      and cause Georgia Gulf to lose business from its customers . Many of Georgia Gulf's competitors have operated
      in the building products industry for longer than Georgia Gulf. Additionally, Georgia Gulfs building products
      face competition from alternative mate1ials: wood, metal, fiber cement and masonry in siding, wood and
      aluminum in windows and iron and cement in pipe and fittings . An increase in competition from other vinyl
      exterior building products manufacturers or alternative building mate1ials could cause Georgia Gulf to lose
      customers and lead to decreases in net sales and profitability. To the extent Georgia Gulf loses customers in the
      renovation and remodeling markets, Georgia Gulf would likely have to market to the new home construction
      market, which historically has experienced more fluctuations in demand.


           Georgia Gulf currently relies and, after the consummation of the Merger will more heavily rely, on third
      party transportation, which subjects it to risks that it cannot control, and which risks may materially adversely
      affect Georgia Gulf's operations.
           Georgia Gulf relies heavily on railroads, barges and other shipping companies to transport raw materials to
      Georgia Gulf's manufacturing facilities and to ship finished product to customers. After the consummation of the
      Merger, Georgia Gulf expects it will more heavily rely on third party transport for products manufactured by the
      PPG Chlor-alkali and Derivatives Business. These transport operations are subject to various hazards, including
      extreme weather conditions, work stoppages and operating hazards, as well as interstate transportation
      regulations. If Georgia Gulf is delayed or unable to ship finished product or unable to obtain raw materials as a
      result of these transportation companies' failure to operate properly, or if there were significant changes in the
      cost of these services, Georgia Gulf may not be able to arrange efficient alternatives and timely means to obtain
      raw mate1ials or ship goods, which could result in a mate1ial adverse effect on Georgia Gulfs revenues and costs
      of operations.

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          Operation on multiple Enterprise Resource Planning ("ERP") illfonnation systems, and the conversion
      from multiple systems to a single system, may negatively impact Georgia Gulf's operations.
           Georgia Gulf is and will continue to remain after consummation of the Merger highly dependent on its
      information systems infrastructure in order to process orders, track inventory, ship products in a timely manner,
      prepare invoices to its customers, maintain regulatory compliance and otherwise carry on its business in the
      ordinary course. Georgia Gulf currently operates on multiple ERP information systems, which complicate
      Georgia Gulf's processing, reporting and analysis of business transactions and other information. In addition, the
      PPG Chlor-alkali and De1ivatives Business currently operates on separate ERP systems. Since Georgia Gulf must
      process and reconcile its information from multiple systems, the chance of errors is increased and, after the
      consummation of the Merger, will be further increased, and Georgia Gulf may incur significant additional costs
      related thereto. Inconsistencies in the information from multiple ERP systems could adversely impact Georgia
      Gulf's ability to manage its business efficiently and may result in heightened iisk to its ability to maintain its
      books and records and comply with regulatory requirements. Following the consmnmation of the Transactions,
      Georgia Gulf expects that it may transition all or a portion of its operations from one of its ERP systems to
      another. The transition to a different ERP system involves nmnerous iisks, including:
                diversion of management's attention away from normal daily business operations;
           •    loss of, or delays in accessing data;
                increased demand on its operations support personnel;
           •    initial dependence on unfamiliar systems while training personnel to use new systems; and
           •    increased operating expenses resulting from training, conversion and transition support activities.

           Any of the foregoing could result in a mate1ial increase in infonnation technology compliance or other
      related costs, and could materially negatively impact Georgia Gulf's operations.


           A significant portion of the PPG Ch/or-alkali and Derivatives Business's hourly workers are and,
      following the consummation of the Transactions, a significant portion of Georgia Gulf's hourly workers will
      be, represented by labor unions and therefore subject to collective bargaining agreements; if Georgia Gulf is
      unable to enter into new agreements or renew existing agreements before they expire, its workers subject to
      collective bargaining agreements could engage in strikes or other labor actions that could materially disrupt
      Georgia Gulf's ability to conduct its operations.
           As of June 30, 2012, Georgia Gulf had approximately 3,850 active employees. Approximately 400, or 10%,
      of these employees are represented by labor unions and are therefore subject to collective bargaining agreements.
      As of June 30, 2012, assuming the Transactions had been consummated as of that date, Georgia Gulf would have
      had approximately 5,900 active employees. Approximately 26% of these employees would have been
      represented by labor unions and would have therefore been subject to collective bargaining agreements. Of these
      union-represented employees, approximately 14% are subject to collective bargaining agreements that expire by
      the end of 2013.

            If, after the consummation of the Transactions, Georgia Gulf is unable to reach new collective bargaining
      agreements or renew existing agreements, employees subject to collective bargaining agreements may engage in
      strikes, work slowdowns or other labor actions, which could materially disrupt Georgia Gulf's ability to conduct
      its operations. New collective bargaining agreements or the renewal of existing agreements may impose
      significant new costs on Georgia Gulf after the consummation of the Transactions, which could adversely affect
      Georgia Gulf's results of operations or financial condition in the future .




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